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             ORAL ARGUMENT NOT YET SCHEDULED
                            No. 22-5069
                (Consolidated with 22-7030, 22-7031)

           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                      _____________________

           JAMES BLASSINGAME AND SIDNEY HEMBY,

                                            Appellees,
                                   v.

                         DONALD J. TRUMP,

                                           Appellant.
                        _______________________

            On Appeal from the United States District Court
                     for the District of Columbia
                       _______________________

                           JOINT APPENDIX
                        _______________________


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          COUNSEL FOR PRESIDENT DONALD J. TRUMP
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                RELEVANT DOCKET ENTRIES FROM
               THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA

Blassingame And Hemby v. Trump, Case No. 1:21-cv-858-APM

  Date Filed     #    Docket Text

    4/28/21      3    AMENDED COMPLAINT against DONALD J.
                      TRUMP with Jury Demand filed by JAMES
                      BLASSINGAME, SIDNEY HEMBY. (Malone,
                      Patrick) (Entered: 04/28/2021)

    6/24/21     10    MOTION to Dismiss for failure to state a claim,
                      MOTION to Dismiss for Lack of Jurisdiction by
                      DONALD J. TRUMP. (Attachments: # 1
                      Memorandum in Support, # 2 Text of Proposed
                      Order) (Binnall, Jesse) (Entered: 06/24/2021)

    7/8/21      14    MOTION for Leave to File Brief of Amici Curiae
                      In Support of Plaintiffs by Floyd Abrams,
                      ERWIN CHEMERINSKY, MARTHA MINOW,
                      LAURENCE H. TRIBE. (Attachments: # 1 Brief
                      of Amici Curiae, # 2 Text of Proposed Order
                      [Proposed] Order Granting Motion For Leave To
                      File Brief of Amici Curiae) (Marais, Nicholas)
                      (Entered: 07/08/2021)

    7/8/21      16    MOTION for Leave to File Amicus Brief by
                      Campaign Legal Center Action. (Attachments: #
                      1 Proposed Order, # 2 Proposed Amicus Brief, # 3
                      Appendix A, # 4 Appendix B) (Smith, Paul)
                      (Entered: 07/08/2021)

    7/9/21            MINUTE ORDER granting 14 Motion for Leave
                      to File Brief of Amici Curiae Floyd Abrams,
                      Erwin Chemerinsky, Martha Minow, and
                      Laurence H. Tribe in Support of Plaintiffs.



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                      Signed by Judge Amit P. Mehta on 7/9/2021.
                      (lcapm3) (Entered: 07/09/2021)

    7/9/21            MINUTE ORDER granting 16 Motion for Leave
                      to File Amicus Curiae Brief in Support of the
                      Briefs in Opposition to Defendants’ Motion to
                      Dismiss by Campaign Legal Center Action.
                      Signed by Judge Amit P. Mehta on 7/9/2021.
                      (lcapm1) (Entered: 07/09/2021)

    7/22/21     21    Memorandum in opposition to re 10 MOTION to
                      Dismiss for failure to state a claim MOTION to
                      Dismiss for Lack of Jurisdiction Plaintiffs’
                      Opposition to Defendant’s Motion to Dismiss filed
                      by JAMES BLASSINGAME, SIDNEY HEMBY.
                      (Attachments: # 1 Text of Proposed Order
                      Proposed Order) (Malone, Patrick) Modified
                      docket event/text on 7/23/2021 (eg). (Entered:
                      07/22/2021)

    7/29/21     25    AMICUS BRIEF by EVAN H. CAMINKER,
                      ANDREW KENT, SHELDON NAHMOD,
                      DAPHNA RENAN, PETER M. SHANE. (eg)
                      (Entered: 07/30/2021)

    8/16/21     28    REPLY to opposition to motion re 10 MOTION to
                      Dismiss for failure to state a claim MOTION to
                      Dismiss for Lack of Jurisdiction filed by
                      DONALD J. TRUMP. (Binnall, Jesse) (Entered:
                      08/16/2021)

    8/16/21     29    AMICUS BRIEF by JARED HOLT. (eg) (Entered:
                      08/23/2021)

   12/16/21           NOTICE of Hearing: Oral Argument set for
                      1/10/2022 at 1:00 PM in Courtroom 10 before
                      Judge Amit P. Mehta. Members of the public or
                      media may also access this hearing by dialing the



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                      court’s toll-free public access line: (877) 848-7030,
                      access code 321-8747. (zjd)(Entered: 12/16/2021)

    1/4/22            NOTICE of Hearing: The Oral Argument set for
                      1/10/2022 at 1:00 PM before Judge Amit P.
                      Mehta will proceed via videoconference. The
                      courtroom deputy will circulate connection
                      information to counsel. Members of the public or
                      media may access this hearing by dialing the
                      court’s toll-free public access line: (877) 848-7030,
                      access code 321-8747. (zjd) (Entered: 01/04/2022)

    1/5/22      30    ORDER establishing schedule for the oral
                      argument for pending motions to dismiss on
                      January 10, 2022. The time designations noted
                      within are collective across all three cases (to the
                      extent applicable), not per party per case. The
                      court encourages each side, where appropriate, to
                      designate a lead counsel on a particular topic.
                      Please see attached Order for further details.
                      Signed by Judge Amit P. Mehta on 01/05/2022.
                      (lcapm3) (Main Document 52 replaced on
                      1/6/2022) (zjd). (Entered: 01/05/2022)

    1/10/22           Minute Entry for proceedings held before Judge
                      Amit P. Mehta: Oral Argument held via
                      videoconference on 1/10/2022. Arguments heard
                      and taken under advisement. (Court Reporter:
                      William Zaremba) (zjd) (Entered: 01/10/2022)

    1/14/22     31    NOTICE OF SUPPLEMENTAL AUTHORITY by
                      JAMES BLASSINGAME, SIDNEY HEMBY
                      (Malone, Patrick) (Entered: 01/14/2022)

    1/14/22     32    NOTICE OF SUPPLEMENTAL AUTHORITY by
                      JAMES BLASSINGAME, SIDNEY HEMBY
                      (Malone, Patrick) (Entered: 01/14/2022)




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    1/25/22     35    TRANSCRIPT OF ORAL ARGUMENT VIA
                      ZOOM PROCEEDINGS before Judge Amit P.
                      Mehta held on January 10, 2022; Page Numbers:
                      1-236. Date of Issuance: January 25, 2022. Court
                      Reporter/Transcriber: William Zaremba;
                      Telephone number: (202) 354-3249. Transcripts
                      may be ordered by submitting the Transcript
                      Order Form.
                      For the first 90 days after this filing date, the
                      transcript may be viewed at the courthouse at a
                      public terminal or purchased from the court
                      reporter referenced above. After 90 days, the
                      transcript may be accessed via PACER. Other
                      transcript formats, (multi-page, condensed, PDF
                      or ASCII) may be purchased from the court
                      reporter.

                      NOTICE RE REDACTION OF TRANSCRIPTS:
                      The parties have twenty-one days to file with the
                      court and the court reporter any request to redact
                      personal identifiers from this transcript. If no
                      such requests are filed, the transcript will be
                      made available to the public via PACER without
                      redaction after 90 days. The policy, which
                      includes the five personal identifiers specifically
                      covered, is located on our website at
                      www.dcd.uscourts.gov.

                      Redaction Request due 2/15/2022. Redacted
                      Transcript Deadline set for 2/25/2022. Release of
                      Transcript Restriction set for 4/25/2022. (wz)
                      (Entered: 01/25/2022)

    2/18/22     37    MEMORANDUM OPINION AND ORDER
                      granting in part and denying in part Defendant’s
                      10 Motion to Dismiss. Please see attached
                      Memorandum Opinion and Order for further




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                      details. Signed by Judge Amit P. Mehta on
                      02/18/2022. (lcapm3) (Entered: 02/18/2022)

    3/18/22     39    NOTICE OF APPEAL TO DC CIRCUIT COURT
                      as to 37 Order on Motion to Dismiss, Order on
                      Motion to Dismiss/Lack of Jurisdiction by
                      DONALD J. TRUMP. Filing fee $ 505, receipt
                      number CDCDC-9113388. Fee Status: Fee Paid.
                      Parties have been notified. (Binnall, Jesse)
                      (Entered: 03/18/2022)

    3/22/22           USCA Case Number 22-5069 for 39 Notice of
                      Appeal to DC Circuit Court, filed by DONALD J.
                      TRUMP. (zeg) (Entered: 03/23/2022)

    3/25/22           CLERK’S ORDER [1940608] FILED
                      CONSOLIDATING CASES 22-7030, 22-7031
                      (CONSOLIDATION STARTED 03/25/2022)
                      WITH 22-5069 [22-5069, 22-7030, 22-7031]
                      [ENTERED: 03/25/2022 01:32 PM]

Swalwell v. Trump, et al., Case No. 1:21-cv-586-APM

  Date Filed     #    Docket Text
   3/5/21        1    COMPLAINT against All Defendants with Jury
                      Demand (Filing fee $ 402 receipt number
                      ADCDC-8280044) filed by ERIC SWALWELL.
                      (Attachments: # 1 Civil Cover Sheet, # 2
                      Summons, # 3 Summons, # 4 Summons, # 5
                      Summons) (Caleb, Joseph) (Entered: 03/05/2021)

    5/17/21     13    MOTION to Dismiss pursuant to FED. R. CIV. P.
                      12(b)(6) by RUDOLPH W. GIULIANI.
                      (Attachments: # 1 Memorandum in Support, # 2
                      Text of Proposed Order) (Sibley, Joseph)
                      (Entered: 05/17/2021)




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    5/24/21     14    MOTION to Dismiss for lack of jurisdiction and
                      failure to state a claim by DONALD J. TRUMP,
                      JR, DONALD J. TRUMP. (Attachments: # 1
                      Memorandum in Support, # 2 Text of Proposed
                      Order) (Binnall, Jesse) (Entered: 05/24/2021)

    7/8/21      22    MOTION for Leave to File Brief of Amici Curiae
                      In Support of Plaintiffs by Floyd Abrams,
                      ERWIN CHEMERINSKY, MARTHA MINOW,
                      LAURENCE H. TRIBE. (Attachments: # 1 Brief
                      of Amici Curiae, # 2 Text of Proposed Order
                      [Proposed] Order Granting Motion For Leave To
                      File Brief of Amici Curiae)(Marais, Nicholas)
                      (Entered: 07/08/2021)

    7/8/21      23    Memorandum in opposition to re 14 MOTION to
                      Dismiss for lack of jurisdiction and failure to
                      state a claim, 13 MOTION to Dismiss pursuant
                      to FED. R. CIV. P. 12(b)(6) filed by ERIC
                      SWALWELL. (Andonian, Philip) (Entered:
                      07/08/2021)

    7/8/21      27    MOTION for Leave to File Amicus Brief by
                      Campaign Legal Center Action. (Attachments: #
                      1 Proposed Order, # 2 Proposed Amicus Brief, # 3
                      Appendix A, # 4 Appendix B)(Smith, Paul)
                      (Entered: 07/08/2021)

    7/16/21     30    AMICUS BRIEF by EVAN H. CAMINKER,
                      ANDREW KENT, SHELDON NAHMOD,
                      DAPHNA RENAN, PETER M. SHANE. (eg)
                      (Entered: 07/16/2021)

    7/28/21     35    MOTION for Leave to File an Amicus Curiae
                      Brief in Support of the Plaintiffs by JARED
                      HOLT. (Attachments: # 1 Proposed Amicus
                      Curiae Brief, # 2 Text of Proposed Order)
                      (Williams, Jonathan) (Entered: 07/28/2021)



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    7/28/21           MINUTE ORDER granting 22 Motion for Leave
                      to File Brief of Amici Curiae In Support of
                      Plaintiffs by Floyd Abrams, Erwin Chemerinsky,
                      Martha Minow, and Laurence H. Tribe. Signed
                      by Judge Amit P. Mehta on 7/28/2021. (lcapm3)
                      (Entered: 07/28/2021)

    7/28/21           MINUTE ORDER granting 27 Motion for Leave
                      to File Amicus Brief by Campaign Legal Center
                      Action. Signed by Judge Amit P. Mehta on
                      7/28/2021. (lcapm3) (Entered: 07/28/2021)

    8/16/21     43    REPLY to opposition to motion re 13 MOTION to
                      Dismiss pursuant to FED. R. CIV. P.
                      12(b)(6) filed by RUDOLPH W. GIULIANI.
                      (Sibley, Joseph) (Entered: 08/16/2021)

    8/16/21     44    REPLY to opposition to motion re 14 MOTION to
                      Dismiss for lack of jurisdiction and failure to
                      state a claim filed by DONALD J. TRUMP,
                      DONALD J. TRUMP, JR. (Binnall, Jesse)
                      (Entered: 08/16/2021)

   12/16/21           NOTICE of Hearing: Oral Argument set for
                      1/10/2022 at 1:00 PM in Courtroom 10 before
                      Judge Amit P. Mehta. Members of the public or
                      media may also access this hearing by dialing the
                      court’s toll-free public access line: (877) 848-7030,
                      access code 321-8747. (zjd) (Entered: 12/16/2021)

    1/3/22            NOTICE TO PARTIES. I provide this Notice so
                      that the parties are aware of my prior
                      professional relationships with counsel for
                      Plaintiff Representative Eric Swalwell. From
                      2002 to 2005, I was employed as a trial lawyer at
                      the Public Defender Service for the District of
                      Columbia ("PDS"). Counsel Philip Andonian and



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                        Joseph Caleb also were trial lawyers at PDS
                        during that time period. Additionally, from 2007
                        to 2014, I was counsel and then partner at
                        Zuckerman Spaeder LLP. Counsel Matthew
                        Kaiser was an associate at the firm from 2007 to
                        2009, as I understand it. Since leaving these
                        places of work, I have maintained no more than a
                        social relationship with Messrs. Andonian, Caleb,
                        and Kaiser, largely, if not exclusively, through
                        periodic professional events. I do not believe that
                        these relationships are grounds for recusal but
                        nevertheless provide this Notice in the interest of
                        full disclosure. Signed by Judge Amit P. Mehta
                        on 01/03/2022. (lcapm3) (Entered: 01/03/2022)

     1/4/22             NOTICE of Hearing: The Oral Argument set for
                        1/10/2022 at 1:00 PM before Judge Amit P.
                        Mehta will proceed via videoconference. The
                        courtroom deputy will circulate connection
                        information to counsel. Members of the public or
                        media may access this hearing by dialing the
                        court’s toll-free public access line: (877) 848-7030,
                        access code 321-8747. (zjd) (Entered: 01/04/2022)

    1/10/22             Minute Entry for proceedings held before Judge
                        Amit P. Mehta: Oral Argument held via
                        videoconference on 1/10/2022. Arguments heard
                        and taken under advisement. (Court Reporter:
                        William Zaremba) (zjd) (Entered: 01/10/2022)

    1/14/22      51     NOTICE OF SUPPLEMENTAL AUTHORITY by
                        ERIC SWALWELL (Andonian, Philip) (Entered:
                        01/14/2022)

    1/14/22      52     NOTICE OF SUPPLEMENTAL AUTHORITY by
                        ERIC SWALWELL (Andonian, Philip) (Entered:
                        01/14/2022)




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    1/25/22      55     TRANSCRIPT OF ORAL ARGUMENT VIA
                        ZOOM PROCEEDINGS before Judge Amit P.
                        Mehta held on January 10, 2022; Page Numbers:
                        1-236. Date of Issuance: January 25, 2022. Court
                        Reporter/Transcriber: William Zaremba;
                        Telephone number: (202) 354-3249. Transcripts
                        may be ordered by submitting the Transcript
                        Order Form.
                        For the first 90 days after this filing date, the
                        transcript may be viewed at the courthouse at a
                        public terminal or purchased from the court
                        reporter referenced above. After 90 days, the
                        transcript may be accessed via PACER. Other
                        transcript formats, (multi-page, condensed, PDF
                        or ASCII) may be purchased from the court
                        reporter.

                        NOTICE RE REDACTION OF TRANSCRIPTS:
                        The parties have twenty-one days to file with the
                        court and the court reporter any request to redact
                        personal identifiers from this transcript. If no
                        such requests are filed, the transcript will be
                        made available to the public via PACER without
                        redaction after 90 days. The policy, which
                        includes the five personal identifiers specifically
                        covered, is located on our website at
                        www.dcd.uscourts.gov.

                        Redaction Request due 2/15/2022. Redacted
                        Transcript Deadline set for 2/25/2022. Release of
                        Transcript Restriction set for 4/25/2022. (wz)
                        (Entered: 01/25/2022)

    2/18/22      56     MEMORANDUM OPINION AND ORDER (1)
                        granting Defendant Giuliani’s 13 Motion to
                        Dismiss and (2) granting in part and denying in
                        part Defendants President Trump & Trump Jr.’s
                        14 Motion to Dismiss. The court defers ruling on



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                        Defendant Rep. Mo Brooks’s 20 Petition to
                        Certify and invites him to file a motion to
                        dismiss. Please see attached Memorandum Order
                        and Opinion for further details. Signed by Judge
                        Amit P. Mehta on 02/18/2022. (lcapm3) (Entered:
                        02/18/2022)

    3/18/22      60     NOTICE OF APPEAL TO DC CIRCUIT COURT
                        as to 56 Order on Motion to Dismiss,,,, Order on
                        Motion for Miscellaneous Relief, by DONALD J.
                        TRUMP. Filing fee $ 505, receipt number
                        ADCDC-9113372. Fee Status: Fee Paid. Parties
                        have been notified. (Binnall, Jesse) (Entered:
                        03/18/2022)

    3/25/22             USCA Case Number 22-7030 for 60 Notice of
                        Appeal to DC Circuit Court, filed by DONALD J.
                        TRUMP. (zjf) (Entered: 03/25/2022)

    3/25/22             CLERK’S ORDER [1940608] filed consolidating
                        cases 22-7030, 22-7031 (Consolidation started
                        03/25/2022) with 22-5069 [22-5069, 22-7030, 22-
                        7031] [Entered: 03/25/2022 01:32 PM]

 Thompson, et. al. v. Trump, et al., Case No. 1:21-cv-400-APM

  Date Filed     #      Docket Text
   4/7/21        11     MOTION for Leave to File Amended
                        Complaint by BENNIE G. THOMPSON.
                        (Attachments: # 1 Exhibit Amended Complaint, #
                        2 Text of Proposed Order) (Sellers, Joseph)
                        (Entered: 04/07/2021)

     4/7/21             MINUTE ORDER granting Plaintiff’s 11 Motion
                        for Leave to File Amended Complaint. Federal
                        Rule of Civil Procedure 15(a)(1)(B) permits a
                        plaintiff to amend his pleading once as a matter
                        of right up to 21 days after a defendant has



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                        served a responsive pleading or motion under
                        Rule 12(b), (e), or (f). No defendant has yet filed a
                        responsive pleading or motion. Accordingly,
                        Plaintiff timely seeks to amend his pleading as a
                        matter of right. The Amended Complaint
                        therefore will be the operative pleading in this
                        case. Defendants shall answer or otherwise
                        respond to the Amended Complaint by May 26,
                        2021. Signed by Judge Amit P. Mehta on
                        4/7/2021. (lcapm3) (Entered: 04/07/2021)

    5/26/21      20     MOTION to Dismiss by OATH KEEPERS.
                        (Morgan, Kerry) (Entered: 05/26/2021)

    5/26/21      21     MOTION to Dismiss pursuant to Fed. R. Civ. P.
                        12(b)(6) by RUDOLPH W. GIULIANI.
                        (Attachments: # 1 Memorandum in Support, # 2
                        Text of Proposed Order) (Sibley, Joseph)
                        (Entered: 05/26/2021)

    5/26/21      22     MOTION to Dismiss for lack of jurisdiction and
                        failure to state a claim by DONALD J. TRUMP.
                        (Attachments: # 1 Memorandum in Support, # 2
                        Text of Proposed Order) (Binnall, Jesse)
                        (Entered: 05/26/2021)

     6/4/21      26     RESPONSE re 22 MOTION to Dismiss for lack of
                        jurisdiction and failure to state a claim filed by
                        OATH KEEPERS. (Morgan, Kerry) (Entered:
                        06/04/2021)

     7/1/21      29     Memorandum in opposition to re 21 MOTION to
                        Dismiss pursuant to Fed. R. Civ. P. 12(b)(6), 22
                        MOTION to Dismiss for lack of jurisdiction and
                        failure to state a claim, 20 MOTION to
                        Dismiss filed by KAREN R. BASS, STEPHEN I
                        COHEN, BONNIE WATSON COLEMAN,
                        VERONICA ESCOBAR, PRAMILA JAYAPAL,



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                        HENRY C. JOHNSON, MARCIA KAPTUR,
                        BARBARA J. LEE, JERROLD NADLER,
                        BENNIE G. THOMPSON, MAXINE WATERS.
                        (Attachments: # 1 Appendix, # 2 Appendix)
                        (Sellers, Joseph) (Entered: 07/01/2021)

     7/8/21      30     MOTION for Leave to File Amici Curiae Brief in
                        Support of Plaintiffs by Evan H. Caminker,
                        Andrew Kent, Sheldon Nahmod, Daphna Renan,
                        PETER M. SHANE. (Attachments: # 1 Exhibit
                        Brief of Law Professors as Amici Curiae in
                        Support of Plaintiffs, # 2 Text of Proposed Order
                        Proposed Order) (Gorod, Brianne) (Entered:
                        07/08/2021)

     7/8/21      31     MOTION for Leave to File Brief of Amici Curiae
                        In Support of Plaintiffs by Floyd Abrams,
                        ERWIN CHEMERINSKY, MARTHA MINOW,
                        LAURENCE H. TRIBE. (Attachments: # 1 Brief
                        of Amici Curiae, # 2 Text of Proposed Order
                        [Proposed] Order Granting Motion For Leave To
                        File Brief of Amici Curiae) (Marais, Nicholas)
                        (Entered: 07/08/2021)

     7/8/21      34     MOTION for Leave to File Amicus Brief by
                        Campaign Legal Center Action. (Attachments: #
                        1 Proposed Order, # 2 Proposed Amicus Brief,
                        # 3 Appendix A, # 4 Appendix B) (Smith, Paul)
                        (Entered: 07/08/2021)

    7/19/21      38     REPLY to opposition to motion re 20 MOTION to
                        Dismiss filed by OATH KEEPERS. (Morgan,
                        Kerry) (Entered: 07/19/2021)

    7/28/21      40     MOTION for Leave to File an Amicus Curiae
                        Brief in Support of the Plaintiffs by JARED
                        HOLT. (Attachments: # 1 Proposed Amicus




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                        Curiae Brief, # 2 Text of Proposed Order)
                        (Williams, Jonathan) (Entered: 07/28/2021)

    7/28/21             MINUTE ORDER granting 30 Motion for Leave
                        to File Amici Curiae Brief in Support of
                        Plaintiffs. Signed by Judge Amit P. Mehta on
                        7/28/2021. (lcapm3) (Entered: 07/28/2021)

    7/28/21             MINUTE ORDER granting 31 Motion for Leave
                        to File Brief of Amici Curiae In Support of
                        Plaintiffs. Signed by Judge Amit P. Mehta on
                        7/28/2021. (lcapm3) (Entered: 07/28/2021)

    7/28/21             MINUTE ORDER granting 34Motion for Leave
                        to File Amicus Brief by Campaign Legal Center
                        Action. Signed by Amit P. Mehta on 7/28/2021.
                        (lcapm3) (Entered: 07/28/2021)

    8/16/21      42     REPLY to opposition to motion re 21 MOTION to
                        Dismiss pursuant to Fed. R. Civ. P. 12(b)(6) filed
                        by RUDOLPH W. GIULIANI. (Sibley, Joseph)
                        (Entered: 08/16/2021)

    8/16/21      43     REPLY to opposition to motion re 22 MOTION to
                        Dismiss for lack of jurisdiction and failure to
                        state a claim filed by DONALD J. TRUMP.
                        (Binnall, Jesse) (Entered: 08/16/2021)

   10/11/21             MINUTE ORDER granting Jared Holt’s Motion
                        for Leave to File an Amicus Curiae Brief in
                        Support of the Plaintiffs. As no Defendant
                        opposes the motion, Mr. Holt’s Motion is granted.
                        Signed by Judge Amit P. Mehta on 10/09/2021.
                        (lcapm3) (Entered: 10/11/2021)

   12/16/21             NOTICE of Hearing: Oral Argument set for
                        1/10/2022 at 1:00 PM in Courtroom 10 before
                        Judge Amit P. Mehta. Members of the public or



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                        media may also access this hearing by dialing the
                        court’s toll-free public access line: (877) 848-7030,
                        access code 321-8747. (zjd) (Entered: 12/16/2021)

     1/4/22             NOTICE of Hearing: The Oral Argument set for
                        1/10/2022 at 1:00 PM before Judge Amit P.
                        Mehta will proceed via videoconference. The
                        courtroom deputy will circulate connection
                        information to counsel. Members of the public or
                        media may access this hearing by dialing the
                        court’s toll-free public access line: (877) 848-7030,
                        access code 321-8747. (zjd) (Entered: 01/04/2022)

    1/10/22             Minute Entry for proceedings held before Judge
                        Amit P. Mehta: Oral Argument held via
                        videoconference on 1/10/2022. Arguments heard
                        and taken under advisement. (Court Reporter:
                        William Zaremba) (zjd) (Entered: 01/10/2022)

    1/11/22      56     SUPPLEMENTAL MEMORANDUM to re 20
                        MOTION to Dismiss demanding filing of
                        complete documents embodying conversations
                        and speech relied upon by the Amended
                        Complaint to attempt to show a conspiracy that
                        might include the OATH KEEPERS pursuant to
                        FedREvidence 106 and McCarthy v. Dun &
                        Bradstreet Corp., 482 F.3d 184 (2nd Cir.
                        2007) filed by OATH KEEPERS. (Attachments: #
                        1 Supplement Supplemental Exhibit of
                        Documents (message posts and speech transcript)
                        relied upon in the Amended Complaint to allege a
                        conspiracy, # 2 Exhibit Transcript of Donald
                        Trump’s January 6, 2021, speech proving that
                        there was no conspiracy offered, proposed,
                        suggested or entered into involving the Oath
                        Keepers) (Moseley, Jonathon) (Entered:
                        01/11/2022)




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    1/12/22      57     SUPPLEMENTAL MEMORANDUM to re 20
                        MOTION to Dismiss demanding filing of
                        complete documents embodying conversations
                        and speech relied upon by the Amended
                        Complaint to attempt to show a conspiracy that
                        might include the OATH KEEPERS pursuant to
                        FedREvidence 106 and McCarthy v. Dun &
                        Bradstreet Corp., 482 F.3d 184 (2nd Cir. 2007) --
                        AMENDED filed by OATH KEEPERS.
                        (Attachments: # 1 Supplement exhibit of
                        Documents (message posts and speech transcript)
                        relied upon in the Amended Complaint to allege a
                        conspiracy,, # 2 Exhibit Transcript of Donald
                        Trump’s January 6, 2021, speech proving that
                        there was no conspiracy offered, proposed,
                        suggested or entered into involving the Oath
                        Keepers) (Moseley, Jonathon) (Entered:
                        01/12/2022)

    1/14/22      59     NOTICE OF SUPPLEMENTAL AUTHORITY by
                        ALL Plaintiffs (Sellers, Joseph) (Entered:
                        01/14/2022)

    1/25/22      63     TRANSCRIPT OF ORAL ARGUMENT VIA
                        ZOOM PROCEEDINGS before Judge Amit P.
                        Mehta held on January 10, 2022; Page Numbers:
                        1-236. Date of Issuance: January 25, 2022. Court
                        Reporter/Transcriber: William Zaremba;
                        Telephone number: (202) 354-3249. Transcripts
                        may be ordered by submitting the Transcript
                        Order Form.
                        For the first 90 days after this filing date, the
                        transcript may be viewed at the courthouse at a
                        public terminal or purchased from the court
                        reporter referenced above. After 90 days, the
                        transcript may be accessed via PACER. Other
                        transcript formats, (multi-page, condensed, PDF




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                        or ASCII) may be purchased from the court
                        reporter.

                        NOTICE RE REDACTION OF TRANSCRIPTS:
                        The parties have twenty-one days to file with the
                        court and the court reporter any request to redact
                        personal identifiers from this transcript. If no
                        such requests are filed, the transcript will be
                        made available to the public via PACER without
                        redaction after 90 days. The policy, which
                        includes the five personal identifiers specifically
                        covered, is located on our website at
                        www.dcd.uscourts.gov.

                        Redaction Request due 2/15/2022. Redacted
                        Transcript Deadline set for 2/25/2022. Release of
                        Transcript Restriction set for 4/25/2022.(wz)
                        (Entered: 01/25/2022)

    1/25/22      64     NOTICE OF INTENTION TO JOIN PENDING
                        MOTIONS TO DISMISS by ENRIQUE TARRIO
                        re 21 MOTION to Dismiss pursuant to Fed. R.
                        Civ. P. 12(b)(6), 22 MOTION to Dismiss for lack
                        of jurisdiction and failure to state a claim (Hull,
                        John) (Entered: 01/25/2022)

    1/26/22             MINUTE ORDER. The court treats Defendant
                        Enrique Tarrio as having joined in the motions
                        filed at ECF Nos. 21 and 22, insofar as they are
                        applicable to him. Signed by Judge Amit P.
                        Mehta on 01/26/2022. (lcapm3) (Entered:
                        01/26/2022)

    2/18/22      66     MEMORANDUM OPINION AND ORDER (1)
                        denying Defendant Oath Keepers’ 20 Motion to
                        Dismiss; (2) granting Defendant Giuliani’s 21
                        Motion to Dismiss; and (3) denying Defendant
                        President Trump’s 22 Motion to Dismiss.



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                        Further, with respect to Defendant Tarrio’s 64
                        Notice of Intention to Join Motions to Dismiss,
                        dismissal is also denied as to him. Please see
                        attached Memorandum Opinion and Order for
                        further details. Signed by Judge Amit P. Mehta
                        on 02/18/2022. (lcapm3) Modified on 2/20/2022
                        (lcapm3). (Entered: 02/18/2022)

    3/18/22      69     NOTICE OF APPEAL TO DC CIRCUIT COURT
                        as to 66 Order on Motion to Dismiss,,,,,,,, by
                        DONALD J. TRUMP. Filing fee $ 505, receipt
                        number ADCDC-9113347. Fee Status: Fee Paid.
                        Parties have been notified. (Binnall, Jesse)
                        (Entered: 03/18/2022)

    3/25/22             USCA Case Number 22-7031 for 69 Notice of
                        Appeal to DC Circuit Court filed by DONALD J.
                        TRUMP. (zeg) (Entered: 03/25/2022)

    3/25/22             CLERK’S ORDER [1940608] FILED
                        CONSOLIDATING CASES 22-7030, 22-7031
                        (CONSOLIDATION STARTED 03/25/2022)
                        WITH 22-5069 [22-5069, 22-7030, 22-7031]
                        [ENTERED: 03/25/2022 01:32 PM]




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               :
 JAMES BLASSINGAME                             :
                                               :
 and                                           :
                                               :
 SIDNEY HEMBY                                  :
                                               :
 Plaintiffs,                                   :
                                               :
 v.                                            :          Case No.: 1:21-cv-858-APM
                                               :          Judge Amit P. Mehta
 DONALD J. TRUMP                               :
                                               :
 Defendant.                                    :


                                    AMENDED COMPLAINT

 1.      This is a complaint for damages by U.S. Capitol Police officers for physical and

         emotional injuries caused by Defendant Donald Trump’s wrongful conduct inciting a riot

         on January 6, 2021, by his followers trying to overturn the results of the 2020 presidential

         election.

         I.     THE PARTIES

 2.      The Plaintiffs James Blassingame and Sidney Hemby are United States Capitol Police

         officers. They are both residents and citizens of Maryland. The Defendant Donald J.

         Trump was the 45th President of the United States, from January 20, 2017, to January 20,

         2021. He is a resident and citizen of Florida.

         II.    JURISDICTION AND VENUE

 3.      This Court has jurisdiction under 28 U.S.C. § 1332(a)(1) because the parties are of

         diverse citizenship. The amount in controversy exceeds $75,000, not counting interest

         and costs.



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 4.    This Court has jurisdiction under 28 U.S.C. § 1331 because Plaintiffs assert claims under

       42 U.S.C. § 1985(1).

 5.    This Court has supplemental jurisdiction over Plaintiffs’ non-federal law claims under 28

       U.S.C. § 1367.

 6.    Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)(2) because most

       of the events giving rise to the claims occurred in the District of Columbia.

       III.   FACTUAL BACKGROUND

              A.        Introduction

 7.    PFC James Blassingame is a 17-year veteran of the United States Capitol Police (USCP).

       PFC Sidney Hemby is an 11-year veteran of the USCP.

 8.    Both United States Capitol Police Officers reported for duty on January 6, 2021, without

       any suspicion that they would soon become the targets of Trump’s followers. Those

       followers had assembled in Washington at Trump’s calling for a rally at the White House

       Ellipse that quickly evolved into a violent insurrection at the Capitol.

 9.    The insurrectionists were spurred on by Trump’s conduct over many months in getting

       his followers to believe his false allegation that he was about to be forced out of the

       White House because of massive election fraud by his presidential adversary Joe Biden,

       and that the convening of Congress on January 6 to count the Electoral College results

       and declare the winner was their last chance to “stop the steal.”

 10.   The insurrectionist mob, which Trump had inflamed, encouraged, incited, directed, and

       aided and abetted, forced its way over and past the Plaintiffs and their fellow officers,

       pursuing and attacking them inside and outside the United States Capitol, and causing the

       injuries complained of herein.



                                                 2

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 11.   As a result of Trump’s speech on January 6th, 2021, his conduct and statements leading

       up to and on that date, and his refusal on that date to tell his followers to stop their

       continued violence at the Capitol, Trump engaged in unlawful conduct that resulted in

       injuries to United States Capitol Police officers and Metropolitan Police Department

       officers, including the Plaintiffs. These legal violations include:

       ●   Directing Assault and Battery
       ●   Aiding and Abetting Assault and Battery
       ●   Directing Intentional Infliction of Emotional Distress
       ●   Liability Per Se for Violation of D.C. Code § 22-1322 – Inciting to Riot
       ●   Liability Per Se for Violation of D.C. Code § 22-1321 – Disorderly Conduct
       ●   Conspiracy in Violation of 42 U.S.C. § 1985
       ●   Civil Conspiracy

               B.      Trump’s Conduct Leading Up To the 2020 Presidential Election

 12.   During his 2016 campaign, and throughout his presidency, Trump had threatened

       violence towards his opponents, encouraged his followers to commit acts of violence, and

       condoned acts of violence by his followers, including white supremacists and far right-

       wing hate groups.

 13.   Trump’s stoking of violence by his followers accelerated during the 2020 presidential

       campaign. During the first presidential debate between candidates Trump and Biden, held

       on September 29, 2020, Trump repeatedly asserted, without evidence, that the election

       would be fraudulent and rigged:

       ● “There’s fraud. They found them [ballots] in creeks. They found some, just happened
         to have the name Trump just the other day in a wastepaper basket . . . . This is going
         to be a fraud like you’ve never seen;”

       ● “It’s a rigged election;”

       ● “This is not going to end well.”




                                                  3

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 14.   Asked during that first presidential debate by moderator Chris Wallace to condemn white

       supremacists and far right-wing hate groups, Trump responded, “Proud Boys, stand back

       and stand by.” Minutes later, the Chairman of the Proud Boys, Enrique Tarrio, posted a

       message on Parler, a social networking service popular among extremist groups, saying,

       “Standing by sir.” The Proud Boys were then standing by on January 6, when they

       coordinated, instigated, and led many of the most pivotal actions of the rioters’ rush into

       the Capitol Building. At a morning meeting before the Capitol was stormed, Proud Boy

       Daniel Scott aka Milkshake shouted, “Let’s take the fucking Capitol.”

 15.   At the first presidential debate, Wallace asked if Trump—whom the Constitution

       excluded from any official role in the counting of ballots, the counting of electoral votes,

       or the certification of the election, but who had tremendous sway as a candidate over the

       conduct of his supporters—would urge his supporters to “stay calm” following the

       election, and “not to engage in any civil unrest.” Trump responded, “If it’s a fair election

       I am 100% on board. But if I see tens of thousands of ballots being manipulated, I can’t

       go along with that.” When Wallace then asked if that meant he was going to “tell your

       people to take to the streets,” Trump did not directly respond, but said, “They

       [Democrats] cheat. They cheat. Hey, they found ballots in a wastepaper basket three days

       ago, and they all had the name military ballots. There were military. They all had the

       name Trump on them.” Trump never provided any real evidence to support his claims

       that Democrats were throwing out ballots that had been cast for him.

 16.   In the days leading up to the election, Trump repeated his assertion that his adversaries

       were “trying to steal” the election, which prepared his followers for more such baseless

       assertions once the election was over.



                                                 4

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              C.      Trump Lost the 2020 Presidential Election and Immediately Stepped
                      Up His False Claims of a Stolen Election

 17.   On the night of the election, at 2:30 a.m. on November 4, in a small rally held at the

       White House, Trump claimed that he had won the election, even though hundreds of

       thousands of votes in key swing states were still being counted. As more votes were

       counted, particularly from high-population areas, it became increasingly apparent that Joe

       Biden had won the election. This prompted Trump to begin repeatedly tweeting that the

       election was being stolen:



                    DonaldJ. Trump0                                                      000


                    @realDonaldTrump


              Some or all of the content shared in this Tweet is disputed and might be
              misleading about an election or other civic process. Learn more


            We are up BIG, but they are trying to STEAL the Election.
            We will never let them do it. Votes cannot be cast after
            the Polls are closed!

            (I) Learn about US 2020 election security efforts
            12:49 AM • Nov 4, 2020 • Twitter for iPhone



 18.   These tweets and related statements, while taking advantage of Trump’s platform as

       President and his ability to incite his followers, were issued in Trump’s personal capacity

       as a candidate for elected office.

 19.   On November 5, Trump made a statement, “If you count the legal votes, I easily win. If

       you count the illegal votes, they can try to steal the election from us.”




                                                    5

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 20.   On Saturday, November 7, every major news organization in the country called the

       election for Joe Biden after the count in Pennsylvania showed he held an insurmountable

       lead.

               D.     Trump Called for a “Wild” Protest on January 6, 2021, and His
                      Followers Took His Words as a Call to Arms

 21.   In the weeks following the election, as several states began recounts, Trump continued

       claiming that the election was being stolen, despite offering no evidence that was found

       meritorious by any of the dozens of courts that considered his and his allies’ post-election

       lawsuits.

 22.   Trump’s claims of fraud immediately following the election led to his followers, often

       armed, descending on state capitols and other government buildings throughout the

       country. Between the election on November 3, 2020, and January 6, 2021, there were

       dozens of protests around the country by Trump’s followers. Two of these events

       occurred in the nation’s capital, and at both police officers were injured trying to restrain

       Trump’s followers. Trump knew that both events had turned violent.

 23.   Trump promoted a rally planned for November 14, 2020, in Washington, D.C.:




                                                 6

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                Donald J. Trump 0                                                         000


                @realDonaldTrump


       Heartwarming to see all of the tremendous support out
       there, especially the organic Rallies that are springing up
       all over the Country, including a big one on Saturday in
       D.C. I may even try to stop by and say hello. This Election
       was Rigged, from Dominion all the way up & down!

       CI) This claim about election fraud is disputed
       1:35 PM • Nov 13, 2020 • Twitter for iPhone


       42.5K Retweets      7.8K Quote Tweets      192.1K Likes


 24.   On November 14, 2020, Trump followers gathered at Freedom Plaza in Washington,

       D.C., a few blocks from the White House, in what would be called the first “Million

       MAGA March” (though it was estimated that the crowd numbered in the tens of

       thousands). These included members of far right-wing hate groups, including the Proud

       Boys, Three Percenters, Oath Keepers, and followers of the QAnon conspiracy theory.

 25.   November 14, 2020, Trump issued numerous tweets about the election being stolen,

       while tweeting his support for the rally. He also pushed the idea that rallies like this one

       might result in him “winning” the election:




                                                 7

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                   Donald J. Trump                                  000


                   @realDonaldTrump


           People are not going to stand for having this Election
           stolen from them by a privately owned Radical Left
           company, Dominion, and many other reasons!

           G)   This claim about election fraud is disputed


                Dan Scavino     ~ 0 @DanScavino • 2h




           3:07 PM • Nov 14, 2020 • Twitter for iPhone


            40.7K Retweets    6.5K Quote Tweets      158.5K Likes




                                                   8

                                             JA - 27
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                  Donald J. TrumpO
                  @realDonaldTrump

         We will WIN!

               Dan Scavinoas ~ 0 @DanScavino
           11/14/2020 - Washington, D.C.
           #MarchForTrump #MAGA as~




         8:17 PM • Nov 14, 2020                                                          CD
         0    5    g See Donald J. Trump's other Tweets


 26.   Later in the evening on November 14, violence erupted, as four police officers were

       injured and over twenty-one arrests were made, including destruction of property,

       carrying a pistol without a license, inciting violence, and disorderly conduct.

 27.   On December 12, 2020, Trump followers again gathered in Washington, D.C., for a

       second “Million MAGA March,” (though again, the actual number of Trump followers

       who attended was in the thousands). Again, Trump supported the rally, tweeting on the

       morning of December 12, “WE HAVE JUST BEGUN TO FIGHT!!!”



                                                9

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 28.   As before, members of far right-wing hate groups appeared at the second “Million

       MAGA March,” and Trump followers clashed with D.C. police, at least eight of whom

       were injured. Four people were stabbed. The police made over thirty arrests including ten

       arrests for assault on a police officer, eleven arrests for simple assault, one arrest for

       assault with a deadly weapon, and two arrests for possession of a prohibited weapon.

 29.   Officials warned Trump that his incendiary rhetoric about the election could cause injury

       or death, but he persisted. On December 1, 2020, as Trump placed increasing pressure on

       Georgia election officials to overturn the state’s results which favored Joe Biden, one

       official, Gabriel Sterling, gave a press conference in which he reported on death threats

       made to Georgia election workers, and addressed Trump, saying, “Mr. President, you

       have not condemned these actions . . . . This has to stop . . . . Stop inspiring people to

       commit potential acts of violence. Someone is going to get shot, someone is going to get

       killed. And it’s not right.” Despite this, Trump never condemned the threats made against

       Georgia election officials, and four days before the January 6 insurrection, he implored

       Georgia Secretary of State Brad Raffensperger during a phone call to throw out enough

       lawfully cast votes to swing the election in his favor.

 30.   As his efforts with state officials and in the courts failed, Trump began to focus on

       January 6, 2021, the date Congress was set to count the state-certified election results.

 31.   On December 15, 2020, the Trump campaign made payments to Event Strategies Inc., the

       firm that would be named as the production vendor on the permit application for the

       January 6 rally on the Ellipse.

 32.   On December 19, 2020, Trump began promoting a January 6 rally to his followers:




                                                 10

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                 Donald J. TrumpO
                 @realDonaldTrump

          Peter Navarro releases 36-page report alleging
          election fraud 'more than sufficient' to swing victory
          to Trump washex.am/3nwaBCe. A great report by
          Peter. Statistically impossible to have lost the 2020
          Election. Big protest in D.C. on January 6th. Be there,
          will be wild!




           Peter Navarro releases 36-page report alleging election fraud' ...
           Director of the Office of Trade and Manufacturing Policy Peter
           Navarro published a lengthy report Thursday outlining several ...
           & washingtonexaminer.com

          0 This claim about election fraud is disputed
          6:42 AM • Dec 19. 2020                                                    CD
          C? 196.6K       O 87.3K people are Tweeting about this

 33.   Trump’s December 19th tweet about the January 6th rally was understood by many of his

       supporters as a literal call to arms. For example, within minutes of Trump posting this

       tweet, it was shared on a pro-Trump website called TheDonald.win, with the title:

       “Trump Tweet. Daddy Says Be in DC on Jan 6.” One user “EvilGuy,” said, in response

       to Trump’s call to action, “I will be open carrying and so will my friends. We have been

                                               11

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       waiting for Trump to say the word. There is [sic] not enough cops in DC to stop what is

       coming.”

                        i thedonald.win


                                                         j.        Ev1IGuy

                                                                   Not telling you what to do but I will be
                                                                   open carrying and so WIiimy mends We
                                                                   have been wai1mg for Trump to say the
                                                                   word

                        TRUMP TWEET DADDY SAYS                     There is not enough cops in DC to stop
                        BE IN DC ON JAN. 6TH                       what 1s coming.
                                                                   per-      _;rem   save report   block ~ply


                                                                     Lan,
               OonAld J. Trumc>
                  • D ,!JI      ~                                    I have been wailing for this, he caDed

         Peter Navarro releases 36-page report
                                                                     oo us we the people, patriots never
         alleging election fraud 'more than                          give up. Fight like Trump if fighting fOf
         sufficient' to swing victory to Trump                       generations lo come           ~
         ~ -   ... rr ~ 1 (... . A great report by                                                 "1 block reply
         Peter. Statistically impossible to have lost
         the 2020 Election. Big protest in D.C.on
                                                                     Uncontrollab'eQueel
         January 6th. Be there, will be wild!
                                                                     Same here It is our consbtut10naJnghl
                                                                     to do so regardless of what any mayor
                                                                     says.
                                                                              pamu save "'port blodt r,-p1y


                                                              j.     ArchbishopofKekl5tan

                                                                     Not to mention, National Guard would
         <                     c!J        [I)      IQ         T



 34.   Other users on TheDonald.win commented that they understood Trump’s tweet to be

       “marching orders.” One user said, “doesn’t matter if they steal the election, if patriots

       burst into the building by the thousands and cut the heads off the hydra.” Another said,

       “Storm the People’s House and retake from the fuckin’ commies.” A user called

       “loveshock” wrote:




                                                        12

                                                    JA - 31
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          loveshock 3 points 1 hour ago +7 / -4

          ops don't have "standing" if they are laying on the ground in a pool of their own blood.



 35.   Law enforcement investigations have uncovered communications from Kelly Meggs, the

       self-described leader of the Florida chapter of the Oath Keepers, revealing that within

       days, supporters—based on Defendant Trump’s call that the rally will be wild—began

       plotting traveling to Washington D.C. “to insurrection.” Contemporaneous

       communications from Meggs indicated he knew the January 6 event would be no mere

       “rally,” and that the Proud Boys, Oath Keepers, and other militia members were

       discussing how to, as described by Meggs, “work together and shut this shit down.”

 36.   In the week before January 6, Trump repeatedly encouraged his followers to attend the

       event and continually referred to “Stop the Steal.”


                   Donald J. Trump 0
                   @realDonaldTrump

          The BIG Protest Rally in Washington, D.C., will take
          place at 11.00 A.M. on January 6th. Locational details
          to follow. StopTheSteal !
          7:23 PM· Jan 1, 2021                                  G)

          v 4 g See Donald J.Trump's other Tweets

 37.   Law enforcement investigations have uncovered location, cellular, and call record data

       indicating that in the days just before the January 6 insurrection, a member of the Proud

       Boys was in communication with a person associated with the White House.

 38.   The day before the January 6 session of Congress, Trump gave his followers further

       motivation to “be wild” at the rally, as he promoted the baseless idea that Vice President


                                                    13

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       Mike Pence could single-handedly reject the election outcome based on false claims that

       some states wanted to “decertify” or “correct” election results that were not in Trump’s

       favor.


                 Donald J. TrumpO
                 @realDonaldTrump

          The Vice President has the power to reject
          fraudulently chosen electors.
          4:06 PM • Jan 5, 2021                                                     CD
          <::?   g See Donald J.Trump's other Tweets


                  Donald J. Trump O
                  @realDonaldTrump

          If Vice President @Mike_Pence comes through for us,
          we will win the Presidency. Many States want to
          decertify the mistake they made in certifying
          incorrect & even fraudulent numbers in a process
          NOT approved by their State Legislatures (which it
          must be). Mike can send it back!
          CDThis claim about election fraud is disputed
          6:00 AM • Jan 6, 2021                                                     CD
          <:::) 269.3K    Q 142.lK people are Tweeting about this




                                               14

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                   Donald J. Trump O
                   @realDonaldTrump

           States want to correct their votes, which they now
           know were based on irregularities and fraud, plus
           corrupt process never received legislative approval.
           All Mike Pence has to do is send them back to the
           States, AND WE WIN. Do it Mike, this is a time for
           extreme courage!
           0 This claim about election fraud is disputed
           1:17 PM • Jan 6, 2021                                                        CD
           Q   213.SK       Q 85.8K people are Tweeting about this


 39.   Trump’s 2020 campaign, along with its joint fundraising committees, made more than

       $3.5 million in direct payments to people and firms involved in the Washington, D.C.

       demonstrations on January 6.

 40.   Trump’s continued campaign to incite his followers to violently overturn the results of

       the election reflected the fact that under the U.S. Constitution, the President’s official

       responsibilities do not include determining the outcome of a presidential election. All his

       conduct inciting his followers was conducted in his personal capacity as a candidate for

       elected office, not in any official capacity as President.

 41.   The Constitution prescribes that the selection of electors shall be determined by “each

       state.” U.S. Const. art. II, sec. 1, cl. 2. The Constitution prescribes no role for the sitting

       president in their selection.

 42.   The selection of the next president is made by the electors when they “meet in their

       respective states and vote by ballot for President and Vice-President.” U.S. Const.,




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       amend. XII. The Constitution prescribes no role for the sitting president in determining

       the outcome of that vote.

 43.   The Framers were so committed to excluding the sitting president from a role in the

       selection of the next president that they prohibited electors from holding an Office of

       Trust or Profit under the United States, U.S. Const. art. II, sec. 1, cl. 2, lest those electors

       otherwise “be suspected of too great devotion to the President in office.” The Federalist

       No. 68 (Alexander Hamilton).

 44.   The Constitution prescribes that the counting of the votes that are cast and certified by the

       Electors in their respective states shall be conducted by the President of the Senate in the

       presence of the Senate and House of Representatives. The Constitution prescribes no role

       for the sitting president in determining the outcome of that count either.

               E.      January 6, 2021

 45.   On January 6, 2021, thousands of Trump’s followers congregated on the National Mall

       near the White House. Many were armed members of far right-wing hate organizations

       like the Proud Boys. Trump issued a directive for Republicans to “FIGHT” early in the

       day:




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                    Donald J. Trumpe
                    @realDonaldTrump

         Get smart Republicans. FIGHT!

                Will Chamberlain       @willchamberlain
           Republicans confirmed Justice Barrett, which they had the clear,
           lawful right to do, and in response Chuck Schumer said
           "EVERYTHING IS ON THE TABLE NOW."

           If that's the case, why shouldn't Republican legislators go to the
           wall for the President?

         5:43 AM • Jan 6, 2021                                                        CD
         Q      2    g See Donald J. Trump's other Tweets

 46.   United States Capitol Police Officer PFC James Blassingame reported to work at 5:30

       a.m., but on the way to the Capitol, he could see that this was different from the many

       protests he had seen at the Capitol over his years in service.

 47.   At 5:15 a.m., he could see large numbers of people walking up D Street, carrying flags

       bearing symbols and slogans including “MAGA” slogans, “Trump 2020,” and “Don’t

       Tread on Me.”

 48.   Ordinarily, US Capitol Police shifts began with “roll call,” to disseminate information

       from the command staff. On January 6, 2021, Officer Blassingame’s shift omitted “roll

       call.”

 49.   Instead, he was sent to staff the steps on Neptune Plaza, at the Library of Congress’s

       Jefferson Building, across the street from the East Front of the Capitol.

 50.   By 7 a.m., Officer Blassingame could see that a large group of people was amassing on

       the plaza, directly in front of the East Front of the United States Capitol.




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 51.   He said to his USCP colleague: “This isn’t going to be what they think it’s going to be.”

       Throughout the morning, Officer Blassingame was on “outside patrol” on the east side of

       First Street S.E., across from the Capitol building.

 52.   Officer Hemby was assigned to the Civil Disturbance Unit, which was also unusual.

       There were no briefings about what he and his fellow officers should expect.

 53.   The day immediately felt to Officer Hemby like it would be out of the norm, because of

       the number of people assembling.

 54.   He was sent to his post in front of the Rotunda Steps on the East Front of the Capitol,

       behind bicycle racks set up to maintain a perimeter around the building. He was

       instructed only to make sure he and the other officers should “space out,” because they

       did not have enough coverage.

 55.   Officer Hemby was used to seeing the plaza on the East Front of the Capitol wide open

       and mostly empty. The presence of small numbers of protestors was not a big concern or

       unusual, but this day, their number and aggressiveness were unprecedented in his

       experience.

 56.   On January 6, a stage had been set up by the protesters, and the gathering crowd was

       shouting, singing, praying, swearing, and yelling. Among the more common chants he

       heard were “Stop the Steal,” and “Fight for Trump.”

 57.   Someone had set up speakers, from which Officer Hemby could hear Trump’s speeches

       from prior dates being broadcast.

 58.   Beginning at 7 a.m., speakers took to the stage at the Ellipse, just south of the White

       House, where thousands of protesters had gathered to listen. The rally was broadcast live

       on several news outlets, and could be watched streaming over the internet, and could



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       therefore be watched by those protesters who were not on the Ellipse itself, including

       those already near the Capitol. Numerous Trump allies spoke before Trump took the

       stage, all of whom repeated the message that the election had been stolen, that the

       country as they knew it was about to fall, and that it was up to the crowd to save the

       country, in the words of Trump’s personal attorney Rudy Giuliani, in a “trial by combat.”

 59.   The rally at the ellipse was a private event, organized in part by Trump’s former

       campaign staff. As the Wall Street Journal reported, the event was “arranged and funded

       by a small group including a top Trump campaign fundraiser and donor facilitated by far-

       right show host Alex Jones.”

 60.   Trump took the stage at noon on January 6, 2021. In an hour and fifteen-minute speech,

       Trump repeatedly claimed that the election had been “rigged” and “stolen,” and said:

       ● “They rigged it like they’ve never rigged an election before;”
       ● “We will never concede, it doesn’t happen. You don’t concede when there’s theft
         involved. Our country has had enough. We will not take it anymore and that’s what
         this is all about. To use a favorite term that all of you people really came up with, we
         will stop the steal;”

       ● “When you catch somebody in a fraud, you’re allowed to go by very different rules;”

       ● “You’ll never take back our country with weakness. You have to show strength, and
         you have to be strong;”

       ● “And we fight. We fight like hell. And if you don’t fight like hell, you’re not going to
         have a country anymore;”

       ● “And we’re going to the Capitol . . . . But we’re going to try and give our
         Republicans, the weak ones because the strong ones don’t need any of our help.
         We’re going to try and give them the kind of pride and boldness that they need to take
         back our country.”

 61.   As he was making these remarks, Trump’s followers on the Ellipse began chanting “Fight

       like Hell,” and “Fight for Trump.” After he was done speaking, they changed to, “Storm

       the Capitol,” “Invade the Capitol Building,” and “Take the Capitol right now.”

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 62.   At the Capitol, Officers Blassingame and Hemby watched the crowd swell on the east

       side of the Capitol.

 63.   While Trump was speaking, at 12:49 p.m., Capitol Police responded to a report of a

       possible explosive device at the Republican National Committee Headquarters, which

       was later identified as a pipe bomb. Shortly afterward, a second pipe bomb was found at

       the headquarters of the Democratic National Committee. Both were three blocks from the

       Capitol.

 64.   Both Officers Blassingame and Hemby heard the “10-100” radio call for the suspicious

       packages at the Republican and Democratic National Headquarters.

 65.   As Trump concluded his speech near the White House, his followers who were already at

       the Capitol became insurrectionists. Thousands of them broke through police barricades

       and stormed up the steps of the Capitol on both fronts of the building, attacking and

       injuring police officers, including the Plaintiffs. The insurrectionists finally entered the

       Capitol itself, intent on committing further acts of violence against elected officials,

       where the insurrectionists continued to attack police officers. Many of these

       insurrectionists have since been charged with crimes.

 66.   Some of these protesters broke through the outer perimeter of barricades west of the

       Capitol building while Trump was still speaking, at 12:53 p.m. By 1:03 p.m., they had

       pushed Capitol Police onto the west Capitol steps. Many of them wore Trump hats and

       shirts, waved Trump flags, and bore Trump insignia around their necks. As the

       insurrectionists began battling with police, one was overheard saying, “It’s us versus the

       cops!” A man yelled at police through a megaphone plastered with stickers from




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       “InfoWars,” a website operated by the right-wing conspiracy theorist Alex Jones, “You

       are traitors to the country!”

 67.   At 1:00 p.m., Capitol Police Chief Steven Sund called for backup from the Metropolitan

       Police Department, which deployed approximately 100 officers to the Capitol grounds

       within minutes. Shortly thereafter, Chief Sund asked House Sergeant at Arms Paul Irving

       and Senate Sergeant at Arms Michael Stenger to declare an emergency and call for the

       deployment of the National Guard. Shortly after that, Officer Hemby could hear on his

       radio that crowds on the West Front of the Capitol were trying to push through the bike

       rack barriers and the officers posted there.

 68.   The crowd on the East Front was growing throughout the 1 o’clock hour. Officer Hemby

       and other officers were spaced out along the line of bike racks, responding to protesters’

       periodic attempts to push through the bike racks.

 69.   By 1:30 p.m., on the West Front of the Capitol, Capitol Police officers were forced by

       insurrectionists to the top of the Capitol steps. Meantime, Trump’s speech had ended, and

       many more thousands of protesters began marching toward the Capitol. About forty

       percent of the phones tracked near the rally stage on the National Mall during the

       speeches were found in and around the Capitol during the insurrection, showing that

       many of those who were listening to Trump’s speech followed his direction to march on

       the Capitol.

 70.   At around 1:45 p.m., the insurrectionists overcame the Capitol Police officers protecting

       the Capitol’s west steps, and the officers pulled back into the Capitol itself.




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 71.   Officer Blassingame had been called to the Capitol from his post across the plaza on the

       East Front and was inside the Capitol building when he heard on his radio that the West

       Front steps had been overtaken by the insurrectionists.

 72.   Officer Blassingame looked out the west doors and was shocked to see that four of his

       colleagues were pinned to the doors by a large and surging crowd of aggressive people

       dressed in Trump and MAGA gear and hats and carrying large Trump campaign flags.

 73.   Officer Hemby heard in real time on his radio when the officers on the West Front were

       overcome, and immediately after, just before 2 p.m., the crowd began to swell and surge

       on the East Front.

 74.   Officer Hemby believed that more officers would come to help, but because the West

       Front had already been breached and officers were being attacked on that side of the

       Capitol, no one else was available.

 75.   Officer Hemby looked to his left and saw that the crowd had broken through the barriers.

       A tidal wave of insurrectionists attacked the plaza steps, and due to the size and

       aggressiveness of the crowd, Officer Hemby and his colleagues were quickly

       outnumbered.

 76.   As people dressed in Trump gear and carrying large Trump flags stormed through the

       barriers, Officer Hemby knew he and the other officers would be unable to hold them

       against the relentless pushing and shoving.

 77.   Officer Hemby ran to the East Front stairs to try to stop the crowd, but it was too late, and

       the crowd was too large and aggressive.

 78.   The crowd chased him and his fellow officers to the top of the stairs and forced them

       against the doors.



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 79.     At 1:49 p.m.,1 after Trump had returned to the White House, and was reportedly watching

         on TV as events were unfolding at the Capitol, he tweeted out the entirety of his speech:

                               Donald J. TrumpO
                               @realDonaldTrump




                        Watch LIVE: Save America March at The Ellipse featuring
                        President @realDonaldTrump
                        6' pscp.tv

                       6:49 PM • Jan 6, 2021                                             CD
                       <:?13      g See Donald J.Trump's other Tweets


 80.     At 1:59 p.m., insurrectionists pushed Capitol Police to the top of the east Capitol steps,

         and by 2:10 p.m., insurrectionists began attempting to break into the building through

         windows on the west side.

 81.     The Proud Boys made up a large portion of the first wave of insurrectionists to breach the

         Capitol and assault Capitol Police. Proud Boys also took deliberate steps to prevent the

         Capitol Police from securing the Capitol against unlawful entrants. And Proud Boy

         Dominic Pezzola, who was one of the first rioters to gain entrance into the Capitol after



 1
   On January 8, 2021, Twitter permanently suspended Donald Trump’s personal account, removing his tweets from
 view. Publicly available archives of Trump’s tweets are limited and as a result, some of the images of Trump’s
 tweets used in this Complaint, such as the one in this paragraph, feature timestamps from other than the Eastern
 Time Zone.

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            he used a Capitol Police shield to break a window, stated on a video subsequently posted

            to social media: “Victory smoke in the Capitol, boys. This is fucking awesome. I knew

            we could take this motherfucker over [if we] just tried hard enough.”

 82.        An FBI Special Agent later submitted an affidavit in support of a criminal complaint

            against Pezzola stating that Pezzola was part of a group that “said that anyone they got

            their hands on they would have killed, including Nancy Pelosi,” and that they “would

            have killed [Vice President] Mike Pence if given the chance.”2

 83.        Officer Hemby was crushed against the doors on the east side trying to hold the

            insurrectionists back. Over and over, he tried to tell the insurrectionists that the doors

            opened outward and that pressing him into the door would do no good.

 84.        But the insurrectionists continued to scream, “Fight for Trump,” “Stop the Steal,” and

            various other slogans, as they struck him with their fists and whatever they had in their

            hands. Things were being thrown at him, and he was sprayed with chemicals that irritated

            his eyes, skin, and throat.

 85.        Some of the mob wore military-style tactical gear. One man had gloves with hard

            knuckles. One attacker dropped a knife, which a fellow officer kicked behind the officers

            and out of the insurrectionist’s reach.

 86.        One insurrectionist screamed in Officer Hemby’s face that he was “disrespecting the

            badge,” and that the officers were “not patriots.”

 87.        Eventually, the insurrectionists did get inside the Capitol from the East Front. For hours,

            as the grounds were cleared of Defendant’s followers, Officer Hemby continued to man

            his post at the top of the Rotunda steps outside the East Front of the Capitol. The



 2
     (Brackets in original).

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       insurrectionists were demanding that Officer Hemby and his fellow officers get out of the

       way so the mob could get to the Congress members. They were trying to convince

       officers to join their side and fight against Congress. Officer Hemby and his fellow

       officers stood their ground.

 88.   Officer Hemby was attacked relentlessly. He was bleeding from a cut located less than an

       inch from his eye. He had cuts and abrasions on his face and hands and his body was

       pinned against a large metal door, fending off attacks.

 89.   His primary focus was to survive and simply get home.

 90.   By 2:12 p.m., the insurrectionists entered the building through broken windows on both

       sides of the Capitol, opening up a door for additional insurrectionists to enter.

 91.   Some of those who entered had guns. Some were in helmets and tactical gear. Many

       carried baseball bats, Trump flags, hockey sticks, fire extinguishers, stolen police shields,

       collapsible batons, and other weapons.

 92.   Shortly thereafter, Vice President Pence was removed from the Senate chamber and the

       Senate was called into recess. Capitol Police confronted the insurrectionists but were

       greatly outnumbered. Outside the Capitol, the mob shouted, “Hang Mike Pence!” and had

       erected a gallows.

 93.   Inside the Capitol, the insurrectionists continued to physically attack Capitol Police,

       while taunting them, saying, among other things, “You’re outnumbered. There’s a

       fucking million of us out there. And we are listening to Trump—your boss,” “We can

       take you out,” and, “We were invited here by the President of the United States.”

 94.   As Officers James Blassingame and Sidney Hemby attempted to protect themselves from

       the insurrectionists, Trump watched the events unfold on live television. Those who were



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        with him claimed that Trump was “delighted” and was “confused about why other people

        on his team weren’t as excited as he was.” Others described Trump as “borderline

        enthusiastic” about the unfolding violence.

 95.    Officer Blassingame and the small group of officers with him inside the Capitol were

        powerless to help the officers he could see on the other side of the doors, pinned to the

        West Front of the Capitol building.

 96.    Officer Blassingame heard the call: “They’re coming through the windows!” and ran to

        the stairs to the Crypt area on the first floor, directly below the Rotunda.

 97.    Inside the Crypt with a small group of USCP officers, Officer Blassingame looked north

        and saw a sea of people running toward him.

 98.    The hallway to the north of the Crypt was a choking point, and as the crowd entered the

        Crypt, it quickly filled with insurrectionists.

 99.    Officer Blassingame was one of just eight or nine officers facing the insurrectionists

        charging into the Crypt. The USCP officers tried to form a line against the

        insurrectionists but were dramatically outnumbered and overwhelmed as they became the

        targets of the mob’s attack.

 100.   The insurrectionists were enraged and inflamed – chanting and shouting “Stop the Steal!”

        “We’re patriots!” “It’s our right!” and “Our House!”

 101.   The insurrectionists were throwing items, and striking Officer Blassingame and the other

        USCP officers with their fists and weapons.

 102.   Among the weapons Officer Blassingame could see were flagpoles like those he had seen

        on D Street early in the morning; water bottles; bottles of other unknown liquids; parts of




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        signs they were ripping from the walls of the Crypt and hallway; and flags, flagpoles, and

        rope-line posts that had been taken from the Crypt and other parts of the Capitol building.

 103.   The insurrectionists were clad in and carrying Trump, QAnon, Proud Boys, and Oath

        Keepers-themed clothing, hats, and flags. Law enforcement investigations have since

        revealed that Jessica Marie Watkins, a member of the Oath Keepers, stated on an Oath

        Keeper communication channel during the insurrection that “We have a good group . . . .

        We are sticking together and sticking to the plan.”

 104.   Foremost in Officer Blassingame’s mind was the terrifying certainty that the

        insurrectionists were interested in him and the other officers not going home to their

        families that night.

 105.   The front line of insurrectionists was being pressed from behind by waves of newly

        arriving insurrectionists.

 106.   Then a forceful surge of insurrectionists pushed forward and slammed Officer

        Blassingame against a stone column. He struck his spine and the back of his head and

        was unable to move.

 107.   For the first time in his life, people were yelling into his face, calling him a “nigger”

        repeatedly and throughout the attack in the Crypt. He lost count of the many times the

        racial slur was hurled at him.

 108.   Insurrectionists threatened him they would “fuck you up if you don’t get out of our way,”

        and to “get down or I’ll put you down.”

 109.   The insurrectionists struck Officer Blassingame in his face, head, chest, arms, and what

        felt like every part of his body. Insurrectionists used their fists and had weapons that




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        ranged from flagpoles to stanchions and building directional signs, water bottles and

        other objects he could not identify.

 110.   The threats and attacks on Officer Blassingame seemed endless.

 111.   Officer Blassingame’s sole focus was to do what he could to survive.

 112.   Eventually, he was able to unpin himself from the column and move toward the South

        hallway, where he thought there might be more officers. As he moved through the

        hallway, he tried to bring other officers with him.

 113.   Once free from the insurrectionist mob, Officer Blassingame went toward Representative

        Steve Scalise’s office in the Capitol to assist the evacuation of members, which was

        being staged in the Ways and Means Committee meeting room.

 114.   In a phone call to the White House, House Minority Leader Kevin McCarthy begged

        Trump to call off the insurrectionists, pleading with him that the rioters were all Trump

        followers. Trump refused to do so, and told McCarthy, “Well, Kevin, I guess these

        people are more upset about the election than you are.”

 115.   Sen. Ben Sasse has stated that White House officials reported that Defendant Trump was

        “delighted” to hear of the Capitol break-in and further that he was excited that rioters

        were “pushing against Capitol Police trying to get into the building.”

 116.   As Trump watched his followers (to whom he had lied when he told them that he would

        be joining them in walking to the Capitol) terrorize the Capitol and attack the police who

        guarded it, Trump’s advisors urged him to make a statement calling on his followers to

        stop. Trump chose not to condemn the attack. Instead, at 2:24 p.m., Trump tweeted, and

        further incited his followers against his own Vice President whose life was being

        threatened:



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                     Donald J. TrumpO
                     @realDonaldTrump

           Mike Pence didn't have the courage to do what should
           have been done to protect our Country and our
           Constitution, giving States a chance to certify a
           corrected set of facts, not the fraudulent or
           inaccurate ones which they were asked to previously
           certify. USA demands the truth!
           0 This claim about election fraud is disputed
           7:24 PM • Jan 6, 2021                                                       CD
           Q       194.6K   Q 146.SK people are Tweeting about this


 117.   An insurrectionist at the Capitol read this tweet aloud from the steps of the Capitol.

        Insurrectionists then chanted, “Mike Pence is a traitor,” and continued their assault.

 118.   Then, at 2:38 p.m., an hour after the first breach, Trump still chose not to call off the

        attack, but instead issued a banal statement of support for law enforcement, and stated,

        “stay peaceful” when he could see that his followers at the Capitol were anything but.



                    Donald J. Trump O
                    @realDonaldTrump

         Please support our Capitol Police and Law
         Enforcement. They are truly on the side of our
         Country. Stay peaceful!
         7:38 PM • Jan 6, 2021                                                            CD
         Q     6      g See Donald J.Trump's other Tweets




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 119.   At around 2:44 p.m., Ashli Babbitt, an Air Force veteran and Trump follower, was shot

        and killed as she attempted to climb through a broken window in a set of locked doors

        that led to where House members were fleeing.

 120.   Officer Blassingame was at the Ways and Means room and heard that gunshot upstairs.

        At the time, he did not have any idea who had been shot or had done the shooting. He did

        not know whether it was a singular event or the beginning of something even more

        dangerous than he had already faced.

 121.   His reflexive reaction to the gunshot sent him further into “survival mode.” He rapidly

        assessed whether it would be necessary to draw guns. But even in the face of that reflex,

        he continued to help protect members of Congress who were sheltering in the Ways and

        Means room.

 122.   He remained locked down in the Ways and Means room with members for hours, in a

        scenario that presented a different threat to his health and safety. Officer Blassingame

        was acutely aware that many in the Ways and Means room were neither masked nor

        socially distanced from Covid-19 transmission. He had no option but to remain in place.

 123.   By 3:00 p.m., the District of Columbia local government issued a notice of an emergency

        citywide curfew to begin at 6 p.m.

 124.   Meanwhile, Trump’s followers at the Capitol shouted, “We want Trump!” They attacked

        officers with rocks, bottles, fire extinguishers, metal poles, bear spray, and pepper spray.

        Officers reported being “flanked” and “los[ing] the line.” For hours, officers were forced

        into hand-to-hand combat to prevent more rioters from entering the Capitol.

 125.   At 4:17 p.m., Trump tweeted a recorded video directed to his followers as they continued

        to ransack the Capitol. In the video, Trump told the insurrectionists, “I know your pain, I



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        know you’re hurt,” and repeated his “big lie” about the stolen election that had driven the

        insurrectionists to the Capitol in the first place. He then said to his followers who had

        invaded the Capitol, assaulted and severely injured police officers, destroyed property,

        and generally tried to overthrow the Congress as it carried out its duty of certifying a

        presidential election: “Go home. We love you. You’re very special.”

 126.   At around 5:40 p.m., Capitol Police, with reinforcements from the Metropolitan Police

        and the National Guard, finally were able to begin to clear the Capitol. By that time, 140

        police officers were physically hurt, and many more would be emotionally scarred. One

        Capitol police officer suffered a fatal stroke linked to the events of January 6 and two

        others took their own lives shortly thereafter.

 127.   After the world had just watched the insurrectionists attack police, threaten members of

        Congress, and destroy property within the Capitol, Trump explained the day’s events,

        once again reiterating his “big lie” and celebrating his followers’ actions:

                 Donald J. Trump 0                                                             •••
                 @realDonaldTrump


        These are the things and events that happen when a
        sacred landslide election victory is so unceremoniously &
        viciously stripped away from great patriots who have
        been badly & unfairly treated for so long. Go home with
        love & in peace. Remember this day forever!
        (D This claim of election fraud is disputed, and this Tweet can't be replied to,
              Retweeted, or liked due to a risk of violence

        6:01 PM • Jan 6, 2021 • Twitter for iPhone




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 128.   At approximately 7 p.m., Trump’s agent Rudolph Giuliani attempted to leave a voicemail

        for Sen. Tuberville (but then left the voicemail in another Senator’s voicemail box, who

        then subsequently released the messaged to the press) requesting that Sen. Tuberville “try

        to just slow [the congressional vote] down . . . so that we can get ourselves into

        tomorrow.”

 129.   At about 7:30 p.m., Officer Blassingame was finally able to leave the Ways and Means

        room.

 130.   As he walked through the halls of the Capitol, the aerosol chemicals from the bear spray,

        pepper spray, and tear gas burned his eyes and throat. It was so strong, that even hours

        after he left the Capitol, he could taste it in his mouth.

 131.   Throughout the dangerous and chaotic day, his family could see some of what was

        happening to Officer Blassingame in real time, but he was unable to communicate to

        comfort and reassure his wife and family in real time.

 132.   It was not clear to him on January 6 that he would survive to make it home.

 133.   He did finally get home at midnight, but only to return for a 7 a.m. shift the next morning,

        which would be the beginning of a month of twelve- to sixteen-hour shifts.

 134.   Officer Blassingame suffered injuries to his head and back. He continues to have pain in

        his back, and the severe emotional toll the January 6 insurrection has taken on Officer

        Blassingame continues to reveal itself.

 135.   He is haunted by the memory of being attacked, and of the sensory impacts—the sights,

        sounds, smells and even tastes of the attack remain close to the surface. He experiences

        guilt of being unable to help his colleagues who were simultaneously being attacked; and

        of surviving where other colleagues did not.



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 136.   The weight on Officer Blassingame has been heavy and pervasive. He was not able to

        sleep and he could not talk about what happened, even with his wife and friends.

 137.   He suffered from depression that he could not address because he was too consumed with

        a sense of obligation to continue on with his professional responsibilities. Because the

        attack happened in the place to which he reports daily, he is unable to avoid most of the

        triggers of his emotional reactions.

 138.   Officer Hemby remained on the East Front of the Capitol until the complex was cleared

        of insurrectionists.

 139.   He was unable to seek medical assistance until after 9 p.m.

 140.   At first, Officer Hemby did not fully appreciate how physically and mentally exhausted

        he was.

 141.   When he got home on the night of January 6, 2021, he was in a heightened emotional

        state and unable to sleep. He relived the moments he was under attack. He felt unsafe and

        each time he drifted off to sleep, he was awakened by the fear that people were trying to

        break into his home.

 142.   As a result of the attack, Officer Hemby’s left hand and left knee became swollen and

        painful. He was sprayed in the face and body with chemical sprays. His back and neck

        ached, and his skin burned.

 143.   Officer Hemby is under the care or an orthopedic medical specialist and receives physical

        therapy two to three days per week for his neck and back.

 144.   He continues to sleep poorly and feels hyper-aware and on high alert during his waking

        hours.




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 145.   Officer Hemby normally has a calm demeanor but has struggled to manage the emotional

        fallout from being relentlessly attacked. He has spoken with Employee Assistance

        Program counselors to talk about managing the emotional impact of being targeted and

        dealing with the level of aggression to which he was subjected.

 146.   But for the fact that so many of his fellow officers were also injured and unable to report

        for duty, Officer Hemby would have used leave to recover from his injuries.

               F.      Lawmakers in the Capitol Recognized Trump as the Instigator of the
                       Attack

 147.   In the aftermath of the January 6 insurrection, leaders within Trump’s own party publicly

        said that Trump’s “big lie” about the election and his provocation of his followers caused

        the January 6 insurrection.

        a.     In a February 18, 2021 statement, Sen. Mitt Romney (R-Utah) said, “I hear many

               calls for unity. It is apparent that calling for unity while at the same time

               appeasing the big lie of a stolen election is a fraud. It is the lie that caused the

               division. It is in the service of that lie that a mob invaded the Capitol on January

               6th.”

        b.     On January 12, 2021, Liz Cheney (R-Wyo.), the third highest ranking Republican

               in the House of Representatives, said, “The President of the United States

               summoned this mob, assembled the mob, and lit the flame of this attack.

               Everything that followed was his doing. None of this would have happened

               without the President. The President could have immediately and forcefully

               intervened to stop the violence. He did not. There has never been a greater

               betrayal by a President of the United States of his office and his oath to the

               Constitution.”


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        c.     On Feb. 13, 2021, Senator Mitch McConnell (R-Ky.) said:

               There’s no question, none, that President Trump is practically and morally
               responsible for provoking the events of the day.

               The people who stormed this building believed they were acting on the
               wishes and instructions of their president, and having that belief was a
               foreseeable consequence of the growing crescendo of false statements,
               conspiracy theories and reckless hyperbole which the defeated president
               kept shouting into the largest megaphone on planet Earth. He did not do his
               job. He didn’t take steps so federal law could be faithfully executed and
               order restored. No. Instead, according to public reports, he watched
               television happily – happily – as the chaos unfolded. Even after it was clear
               to any reasonable observer that Vice President Pence was in serious danger.

        McConnell also said:

               President Trump is still liable for everything he did while he was in office,
               as an ordinary citizen, unless the statute of limitations has run, still liable
               for everything he did while in office, didn't get away with anything yet –
               yet.

               We have a criminal justice system in this country. We have civil litigation.
               And former presidents are not immune from being held accountable by
               either one.

               G.      The Insurrectionists Have Since Stated They Stormed the Capitol at
                       Trump’s Direction

 148.   Many of the rioters cited Trump’s words and conduct as the inspiration for their violent

        actions. For example, the day after the insurrection, Jacob Angeli Chansley (the “QAnon

        Shaman”) called the FBI to tell them that “he came as a part of a group effort, with other

        ‘patriots’ from Arizona, at the request of the President that all ‘patriots’ come to D.C. on

        January 6, 2021.” Later, Chansley’s lawyer Al Watkins said in an interview, “Let’s roll

        the tape. Let’s roll the months of lies, and misrepresentations and horrific innuendo and

        hyperbolic speech by our president designed to inflame, enrage, motivate . . . What’s

        really curious is the reality that our president, as a matter of public record, invited these



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        individuals, as president, to walk down to the Capitol with him.” He also said that

        Chansley “regrets very much having . . . just been duped by the president.”

 149.   Attorneys for Proud Boys member William Chrestman, said in court papers that Trump

        gave the mob “explicit permission and encouragement” to do what they did, providing

        those who obeyed him with “a viable defense against criminal liability.” They further

        stated on Chrestman’s behalf, “It is an astounding thing to imagine storming the United

        States Capitol with sticks and flags and bear spray, arrayed against armed and highly

        trained law enforcement. Only someone who thought they had an official endorsement

        would even attempt such a thing. And a Proud Boy who had been paying attention would

        very much believe he did.”

        IV.     LIABILITY

                                           COUNT ONE
                                  (Directing Assault and Battery)

 150.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

        set forth fully herein and further state:

 151.   Through his words and conduct described herein, Defendant, Donald J. Trump, directed

        and ratified the intentional torts of assault and battery committed by his followers on

        James Blassingame and Sidney Hemby.

 152.   As the leader of this violent mob, who took their cues from his campaign rhetoric and

        personal Tweets and traveled from around the country to the nation’s capital at Trump’s

        invitation for the January 6 rally, Trump was in a position of extraordinary influence over

        his followers, who committed assault and battery on James Blassingame and Sidney

        Hemby.




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 153.   Trump, by his words and conduct, directed the mob that stormed the Capitol and

        assaulted and battered James Blassingame and Sidney Hemby.

 154.   For several hours after the mob had stormed the Capitol, Trump had the continuing

        ability to issue statements through traditional media and his personal Twitter account but

        refused to communicate anything to his followers that might discourage their relentless

        assault and battery on James Blassingame and Sidney Hemby and their fellow officers at

        the Capitol. Trump thereby ratified the conduct of his followers and ensured that the

        assaults on the Plaintiffs and fellow officers would last much longer, worsening the

        physical and emotional injuries of the Plaintiffs and other officers.

 155.   When he finally did make statements late in the afternoon, Trump further ratified the

        tortious conduct when he again said that the election had been stolen by fraud, and that

        his followers had every reason to be angry, and by announcing support, praise and love

        for his followers.

 156.   It appeared to James Blassingame and Sidney Hemby that Trump’s followers then had

        the ability to carry out the harmful and offensive contact.

 157.   The words and conduct of Trump’s followers caused James Blassingame and Sidney

        Hemby to fear imminent physical harm.

 158.   Trump’s followers committed battery, and unlawfully and intentionally touched and used

        force on Plaintiffs in a harmful, offensive, and insulting way.

 159.   Trump’s followers directly contacted, struck, put into motion objects that directly hit

        James Blassingame and Sidney Hemby, and sprayed them with chemical agents that

        burned their exposed eyes, face, and body.




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 160.   James Blassingame and Sidney Hemby suffered physical injuries because of the batteries

        to which they were subjected.

 161.   Had Trump committed directly the conduct committed by his followers, it would have

        subjected Trump to direct liability.

 162.   The unlawful and intentional acts that Defendant directed his followers to commit on

        January 6, 2021, were a direct and proximate cause of James Blassingame and Sidney

        Hemby’s injuries, pain, suffering, and other damages.

                                         COUNT TWO
                            (Aiding and Abetting Assault and Battery)

 163.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

        set forth fully herein and further state:

 164.   Through his words and conduct described throughout this Complaint, Defendant, Donald

        J. Trump, aided and abetted the intentional torts of assault and battery committed by his

        followers on James Blassingame and Sidney Hemby, as described in Count One.

 165.   Trump aided and abetted his followers’ assault and battery on James Blassingame and

        Sidney Hemby through his suggestive words and encouragement leading up to and on

        January 6, 2021, which were spoken from his position of the leader of a powerful

        political movement, including a private militia that was expressly “standing by” for his

        call to action, and gave his message extra weight.

 166.   Trump’s words and encouragement leading up to and on January 6, 2021, created a

        foreseeable risk of harm to James Blassingame and Sidney Hemby.

 167.   Had Trump committed directly the conduct committed by his followers, it would have

        subjected Trump to direct liability.




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 168.   The unlawful and intentional acts that Trump aided and abetted his followers to commit

        on January 6, 2021, were a direct and proximate cause of James Blassingame and Sidney

        Hemby’s injuries, pain, suffering, and other damages.

                                       COUNT THREE
                    (Directing Intentional Infliction of Emotional Distress)

 169.   James Blassingame adopts and incorporates the prior paragraphs as if set forth fully

        herein and further states:

 170.   Through his words and conduct described herein, Defendant, Donald J. Trump, directed

        the Intentional Infliction of Emotional Distress committed by his followers on James

        Blassingame.

 171.   Defendant further committed the intentional tort of Intentional Infliction of Emotional

        Distress, by his ratification of his followers’ words and conduct directed at James

        Blassingame as described herein.

 172.   Trump’s followers engaged in conduct that was extreme and outrageous, and so beyond

        the bounds of decency that it is regarded as atrocious and utterly intolerable in a civilized

        society.

 173.   In the United States Capitol Crypt, Trump’s followers hurled racial slurs and threatened

        James Blassingame, calling him a “nigger” more times than he could count, while he was

        under direct attack.

 174.   This extreme and outrageous conduct was intended to cause James Blassingame’s

        emotional distress or was carried out with reckless disregard of whether the conduct

        would cause James Blassingame to suffer emotional distress.

 175.   As a result of this extreme and outrageous conduct, James Blassingame suffered severe

        emotional distress. He feared for his life and worried he would not be able to return home

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        to his family that night, has had sleepless nights, and relives the extreme and outrageous

        conduct to which he was subjected on January 6, 2021.

 176.   Defendant’s refusal to condemn his followers’ conduct for several hours, even as their

        extreme and outrageous conduct was being broadcast in real time, was a ratification of

        that conduct.

 177.   Defendant further ratified the conduct when he announced support, praise and even love

        for his followers, and repeated that they had every reason to be angry and that the

        election had been stolen by fraud.

 178.   The Defendant is liable for the severe emotional distress that was intentionally inflicted

        on James Blassingame as if he had committed the conduct himself.

 179.   For all these reasons, the Defendant is liable to James Blassingame for intentional

        infliction of emotional distress and for all damages arising therefrom.

                                       COUNT FOUR
        (Violation of a Public Safety Statute: D.C. Code § 22-1322 – Inciting to Riot)

 180.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

        set forth fully herein and further state:

 181.   Defendant, Donald J. Trump, is per se liable for his violation of two District of Columbia

        public safety statutes on January 6, 2021.

 182.   D.C. Code § 22-1322(b) makes it a criminal offense to willfully incite or urge other

        persons to engage in a riot.

 183.   The statute defines a “riot” as “a public disturbance involving an assemblage of 5 or more

        persons which by tumultuous and violent conduct or the threat thereof creates grave

        danger of damage or injury to property or persons.” D.C. Code § 22-1322(a).




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 184.   D.C. Code § 22-1322 was enacted to protect public safety officials and others from

        violence caused by rioting.

 185.   Through his words in the months during the 2020 presidential election and speaking from

        his position as the leader of a powerful political movement, including a private militia

        that was expressly “standing by,” Trump planted the seeds to create a public disturbance

        which by tumultuous and violent conduct or the threat thereof would create grave danger

        or injury to property and persons.

 186.   More particularly, on the morning of January 6, 2021, Trump addressed his followers at

        the rally at the Ellipse, and explicitly directed them to march to the Capitol.

 187.   Defendant’s followers, already primed by his months of inflammatory rhetoric, were

        spurred to direct action.

 188.   Defendant’s words and conduct violated D.C. Code §§ 22-1322(b) and were a cause of

        tumultuous and violent conduct that created grave danger of damage or injury to property

        or persons, including James Blassingame and Sidney Hemby.

 189.   Defendant, by violating this statute, is liable per se and thereby liable for James

        Blassingame and Sidney Hemby’s injuries and damages.

                                       COUNT FIVE
                            (Violation of a Public Safety Statute:
               D.C. Code § 22-1321 (a)(1), (a)(2), and (b) – Disorderly Conduct)

 190.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

        set forth fully herein and further state:

 191.   Defendant, Donald J. Trump, is per se liable for his violation of two District of Columbia

        public safety statutes on January 6, 2021.




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 192.   On January 6, 2021, there was in effect in the District of Columbia a statute that was

        enacted to protect James Blassingame and Sidney Hemby and persons in their position,

        and to prevent the type of events that are described herein.

 193.   D.C. Code § 22-1321 (a)(1) makes it unlawful, in any place open to the general public,

        for a person to intentionally or recklessly act in such a manner as to cause another person

        to be in reasonable fear that a person is likely to be harmed.

 194.   D.C. Code § 22-1321 (a)(2) makes it unlawful, in any place open to the general public,

        for a person to incite or provoke violence where there is a likelihood that such violence

        will ensue.

 195.   D.C. Code § 22-1321(b) makes it unlawful “for a person to engage in loud, threatening,

        or abusive language, or disruptive conduct, with the intent and effect of impeding or

        disrupting the orderly conduct of a lawful public gathering.”

 196.   James Blassingame and Sidney Hemby are among the members of the class that the

        statute was enacted to protect.

 197.   Through his words in the months following the 2020 presidential election and speaking

        from his position as the leader of a powerful political movement, including a private

        militia that was expressly “standing by,” Defendant planted the seeds that made likely the

        violence that was unleashed on James Blassingame and Sidney Hemby on January 6,

        2021.

 198.   Defendant repeatedly asserted that he and his followers were victims of a massive fraud

        and conspiracy that had resulted in the theft of the 2020 Presidential election.

 199.   More particularly, on the morning of January 6, 2021, Defendant addressed his followers

        at the Ellipse, and explicitly directed them to march to the Capitol.



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 200.   Defendant’s words, when he spoke them, were words likely to produce violence in

        others.

 201.   Defendant’s followers, already primed by his months of inflammatory rhetoric, were

        spurred to direct action.

 202.   By directing his followers as he did leading up to and on January 6, 2021, Defendant

        intentionally and recklessly acted in such a manner as to cause James Blassingame and

        Sidney Hemby to be in reasonable fear that they were likely to be harmed.

 203.   Defendant’s provocative words and actions leading up to and on January 6, 2021, were

        likely to incite and provoke violence in others and did in fact incite and provoke violence

        directed at James Blassingame and Sidney Hemby.

 204.   Defendant’s loud, threatening, and abusive language and conduct leading up to and on

        January 6, 2021, were intended to and did impede and disrupt the orderly conduct of the

        lawful public gathering to count the certified electoral votes to declare Joe Biden the

        winner of the 2020 presidential election.

 205.   Defendant’s words and conduct in the months before and on January 6, 2021, violated

        D.C. Code § 1321 and were a cause of the violence that ensued in places in the District of

        Columbia open to the general public.

 206.   Defendant’s violation of D.C. Code § 1321 caused severe injury and damages to James

        Blassingame and Sidney Hemby.

 207.   Defendant, by violating this statute, is per se liable for James Blassingame and Sidney

        Hemby’s injuries and damages.




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                                           COUNT SIX
                                        (Punitive Damages)

 208.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

        set forth fully herein.

 209.   Trump’s words and conduct leading up to and on January 6, 2021, and his ratification

        through silence when words and action were necessary, and his further ratification by

        direct praise of the rioters, as set forth herein, demonstrated a willful and wanton

        disregard for and a reckless indifference to James Blassingame and Sidney Hemby’s

        safety and that of their fellow officers.

 210.   Trump’s words and conduct leading up to and on January 6, 2021, were intentionally

        tortious and in violation of federal and D.C. statutes.

 211.   His words and conduct gave direction to and aided and abetted his followers in the

        commission of intentional torts of assault, battery, and intentional infliction of emotional

        distress that caused injury to James Blassingame and Sidney Hemby.

 212.   Those words and conduct incited the riot and disorderly conduct in violation of D.C. law

        on January 6, 2021, that caused injury to James Blassingame and Sidney Hemby.

        Accordingly, James Blassingame and Sidney Hemby request punitive damages in an

        amount consistent with the evidence to be shown at trial against Trump to punish him for

        his intentional and wanton and reckless conduct, and to deter others from engaging in

        similar behavior.

                                        COUNT SEVEN
                         (Conspiracy in Violation of 42 U.S.C. §1985(1))

 213.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

        set forth fully herein.



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 214.   The Reconstruction-era law known as the Ku Klux Klan Act, 42 U.S.C. §1985(1)

        “Preventing Officer from Performing Duties,” defines conspiracy to interfere with civil

        rights:

                  If two or more persons in any State or Territory conspire to prevent, by
                  force, intimidation, or threat, any person from accepting or holding any
                  office, trust, or place of confidence under the United States, or from
                  discharging any duties thereof; or to induce by like means any officer of the
                  United States to leave any State, district, or place, where his duties as an
                  officer are required to be performed, or to injure him in his person or
                  property on account of his lawful discharge of the duties of his office, or
                  while engaged in the lawful discharge thereof, or to injure his property so
                  as to molest, interrupt, hinder, or impede him in the discharge of his official
                  duties[.]

 215.   Under 42 U.S.C. §1985(3):

                  [I]f one or more persons engaged therein do, or cause to be done, any act in
                  furtherance of the object of such conspiracy, whereby another is injured in
                  his person or property, or deprived of having and exercising any right or
                  privilege of a citizen of the United States, the party so injured or deprived
                  may have an action for the recovery of damages occasioned by such injury
                  or deprivation, against any one or more of the conspirators.

 216.   On information and belief, Defendant Trump agreed and conspired with his followers to

        stage an attack on the Capitol to prevent Congress and Vice President Mike Pence, by

        force, intimidation, or threat, from discharging their duties of certifying the winners of

        the 2020 presidential election. Trump and his followers further agreed and conspired to

        prevent, by force, intimidation, or threat, Joseph Biden and Kamala Harris from accepting

        and/or holding their respective offices as President and Vice President.

 217.   As described more fully above, communications between the co-conspirators began as

        early as September 2020. The Proud Boys were then “standing by” on December 19,

        when Defendant Trump publicized the “Stop the Steal” Rally, and called for attendees to

        “be there” as it “will be wild!”.



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 218.   The Proud Boys, Oath Keepers, and other militia members then took overt acts in

        furtherance of a conspiracy to—in the words of Oath Keeper Kelly Meggs—“work

        together and shut this shit down.” “[S]hut this shit down” referred to a plan to accomplish

        the objective of a Section 1985(1) conspiracy—using force, intimidation, and threats to

        prevent Congress and Vice President Mike Pence from discharging their duties of

        certifying the winners of the 2020 presidential election as well as using force,

        intimidation, and threats to prevent Joseph Biden and Kamala Harris from accepting

        and/or holding their respective offices as President and Vice President.

 219.   Members of the conspiracy engaged in multiple meetings directed at accomplishing the

        object of the conspiracy; obtained paramilitary gear and supplies included tactical vests,

        protective equipment, and radio equipment; and took steps to remain incognito and mask

        their participation in the conspiracy.

 220.   When the militia conspirators converged on the District of Columbia, Defendant Trump

        knowingly gave a speech urging them, among other things, that “when you catch

        someone in a fraud, you’re allowed to go by very different rules” and “if you don’t fight

        like hell, you’re not going to have a country anymore,” the natural and probable

        consequence of which would be to lead the mob to storm the Capitol and accomplish the

        objective of a Section 1985(1) conspiracy—using force, intimidation, and threats to

        prevent Congress and Vice President Mike Pence from discharging their duties of

        certifying the winners of the 2020 presidential election as well as using force,

        intimidation, and threats to prevent Joseph Biden and Kamala Harris from accepting

        and/or holding their respective offices as President and Vice President.




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 221.   On information and belief, Defendant Trump intended the natural and probable

        consequences of the act he knowingly did, namely the use of force, intimidation, and

        threats to prevent Congress and Vice President Mike Pence from discharging their duties

        of certifying the winners of the 2020 presidential election as well as the use of force,

        intimidation, and threats to prevent Joseph Biden and Kamala Harris from accepting

        and/or holding their respective offices as President and Vice President. That intent, and

        approval of the events of January 6th, is further confirmed by, among other things, his

        delight when hearing of the Capitol break-in as well as his excitement that militia

        members were pushing against Capitol Police trying to get into the Capitol Building.

 222.   When Proud Boy Dominic Pezzola stated that he knew that the Proud Boys could “take

        this motherfucker over [if we] just tried hard enough,” he was referring to a common plan

        to accomplish the objective of a Section 1985(1) conspiracy—using force, intimidation,

        and threats to prevent Congress and Vice President Mike Pence from discharging their

        duties of certifying the winners of the 2020 presidential election as well as using force,

        intimidation, and threats to prevent Joseph Biden and Kamala Harris from accepting

        and/or holding their respective offices as President and Vice President.

 223.   When Jessica Marie Watkins, a member of the Oath Keepers, stated on an Oath Keeper

        communication channel that “We have a good group . . . . We are sticking together and

        sticking to the plan,” she was referring to a plan to accomplish the objective of a Section

        1985(1) conspiracy—using force, intimidation, and threats to prevent Congress and Vice

        President Mike Pence from discharging their duties of certifying the winners of the 2020

        presidential election as well as using force, intimidation, and threats to prevent Joseph




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        Biden and Kamala Harris from accepting and/or holding their respective offices as

        President and Vice President.

 224.   In leading an attack on the Capitol, the Defendant Trump’s co-conspirators took overt

        acts in furtherance of their conspiracy with Defendant Trump. Those overt acts caused

        James Blassingame and Sidney Hemby to suffer severe injuries.

                                       COUNT EIGHT
                        (Civil Conspiracy in Violation of Common Law)

 225.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

        set forth fully herein.

 226.   As described above, Defendant Trump conspired with the Proud Boys and others to,

        among other things, incite an unlawful riot on January 6 with the goal of disrupting

        congressional certification of President Biden’s electoral victory.

 227.   In furtherance of that conspiracy, one or more conspirators engaged in a riot and stormed

        the Capitol on January 6.

 228.   As a direct, proximate, and foreseeable result of that conspiracy, James Blassingame and

        Sidney Hemby suffered severe injuries.

        V.      PRAYER FOR RELIEF

        WHEREFORE, James Blassingame and Sidney Hemby demand an award of the

 following relief:

        a.      Judgment against Donald J. Trump on all Counts set forth herein;

        b.      Compensatory damages in an amount consistent with the evidence to be shown at

                trial, in excess of $75,000 for each of them, plus interest and costs;

        c.      Punitive damages in an amount consistent with the evidence to be shown at trial,

                plus interest and costs;


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       d.   Costs and reasonable attorney’s fees pursuant to 42 U.S.C. § 1988, and

       e.   Such other relief as the Court and jury deem necessary and just.


                                          Respectfully submitted,

                                          /s/ Patrick A. Malone
                                          Patrick A. Malone (Bar No. 397142)
                                          Daniel Scialpi (Bar No. 997556)
                                          Heather J. Kelly (DC Bar No. 453154) (motion for
                                          admission forthcoming)
                                          PATRICK MALONE & ASSOCIATES, P.C.
                                          1310 L Street, N.W., Suite 800
                                          Washington, D.C. 20005
                                          P: 202-742-1500
                                          F: 202-742-1515
                                          pmalone@patrickmalonelaw.com
                                          dscialpi@patrickmalonelaw.com
                                          hkelly@patrickmalonelaw.com


                                          Anne Tindall (Bar No. 494607)
                                          Cameron Kistler (Bar No. 1008922)
                                          Erica Newland (motion for admission forthcoming)
                                          UNITED TO PROTECT DEMOCRACY
                                          2020 Pennsylvania Ave. NW, #163
                                          Washington, D.C. 20006
                                          P: 202-579-4582
                                          anne.tindall@protectdemocracy.org
                                          cameron.kistler@protectdemocracy.org
                                          erica.newland@protectdemocracy.org


                                          John Paredes (motion for admission forthcoming)
                                          Ngozi J. Nezianya (motion for admission
                                          forthcoming)
                                          UNITED TO PROTECT DEMOCRACY
                                          115 Broadway, 5th Floor
                                          New York, N.Y. 10006
                                          P: 202-579-4582
                                          john.paredes@protectdemocracy.org
                                          ngozi.nezianya@protectdemocracy.or




                                            49

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                                              Benjamin L. Berwick (Bar No. MA0004)
                                              UNITED TO PROTECT DEMOCRACY
                                              15 Main St., Suite 312
                                              Watertown, MA 02472
                                              P: 202-579-4582
                                              ben.berwick@protectdemocracy.org



                                       JURY DEMAND

       The Plaintiffs demand trial by jury.

                                              /s/ Patrick A. Malone
                                              Patrick A. Malone, Esq.




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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
       __________________________________________
                                                  )
       Representative ERIC SWALWELL               )
       174 Cannon House Office Building           )
       U.S. House of Representatives              )
       Washington, D.C. 20515,                    )
                                                  )
                      Plaintiff,                  )
                                                  )
               v.                                 )
                                                  )
       DONALD J. TRUMP                            )
       (in his personal capacity)                 )
       The Mar-A-Lago Club                        )
       1100 S. Ocean Blvd.                        ) Case No. ________________
       Palm Beach, FL 33480,                      )
                                                  ) JURY TRIAL DEMANDED
       DONALD J. TRUMP JR.                        )
       425 E. 58th Street                         )
       Apt. 12 CD                                 )
       New York, NY 10022,                        )
                                                  )
       Representative MO BROOKS                   )
       (in his personal capacity)                 )
       2185 Rayburn House Office Building         )
       U.S. House of Representatives              )
       Washington, D.C. 20515,                    )
                                                  )
       and                                        )
                                                  )
       RUDOLPH GIULIANI                           )
       Rudolph W. Giuliani, PLLC                  )
       445 Park Avenue                            )
       18th Floor                                 )
       New York, NY 10022,                        )
                                                  )
                      Defendants.                 )
                                                  )

                                       COMPLAINT

       1.     The peaceful transfer of power is a sacrament of American democracy. Donald

 Trump, his son Donald Trump Jr., his advisor Rudy Giuliani, and Congressman Mo Brooks,




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 together with many others, defiled that sacrament through a campaign of lies and incendiary

 rhetoric which led to the sacking of the United States Capitol on January 6, 2021.

        2.      Donald Trump lost the 2020 presidential election; he was unwilling to accept

 defeat. Trump lied to his followers, telling them that the certification of Joe Biden’s election was

 a “coup” and that their country was being stolen from them. The Defendants filed frivolous

 lawsuits, all of which failed. The Defendants tried to intimidate state officials, none of whom

 caved to the pressure. Out of options and out of time, the Defendants called their supporters to

 Washington, D.C. on the day Congress met to certify Joe Biden’s win, telling them to “Stop the

 Steal” and “be wild.” Thousands came to the District in response. Some planned violence at the

 Capitol in advance; some were stirred to violence by the Defendants’ words on that day.

        3.      Trump implored the crowd to “fight like hell” and “walk down Pennsylvania

 Avenue . . . to the Capitol.” According to an analysis of cell phone location data, approximately

 40% of the rally attendees did just that.1

        4.      As a direct and foreseeable consequence of the Defendants’ false and incendiary

 allegations of fraud and theft, and in direct response to the Defendants’ express calls for violence

 at the rally, a violent mob attacked the U.S. Capitol. Many participants in the attack have since

 revealed that they were acting on what they believed to be former President Trump’s orders in

 service of their country.

        5.      The mob disrupted the certification of the vote in the Electoral College. Rioters

 threatened to hang Vice President Mike Pence and kill the Speaker of the House, Nancy Pelosi,

 and they terrorized and injured scores of others, including the Plaintiff.




 1
        https://www.nytimes.com/2021/02/05/opinion/capitol-attack-cellphone-data.html
                                                   2

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        6.      Many members of Congress, including the Plaintiff, were trapped in the House

 chamber as plainclothes officers barricaded doors and held off the mob at gunpoint. Fearing for

 their lives, the Plaintiff and others masked their identities as members of Congress, texted loved

 ones in case the worst happened, and took shelter throughout the Capitol complex.

        7.      As the Plaintiff and hundreds of others—including police officers, other elected

 officials, and rank-and-file workers at the Capitol—were put in mortal danger, and as the seat of

 American Democracy was desecrated by the insurgent mob, the Defendants watched the events

 unfold on live television. Those with knowledge claimed that during this moment of national

 horror, Trump was “delighted” and was “confused about why other people on his team weren’t

 as excited as he was.” Others described Trump as “borderline enthusiastic” about the unfolding

 violence.

        8.      The horrific events of January 6 were a direct and foreseeable consequence of the

 Defendants’ unlawful actions. As such, the Defendants are responsible for the injury and

 destruction that followed.

                                                I.
                                             PARTIES

                                      Plaintiff Eric Swalwell

        9.      Plaintiff Eric Swalwell is beginning his fifth term as a member of the United

 States House of Representatives from California’s 15th Congressional District. He is a member

 of the House Permanent Select Committee on Intelligence, where he serves as Chair of the

 Intelligence Modernization and Readiness Subcommittee, as well as a member of the House

 Judiciary Committee. Before his election to the House in 2012, Congressman Swalwell spent

 seven years as a prosecutor in the Alameda County District Attorney’s office in his home state of

 California. In 2021, Speaker of the House Nancy Pelosi appointed Congressman Swalwell as


                                                  3

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 one of nine House impeachment managers for Donald Trump’s historic second impeachment

 trial.

          10.    On January 6, 2021, Congressman Swalwell was at the Capitol performing his

 official duties as a member of the U.S. House of Representatives to count the Electoral College

 votes and certify the winner of the 2020 Presidential election.

          11.    Congressman Swalwell was in the House chambers when the violent mob entered

 the Capitol, ransacked offices, and set out to kill members of Congress and other officials. He

 was on the House floor the moment plainclothes officers barricaded doors and held the rioters at

 gunpoint to prevent them from entering the chamber.

                                            Defendants

          12.    Defendants are the former President of the United States and three close

 associates who conspired with him and others, including the rioters who breached the Capitol on

 January 6, to prevent Congress from certifying President Biden’s victory in the 2020 presidential

 election.

                                   Defendant Donald J. Trump

          13.    Donald J. Trump was the 45th President of the United States. He ran for

 reelection in 2020 and lost. He has a lengthy history of normalizing violence through his

 rhetoric and social media communications. After his electoral defeat, Trump and the other

 Defendants conspired to undermine the election results by alleging, without evidence, that the

 election had been rigged and by pressuring elected officials, courts, and ultimately Congress to

 reject the results.

          14.    Trump also promoted and spoke at the January 6 rally, the culmination of the

 Defendants’ coordinated efforts to subvert the certification vote which was funded and organized

 by his campaign and groups supporting his candidacy. He encouraged his followers to come to
                                                  4

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 Washington, D.C. on January 6, and he encouraged them to go to the Capitol to “fight like hell.”

 Trump directly incited the violence at the Capitol that followed and then watched approvingly as

 the building was overrun.

            15.   Trump did all these things solely in his personal capacity, for his own personal

 benefit, and to advance his personal interests as a candidate. For example, he tweeted from his

 personal Twitter account (@realDonaldTrump) and not from the official, White House, twitter

 account, and he spoke at the January 6 rally in his capacity as a losing candidate for the

 Presidency on the day Joseph Biden was being certified as the winning candidate and next

 President of the United States.

                                   Defendant Donald J. Trump Jr.

            16.   Defendant Donald J. Trump Jr. is the oldest son of former President Trump and

 the executive vice president of the Trump Organization. Trump Jr. conspired with the other

 Defendants to undermine the election results by alleging, without evidence, that the election had

 been rigged and by pressuring elected officials, courts, and ultimately Congress to reject the

 results.

            17.   Trump Jr. also promoted and spoke at the January 6 rally. He addressed the

 crowd at this event and directly incited the violence at the Capitol that followed.

                                    Defendant Rudolph Giuliani

            18.   Defendant Rudolph Giuliani was a close advisor and personal lawyer for former

 President Trump. Giuliani conspired with the other Defendants to undermine the election

 results by alleging, without evidence, that the election had been rigged and by pressuring elected

 officials, courts, and ultimately Congress to reject the results. As one of Trump’s personal

 attorneys, Giuliani participated in the frivolous lawsuits filed on Trump’s behalf.



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        19.    Giuliani also promoted and spoke at the January 6 rally. Giuliani addressed the

 crowd at this event and directly incited the violence at the Capitol that followed.

                                      Defendant Mo Brooks

        20.    Defendant Mo Brooks is a member of the United States House of Representatives

 from Alabama’s Fifth Congressional District. Brooks—acting in his personal capacity—

 conspired with the other Defendants to undermine the election results by alleging, without

 evidence, that the election had been rigged and by pressuring elected officials, courts, and

 ultimately Congress to reject the results.

        21.    Brooks also promoted and spoke at the January 6 rally. Brooks addressed the

 crowd at this event and directly incited the violence at the Capitol that followed.

                                            II.
                                 JURISDICTION AND VENUE

        22.    This Court has subject matter jurisdiction over this case because the Plaintiff’s

 federal conspiracy claims arise under the laws of the United States. It has jurisdiction over the

 Plaintiff’s state law claims because they are so closely related to the federal claims as to form

 part of the same case or controversy. See 28 U.S.C. §§ 1331, 1367; 42 U.S.C. §§ 1985, 1986.

        23.    Venue is proper in this Court because a substantial part of the conduct giving rise

 to the claims in the case, including the violent attack on the Capitol the Defendants incited,

 occurred in the District of Columbia. See 28 U.S.C. § 1391(b)(2).

        24.    This Court has personal jurisdiction over all the Defendants because they

 committed these violations in the District of Columbia. See Fed. R. Civ. P. 4(k)(1)(A); D.C.

 Code § 13-423.




                                                  6

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                                         III.
                            RELEVANT FACTUAL BACKGROUND

               Trump’s Deliberate Efforts to Undermine the Election Results

        25.    Months before a single poll had opened for the 2020 election, Trump and the

 Trump campaign began accusing Democrats of trying to “steal the election,” calling the lawful

 state decisions about how to conduct an election in the midst of a world-wide pandemic—

 supervised, where appropriate, by the courts—“the scandal of our times.” He repeatedly made

 such statements, right up to the days immediately preceding the election:


                               Donald J. Trump       0                            000



                               @realDonaldTrump
                          A 3 day extension for Pennsylvania is a disaster for
                          our Nation, and for Pennsylvania itself. The
                          Democrats are trying to steal this Election. We have
                          to get out and VOTE in even larger numbers. The
                          Great Red Wave is coming!!!

                       1:12 PM• Oct 29, 2020



                   -     Donald J. Trump 0
                         @realOonaldTrump

                       RIGGED 2020 ELECTION: MILLIONS OF MAIL-IN
                       BALLOTS WILL BE PRINTED BY FOREIGN
                       COUNTRIES, AND OTHERS. IT WILL BE THE
                       SCANDAL OF OUR TIMES!
                  716AM • Ju.,22. 2020




        26.    When election day (November 3) arrived, however, Trump said nothing of

 election fraud for much of the day, almost surely because he led Biden in the early returns.

        27.    Democrats more so than Republicans chose to vote by mail, given the starkly

 partisan views of the Covid-19 pandemic. Where most Republican leaders urged supporters to


                                                 7

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 vote in person, Democratic leaders sought to prioritize safety and social-distancing, encouraging

 people to vote by mail.2 Mail-in ballots were often counted much later than in-person ballots.

 Of the battleground states that largely decided the 2020 election—Pennsylvania, Wisconsin,

 Michigan, Ohio, Georgia, Nevada, and Arizona—Pennsylvania and Wisconsin do not begin

 processing mail-in ballots until election day, and only Arizona and Nevada began counting

 mail-in ballots earlier than election day.3

        28.     Toward the end of the day on November 3, however, the returns moved in

 Biden’s direction, as most pundits and analysts had predicted, and Trump’s lead substantially

 dwindled. As his outlook soured over this news, and realizing that his reelection campaign was

 going to be unsuccessful, Trump decided to renew his claims of voter fraud.

        29.     At 12:49 a.m., on November 4, Trump took to Twitter to accuse unnamed

 individuals from attempting to steal his victory.

                        Donald J. Trump 0
                        @realDonaldTrump

                   We are up BIG, but they are trying to STEAL the Election.
                   We will never let them do it. Votes cannot be cast after the
                   Polls are closed!
                  12:49AM • Nov4,2020




        30.     A little more than an hour later, Trump accused a “very sad group of people” of

 “trying to disenfranchise” the millions of people who had voted for him.4




 2
         See, e.g., https://www.theguardian.com/us-news/2020/dec/03/democrats-mail-in-voting-
 2020-election-analysis.
 3
         https://www.npr.org/2020/10/23/926258497/when-will-mail-in-ballots-be-counted-see-
 states-processing-timelines.
 4
         A video of Trump’s entire address can be found online at https://www.c-
 span.org/video/?477710-1/president-trump-remarks-election-status. The referenced statements
 appear at the 00:59 second mark.
                                                  8

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         31.    Later in the day, Trump doubled down on his claims of fraud, falsely declaring

 victory in the battlegrounds of Pennsylvania, Georgia, North Carolina, and Michigan, even as

 hundreds of thousands of votes in those states were still being counted and the polls were

 showing an increasing advantage for Biden.5

         32.    The following morning, November 5, less than 48 hours after the polls had closed,

 Trump tweeted “Stop the Count” and “Stop the Fraud,” slogans frequently repeated throughout

 the day on January 6 prior to and during the attack on the Capitol. He sent these tweets in an

 effort to keep his reelection prospects alive, despite the mounting reasons to believe he had been

 defeated.


                         DonaldJ. TrumpO                                    ....   DonaldJ. Trump0
                         @realDonaldTrump                                          @realDonaldTrump

                   STOPTHE COUNT!                                            STOPTHE FRAUD!
                  9:12AM • Nov 5, 2020                                     12:21 PM• Nov 5, 2020




         33.    Trump gave his first prime-time speech since the election the evening of

 November 5. He opened his remarks to the nation with a stunning false assertion, “If you count

 the legal votes, I easily win. If you count the illegal votes, they can try to steal the election from

 us.”6 He echoed that sentiment on Twitter a short while later:

                                Donald J. Trump
                                @realdonaldtrump

                                I easily WIN the Presidency of the United States with LEGAL VOTES CAST. The
                                OBSERVERSwere not allowed, in any way, shape, or form, ta do their job and
                                therefore, votes accepted during this period must be determined to be ILLEGAL
                                VOTES.U.S. Supreme Court should decide!

                                Nov 6th 2020 • 2:22:47 AM EST Twitter for iPhone      View on Twitter




 5
         Biden eventually won three of these four states, claiming Pennsylvania, Michigan, and
 Georgia.
 6
         https://www.c-span.org/video/?477858-1/president-trump-challenges-latest-election-
 results-claims-voter-fraud.
                                                               9

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        34.    Trump’s allegations of wrongdoing in those first days after the election sparked

 confrontations nationwide between his supporters and election officials:

                                                  Trump Supporters Gather As
                                                  Votes Are Counted in Atlanta


                                          Detroit Elections Center Employee On 'Stop
                                         The Count' Protest:               'It Said A Lot'
                                          November OS.2020



                                                         Stop the Steal Protest
                        9RBAN
                        MILWAUKEE                        at Central Vote Site
                                                         Nov 5th, 2020 09:18 pm


                                        Trump backers descend on Clark
                                        County election site for second night
                                        Thursday, Nov. 5, 2020 I 10: 10 p.m.




                                     2 Heavily Armed Va. Men Found Outside
                        ~            Convention Center Charged As Philly Police
                                     Investigate Threat Of Attack
                        Philly       November 6, 2020at 10:11 pm




                                  Armed men attempting to stop
                      filu-IDailH vote counting arrested outside
                    fJcnllSlJluanian
                                   Pennsylvania Convention Center
                                     11/09/20   2:30am




        35.    Trump soon after began directing his criticisms at individual elected officials. His

 supporters, in turn, began targeting those officials for harassment and threats. For example,

 armed supporters of the former President, encouraged by him, surrounded the home of the

 Michigan Secretary of State, while Trump-supporting militias demanded a “citizen tribunal” at

 the Georgia Capitol.




                                                     10

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        36.     President Biden went on to win the states of Arizona7 and Georgia.8 Yet, in the

 first half of December, Trump attacked the Republican governors of these states, accusing them

 of “fight[ing] harder against us than do the Radical Left Dems.” He lamented their lack of

 fealty to him, stating if these governors “were with us, we would already have won both

 Arizona and Georgia”:

                          Donald J. Trump 0
                          @realDonaldTrump

                     BetweenGovernor@DougDuceyof Arizona and
                     Governor@BrianKempGAof Georgia,the Democrat
                     Party could not be happier.They fight harder against us
                     than do the Radical Left Dems. If they were with us, we
                     would have already won both Arizona and Georgia...
                    5 33 PM • Dec5, 2020




                        Donald J. TrumpO                         Donald J. Trump O
                        @realDonaldTrump                         @realDonaldTrump

                   The RINOS that run the state             ...Tens of millions of haphazardly
                   voting apparatus have caused us          ballots sent, with some people
                   this problem of allowing the             getting two, three, or four ballots.
                   Democrats to so blatantly cheat in       We will never give up!
                   their attempt to steal the election,   5:15 PM • Dec 13. 2020
                   which we won overwhelmingly.
                   How dare they allow this massive
                   and ridiculous Mail-In Voting to
                   occur ...
                 5:15 PM • Dec 13, 2020




        37.     Trump also attempted to pressure state electors to improperly overturn the

 election results in their states. He directed particular attention to officials in Michigan,

 Pennsylvania, and Georgia. He personally attempted to cajole these officials to overturn the

 election results and directed his followers to intimidate these perceived adversaries.



 7
        https://www.archives.gov/files/ascertainment-arizona.pdf
 8
        https://www.archives.gov/files/electoral-college/2020/ascertainment-georgia.pdf
                                                     11

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                Michigan

         38.    In November 2020, bipartisan election officials in Wayne County, Michigan

 unanimously certified the election results for President Biden. Trump then tried to pressure two

 Republican members of that board to change their minds. In response, these two officials in fact

 tried—unsuccessfully—to rescind their votes certifying the election results.

         39.    Trump next contacted Michigan Senate Majority Leader Mike Shirkey and

 Speaker of the Michigan House of Representatives Lee Chatfield. Trump likewise pressured

 them to overturn Michigan’s election results, even meeting them in person to pressure them to

 undo the results of the election. Those efforts, too, proved unsuccessful.

         40.    Undeterred, Trump falsely declared on December 5, “You know I won almost

 every county in Michigan, almost every district. We should have won that state very easily.

 We have a similar type of governor I think but I’ll let you know that in about a week.”

         41.    In what should have been an obvious sign of the risk inflammatory language

 could pose on January 6, some of Trump’s followers heard his claims as a directive to act. And

 they responded. A large group of armed protestors convened at the home of the Michigan

 Secretary of State chanting, “Stop the steal!,” “You’re a threat to our democracy!,” and “You’re

 a threat to a free and honest election!” The protestors made explicit demands that the Secretary

 overturn the state’s election results.

         42.    Trump’s efforts to overturn the election results in Michigan were unsuccessful.

         43.    There were no election irregularities in Michigan sufficient to change the final

 Presidential vote count in that state. Joe Biden won the Presidential vote in Michigan.9




 9
        https://www.archives.gov/files/ascertainment-michigan.pdf
                                                 12

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               Pennsylvania

        44.    Trump also attempted to interfere with officials in Pennsylvania. Trump

 contacted Pennsylvania State Senate Majority Leader Kim Ward and Pennsylvania Speaker of

 the House of Representatives Brian Cutler. Trump directly and falsely told Senator Ward,

 “There was fraud in the voting.”

        45.    On November 25, 2020, Trump participated by phone in a Pennsylvania State

 Republican Senate policy hearing and attempted to convince the state legislators that there had

 been massive fraud in the commonwealth’s voting. Trump spoke directly to the lawmakers,

 telling them, “This election has to be turned around.” He further falsely claimed that he had

 won Pennsylvania and other swing states “by a lot.”

        46.    As he had in Michigan, Trump personally met with Republican members of the

 Pennsylvania legislature to pressure them to overturn the commonwealth’s election results.

        47.    Trump’s efforts to overturn the results in Pennsylvania were unsuccessful.

        48.    There were no election irregularities in Pennsylvania sufficient to change the final

 Presidential vote count in that commonwealth. Joe Biden won the Presidential vote in

 Pennsylvania.10

               Georgia

        49.    Trump went to especially extraordinary lengths to overturn the election results in

 Georgia, a reliably Republican stronghold for decades that Trump believed was in jeopardy.

 After Secretary of State Bradford Raffensperger stated his belief that the state’s election results

 in favor of President Biden were accurate, Trump lashed out at him. He called Raffensperger an




 10
        https://www.archives.gov/files/electoral-college/2020/ascertainment-pennsylvania.pdf
                                                 13

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 “enemy of the people” and directed at least 17 tweets at him, referring to him as a “disaster,”

 “obstinate,” and a “so-called ‘Republican[].’”

        50.    In what should have been another warning to the Defendants about the impact of

 their words at the January 6 rally, some of Trump’s followers responded to the claims of fraud

 and Trump’s personal attacks on Raffensperger by targeting Raffensperger and his family with

 violent threats. His wife was told, “Your husband deserves to face a firing squad.” He himself

 was told, “You better not botch this recount . . . your life depends on it” and that he and his

 family “should be put on trial for treason and face execution.”

        51.    In December of 2020, Trump pressured Georgia Governor Brian Kemp to hold a

 special session of the legislature to appoint electors who would cast electoral votes for Trump.

        52.    That same month, Trump called the Chief Investigator for the Georgia Bureau of

 Investigations, which was conducting an audit of signatures on absentee ballots. Trump

 implored the investigator to “find the fraud” and told him that he would be a “national hero” if

 he was successful in doing so.

        53.    On January 2, 2021, just days before Congress was set to certify the Electoral

 College votes, President Trump initiated a conversation with Raffensperger about the alleged

 massive voter fraud in Georgia. The next day, Trump made many misrepresentations about that

 conversation to sway public opinion, including that Raffensperger had “no clue” about a number

 of alleged voting irregularities in the state. The media, however, obtained and released an audio

 recording of that call. It showed Trump browbeating Raffensperger to find enough evidence of

 fraud to change the state’s election result. Trump claimed that Raffensperger was aware of

 election fraud—telling him “you know what they did and you’re not reporting it.” Trump told




                                                  14

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 Raffensperger that he had won the state of Georgia. Trump made an explicit request to

 Raffensperger: “I just want to find 11,780 votes, which is one more than we have.”

          54.         There were no election irregularities in Georgia sufficient to change the final

 Presidential vote count in that state. Joe Biden won the Presidential vote in Georgia.

          55.         In addition to Michigan, Pennsylvania, and Georgia, Trump took aim at officials

 in other Republican-led jurisdictions for the same reasons.

          56.         Trump’s claims of widespread fraud and election-rigging were rebuked by

 numerous executive agencies, including the Federal Bureau of Investigation, the Department of

 Justice, and the Department of Homeland Security.11 Trump lashed out at them as well,

 berating them for their refusal to address “the biggest SCAM in our nation’s history.” Trump

 coupled this message with a call to action on January 6:


                  ~      Donald J. Trump 0
                         @realDonaldTrump

                   ifhe "Justice" Department and the FBI have done nothing
                   about the 2020 Presidential Election Voter Fraud, the
                   biggest SCAM in our nation's history, despite
                   overwhelming evidence. They should be ashamed.
                   History will remember. Never give up. See everyone in
                   D.C. on January 6th.
                 8:14 AM • Dec 26, 2020




          57.         On January 5, the night before the rally, Trump tweeted about the thousands of

 people flooding D.C. who did not want to see the country “stolen” by “Radical Left Democrats:




          11
               https://www.brennancenter.org/our-work/research-reports/its-official-election-was-
 secure
                                                       15

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                           Donald J. Trump O
                           @realDonaldTrump

                 Washington is being inundated with people who don't
                 want to see an election victory stolen by emboldened
                 Radical Left Democrats. Our Country has had enough,
                 they won't take it anymore! We hear you (and love
                 you) from the Oval Office. MAKE AMERICA GREAT
                 AGAIN!
                 10:05 PM • Jan 5, 2021                                                CD

         58.   Then, less than 10 minutes later, he attacked “the weak and ineffective RINO

 [Republican In Name Only] section of the Republican Party,” threatening that the “thousands of

 people pouring into D.C. … won’t stand for a landslide election victory to be stolen”:

                         Donald J. Trump.
                         @realDonaldTrump

                   I hope the Democrats, and even more importantly, the
                   weak and ineffective RINO section of the Republican
                   Party, are looking at the thousands of people pouring into
                   D.C. They won't stand for a landslide election victory to be
                   stolen. @senatemajldr @JohnCornyn @SenJohnThune
                  5:12 PM • Jan 5. 2021




                       Defendants Conspire With Trump to Overturn the Election

         59.   The other Defendants—Mo Brooks, Rudolph Giuliani, and Donald Trump Jr.—all

 conspired with Trump, each other, and others to subvert the will of the people in the 2020

 election. While those efforts culminated with the attack on January 6, they began long before

 then.

               Rudolph Giuliani

         60.   Rudolph Giuliani spearheaded another arm of Trump’s efforts to subvert the

 election: the numerous challenges in the courts. He led a legal team that eventually filed 62

 lawsuits seeking to undo the election results, all in key battleground states.

                                                 16

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        61.    Virtually all those lawsuits were rejected outright. Judges appointed by

 Republicans and Democrats—including those appointed by Trump himself—determined the

 claims brought by Giuliani and the others were baseless. Judges derided the allegations in these

 suits as “without merit” and “flat-out wrong.” One judge opined that what would “undermine

 the public’s trust in the election” was not the alleged massive fraud Trump alleged, but the

 Court overturning the results of a landslide election based on no evidence of systemic

 wrongdoing at all:


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                                        O\Cl'll/1'!1 the cl1.•(·lio11                                         wilhuul merit



                         A.NEWS        'Nothing but speculation and conjecture'; Judgeawals down
                                       GOP1,ww1tto deoertifvBlden's
                                                                  Mleh!pnWin
                                                                                                    ha~rd on "nothing hm Spt'rnlation




                         •RBAN
                         MILWAUKEE
                                          Federal Judge Tears Apart
                                          Election Lawsuit                                                  flat-out wrong


                          AP Trump
                                 thought
                             Judges
                                      aiurtswerekeytowinning. ignore the will of millions of votcrn
                                 disagreed.


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                                     Trump ElectionLawsuitAgainst
                         ForbesBrad  Raffensperger, Brian Kemp
                               Fails Jn Georgia
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        62.    In December 2020, Giuliani, who was not a government official, tried to convince

 acting Deputy Secretary of Homeland Security Ken Cuccinelli to have the Department of

 Homeland Security illegally seize voting machines. The Deputy Secretary refused to do so.

        63.    While he was baselessly seeking to undo the election in the courts, Giuliani was

 also repeatedly spreading Trump’s unsubstantiated claims of massive voter fraud through

 traditional and social media.

        64.    Focusing on the Defendants’ final means of subverting the election—blocking

 certification of President Biden’s victory—Giuliani advanced the argument that Vice President



                                                                        17

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 Pence could unilaterally block certification of the Electoral College vote, a position almost

 universally rejected by legal scholars, and by Vice President Pence himself.

        65.    At 6:34 p.m. on January 5, Giuliani tweeted a link to a YouTube video from his

 show “Common Sense” entitled, “Watch this Before January 6th.” The video purported to

 explain why it was permissible for Vice President Pence to block certification of the Electoral

 College vote the next day. Giuliani tweeted a retweet of that post later that night and again the

 following morning, shortly before Trump spoke at the rally.

        66.    A little over an hour later, on January 5 at 7:44 p.m., Giuliani made clear that he

 would be at the rally. He also volunteered that President Trump would “be joining us” there.

        67.    As recounted below, Giuliani would tell the crowd at the rally the next day that it

 was perfectly legal for Vice President Pence to block certification of the vote—even though

 most experts disagreed—and he suggested that Pence’s failure to do so would be an act of

 cowardice, if not outright treason. He then told the rally-goers, shortly before many of them

 stormed the Capitol, that it was time for “trial by combat.”

               Donald Trump Jr.

        68.    In the weeks before the January 6 rally, Donald Trump Jr. repeatedly spread his

 father’s baseless claims of massive, widespread voter fraud.

        69.    For example, on November 6, Donald Trump Jr. tweeted:

                                     Donald Trump Jr. 0
                                     @DonaldJTrumpJr


                            When America sees everything we are uncovering they
                            will be disgusted and even the media won't be able to
                            pretend voter fraud isn't real.

                            Ending this crap once and for all will be fundamental to
                            preserving our republic and faith in democracy.
                            4:48 AM • Nov 6, 2020 • Twitter for iPhone


                             45.GK Retweets    8.8K Quote Tweets     142.4K Likes




                                                               18

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         70.   As early as November 18, an analysis commissioned by ABC News confirmed

 that “[f]alse and misleading election-related claims, already running rampant on social media in

 the wake of this year’s race, were given an exponential boost in exposure after they were shared

 by Donald Trump Jr. and Eric Trump.”12 Trump Jr. understood this to be the case and

 intentionally spread the misleading claims with the intent of raising their public profile.

         71.   Trump Jr. did these things in an effort to overturn the 2020 Presidential election

 results and to aid the other Defendants’ efforts to do the same.

         72.   Upon information and belief, Trump Jr. continued to spread such claims through

 January 6. He has since deleted numerous social media posts related to the events of January 6,

 including all his Twitter posts prior to January 28, 2021.

         73.   Trump Jr. also repeatedly criticized “weak Republicans” and “radical left

 Democrats” as making the cover-up of this alleged massive voter fraud possible.13

         74.   On January 5, Donald Trump Jr. shared a video on Instagram with a call to “Be

 Brave. Do Something.”:




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                                                                                      -,.L.J~




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 12
         See Catherine Sanz, “Eric Trump, Donald Trump Jr. amplified claims of election fraud,
 analysis shows,” ABCNews.com (Nov. 18, 2020), available at
 https://abcnews.go.com/Politics/eric-trump-donald-trump-jr-amplified-claims-
 election/story?id=74261329.
 13
         See https://www.instagram.com/p/CHQANEVlj6i/?hl=en
                                                 19

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         75.    Trump Jr. did these things in an effort to overturn the 2020 Presidential election

 results and to aid the other Defendants’ efforts to do the same.

         76.    The day before the rally, Trump Jr.’s girlfriend, Kimberly Guilfoyle, spoke with

 “Stop the Steal” organizer Ali Alexander who relayed “The president’s mood is he’s in fighter

 mode and today will determine which Republicans are going to suffer his wrath going

 forward.”14

         77.    As recounted below, when Trump Jr. spoke at the rally the next day, he would

 again attack “radical Left Democrats” and “weak Republicans,” and again claim that the

 election had been stolen from his father and the American people.

                Mo Brooks

         78.    On November 5—long before any evidence of alleged widespread fraud could

 possibly have been obtained, but the same day that Trump addressed the nation about the

 alleged massive election fraud that did not exist—Brooks tweeted that he “lack[ed] faith that

 this was an honest election.” He said that, as a House member, he would be “very hesitant to

 certify the results of this election if Joe Biden wins”:
                                               Mo   Brooks.
                                               •RepMo8rooks

                                     As a U.S. House member,       I'm going to be very hesitant
                                     to certify the results of this election  if Joe Biden is
                                     declared   the winner under these circumstances        b/c I
                                     lack faith that this was an honest election.     Listen to my
                                     inte,view   on @WVNN      where I explain why.




                                     7:00 PM   Nov~.    2020   TwUIE"o Mt"doll   Slu<i,o O t::1:t't"JU




 14
        https://www.mediamatters.org/january-6-insurrection/stop-steal-organizer-ali-alexanders-
 pre-january-6-calls-violence-weve-got
                                                                       20

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        79.    Brooks separately tweeted that day, “Count Every LEGAL Vote!,” the same

 phrase Trump would use in his national address later that day:

                            Mo Brooks$
                            @RepMoBrooks


                    Count every LEGALvote!
                    4:22 PM • Nov 5, 2020 ' Twitter Web App O trn~AJr.



        80.    On November 18, Brooks previewed the Defendants’ endgame should their other

 efforts fail, retweeting a journalist who quoted him as saying that Congress can reject the

 electoral college votes “of any state”:
                                    t.1. Mo Brooks Retweeted
                                            Jan Jekielek
                                             @JanJekielek


                                    "Congress has the absolute right to reject the submitted
                                    electoral college votes of any state ..." @RepMoBrooks
                                    told me.

                                    "And I'm not going to put my name in support of any
                                    state that employs an election system that I don't have
                                    confidence in."




                                    QJi;l.~""bks: Congress Has 'Absolute Right' to Reject a State's Electoral College V...
                                     Rep. Mo Brooks (R-Ala.) said that the final outcome of the presidential election
                                     may be decided according to ..
                                     & theepochtimes.com


                                    5:43 PM• Nov 18, 2020 • Twitter for iPhone O t:it~t'n




        81.    On November 19—the same day that that Trump personally pressured Michigan

 elected officials—Brooks reiterated that “Congress controls who becomes president.”15




 15
      https://www.youtube.com/watch?v=_cdumF-u0Rw&list=PLKDm1nJ92oevVohc-
 GdCb6tCnJ_5iW-Zd
                                                                    21

                                                            JA - 90
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        82.    One week later, on November 27, Brooks proclaimed that “Joe Biden DID NOT

 win lawful vote majority in Georgia” and that Congress should reject its electoral votes:

                                Mo Brooks$
                                @RepMoBrooks


                        IMHO, Joe Biden DID NOT win lawful vote majority in
                        Georgia.

                        Per its right & duty, Congress should reject any Georgia
                        submission of 16 electoral college votes for Joe Biden.

                        That is EXACTLYwhat I hope to help do.

                        See below lawsuit for more! SORDID!

                        docdroid.com/e3rhDCz/compla ...o t:Jl",l"Jt
                        0 Election officials have certified Joe Biden as the winner of the U.S.Presidential
                              election

                        11:14 AM • Nov 27, 2020 • Twitter for iPad O t:Jl",l"Jt




        83.    Brooks did these things in an effort to overturn the 2020 Presidential election

 results and to aid the other Defendants’ efforts to do the same.

        84.    Brooks posted on Twitter that Trump personally had invited Brooks to speak on

 January 6 about how “Socialist Democrats” had managed to “steal this election” (Brooks

 identified Trump by tagging Trump’s personal Twitter account):

                              MoBrooksO
                              @RepMoBrooks


                      BIG DAY: I speak at tomorrow's#StoptheSteal rally@
                      7:50 am CT. @realDonaldTrumpasked me personallyto
                      speak & tell the Americanpeople about the election
                      systemweaknessesthat the SocialistDemocrats
                      exploitedto steal this election.Watch:

                      youtube.com/watch?v=HrGJfQ...
                      9:57 PM • Jan 5, 2021 • Twitter for iPhone




                                                           22

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 As recounted below, Brooks told the attendees at the rally that their country was literally being

 taken from them, that the scale of wrongdoing was of historical proportions, that it was time to

 start “kicking ass,” and that the individuals who were there that day had to be ready to perhaps

 sacrifice even their lives for their country.

         85.     Brooks said all these things solely in his personal capacity for his own benefit

 and/or personal partisan aims.

                              Trump’s Call to “Be There, will be wild!”
                                Is Understood As a Call to Violence

         86.     On December 19, 2020, after the Electoral College had voted to elect Joe Biden

 President, then-losing-candidate Trump promoted a “[b]ig protest on January 6.” He told his

 followers to “Be there, will be wild!”:


                                  Donald J. Trump 8
                                  @ 1-<a
                                       Dona   r, rr p

                           Peter Navarro releases 36-page report alleging
                           election fraud 'more than sufficient' to swing victory
                           to Trump .-vashe>c  am/3n • aBCe. A great report by
                           Peter. Statistically impossible to have lost the 2020
                           Election. Big protest in D.C. on January 6th. Be there,
                           will be wild!
                          0    This claim about election fraud is disputed

                          6 42 AM· December 19 2020                                0

         87.     Particularly considering Trump’s prior directive to a white supremacist group—

 the Proud Boys—to “stand by,” Trump’s tweet claiming that it was “statistically impossible to

 have lost the 2020 Election” was accurately understood by his followers to be a signal that the

 country had fallen, and a call to violence in response.

         88.     For example, within minutes of Trump’s “be wild” tweet, it was shared on

 TheDonald.win with the title: “Trump Tweet. Daddy Says Be in DC on Jan 6.” One user


                                                     23

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 “EvilGuy,” said, in response to Trump’s call to action, “I will be open carrying and so will my

 friends. We have been waiting for Trump to say the word. There is [sic] not enough cops in

 DC to stop what is coming.”

                 AA              i thedonald.win


                                                                   Ev1JGuy

                                                                   Not telling you what to do but I will be
                                                                   open carrying and so will my fnends. We
                                                                   have been waiting for Trump to say the
                                                                   word.

                                TRUMPTWEET.DADDYSAYS               There 1snot enough cops in DC lo slop
                                BE IN DC ON JAN. 6TH               what ts ex>m1ng
                                                                                        report   block •·Y


                                                                     uni
                        Donald J. Trump.
                        nlfealO.ruldTrump                            I have been warbng for this, he caned
                                                                     on us we the people. patriots, never
                  Peter Navarro releases 36-page report
                  alleging election fraud 'more than                 give up. Fight ~ke Trump Iffighting for
                  sufficient' to swing victory to Trump              generations to come•~
                  washex.am/3nwa8Ce. A great report by                                           r1 block    r~
                  Peter. Statistically impossible to have lost
                  the 2020 Election. Big protest in D.C. on
                                                                     Unc:ontrollableQueef
                  January 6th. Be there, will be wild!
                                                                     Same here. II 1sour oonstitutional nghl
                                                                     to do so regardless of what any mayor
                                                                     says.
                                                                           lnk parent uve   ~       block repy


                                                                     ArchbishopofKekistan

                                                                     Not to mention, National Guard would
                 <                         c!J     [I)      IQ


        89.    Other responses were in a similar vein. MrMcGreenGenes wrote “Well, shit.

 We’ve got marching orders bois.” (“Bois” is a likely reference to the “Bugaloo Bois” a right-

 wing extremist group.) Buttfart88 similarly understood Trump’s tweet as “marching orders.”


              =MrMcGr-eenGenes 558 points 2 hour-sago +559 / -l
              Well,, shit. We've g,ot marching orders, hois.



                                                             24

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           =Buttfart88 25 points 2 hours ago +25 / -0
           Trump just finally dropped the marching order at 1:00 in the morning. Holy shit lmao



           NamelessKing understood Trump’s tweet as a call to bring weapons to D.C. on the

    same day Congress was to certify the Electoral College vote:

          =NamelessKing_34points 2 hours ago +35 / -1
          "Will Be Wild" is a hidden message for us to be prepared ....as in armed.

          could also mean he's posted military in certain places while they all wait for the results to be handed down.



           PepeVsCommies took this as signal to use “any means necessary”:




             NEED TO MAKE OUR VOICES HEARD,usin any means necess                                111


           Perhaps most tellingly, SWORDofLIBERTY and justinkayz understood Trump’s

    tweet as a call to do exactly what the rioters did—“burst into [the Capitol] by the thousands.”

          SWOR
             DoO.IRBBIY2 points 9 hour<ago+2/ ·O
          oc,11'1mailer if lhcy steal the election, if patriots burst into the building by the thou,and, and cul the head, off the hydra.

          hey make the wrongchoice with thousandsof armed pissed patriocsoutside,they made their choice, and you have 10 make yours.

                                        i- justinkay£1 point 5 hours ago+ 1 / -0

                                        !Stormthe People's House and n::takc it from 1he fuckin' commies



           Others discussed shooting police officers and bringing weapons.

                    =loveshock 3 points L hour ago +7 / -4
                    Cops don't have "standing" if they are laying on the ground in a pool of their own blood.


                                       =BathouseBarry_2 points 18 minutes ago +2 / -0
                                        Aud we will be armed, and we won't leave.



                                                                   25

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         90.   Trump intended his supporters to interpret his “will be wild” tweet as a call to

 violence, and he knew they had done just that.

         91.   Some of Trump’s supporters engaged with him on Twitter about their plans to be

 a part of his “Cavalry.”

                            Donald J. Trump   e @realDonald... • 1h ...          womenforamerlcaflrst C • Follow
                            A great honor!                                       Washington
                                                                                          o.c.


                                Kylie Jane Kremer @I<... 12/19/20                womenforamericafirstO WE ARE
                                                                                 ON OUR WAY MR, PRESIOENT I
                             The calvary is coming, Mr. President!
                                                                                 #MarchForTrump TrumpMarch.com
                             JANUARY 6th I Washington, DC                        ,..
                             TrumpMarch.com

                                                                                 darkscHlangel Aghting for         0
                                                                                 Trump. Fighting for America

                             #MarchForTrump #StopTheSteal                        1w 4 lke.s Reply

                             Show this thread                                    shellarobens486 CANT WAIT
                                                                                                                   0
                                                                                 TO SEE THE CROWDS!

                                                                                 lw Reply




                                                                          437 likes




                                                                          Add a comment_




         92.    Similarly, on Facebook, many planned violence on January 6 in response to

 Trump’s tweet. For example, one California group built on “Trust, Dedication, and Survival”

 promoted “Operation Occupy the Capitol” on January 6 tagging the post #wearethestorm and

 #1776Rebels.16




 16
       See generally https://www.techtransparencyproject.org/articles/capitol-attack-was-
 months-making-facebook
                                                         26

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         n     0. Search Facebook                                                                                                                       + 0




                                    Take America Back. California
                                    Chapter
                                    Q Private group • 1.6K members



                                     About      Discussion      Announcements      Rooms    Topics   Members         Events   Media        Q.



                                                                                                       About
                                             December 23, 2020 at 5:25 PM 8
                                                                                                       A group dedicated to preserving the American
                                     OCCUPY THE CAPITAL JANUARY 6, 2021.
                                                                                                       way of life. We are built on trust, dedication
                                                                                                       and survival.
                                                                                                       email: takeamericabackca@yahoo.com
                                                                                                       parler: Takeamericabackca See Less

                                                                                                       i   Private
                                                                                                           Only members can see who's in the group
                                                                                                           and what they post.

                                                                                                       0   Visible
                                                                                                           Anyone can find this group.

                                                                                                       0 California
                                                                                                       ;;;. General Group



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         93.       One conspiracy theorist, and Trump supporter, tweeted that he was ready to die

 for Trump. The Arizona Republican Party retweeted his message, asking its followers “He is

 [ready to die for Trump]. Are you?”17

         94.       In response to Trump’s tweets calling people to Washington, D.C. on January 6,

 militia groups also began to strategize an assault on the Capitol by sharing maps of the Capitol

 and coordinating supplies and outfits to wear.

         95.       The Three Percenters were one of these militia groups, and indeed many of its

 members were among those who stormed the Capitol on January 6.




 17
          See https://www.washingtonpost.com/politics/2021/01/06/lets-have-trial-by-combat-
 how-trump-allies-egged-violent-scenes-wednesday and
 https://twitter.com/AZGOP/status/1336186861891452929?ref_src=twsrc%5Etfw
                                                                                27

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        96.    Trump Jr. previously has showed support for the Three Percenters. In May 2019,

 he posted a picture on Instagram showing himself in a t-shirt with the Three Percenters logo18

 prominently displayed.


                                                               8       donaldjtrumpjr O • Follow




                                                                       donaldjtrumpjr O Epic day on the
                                                                       water yesterday with
                                                                       @kimberlyguilfoyle and
                                                                       @guideroblewis. Big fish and lots of
                                                                       them with some epic dry fly action
                                                                       along the way despite some rather
                                                                       heavy showers. *flyfishing l,dryfly
                                                                       "fishing #trout >!'outdoors

                                                                       91


                                                                                     (±)



                                                               60,032 likes
                                                               MAY 27 2019



                                                               Log in to like or comment




 18
       https://www.adl.org/resources/backgrounders/three-percenters
                                               28

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                             Defendants Incite Violence at the Rally

        97.    The rally on January 6 was organized and funded by Trump’s campaign

 organization, Donald J. Trump for President (“the Campaign”). The Campaign paid an entity

 called Event Strategies to obtain the permit for the rally. The permit for the rally listed the

 Campaign’s director of finance operations as the “VIP Lead” for the rally.

        98.    At 10:00 p.m. on January 5, Trump put down his final marker as a losing

 candidate, declaring that Vice President Mike Pence had the authority to overturn the election

 results and hand him a victory:


                         Donald J. Trump•
                         @realDonaldTrump

                  If Vice President @Mike_Pence comes through for us, we will
                  win the Presidency. Many States want to decertify the
                  mistake they made in certifying incorrect & even fraudulent
                  numbers in a process NOT approved by their State
                  Legislatures (which it must be). Mike can send it back!
                  0 This claim about election fraud is disputed
                  10:00 PM • Jan 5, 2021                                                G)

                  <:::)169.4K    O 100.1K people are Tweeting about this

        99.    Trump’s tweet was intended to convince the tens of thousands of supporters who

 had traveled to D.C. for the rally that Vice President Pence was uniquely situated to save

 Trump’s presidency.

        100. By the morning of January 6, thousands of Trump supporters had flooded

 Washington, D.C. Many were prepared for violence and had plans to attack the Capitol. Many

 more were there for a political rally. The extremists who had been plotting the attack breached

 the Capitol as planned. The Defendants, and others, incited many of the other attendees to




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 violence, whipping them into a frenzy and turning them into a violent mob that participated in

 the attack.

         101. The rally opened at 7:00 a.m. on January 6. From that time until shortly after

 1:00 p.m., a series of speakers took the stage to lash out against the election results and to

 demand action by lawmakers from both political parties.

         102. The Defendants and others spoke at the rally.

         103. Amy Kremer, the head of the group Women For America First—one of the rally’s

 principal organizers—told the crowd that Trump “asked us to show up today, and I don’t think

 he’s going to be disappointed.” She repeated the lie that President Biden “did not win this

 election!” “We know that there was voter fraud, we absolutely know it,” she went on, “and

 that’s why we’re here, to stop the steal.” She spoke of the crowd’s role in apocalyptic terms:

 “This isn’t about stealing an election from Donald Trump, this is about stealing an election from

 We the People, and we are here to save the republic.” “You guys,” she implored them, “we

 cannot back down.” The crowd cheered in response.

         104. Trump and Trump Jr., standing backstage, heard Ms. Kremer say all those things

 to the crowd, including that they literally were there to “save the republic” and not to back

 down, and heard the crowd cheer in response.

         105. Mo Brooks also addressed the crowd at the rally, after Kremer had spoken. The

 theme of Brooks’ speech was that patriots are sometimes required to make extraordinary

 sacrifices for their country, and that day, January 6, was one such occasion.

         106. Brooks told the crowd, just one minute into his speech, “We are great because our

 ancestors sacrificed their blood, their sweat, their tears, their fortunes, and sometimes their




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  lives.” He continued that the country faced a crisis of historical magnitude, its greatest crisis

  since World War II, and perhaps even the Civil War:

                   We are here today because America is at risk unlike it has been in
                   decades, and perhaps centuries.

         107. He told the crowd that “Socialist Democrats” were attacking their freedoms and

  had literally stolen an election from them, and now had to be stopped:

                   We are not gonna let the socialists rip the heart out of our country.
                   We are not gonna let them continue to corrupt our elections and
                   steal from us our God-given right to control our nation’s destiny.

         108. And he told the crowd, before repeating his theme, that it was time to start

  “kicking ass”:

                   Today is the day American patriots start taking down names and
                   kicking ass! [Crowd cheers.] Now, our ancestors sacrificed their
                   blood, their sweat, their tears, their fortunes, and sometimes their
                   lives, to give us, their descendants, an America that is the greatest
                   nation in world history. So I have a question for you: Are you
                   willing to do the same? My answer is yes. Louder! Are you willing
                   to do what it takes to fight for America? Louder!! Will you fight
                   for America?!

         109. Brooks said all those things solely in his personal capacity for his benefit and/or

  his personal partisan aims.

         110. Trump and Trump Jr., standing backstage, heard Brooks say all those things to the

  crowd, and heard the crowd cheer in response.

         111. Giuliani also spoke at the rally, after Brooks and Kremer had spoken. He told the

  crowd, falsely, that it was “perfectly legal” for Vice President Pence unilaterally to block

  certification of the Electoral College votes, suggesting to the lay crowd that any failure by Vice

  President Pence to do so could have no legitimate constitutional basis, but instead would amount

  to cowardice and even treason.



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         112. To further foment the crowd, Giuliani confirmed the magnitude of what it would

  mean for certification to occur:

                This has been a year in which they have invaded our freedom of
                speech, our freedom of religion, our freedom to move, our freedom
                to live. I’ll be darned if they’re going to take away our free and fair
                vote. And we’re going to fight to the very end to make sure that
                doesn’t happen.

         113. Giuliani also falsely claimed, “This was the worst election in American history.”

  “This election was stolen,” he said, and “it has to be vindicated to save our country.”

         114. Giuliani, who had led Trump’s string of unsuccessful efforts to block certification

  in courts of law, declared instead, “Let’s have trial by combat.” The crowd cheered.

         115. Trump and Trump Jr., standing backstage, heard Giuliani say those things, and

  heard the crowd cheer, particularly in response to his statement advocating “trial by combat” as

  the way forward.

         116. Donald Trump Jr. also spoke at the rally, after Giuliani, Brooks, and Kremer had

  spoken. Like the others, Trump Jr. falsely told the crowd that the election had been stolen from

  his father. In what should have been a sign of how the crowd was receiving the Defendants’

  claims and allegations, spontaneous chants of “Fight for Trump! Fight for Trump!” rose up as

  Trump Jr. lambasted the alleged “glaring inconsistencies” and “statistical impossibilities” that

  allegedly had made President Biden’s win possible.

         117. Trump Jr. also said the assembled crowd “should be a message to all the

  Republicans who have not been willing to actually fight. The people who did nothing to stop

  the steal. This gathering should send a message to them: this isn’t their Republican party

  anymore. This is Donald Trump’s Republican party.”




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         118. Trump Jr., knowing full well how his father had attacked Vice President Pence in

  recent days for his intended refusal to block certification, went on to blast other Republicans

  who refused to fight for his father:

                This is the Republican party that’s not just going to roll over and die
                because the Democrats would like you to. That is what so many in
                the Republican establishment have created. That sort of mentality:
                Ok, we’ll turn the other cheek. We’ll roll over and die. We’ll fold
                and give up. No more! So to those Republicans—many of which
                may be voting on things in the coming hours—you have an
                opportunity today. You can be a hero, or you can be a zero. And
                the choice is yours, but we are all watching!

         119. Trump Jr. concluded by stating, “If you’re gonna be the zero, and not the hero,

  we’re coming for you, and we’re gonna have a good time doing it.” The crowd cheered in

  response.

         120. Trump, standing backstage, heard Trump Jr. say those things, and heard the crowd

  cheer in response.

         121. Donald Trump was the final speaker at the rally. He began his remarks at

  approximately 12:00 p.m. and concluded around 1:15 p.m., just after the first skirmishes

  between insurgents and Capitol Police officers were breaking out at the Capitol.

         122. In his remarks, Trump said “We took them by surprise and this year, they rigged

  an election. They rigged it like they’ve never rigged an election before.”

         123. Trump continued that “Hundreds of thousands of American patriots are

  committed to the honesty of our elections and the integrity of our glorious Republic. All of us

  here today do not want to see our election victory stolen by emboldened radical left Democrats,

  which is what they’re doing and stolen by the fake news media. That’s what they’ve done and

  what they’re doing. We will never give up.”




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         124. Trump also said “We will never concede, it doesn’t happen. You don’t concede

  when there’s theft involved. Our country has had enough. We will not take it anymore and

  that’s what this is all about. To use a favorite term that all of you people really came up with,

  we will stop the steal.” In referring to “the steal,” Trump meant the certification of Joseph

  Biden as President, which was underway at the Capitol.

         125. As the crowd chanted “Fight for Trump,” Trump responded, “we will not let them

  silence your voices. We’re not gonna let it happen.”

         126. Trump gave the crowd permission to break the rules; he told them that “[w]hen

  you catch somebody in a fraud, you’re allowed to go by very different rules.”

         127. While Trump was speaking, at around 12:45 p.m., a pipe bomb was found at the

  Republican National Committee headquarters. Another was found at the Democratic National

  Committee headquarters about thirty minutes later.

         128. Trump continued to incite the crowd. Trump concluded his speech by reminding

  the crowd that they’ll “never take back our country with weakness. You have to show strength,

  and you have to be strong.” He told the crowd to “walk down Pennsylvania Avenue. I love

  Pennsylvania Avenue. And we’re going to the Capitol … But we’re going to try and give our

  Republicans, the weak ones because the strong ones don’t need any of our help. We’re going to

  try and give them the kind of pride and boldness that they need to take back our country.” The

  crowd cheered in response.




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                                                         "And we fight. We fight
                                                         like hell. And if you don't
                                                         fight like hell, you're not
                                                         going to have a country
                                                         anymore" ... "You'll never
                                                         take back our country with
                                                         weakness. You have to
                                                         show strength, and you
                                                         have to be strong."


 Donald Trump Jr., standing backstage, heard Trump say those things, and heard the crowd cheer

 in response.

                                   Violence Starts at the Capitol

         129. Trump and the other Defendants had put out a clear call to action, and the crowd

  responded. As Trump was instructing them to go to the Capitol, insurgents were already forcing

  their way through barricades, attempting to breach the building, while blasting Trump’s speech

  on a bullhorn.

         130. The violence escalated quickly. After Trump’s speech ended, insurgents charged

  the hill surrounding the Capitol and began scaling the building’s outer walls. Officers reported

  that rioters were attacking them with metal poles. Law enforcement and local leaders put out

  calls for help. Officers called for reinforcements as the mob pulled down the gates erected to

  protect the Capitol, attacked officers, and started throwing explosives.

         131. At 1:34 p.m., the House Sergeant at Arms and D.C. Mayor Muriel Bowser both

  asked for backup.

         132. At around 1:45 p.m., frenzied Trump supporters surged passed Capitol Police

  officers protecting the Capitol’s West steps. By 1:49 p.m., the situation had gotten so volatile

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  that the Capitol Police requested the assistance of the National Guard. One officer declared,

  “We’re going to give riot warnings. We’re going to try to get compliance. But this is now

  effectively a riot.”

          133. Meanwhile, Trump stood by, encouraging the mob to continue the violence. At

  the same time the mob was declared a riot, Trump tweeted his entire speech from the rally:


                                 Donald J. Trump   0
                                 @realDonaldTrump

                           https://t.co/izltBeFE6G




                          1·49 PM • Jan 6, 2021


          134. About half an hour later, at 2:12 p.m., insurgents breached the Capitol. They

  broke windows using riot shields and poles, climbed into the building, and opened the doors for

  the mob to storm the interior of the Capitol. Some of those insurgents were in helmets and full

  tactical gear; others carried baseball bats, Trump flags, hockey sticks, and crutches; they had

  flex cuffs and climbing gear; some were equipped with their own radio system; others, stun

  guns and explosives:




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         135. As the mob was running rampant through the Capitol, Secret Service ushered

  Vice President Pence off the Senate floor. The mob chanted, “Hang Mike Pence!” Insurgents

  outside the Capitol erected a noose and gallows:




         136. The mob specifically targeted other elected officials as well. Armed and

  organized insurrectionists trained their sights on Speaker of the House Nancy Pelosi. They

  sought her out on the House floor and in her office—which they ransacked—terrorized her staff,

  and publicly declared their intent to kill her. Capitol Police officers were forced to quickly

  evacuate Speaker Pelosi from the House Rostrum.

         137. By 2:20 p.m., Capitol Police announced that the Capitol had been breached and

  was on full lockdown. Members of Congress trapped inside the House, including the Plaintiff

  here, were instructed to put on gas masks located underneath their seats because tear gas was

  being deployed as a countermeasure.


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         138. At 2:24 p.m., almost an hour after rioters descended on the Capitol, and as they

  were storming the hallways in search of members, Trump sent out a tweet with the clear intent

  to further inflame the mayhem, and which directly imperiled his own Vice President: “Mike

  Pence didn’t have the courage to do what should have been done to protect our Country and our

  Constitution.”


                   :,:   Donald J. Trump 0
                         @realDonaldTrump

                    Mike Pence didn't have the courage to do what should
                    have been done to protect our Country and our
                    Constitution, giving States a chance to certify a corrected
                    set of facts, not the fraudulent or inaccurate ones which
                    they were asked to previously certify. USA demands the
                    truth!
               2:24 PM • Jan 6, 2021



         139. This tweet was repeated by rioters at the Capitol on megaphones, who understood

  Trump’s tweet to be encouragement to further violence.

         140. In response to this tweet, members of the mob continued to chant “Hang Mike

  Pence!” and “Mike Pence is a Bitch!” as they continued their siege.

         141. At around 2:26 p.m., Trump called Senator Mike Lee’s cell phone looking for

  Senator Tuberville. Senator Lee handed the phone to Senator Tuberville who reported stating,

  “I looked at the phone and it said the White House on it, I said hello, the President said a few

  words. I said, ‘Mr. President they are taking our Vice President out and they want me to get off

  the phone and I’ve got to go.’”

         142. In another phone call, House Minority Leader Kevin McCarthy begged Trump to

  call off the rioters, pleading with him that the rioters were all Trump supporters. In response,




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  Trump told McCarthy, “Well, Kevin, I guess these people are more upset about the election than

  you are.”

         143. While the feral mob grew more violent, climbed over balconies, and erected

  nooses in front of the Capitol, Trump’s staff and advisors pleaded with him to address the nation

  and put an end to the violence. At 2:38 p.m., an hour after the first breach, Trump obliged, but

  stopped far short of calling off the mob or condemning the assault that was still underway:

                              Donald J. Trump 0
                              @realDonaldTrump


                      Please support our Capitol Police and Law Enforcement.
                      They are truly on the side of our Country. Stay peaceful!
                      2:38 PM • Jan 6, 2021 • Twitter for iPhone


         144. At around 2:44 p.m., Ashli Babbit, an Air Force veteran and Trump supporter,

  was shot and killed by Capitol Police. By 3:00 p.m., the District issued notice of an emergency

  citywide curfew to begin at 6 p.m.

         145. Meanwhile, the mob inside the Capitol shouted, “We want Trump!” The mob

  continued attacking officers with a variety of munitions—rocks, bottles, metal poles, bear spray,

  and pepper spray. Officers reported being “flanked” and “los[ing] the line.” For hours, officers

  were forced into hand-to-hand combat to prevent more rioters from entering the Capitol.

         146. All these events were widely reported in print, television, and online media

  outlets, and Trump and the other Defendants were aware of this coverage.

         147. At 4:17 p.m., Trump tweeted a recorded video directed to his supporters as they

  continued to ransack the Capitol:




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                                                 Donald J. TrumpO •••
                                                 @realDonaldTrump




                                        4·17 PM • Jan 6, 2021



 In the video, Trump told the mob, “I know your pain, I know you’re hurt,” and repeated his lies

 about a stolen election that had driven the insurgents to the Capitol in the first place. In the same

 breath he told the mob to go home, he also said, “We love you. You’re very special.”

         148. Predictably, just as Trump and the other Defendants had intended, the mayhem

  continued. A woman was later trampled to death by rioters while the mob rushed to breach a

  tunnel entrance of the Capitol.

         149. At around 5:40 p.m., the police finally began to clear the Capitol, and

  Congressional leaders announced they would proceed with the certification of the Electoral

  College Votes. By that time, the mob had thoroughly pillaged the premises: they had shattered

  windows, damaged statues, broken doors, vandalized offices, stolen laptops, shattered a mirror,

  desecrated the Speaker’s office, and stolen the Speaker’s lectern. In total, six people lost their

  lives because of the riot, 140 officers were hurt, and scores of people were left emotionally and

  physically injured, including the Plaintiff.

         150. At 6:01 p.m., five hours after insurgents had begun their siege on the Capitol and

  had threatened to kill Vice President Pence and others, Trump finally released a statement that

  directly addressed the violence. Once again, however, the message fell well short of a forceful
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  condemnation or rebuke. In another recorded video, Trump said, in a chilling “I told you so”

  moment, that “These are the things and events that happen when a sacred landslide victory is so

  unceremoniously & viciously stripped away from great patriots who have been badly & unfairly

  treated for so long.” He then told the members of the violent mob, who continued to occupy the

  Capitol and terrorize Plaintiff and other members to “Go home with love & in peace.

  Remember this day forever!”

                 ~     Donald J. Trump 0
                       @realDonaldTrump

                 These are the things and events that happen when a
                 sacred landslide election victory is so unceremoniously &
                 viciously stripped away from great patriots who have been
                 badly & unfairly treated for so long. Go home with love &
                 in peace. Remember this day forever!
                6:01 PM • Jan 6, 2021



         151. Many of the rioters cited Trump himself as the inspiration for their violent

  actions.19 For example, the attorney for Jacob Anthony (the “Qanon Shaman”) explained that

  “he came as a part of a group effort, with other ‘patriots’ from Arizona, at the request of the

  President that all ‘patriots’ come to D.C. on January 6, 2021.”

         152. In doing all of that, Trump acted well outside the outer perimeter of his official

  responsibility as president in the waning days of his term in office. His words and actions in

  lying about massive, coordinated fraud, improperly pressuring state legislators to overturn

  specific state results, seeking to undo such results through largely frivolous lawsuits, and in

  inciting a crowd while knowing some of his supporters were willing to react to his claims with

  political violence, all were meant to serve his own partisan and individual aims.


 19
       https://www.washingtonpost.com/politics/2021/02/09/over-over-over-arrested-rioters-
 say-what-spurred-them-trump/
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                                     The Aftermath of the Riot

         153. The reaction to Trump’s words and actions was swift. That night, both Twitter

  and Facebook suspended Trump’s accounts. Facebook removed Trump’s posts, explaining that

  “on balance these posts contribute to, rather than dimmish, the risk of ongoing violence.”

  Twitter initially shut down Trump’s account for 12 hours, citing “repeated and severe violations

  of [its] Civic Integrity policy.”20 The next day, Facebook announced it would suspend Trump’s

  account indefinitely. Facebook CEO Mark Zuckerberg also criticized Trump for “use of our

  platform to incite violent insurrection against a democratically elected government.” One day

  after that, on January 8, Twitter permanently suspended Trump’s account “due to the risk of

  further incitement of violence.”

         154. In the days that followed the January 6 insurgency, other social-media platforms

  were shuttered, including Parler and “r/The_Donald,” a prominent community on Reddit

  dedicated to Trump. Their decisions also were prompted by concerns about further incitement

  of violence.

         155. Lawmakers from both parties also condemned Trump for his role in the violence

  at the Capitol.

                           Trump Continues to Spread Dangerous Lies
                              Even After the Events of January 6

         156. For his part, Trump continues to recite the lie that the 2020 election was stolen

  from him in an unprecedented act of fraud, even amidst reports that some of his supporters are

  still intent on engaging in acts of political violence to protest the election. On February 28, in

  an address at the Conservative Political Action Conference, he spent 10 minutes of a 90-minute




 20
         https://www.cnn.com/2021/01/06/tech/twitter-lock-trump-account/index.html
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  speech claiming the election was stolen and saying what should be done to make sure it does not

  happen again.21 He told the crowd such things as, “This election was rigged,” “They used

  COVID as a way of cheating,” and, “The level of dishonesty is not to be believed.” He said

  those things despite wide reporting just days earlier that supporters of his were intent on

  committing acts of violence in connection with another political rite—President Biden’s first

  State of the Union address to Congress.22

         157. President Trump’s speech made clear he intends to continue insisting that the

  2020 election was a massive fraud that requires widespread reform. “We can never let this or

  other abuses of the 2020 election be repeated or happen again,” he said, “can never let that

  happen again.” And he indicated he may intend to pursue the purportedly needed reform as

  president: “But who knows, who knows? I may even decide to beat them for a third time.

  Okay? For a third time.”

         158. In doing all of that, President Trump made clear he poses a risk of inciting future

  political violence.

                        Trump is Impeached For His Role in the Violence

         159. On January 13, 2021, then-President Trump was impeached for the second time in

  his Presidency by the House of Representatives. In part, the Impeachment Resolution states:




 21
         The speech can be viewed at https://www.c-span.org/video/?509084-1/president-trump-
 addresses-cpac&live. A transcript of the speech can be found at
 https://www.rev.com/blog/transcripts/donald-trump-cpac-2021-speech-transcript.
 22
         See, e.g., CNN.com, “Capitol Police chief warns militia groups want to ‘blow up the
 Capitol’ when Biden addresss Congress” (Feb. 25, 2021), available at
 https://www.cnn.com/2021/02/25/politics/us-capitol-attack-house-hearing-pittman-
 blodgett/index.html; USAToday.com, “Feds on guard for domestic extremists targeting Biden’s
 address to Congress” (Feb.. 26, 2021), available at
 https://www.usatoday.com/story/news/politics/2021/02/26/biden-address-congress-watched-
 domestic-extremist-threat-feds/6835780002/.
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                  On January 6, 2021, pursuant to the 12th Amendment to the
                  Constitution of the United States, the Vice President of the United
                  States, the House of Representatives, and the Senate met at the
                  United States Capitol for a Joint Session of Congress to count the
                  votes of the Electoral College. In the months preceding the Joint
                  Session, President Trump repeatedly issued false statements
                  asserting that the Presidential election results were the product of
                  widespread fraud and should not be accepted by the American
                  people or certified by State or Federal officials. Shortly before the
                  Joint Session commenced, President Trump, addressed a crowd at
                  the Ellipse in Washington, D.C. There, he reiterated false claims
                  that “we won this election, and we won it by a landslide.” He also
                  willfully made statements that, in context, encouraged – and
                  foreseeably resulted in – lawless action at the Capitol, such as: “if
                  you don’t fight like hell you’re not going to have a country any
                  more.” Thus incited by President Trump, members of the crowd he
                  had addressed, in an attempt to, among other objectives, interfere
                  with the Joint Session’s solemn constitutional duty to certify the
                  results of the 2020 Presidential election, unlawfully breached and
                  vandalized the Capitol, injured and killed law enforcement
                  personnel, menaced Members of Congress, the Vice President, and
                  Congressional personnel, and engaged in other violent, deadly,
                  destructive and seditious acts.

         160. The Impeachment Resolution was delivered to the United States Senate on

  January 25, 2021.

         161. Trial in the Senate began on February 9, 2021 and concluded four days later, on

  February 13. Shortly after closing arguments, the Senate voted to acquit.

         162. Although Senate Minority Leader Mitch McConnel and other Republican

  Senators had voted for acquittal, they were unequivocal that Trump’s actions were clearly

  unacceptable.

         163. In a particularly sharp rebuke, Senator McConnell said of Trump’s conduct:

               There’s no question, none, that President Trump is practically and morally
        responsible for provoking the events of the day.

               The people who stormed this building believed they were acting on the
        wishes and instructions of their president, and having that belief was a foreseeable
        consequence of the growing crescendo of false statements, conspiracy theories and

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         reckless hyperbole which the defeated president kept shouting into the largest
         megaphone on planet Earth.

                 He did not do his job. He didn’t take steps so federal law could be faithfully
          executed and order restored. No. Instead, according to public reports, he watched
          television happily – happily – as the chaos unfolded. Even after it was clear to any
          reasonable observer that Vice President Pence was in serious danger.23

          164. McConnell continued:

                 President Trump is still liable for everything he did while he was in office,
         as an ordinary citizen, unless the statute of limitations has run, still liable for
         everything he did while in office, didn't get away with anything yet – yet.

                We have a criminal justice system in this country. We have civil litigation. And
         former presidents are not immune from being held accountable by either one.

          165. Another prominent Republican Senator, John Thune (R-SD), the Senate

  Republican whip, when asked how Trump should be held accountable, said “One way,

  obviously, would be in a court of law.”24 This suit follows.

                                              IV.
                                       CLAIMS FOR RELIEF

                                           COUNT 1
              Conspiracy to Violate Civil Rights (Interference with Official Duties)
                                      42 U.S.C. § 1985(1)
                                    (Against all Defendants)

          166. The Plaintiff re-alleges and incorporates by reference each and every paragraph of

  this Complaint as if set forth here in full.

          167. A violation of 42 U.S.C. § 1985(1) occurs when two or more persons conspire to

  do any one or more of the following:




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         https://www.npr.org/sections/trump-impeachment-trial-live-
 updates/2021/02/13/967701180/after-vote-mcconnell-torched-trump-as-practically-and-morally-
 responsible-for-ri
 24
         https://www.cnn.com/2021/01/29/politics/senate-republicans-trump-impeachment-
 capitol-riot/index.html
                                                    45

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                            a. “prevent by force, intimidation, or threat, any person from

                    accepting or holding any office, trust, or place of confidence under the United

                    States”;

                            b. “[prevent an official by force, intimidation, or threat] from

                    discharging any duties thereof”;

                            c. “induce by like means any officer of the United States to leave any

                    State, district, or place, where his duties as an officer are required to be

                    performed”;

                            d. “injure [an official] in [their] person or property on account of

                    [their] lawful discharge of the duties of [their] office, or while engaged in the

                    lawful discharge thereof”; and/or

                            e. “injure [an official’s] property so as to molest, interrupt, hinder, or

                    impede [them] in the discharge of [their] official duties.”

         168. As described more fully in this Complaint, the Defendants, by force, intimidation,

  or threat, agreed and conspired with one another to undertake a course of action to prevent

  President Joseph Biden and Vice President Kamala Harris from being certified as the winners of

  the 2020 presidential election and from accepting and/or holding their respective offices.

         169. As described more fully in this Complaint, the Defendants, by force, intimidation,

  or threat, agreed and conspired among themselves and with others to prevent members of

  Congress, including the Plaintiff, and Vice President Mike Pence from counting the Electoral

  College Votes and certifying President Biden and Vice President Harris as the winners of the

  2020 presidential election.




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         170. As described more fully in this Complaint, the Defendants, by force, intimidation,

  or threat, agreed and conspired among themselves and with others to induce members of

  Congress, including the Plaintiff, and Vice President Pence to leave the United States Capitol

  grounds, or some part thereof, including the Senate and House chambers, while they were

  performing their official duties as required by the 12th Amendment to the United States

  Constitution and other federal law.

         171. As described more fully in this Complaint, the Defendants among themselves and

  with others agreed and conspired to injure members of Congress, including the Plaintiff, and

  Vice President Pence, while they were engaged in the lawful discharge of their duties to count

  the Electoral College votes and certify the winners of the 2020 presidential election.

         172. As described more fully in this Complaint, the Defendants among themselves and

  others, conspired to injure the property of members of Congress, including the Plaintiff, to

  interrupt, hinder, and impede the performance of their official duties to count the Electoral

  College votes and certify the winners of the 2020 presidential election.

         173. As described more fully in this Complaint, the Defendants made public statements

  knowingly designed to undermine public confidence in the election. Such statements included

  falsely claiming that the election had been “rigged” and that fraudulent voting had been

  widespread enough to affect the outcome. These statements were intended to have the effect,

  and did have the effect, of communicating strategies for accomplishing the aims of the

  Defendants’ illegal conspiracy to other members of the conspiracy, including the persons who

  took violent action on January 6, 2021.

         174. As described more fully in this Complaint, the Defendants also encouraged,

  directed, and incited others to confront state and local officials about the Defendants’ false



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  claims of election-rigging and fraud. The purpose of this conduct was to build public support

  for these claims. These statements were intended to have the effect, and did have the effect, of

  communicating strategies for accomplishing the aims of the Defendants’ illegal conspiracy to

  other members of the conspiracy, including the persons who took violent action on January 6,

  2021.

          175. As described more fully in this Complaint, the Defendants promoted, supported,

  and endorsed a rally near the White House on January 6, 2021, the very same day the Plaintiff

  and other lawmakers participated in a joint session of Congress to count and certify the Electoral

  College votes from the 2020 presidential election.

          176. Among other purposes, the purpose of the rally was to gather a crowd in an effort

  to incite them to disrupt the certification of the Electoral College votes by Congress, including

  the Plaintiff, and to deny President Biden and Vice President Harris their respective offices.

          177. Donald Trump tweeted to his supporters that the January 6 rally “will be wild!”

  and in fact tens of thousands of his supporters made the trip to the District to participate in the

  event. Many of those supporters understood Trump’s tweet to be a call to violent action to stop

  members of Congress from certifying the Electoral College vote. Trump’s tweets were, in

  essence, an offer to join a conspiracy to disrupt members of Congress from performing their

  duties. By answering his call, the co-conspirators, including the other Defendants here,

  indicated their agreement to his unlawful conspiracy to disrupt Congress and deny office to

  President Biden and Vice President Harris.

          178. Donald Trump Jr. addressed the large crowd at the January 6 rally. He said that

  the Republican party was now “Donald Trump’s Republican party” and it was “not just going to

  roll over and die.” He also told Republicans “if you’re gonna be the zero, and not the hero,



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  we’re coming for you, and we’re gonna have a good time doing it.” Trump Jr. intended these

  words as a threat of violence or intimidation to coerce members of Congress to disregard the

  election results. Each of the other Defendants was aware of Trump Jr.’s remarks and endorsed

  and supported them as part of, and in furtherance of, the Conspiracy.

         179. Mo Brooks addressed the large crowd at the January 6 rally. He said “America is

  at risk unlike it has been in decades, and perhaps centuries.” He told the crowd to start “kicking

  ass,” and he spoke with reverence, at a purportedly peaceful demonstration, of how “our

  ancestors sacrificed their blood, sweat, their tears, their fortunes, and sometimes their lives,”

  before shouting at the crowd “Are you willing to do the same?!” Brooks intended these words

  as a threat of violence or intimidation to block the certification vote from even occurring and/or

  to coerce members of Congress to disregard the results of the election. Each of the other

  Defendants was aware of Brooks’ remarks and endorsed and supported them as part of, and in

  furtherance of, the Conspiracy.

         180. Rudolph Giuliani addressed the large crowd at the January 6 rally. He repeated

  the demonstrably false claim that Vice President Pence had the unilateral power to block

  certification of the Electoral College votes. He also said they would “fight to the very end to

  make sure” the election was not stolen, before stating “Let’s have trial by combat.” Giuliani

  intended these words as a threat of violence or intimidation to coerce members of Congress to

  disregard the results of the election. Each of the other Defendants was aware of Giuliani’s

  remarks and endorsed and supported them as part of, and in furtherance of, the Conspiracy.

         181. Donald Trump addressed the large crowd at the January 6 rally. He said “they

  rigged an election. They rigged it like they’ve never rigged an election before.” He said “We

  will never concede, it doesn’t happen. You don’t concede when there’s theft involved. Our



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  country has had enough. We will not take it anymore and that’s what this is all about.” Right

  before turning the crowd loose on the Capitol, Trump exclaimed, “You’ll never take back our

  country with weakness. You have to show strength, and you have to be strong.” Trump

  intended these words as a threat of violence or intimidation to coerce members of Congress to

  disregard the results of the election. Each of the other Defendants was aware of Trump’s

  remarks and endorsed and supported them as part of, and in furtherance of, the Conspiracy.

            182. Each of the Defendants was aware of each other’s incendiary remarks at the

  rally—and other, similar statements—and endorsed and supported them as part of, and in

  furtherance of, the Conspiracy.

            183. Under § 1985, any “party so injured or deprived” as a result of acts committed in

  furtherance of the conspiracy “may have an action for the recovery of damages occasioned by

  such injury or deprivation against any one or more of the conspirators.”

            184. The Plaintiff here is a “party so injured or deprived” by acts committed by the

  Defendants in furtherance of the conspiracy.

                                             COUNT 2
                          Neglect to Prevent Interference with Civil Rights
                                          42 U.S.C. § 1986
                                      (Against all Defendants)

            185.   The Plaintiff re-alleges and incorporates by reference each and every paragraph

  of this Complaint as if set forth here in full.

            186. It is a violation of 42 U.S.C. § 1986 for any person with “knowledge that any of

  the wrongs conspired [under § 1985] to be done … are about to be committed,” and, while

  having “power to prevent or aid in preventing the commission of same,” “neglects or refuses to

  do so.”




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          187. No later than January 6, 2021, as described more fully in this Complaint, the

  Defendants, by force, intimidation, or threat, conspired to prevent President Joseph Biden and

  Vice President Kamala Harris from being certified as the winners of the 2020 presidential

  election and from accepting and/or holding their respective offices.

          188. As such, the Defendants knew that wrongs conspired to be done were about to be

  committed—namely, by the Defendants themselves and their supporters.

          189. The Defendants commanded the attendance of tens of thousands of individuals at

  the rally in the District on January 6, 2021 for the purpose of coercing members of Congress to

  disregard the election results, and further incited thousands to violently storm the Capitol

  building shortly thereafter.

          190. Moreover, when it was clear that rioters had stormed the Capitol, and Congress

  was unable to certify the results of the Electoral College vote, the Defendants had the power to

  stop the rioters but refused and, instead, encouraged them.

          191. The power to intentionally provoke the wrongs at issue a fortiori includes the

  power to prevent or aid in preventing the same, and the Defendants chose not to do so in

  violation of 42 U.S.C. § 1986.

                                            COUNT 3
                                         Negligence Per Se
                     (Violation of D.C. Code §§ 22-1322 – Incitement to Riot)
                                     (Against all Defendants)

          192. The Plaintiff re-alleges and incorporates by reference each and every paragraph of

  this Complaint as if set forth here in full.

          193. D.C. Code § 22-1322 makes it a criminal offense to “willfully incite[] or urge[]

  other persons to engage in a riot.” D.C. Code § 22-1322(b). The statute defines a “riot” as “a

  public disturbance involving an assemblage of 5 or more persons which by tumultuous and

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  violent conduct or the threat thereof creates grave danger of damage or injury to property or

  persons.” D.C. Code § 22-1322(a).

            194. Section 22-1322, on its face, is a statute designed to promote public safety.

            195. Under District of Columbia law, statutes designed to promote public safety can

  establish a standard of care for a tort claim, such that their violation can amount to negligence

  per se.

            196. The Defendants violated that statute through their willful conduct by, among other

  things:

                  a. insisting for several weeks that the country was no longer a functioning

                      republic, but instead was literally being seized in a massive, coordinated act of

                      fraud;

                  b. repeating those same falsehoods to the assembled crowd on January 6;

                  c. then—while knowing the propensity of some of Trump’s supporters to engage

                      in political violence—saying the following highly inflammatory things,

                      among others:

                          i. it was time to “start taking down names and kicking ass,” they must be

                               willing to sacrifice “their blood, their sweat,” and maybe even “their

                               lives”;

                          ii. “the fight begins today”;

                         iii. it was time for “trial by combat”;

                         iv. “we’re coming for you”;

                          v. “you’re allowed to go by very different rules”; and

                         vi. “you have to show strength.”



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            197. The Defendants, in short, convinced the mob that something was occurring that—

  if actually true—might indeed justify violence to some, and then sent that mob to the Capitol

  with violence-laced calls for immediate action.

            198. Trump further demonstrated his willfulness in inciting the riot by refusing to call

  it off for hours as it wreaked havoc, even telling Representative Kevin McCarthy that the

  rioters’ actions proved they simply cared more about the election that he did. When Trump did

  finally address the mob, he did so intentionally in highly equivocal language that largely praised

  them and blamed the riot on the alleged election fraud.

            199. As described, the Plaintiff was harmed by the rioting mob the Defendants incited.

            200. The Defendants are therefore liable to the Plaintiff for negligence per se, and for

  all damages arising therefrom.

                                             COUNT 4
                                         Negligence Per Se
                   (Violation of D.C. Code § 22-1321(a)(2) – Disorderly Conduct)
                                      (Against all Defendants)

            201. The Plaintiff re-alleges and incorporates by reference each and every paragraph of

  this Complaint as if set forth here in full.

            202. D.C. Code § 1321 makes it a misdemeanor to “incite or provoke violence where

  there is a likelihood that such violence will ensue.” D.C. Code § 22-1321(a)(2).

            203. Section 22-1321, like Section 22-1322, is a statute designed to promote public

  safety.

            204. Under District of Columbia law, statutes designed to promote public safety can

  establish a standard of care for a tort claim, such that their violation can amount to negligence

  per se.




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          205. For all the reasons identified in Count 3, the Defendants violated D.C. Code § 22-

  1321.

          206. The harms that resulted from the Defendants’ violation is precisely the kind of

  harm that Section 22-1322 is designed to prevent.

          207. The Defendants are therefore liable to the Plaintiff for negligence per se, and for

  all damages arising therefrom.

                                             COUNT 5
                                        Bias-related Crimes
             (Inciting Assault, Inciting to Riot, Disorderly Conduct and Terrorism)
          D.C. Code §§ 22-404, 22-1805, 22-1321, 22-1322(c), 22-3152, 22-3153, 22-3704
                                      (Against all Defendants)

          208. The Plaintiff re-alleges and incorporates by reference each and every paragraph of

  this Complaint as if set forth here in full.

          209. D.C. Code § 22-3704 provides a “civil cause of action” for victims of bias-

  motivated crimes, “[i]rrespective of any criminal prosecution or the result of a criminal

  prosecution” of those crimes. D.C. Code § 22-3704(a). Among the biases that qualify is “the

  actual or perceived . . . political affiliation of a victim.” Id. “Political affiliation” under the

  statute extends beyond party and includes an individual’s stance for or against specific political

  figures.

          210. The Defendants and the rioters plainly were motivated by the Plaintiff’s political

  affiliation as a political opponent of Donald Trump. The Defendants repeatedly directed their

  attacks at “Socialist Democrats,” as well as “weak-kneed Republicans” and “RINOs.” The

  crowd that gathered on January 6 repeatedly cheered these attacks, and the rioters who breached

  the Capitol specifically sought out certain prominent Democrats and at least one prominent

  Republican, Vice President Pence, whom Trump had repeatedly called out by name.



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        211. This bias was demonstrated by the following statements, among many others:

              d. Trump Jr.: “The people who did nothing to stop the steal. This gathering

                 should send a message to them: this isn’t their Republican party anymore.

                 This is Donald Trump’s Republican party.”

              e. Trump: “All of us here today do not want to see our election victory stolen by

                 emboldened radical-left Democrats, which is what they're doing.”

              f. Trump: “For years, Democrats have gotten away with election fraud and weak

                 Republicans. And that’s what they are. There's so many weak Republicans.”

              g. Trump: “They're weak Republicans, they’re pathetic Republicans and that’s

                 what happens.”

              h. Trump: “If this happened to the Democrats, there’d be hell all over the

                 country going on. There’d be hell all over the country. But just remember

                 this: You’re stronger, you’re smarter, you’ve got more going than anybody.

                 And they try and demean everybody having to do with us. And you’re the

                 real people, you’re the people that built this nation. You’re not the people that

                 tore down our nation.

              i. Trump: “The weak Republicans, and that’s it. I really believe it. I think I’m

                 going to use the term, the weak Republicans. You’ve got a lot of them. And

                 you got a lot of great ones. But you got a lot of weak ones. They’ve turned a

                 blind eye, even as Democrats enacted policies that chipped away our jobs,

                 weakened our military, threw open our borders and put America last.

              j. Trump: “They also want to indoctrinate your children in school by teaching

                 them things that aren’t so. They want to indoctrinate your children. It’s all



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                    part of the comprehensive assault on our democracy, and the American people

                    are finally standing up and saying no. This crowd is, again, a testament to it.”

                k. Trump: “So I hope Mike has the courage to do what he has to do. And I hope

                    he doesn’t listen to the RINOs and the stupid people that he’s listening to.”

         212. The Defendants’ conduct violated multiple D.C. criminal statutes.

         213. D.C. Code § 22-404 criminalizes assault and behavior that “threatens another in a

  menacing manner.” As described in Count 3, D.C. Code § 22-1322 criminalizes inciting a riot.

  And as described in Count 4, D.C. Code § 22-1321 criminalizes disorderly conduct.

         214. Under D.C. Code § 22-1805, “inciting, . . . aiding or abetting the principal

  offender” of any criminal offense makes one criminally liable as if they too were a principal

  offender.

         215. As described in Counts 3, 4, and 8, the Defendants are directly responsible for,

  and additionally are responsible for aiding and abetting, the violence that occurred at the Capitol

  on January 6, which actions amount to incitement to riot, disorderly conduct, and assault.

         216. The Defendants’ actions also violated D.C.’s Anti-Terrorism Act. That act

  criminalizes acts of terrorism, including providing or soliciting material support or resources for

  acts of terrorism. D.C. Code § 22-3153. The statute further defines an “act of terrorism” as a

  “specified offense” intended to, among other things, “influence the policy or conduct of a unit of

  government by intimidation or coercion.” D.C. Code § 22-3152(1).

         217. “Specified offense[s]” under the Anti-Terrorism Act include D.C. Code §§ 22-

  2101 (Murder in the first degree); 22-2106 (Murder of law enforcement officer or public safety

  employee); 22-2103 (Murder in the second degree); 22-2105 (Manslaughter); 22-2001

  (Kidnapping and conspiracy to kidnap); 22-401 (Assault with intent to kill only); 22-406



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  (Mayhem or maliciously disfiguring); 22-301 (Arson); and 22-303 (Malicious burning,

  destruction, or injury of another’s property, if the property is valued at $500,000 or more). D.C.

  Code § 22-3152(8)(A)-(J).

          218. A “specified offense” for purposes of the Anti-Terrorism Act also includes “an

  attempt or conspiracy to commit any of” the above offenses. D.C. Code § 22-3152(8)(K).

          219. The Defendants violated the Anti-Terrorism Act on January 6. They told the

  crowd—as they had been saying for weeks—that the presidency was literally being stolen from

  them, then suggested they “start taking names and kicking ass,” that they engage in “trial by

  combat,” and that they play by “very different rules” before sending them to march on the

  Capitol. The Defendants did this for the purpose of “influenc[ing] the policy or conduct of a

  unit of government,” i.e., Congress.

          220. For all these reasons, the Defendants are liable to the Plaintiff for violating D.C.

  Code § 22-3704, and for all damages arising therefrom.

                                              COUNT 6
                             Intentional Infliction of Emotional Distress
                                      (Against all Defendants)

          221. The Plaintiff re-alleges and incorporates by reference each and every paragraph of

  this Complaint as if set forth here in full.

          222. In claiming for weeks that President Biden’s victory was in fact the largest act of

  fraud in American history; in seeing that some of Trump’s supporters were willing to engage in

  violence in response to such claims; and in using highly inflammatory language in repeating the

  false claims of fraud at the rally before sending the crowd to the Capitol, the Defendants

  engaged in conduct so outrageous in character, and so extreme in degree, as to go beyond all




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  possible bounds of decency. That fact is almost universally recognized in the widespread,

  bipartisan condemnation of Trump’s words and actions that day.

         223. The riot that erupted in direct response to the Defendants’ actions caused severe

  emotional distress to the Plaintiff.

         224. Plaintiff Eric Swalwell was inside the Capitol complex at all relevant times and

  was in the House chamber attempting to certify the results of the 2020 Presidential election

  when the violent mob breached the Capitol. The Plaintiff heard the mob pound on the chamber

  doors and smash glass in an effort to get inside. He watched as Capitol Police officers drew

  their weapons, barricaded entrances, and ordered the Plaintiff and other members of Congress to

  seek shelter, put on gas masks, and take cover in case there was gunfire. The Plaintiff prepared

  himself for possible hand-to-hand combat as he took off his jacket and tie and searched for

  makeshift instruments of self-defense. He listened in shock as the House Chaplain—a veteran

  of war herself—began praying for the members from the Rostrum.

         225. As the Plaintiff watched this horror unfold, he texted with his wife in what he felt

  could be his last moments, telling her “I love you very much. And our babies.”

         226. As a result of this, the Plaintiff suffered severe emotional distress.

         227. After telling them for weeks that their country was literally being taken from them

  and knowing the propensity of some of Trump’s supporters to engage in violence, the

  Defendants made the highly inflammatory remarks described above. Defendants intentionally,

  or at a minimum recklessly, caused the severe emotional distress suffered by the Plaintiff in

  connection with the January 6 attack. Statements by Republican and Democratic officials

  alike—and by several individuals arrested for their roles in the riot—all have recognized the




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  direct link between statements made by the Defendants at the rally and the mob’s decision to

  breach the Capitol.

          228. The Defendants are furthermore vicariously liable for the severe emotional

  distress caused by the rioters’ actions that day. The Defendants, with the rioters, jointly sought

  to prevent the lawful certification of President Biden’s Electoral College victory. The

  Defendants furthermore encouraged the rioters to do so through violent means. Trump’s refusal

  to condemn those acts for several hours, and then to do so equivocally while still expressing

  support and praise—which the other Defendants knew of and agreed to support—is further

  evidence of their agreement to block certification by any means.

          229. For those same reasons, the Defendants also are liable to the Plaintiff for aiding

  and abetting the rioters’ acts of intentional infliction of emotional distress.

          230. For all these reasons, the Defendants are liable to the Plaintiff for intentional

  infliction of emotional distress and for all damages arising therefrom.

                                              COUNT 7
                              Negligent Infliction of Emotional Distress
                                      (Against all Defendants)

          231. The Plaintiff re-alleges and incorporates by reference each and every paragraph of

  this Complaint as if set forth here in full.

          232. In claiming for weeks that President Biden’s victory was in fact the largest act of

  fraud in American history; in seeing that some of Trump’s supporters were willing to engage in

  violence in response to such claims; and in using highly inflammatory language in repeating the

  false claims of fraud at the rally before sending the crowd to the Capitol, the Defendants at a

  minimum acted negligently.




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          233. As described in this Complaint, the Plaintiff here was well within the zone of

  danger created by the Defendants’ actions. Congressman Swalwell was on the House floor

  when the mob reached the doors to the chamber, and he watched in horror as Capitol Police

  officers barricaded doors, held off the mob at gunpoint, and ordered the Plaintiff and others to

  put on gas masks and seek shelter from tear gas and potential gunfire.

          234. As described earlier in the Complaint, the Defendants’ actions caused the Plaintiff

  to suffer severe emotional distress.

          235. For the same reasons identified in Count 7, the Defendants are furthermore

  vicariously liable for, and aided and abetted, the rioters’ negligent infliction of emotional

  distress upon the Plaintiff.

          236. For all these reasons, the Defendants are liable to the Plaintiff for negligent

  infliction of emotional distress and for all damages arising therefrom.

                                           COUNT 8
                            Aiding and Abetting Common-Law Assault
                                     (Against all Defendants)

          237. The Plaintiff re-alleges and incorporates by reference each and every paragraph of

  this Complaint as if set forth here in full.

          238. On January 6, 2021, a mob of individuals, incited by the Defendants, stormed the

  Capitol.

          239. The Plaintiff was inside the Capitol as the mob gathered outside. The mob

  attacked law enforcement officers protecting the entrance and intentionally and unlawfully

  forced its way inside the building.




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          240. Many individuals in the mob either carried weapons or used objects such as poles

  and fire extinguishers as weapons before and after entering the building. Some individuals in

  the mob also carried restraints such as plastic handcuffs and rope.

          241. The mob also unlawfully and intentionally entered non-public areas of the Capitol

  building, including the members’ private offices. Members of the mob damaged and vandalized

  personal and public property and stole documents, electronics, and other items from some

  members’ offices.

          242. As the mob made its way through the Capitol looking for Members, participants

  threatened to kill numerous individuals, including, but not limited to, Vice President Mike

  Pence and Speaker of the House Nancy Pelosi. The mob terrorized and injured scores of people

  inside and outside of the Capitol, including the Plaintiff.

          243. As described previously in the Complaint, the Plaintiff was harmed by the rioting

  mob the Defendants incited.

          244. The mob’s intentional and unlawful entry into the Capitol, and the words and

  actions of its participants before and after entry, caused the Plaintiff to fear imminent physical

  harm.

          245. The Plaintiff in fact suffered harm because of the assault.

          246. The Defendants aided and abetted each other and the mob of individuals that

  stormed the Capitol and assaulted the Plaintiff.

          247. The Defendants were aware that their actions prior to and on January 6, 2021

  promoted and encouraged the mob to storm the Capitol and assault the Plaintiff and others.

          248. Before directing the mob to the Capitol, the Defendants instructed them to “fight

  like hell,” “start taking down names and kicking ass,” and that it was time for “trial by combat.”



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          249. The Defendants intended these words to be taken literally.

          250. For several hours after the mob had stormed the Capitol, the Defendants refused

  to communicate anything to the mob that might discourage continued unlawful action.

          251. The Defendants knowingly and substantially assisted in the assault that was

  perpetrated upon the Plaintiff. The Defendants riled up the crowd and directed and encouraged

  the mob to attack the Capitol and seek out members of Congress and assault them.

          252. For all these reasons, the Defendants are liable to the Plaintiff for assault and for

  all damages arising therefrom.

                                             COUNT 9
                                             Negligence
                                       (Against all Defendants)

          253. The Plaintiff re-alleges and incorporates by reference each and every paragraph of

  this Complaint as if set forth here in full.

          254. The Defendants’ actions prior to and on January 6 promoted and encouraged the

  mob to storm the Capitol and assault the Plaintiff.

          255. In directing a crowd of thousands to march on the Capitol—particularly

  considering their violence-laden commands—the Defendants owed a duty of care to the Plaintiff

  and to everyone in the Capitol to exercise reasonable care in directing the mob’s actions.

          256. Given the magnitude of wrongdoing the Defendants had alleged was about to

  occur, and the violent reaction of some Trump supporters on multiple prior occasions in

  response to the very same claims, it was reasonably foreseeable to the Defendants that members

  of the crowd might act violently if sufficiently inflamed that day and insufficiently instructed to

  remain peaceful and law-abiding.




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          257. In (1) repeating their claims that what was about to occur was a fraud of historical

  magnitude, (2) blaming the fraud on the Plaintiff and other similarly-situated officials, and then

  (3) sending the crowd off with exhortations to “fight like hell,” to “start taking down names and

  kicking ass,” to have “trial by combat,” and to play by “very different rules,” all for the literal

  purpose of “sav[ing] the republic,” the Defendants breached the duty of care they owed to the

  Plaintiff and others.

          258. The harm suffered by the Plaintiff was reasonably foreseeable given the

  Defendants’ statements on January 6, considering the magnitude of the wrong they had said for

  weeks was happening and their knowledge of past violent reactions in response to the same

  message.

          259. As described in this Complaint, the Plaintiff suffered harm as a result of the

  events of January 6.

          260. The injury to the Plaintiff was proximately caused by the Defendants’ breach of

  their duty of care.

          261. For all these reasons, the Defendants are liable to the Plaintiff for negligence and

  for all damages arising therefrom.

                                               V.
                                       PRAYER FOR RELIEF

         WHEREFORE, the Plaintiff respectfully requests this Court to enter a judgment in his

 favor and grant relief against the Defendants as follows:

                 (1)      Order the Defendants to pay actual money damages to the Plaintiff in an

         amount to be determined at trial;

                 (2)      Order the Defendants to pay punitive damages to the Plaintiff in an amount

         to be determined at trial;

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              (3)     Declare that the Defendants violated the law as set f011habove;

              (4)     Order the Defendants to provide written notice to the Plaintiff no less than

       7 days before any rally or other public event in Washington, D.C., on a day when significant

       election or election certification activity is taking place, and when the rnlly is planned to

       have more than 50 people in attendance, to allow the Plaintiff to detemline whether to seek

       relief from the Court to prevent fmiher violence or disrnption to the proper functioning of

       the federal government;

              (5)     Award the Plaintiff reasonable attorneys' fees and costs for his investigation

       and prosecution of this action; and

              (6)     Grant any such additional relief as the Comi deems just and proper.

                                               VI.
                                        JURYDEMAND

       The Plaintiff demands a trial by jmy by the maximum number ofjm·ors permitted by law.

       Dated: March 5, 2021                          Respectfully submitted,



                                                                                     .,

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                                          Attorneys for the Plaintiff




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 3ODLQWLIIV DV PHPEHUV RI &RQJUHVV IURP GLVFKDUJLQJ WKHLU RIILFLDO GXWLHV WR DSSURYH WKH FRXQW RI




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 YRWHV FDVW E\ PHPEHUV RI WKH (OHFWRUDO &ROOHJH IROORZLQJ WKH SUHVLGHQWLDO HOHFWLRQ KHOG LQ

 1RYHPEHU 

              ,Q IXUWKHUDQFH RI WKLV FRPPRQ JRDO RI SUHYHQWLQJ WKH WLPHO\ DSSURYDO RI WKH

 (OHFWRUDO &ROOHJH YRWH FRXQW WKH 'HIHQGDQWV DFWHG LQ FRQFHUW WR LQFLWH DQG WKHQ FDUU\ RXW D ULRW DW

 WKH &DSLWRO E\ SURPRWLQJ DQ DVVHPEO\ RI SHUVRQV WR HQJDJH LQ WXPXOWXRXV DQG YLROHQW FRQGXFW RU

 WKH WKUHDW RI LW WKDW FUHDWHG JUDYH GDQJHU RI KDUP WR WKH 3ODLQWLIIV DQG WR RWKHU PHPEHUV RI

 &RQJUHVV

              7KLV FRQGXFW MRLQWO\ XQGHUWDNHQ WR WKUHDWHQ WKH 3ODLQWLIIV DQG RWKHU PHPEHUV RI

 &RQJUHVV LQ RUGHU WR GLVUXSW WKH (OHFWRUDO &ROOHJH YRWH FRXQW ZDV SDUW RI DQ RQJRLQJ FRXUVH RI

 DFWLRQ SXUVXHG E\ WKH 'HIHQGDQWV IRU WKH SXUSRVH RI FRQWHVWLQJ WKH DQQRXQFHG UHVXOWV RI WKH

 SUHVLGHQWLDO HOHFWLRQ KHOG LQ 1RYHPEHU  DQG SUHYHQWLQJ WKH GXO\ HOHFWHG 3UHVLGHQW DQG 9LFH

 3UHVLGHQW IURP DWWDLQLQJ DSSURYDO E\ &RQJUHVV RI WKHLU HOHFWLRQ QHFHVVDU\ WR WKHLU LQDXJXUDWLRQ

              7KH LQVXUUHFWLRQ DW WKH &DSLWRO ZDV D GLUHFW LQWHQGHG DQG IRUHVHHDEOH UHVXOW RI WKH

 'HIHQGDQWV¶ XQODZIXO FRQVSLUDF\ ,W ZDV LQVWLJDWHG DFFRUGLQJ WR D FRPPRQ SODQ WKDW WKH

 'HIHQGDQWV SXUVXHG VLQFH WKH HOHFWLRQ KHOG LQ 1RYHPEHU  FXOPLQDWLQJ LQ DQ DVVHPEO\

 GHQRPLQDWHG DV WKH ³6DYH $PHULFD´ UDOO\ KHOG DW WKH (OOLSVH LQ :DVKLQJWRQ '& RQ -DQXDU\ 

  GXULQJ ZKLFK 'HIHQGDQWV 7UXPS DQG *LXOLDQL LQFLWHG D FURZG RI WKRXVDQGV WR GHVFHQG

 XSRQ WKH &DSLWRO LQ RUGHU WR SUHYHQW RU GHOD\ WKURXJK WKH XVH RI IRUFH DQG LQWLPLGDWLRQ WKH

 FRXQWLQJ RI (OHFWRUDO &ROOHJH YRWHV LQ WKH KRSH WKDW 'HIHQGDQWV FRXOG DFKLHYH D GLIIHUHQW

 RXWFRPH RI WKH HOHFWLRQ $V SDUW RI WKLV XQLILHG SODQ WR SUHYHQW WKH FRXQWLQJ RI (OHFWRUDO &ROOHJH

 YRWHV 'HIHQGDQWV 3URXG %R\V DQG 2DWK .HHSHUV WKURXJK WKHLU OHDGHUVKLS DFWHG LQ FRQFHUW WR

 VSHDUKHDG WKH DVVDXOW RQ WKH &DSLWRO ZKLOH WKH DQJU\ PRE WKDW 'HIHQGDQWV 7UXPS DQG *LXOLDQL

 LQFLWHG GHVFHQGHG RQ WKH &DSLWRO 7KH FDUHIXOO\ RUFKHVWUDWHG VHULHV RI HYHQWV WKDW XQIROGHG DW WKH



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 6DYH $PHULFD UDOO\ DQG WKH VWRUPLQJ RI WKH &DSLWRO ZDV QR DFFLGHQW RU FRLQFLGHQFH ,W ZDV WKH

 LQWHQGHG DQG IRUHVHHDEOH FXOPLQDWLRQ RI D FDUHIXOO\ FRRUGLQDWHG FDPSDLJQ WR LQWHUIHUH ZLWK WKH

 OHJDO SURFHVV UHTXLUHG WR FRQILUP WKH WDOO\ RI YRWHV FDVW LQ WKH (OHFWRUDO &ROOHJH

              :KLOH QRW DOO RI WKH 'HIHQGDQWV LQ WKLV DFWLRQ ZHUH SK\VLFDOO\ SUHVHQW DW WKH

 &DSLWRO GXULQJ WKLV DWWDFN RQ WKH 3ODLQWLIIV DQG RWKHU PHPEHUV RI &RQJUHVV WKH HYHQWV WKDW

 RFFXUUHG ZHUH WKH QDWXUDO IRUHVHHDEOH DQG LQWHQGHG FRQVHTXHQFH RI WKH 'HIHQGDQWV¶ FRRUGLQDWHG

 FDPSDLJQ WR XVH IRUFH LQWLPLGDWLRQ DQG WKUHDWV LQ DQ DWWHPSW WR SUHYHQW &RQJUHVV IURP

 GLVFKDUJLQJ LWV OHJDOO\ UHTXLUHG GXW\ WR SUHVLGH RYHU DQG DSSURYH WKH FRXQW RI WKH (OHFWRUDO

 &ROOHJH YRWHV ZKLFK XOWLPDWHO\ FRQILUPHG WKDW 'HIHQGDQW 7UXPS¶V RSSRQHQW ZDV HOHFWHG WKH QH[W

 3UHVLGHQW RI WKH 8QLWHG 6WDWHV

              $FFRUGLQJO\ WKLV DFWLRQ VHHNV WKH DZDUG RI FRPSHQVDWRU\ GDPDJHV WR UHGUHVV WKH

 KDUP WR WKH 3ODLQWLIIV FDXVHG E\ WKH 'HIHQGDQWV¶ XVH RI LQWLPLGDWLRQ KDUDVVPHQW DQG WKUHDWV RI

 YLROHQFH WR LQWHUIHUH ZLWK WKH GLVFKDUJH RI WKHLU OHJDOO\ UHTXLUHG GXWLHV DV PHPEHUV RI &RQJUHVV

 DQG SXQLWLYH GDPDJHV WR SXQLVK WKH 'HIHQGDQWV IRU WKH UHFNOHVV DQG PDOLFLRXV PDQQHU LQ ZKLFK

 WKH\ DFWHG DQG WR HQMRLQ DQG GHWHU D UHFXUUHQFH RI WKLV XQODZIXO FRQGXFW

                                   -85,6',&7,21 $1' 9(18(

              7KLV &RXUW KDV MXULVGLFWLRQ RYHU WKH VXEMHFW PDWWHU RI WKLV VXLW SXUVXDQW WR 

 86&   EHFDXVH WKH FODLP LQ WKLV FDVH DULVHV XQGHU WKH ODZV RI WKH 8QLWHG 6WDWHV

             9HQXH LV SURSHU LQ WKLV MXGLFLDO GLVWULFW SXUVXDQW WR  86&   E 

 EHFDXVH D VXEVWDQWLDO SDUW RI WKH HYHQWV RU RPLVVLRQV JLYLQJ ULVH WR WKH FODLPV RFFXUUHG LQ WKLV

 GLVWULFW




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                                         7+( 3$57,(6

             3ODLQWLII %HQQLH * 7KRPSVRQ LV WKH GXO\ HOHFWHG 5HSUHVHQWDWLYH RI WKH 6HFRQG

 &RQJUHVVLRQDO 'LVWULFW RI 0LVVLVVLSSL 2Q -DQXDU\   5HS 7KRPSVRQ ZDV SUHVHQW LQ WKH

 &DSLWRO LQ RUGHU WR GLVFKDUJH KLV OHJDOO\ UHTXLUHG GXW\ WR REVHUYH DQG DSSURYH WKH FRXQW RI YRWHV

 FDVW E\ PHPEHUV RI WKH (OHFWRUDO &ROOHJH IRU WKH HOHFWLRQ RI 3UHVLGHQW DQG 9LFH3UHVLGHQW RI WKH

 8QLWHG 6WDWHV $V GHVFULEHG LQ PRUH GHWDLO EHORZ 5HS 7KRPSVRQ ZDV KLQGHUHG GHOD\HG

 LPSHGHG DQG DOPRVW FRPSOHWHO\ SUHYHQWHG IURP FDUU\LQJ RXW WKHVH GXWLHV EHFDXVH RI WKH

 'HIHQGDQWV¶ XQODZIXO DFWLRQV 5HS 7KRPSVRQ EULQJV WKLV VXLW LQ KLV SHUVRQDO FDSDFLW\

             3ODLQWLII .DUHQ %DVV LV WKH GXO\ HOHFWHG 5HSUHVHQWDWLYH IURP &DOLIRUQLD¶V 7KLUW\

 6HYHQWK &RQJUHVVLRQDO 'LVWULFW 2Q -DQXDU\   5HS %DVV ZDV SUHVHQW LQ WKH &DSLWRO LQ

 RUGHU WR GLVFKDUJH KHU FRQVWLWXWLRQDO GXW\ WR REVHUYH DQG DSSURYH WKH YRWHV FDVW E\ PHPEHUV RI

 WKH (OHFWRUDO &ROOHJH IRU WKH HOHFWLRQ RI 3UHVLGHQW DQG 9LFH 3UHVLGHQW RI WKH 8QLWHG 6WDWHV $V

 GHVFULEHG LQ PRUH GHWDLO EHORZ 5HS %DVV ZDV LPSHGHG DQG DOPRVW FRPSOHWHO\ SUHYHQWHG IURP

 FDUU\LQJ RXW WKHVH GXWLHV EHFDXVH RI 'HIHQGDQWV¶ XQODZIXO DFWLRQV 5HS %DVV EULQJV WKLV VXLW LQ

 KHU SHUVRQDO FDSDFLW\

             3ODLQWLII 6WHSKHQ &RKHQ LV WKH GXO\ HOHFWHG 5HSUHVHQWDWLYH IURP 7HQQHVVHH¶V

 1LQWK &RQJUHVVLRQDO 'LVWULFW 2Q -DQXDU\   5HS &RKHQ ZDV SUHVHQW LQ WKH &DSLWRO LQ

 RUGHU WR GLVFKDUJH KLV FRQVWLWXWLRQDO GXW\ WR REVHUYH DQG DSSURYH WKH YRWHV FDVW E\ PHPEHUV RI

 WKH (OHFWRUDO &ROOHJH IRU WKH HOHFWLRQ RI 3UHVLGHQW DQG 9LFH 3UHVLGHQW RI WKH 8QLWHG 6WDWHV $V

 GHVFULEHG LQ PRUH GHWDLO EHORZ 5HS &RKHQ ZDV LPSHGHG DQG DOPRVW FRPSOHWHO\ SUHYHQWHG IURP

 FDUU\LQJ RXW WKHVH GXWLHV EHFDXVH RI 'HIHQGDQWV¶ XQODZIXO DFWLRQV 5HS &RKHQ EULQJV WKLV VXLW LQ

 KLV SHUVRQDO FDSDFLW\




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              3ODLQWLII 9HURQLFD (VFREDU LV WKH GXO\ HOHFWHG 5HSUHVHQWDWLYH IURP 7H[DV¶V

 6L[WHHQWK &RQJUHVVLRQDO 'LVWULFW 2Q -DQXDU\   5HS (VFREDU ZDV SUHVHQW LQ WKH &DSLWRO

 LQ RUGHU WR GLVFKDUJH KHU FRQVWLWXWLRQDO GXW\ WR REVHUYH DQG DSSURYH WKH YRWHV FDVW E\ PHPEHUV RI

 WKH (OHFWRUDO &ROOHJH IRU WKH HOHFWLRQ RI 3UHVLGHQW DQG 9LFH 3UHVLGHQW RI WKH 8QLWHG 6WDWHV $V

 GHVFULEHG LQ PRUH GHWDLO EHORZ 5HS (VFREDU ZDV LPSHGHG DQG DOPRVW FRPSOHWHO\ SUHYHQWHG

 IURP FDUU\LQJ RXW WKHVH GXWLHV EHFDXVH RI 'HIHQGDQWV¶ XQODZIXO DFWLRQV 5HS (VFREDU EULQJV

 WKLV VXLW LQ KHU SHUVRQDO FDSDFLW\

              3ODLQWLII 3UDPLOD -D\DSDO LV WKH GXO\ HOHFWHG 5HSUHVHQWDWLYH IURP :DVKLQJWRQ¶V

 6HYHQWK &RQJUHVVLRQDO GLVWULFW 2Q -DQXDU\   5HS -D\DSDO ZDV SUHVHQW LQ WKH &DSLWRO LQ

 RUGHU WR GLVFKDUJH KHU FRQVWLWXWLRQDO GXW\ WR REVHUYH DQG DSSURYH WKH YRWHV FDVW E\ PHPEHUV RI

 WKH (OHFWRUDO &ROOHJH IRU WKH HOHFWLRQ RI 3UHVLGHQW DQG 9LFH 3UHVLGHQW RI WKH 8QLWHG 6WDWHV $V

 GHVFULEHG LQ PRUH GHWDLO EHORZ 5HS -D\DSDO ZDV LPSHGHG DQG DOPRVW FRPSOHWHO\ SUHYHQWHG

 IURP FDUU\LQJ RXW WKHVH GXWLHV EHFDXVH RI 'HIHQGDQWV¶ XQODZIXO DFWLRQV 5HS -D\DSDO EULQJV WKLV

 VXLW LQ KHU SHUVRQDO FDSDFLW\

              3ODLQWLII +HQU\ & ³+DQN´ -RKQVRQ -U LV WKH GXO\ HOHFWHG 5HSUHVHQWDWLYH IURP

 *HRUJLD¶V )RXUWK &RQJUHVVLRQDO 'LVWULFW 2Q -DQXDU\   5HS -RKQVRQ ZDV SUHVHQW LQ WKH

 &DSLWRO LQ RUGHU WR GLVFKDUJH KLV FRQVWLWXWLRQDO GXW\ WR REVHUYH DQG DSSURYH WKH YRWHV FDVW E\

 PHPEHUV RI WKH (OHFWRUDO &ROOHJH IRU WKH HOHFWLRQ RI 3UHVLGHQW DQG 9LFH 3UHVLGHQW RI WKH 8QLWHG

 6WDWHV $V GHVFULEHG LQ PRUH GHWDLO EHORZ 5HS -RKQVRQ ZDV LPSHGHG DQG DOPRVW FRPSOHWHO\

 SUHYHQWHG IURP FDUU\LQJ RXW WKHVH GXWLHV EHFDXVH RI 'HIHQGDQWV¶ XQODZIXO DFWLRQV 5HS -RKQVRQ

 EULQJV WKLV VXLW LQ KLV SHUVRQDO FDSDFLW\

             3ODLQWLII 0DUF\ .DSWXU LV WKH GXO\ HOHFWHG 5HSUHVHQWDWLYH IRU 2KLR¶V 1LQWK

 &RQJUHVVLRQDO 'LVWULFW 5HS .DSWXU ZDV SUHVHQW LQ WKH &DSLWRO RQ -DQXDU\   SUHSDUHG WR



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 GLVFKDUJH KHU GXWLHV RI WDOO\LQJ WKH EDOORWV RI WKH (OHFWRUDO &ROOHJH DQG FHUWLI\LQJ WKH UHVXOWV RI

 WKH  SUHVLGHQWLDO HOHFWLRQ $V GHVFULEHG LQ PRUH GHWDLO EHORZ 5HS .DSWXU ZDV LPSHGHG DQG

 DOPRVW FRPSOHWHO\ SUHYHQWHG IURP FDUU\LQJ RXW WKHVH GXWLHV EHFDXVH RI 'HIHQGDQWV¶ XQODZIXO

 DFWLRQV 5HS .DSWXU EULQJV WKLV VXLW LQ KHU SHUVRQDO FDSDFLW\

              3ODLQWLII %DUEDUD /HH LV WKH GXO\ HOHFWHG 5HSUHVHQWDWLYH IRU &DOLIRUQLD¶V

 7KLUWHHQWK &RQJUHVVLRQDO 'LVWULFW 5HS /HH ZDV SUHVHQW LQ WKH &DSLWRO RQ -DQXDU\  

 SUHSDUHG WR GLVFKDUJH KHU GXWLHV RI WDOO\LQJ WKH EDOORWV RI WKH (OHFWRUDO &ROOHJH DQG FHUWLI\LQJ WKH

 UHVXOWV RI WKH  SUHVLGHQWLDO HOHFWLRQ $V GHVFULEHG LQ PRUH GHWDLO EHORZ 5HS /HH ZDV

 LPSHGHG DQG DOPRVW FRPSOHWHO\ SUHYHQWHG IURP FDUU\LQJ RXW WKHVH GXWLHV EHFDXVH RI 'HIHQGDQWV¶

 XQODZIXO DFWLRQV 5HS /HH EULQJV WKLV VXLW LQ KHU SHUVRQDO FDSDFLW\

             3ODLQWLII -HUUROG 1DGOHU LV WKH GXO\ HOHFWHG 5HSUHVHQWDWLYH IRU 1HZ <RUN¶V 7HQWK

 &RQJUHVVLRQDO 'LVWULFW 5HS 1DGOHU ZDV DW WKH &DSLWRO RQ -DQXDU\   SUHSDUHG WR GLVFKDUJH

 KLV FRQVWLWXWLRQDO GXWLHV RI WDOO\LQJ WKH EDOORWV RI WKH (OHFWRUDO &ROOHJH DQG FHUWLI\LQJ WKH UHVXOWV

 RI WKH  SUHVLGHQWLDO HOHFWLRQ $V GHVFULEHG LQ PRUH GHWDLO EHORZ 5HS 1DGOHU ZDV LPSHGHG

 DQG DOPRVW FRPSOHWHO\ SUHYHQWHG IURP FDUU\LQJ RXW WKHVH GXWLHV EHFDXVH RI 'HIHQGDQWV¶ XQODZIXO

 DFWLRQV 5HS 1DGOHU EULQJV WKLV VXLW LQ KLV SHUVRQDO FDSDFLW\

             3ODLQWLII 0D[LQH :DWHUV LV WKH GXO\ HOHFWLRQ 5HSUHVHQWDWLYH IURP &DOLIRUQLD¶V

 )RUW\7KLUG &RQJUHVVLRQDO 'LVWULFW 5HS :DWHUV ZDV SUHVHQW LQ WKH &DSLWRO RQ -DQXDU\  

 SUHSDUHG WR GLVFKDUJH KHU GXWLHV RI WDOO\LQJ EDOORWV RI WKH (OHFWRUDO &ROOHJH DQG FHUWLI\LQJ WKH

 UHVXOWV RI WKH  SUHVLGHQWLDO HOHFWLRQ $V GHVFULEHG LQ PRUH GHWDLO EHORZ 5HS :DWHUV ZDV

 LPSHGHG DQG DOPRVW FRPSOHWHO\ SUHYHQWHG IURP FDUU\LQJ RXW WKHVH GXWLHV EHFDXVH RI 'HIHQGDQWV¶

 XQODZIXO DFWLRQV 5HS :DWHUV EULQJV WKLV VXLW LQ KHU SHUVRQDO FDSDFLW\




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             3ODLQWLII %RQQLH :DWVRQ &ROHPDQ LV WKH GXO\ HOHFWHG 5HSUHVHQWDWLYH IURP 1HZ

 -HUVH\¶V 7ZHOIWK &RQJUHVVLRQDO 'LVWULFW 5HS :DWVRQ &ROHPDQ ZDV SUHVHQW LQ WKH &DSLWRO RQ

 -DQXDU\   SUHSDUHG WR GLVFKDUJH KHU GXWLHV RI WDOO\LQJ EDOORWV RI WKH (OHFWRUDO &ROOHJH DQG

 FHUWLI\LQJ WKH UHVXOWV RI WKH  SUHVLGHQWLDO HOHFWLRQ $V GHVFULEHG LQ PRUH GHWDLO EHORZ 5HS

 :DWVRQ &ROHPDQ ZDV LPSHGHG DQG DOPRVW FRPSOHWHO\ SUHYHQWHG IURP FDUU\LQJ RXW WKHVH GXWLHV

 EHFDXVH RI 'HIHQGDQWV¶ XQODZIXO DFWLRQV 5HS :DWVRQ &ROHPDQ EULQJV WKLV VXLW LQ KHU SHUVRQDO

 FDSDFLW\

              'HIHQGDQW 'RQDOG - 7UXPS ZDV WKH 3UHVLGHQW RI WKH 8QLWHG 6WDWHV IURP -DQXDU\

   XQWLO QRRQ (DVWHUQ 6WDQGDUG 7LPH RQ -DQXDU\   'HIHQGDQW 7UXPS LV D UHVLGHQW

 RI WKH VWDWH RI )ORULGD $V GHVFULEHG LQ PRUH GHWDLO EHORZ 'HIHQGDQW 7UXPS DFWLQJ VROHO\ LQ KLV

 SHUVRQDO FDSDFLW\ FRQVSLUHG ZLWK RWKHUV WR SUHYHQW E\ IRUFH LQWLPLGDWLRQ DQG WKUHDWV WKH

 3ODLQWLIIV DQG RWKHU PHPEHUV RI &RQJUHVV IURP GLVFKDUJLQJ WKHLU GXWLHV WR DSSURYH WKH UHVXOWV RI

 WKH (OHFWRUDO &ROOHJH YRWH DQG FHUWLI\ WKH UHVXOWV RI WKH SUHVLGHQWLDO HOHFWLRQ KHOG LQ 1RYHPEHU

  'HIHQGDQW 7UXPS¶V DFWLRQV LQ IXUWKHUDQFH RI WKH FRQVSLUDF\ ZHUH IDU RXWVLGH WKH VFRSH RI

 KLV RIILFLDO GXWLHV DQG ZHUH WDNHQ WR DGYDQFH KLV FRQWLQXHG HIIRUWV WR FDPSDLJQ DQG VHFXUH

 UHHOHFWLRQ WR WKH SUHVLGHQF\ QRWZLWKVWDQGLQJ DFWLRQV WDNHQ E\ WKH VWDWHV DQG PHPEHUV RI WKH

 (OHFWRUDO &ROOHJH WKDW FRQILUPHG KLV GHIHDW 7KH WZHHWV SXEOLVKHG E\ 'HIHQGDQW 7UXPS IRU

 H[DPSOH ZKLFK DUH UHSRUWHG EHORZ LQ WKLV $PHQGHG &RPSODLQW FDPH IURP KLV SHUVRQDO UDWKHU

 WKDQ RIILFLDO 7ZLWWHU DFFRXQW DQG ZKHQ KH VSRNH WR WKH DVVHPEOHG FURZG RQ -DQXDU\   KH

 FRQWLQXHG WR KROG KLPVHOI RXW DV D YLDEOH FDQGLGDWH IRU WKH 3UHVLGHQF\ ,QGHHG 'HIHQGDQW

 7UXPS¶V FDPSDLJQ DQG WKH FDPSDLJQ¶V MRLQW IXQGUDLVLQJ FRPPLWWHHV PDGH GLUHFW SD\PHQWV RI DW

 OHDVW  PLOOLRQ WR RUJDQL]HUV RI WKH -DQXDU\  HYHQWV




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             'HIHQGDQW 5XGROSK :LOOLDP *LXOLDQL KDV DFWHG DV D FRQILGDQW RI 'HIHQGDQW

 7UXPS 7KH DFWLRQV DWWULEXWHG WR 'HIHQGDQW *LXOLDQL ZHUH XQGHUWDNHQ LQ KLV SHUVRQDO FDSDFLW\

 DQG QRW DV DQ RIILFHU RI WKH 8QLWHG 6WDWHV +H LV D UHVLGHQW RI 1HZ <RUN $V GLVFXVVHG LQ PRUH

 GHWDLO EHORZ 'HIHQGDQW *LXOLDQL DFWHG LQ FRQFHUW ZLWK RWKHU 'HIHQGDQWV ZLWK WKH LQWHQWLRQ DQG

 XQGHUWDNLQJ VWHSV WR SUHYHQW WKH 3ODLQWLIIV DQG RWKHU PHPEHUV RI &RQJUHVV IURP GLVFKDUJLQJ WKHLU

 GXWLHV WR DSSURYH WKH UHVXOWV RI WKH (OHFWRUDO &ROOHJH YRWH DQG FHUWLI\ WKH UHVXOWV RI WKH

 SUHVLGHQWLDO HOHFWLRQ KHOG LQ 1RYHPEHU 

             'HIHQGDQW 3URXG %R\V ,QWHUQDWLRQDO //& ZDV D 7H[DV /LPLWHG /LDELOLW\

 &RPSDQ\ ZLWK PDLQ RIILFHV ORFDWHG LQ &URVVURDGV 7H[DV 2Q )HEUXDU\   VL[ GD\V

 EHIRUH WKH LQLWLDO &RPSODLQW LQ WKLV FDVH ZDV ILOHG  WKLV //& ZDV WHUPLQDWHG E\ LWV UHJLVWHUHG

 DJHQW DQG GLUHFWRU -DVRQ /HH 9DQ '\NH

             'HIHQGDQW :DUER\V //& LV D )ORULGD /LPLWHG /LDELOLW\ &RPSDQ\ ZLWK PDLQ

 RIILFHV LQ 0LDPL )ORULGD :DUER\V //& ZDV LQFRUSRUDWHG LQ )ORULGD LQ -XO\  DQG WKH

 UHJLVWHUHG DGGUHVV IRU :DUER\V //& LV WKH VDPH DGGUHVV DV D IRUPHU 3URXG %R\V HQWLW\ 3URXG

 %R\V //& ZKLFK ZDV WHUPLQDWHG LQ 6HSWHPEHU  :DUER\V //&¶V UHJLVWHUHG DJHQW LV 3URXG

 %R\V &KDLUPDQ (QULTXH 7DUULR DQG LWV PDQDJHUV DUH -RVHSK 5 %LJJV DQG (WKDQ 0 1RUGHDQ DOO

 WKUHH RI ZKRP ZHUH GLUHFWO\ UHVSRQVLEOH IRU FRRUGLQDWLQJ 3URXG %R\V PHPEHUV LQ WKH OHDGXS WR

 DQG GXULQJ WKH DVVDXOW RQ WKH &DSLWRO RQ -DQXDU\   DV GHVFULEHG LQ WKH DOOHJDWLRQV EHORZ

 :DUER\V //& RSHUDWHG LQ FRQMXQFWLRQ ZLWK 3URXG %R\V ,QWHUQDWLRQDO //& DQG WKURXJK LWV

 OHDGHUVKLS ZDV LQYROYHG LQ SODQQLQJ SURPRWLQJ DQG FDUU\LQJ RXW WKH LQVXUUHFWLRQ DW WKH &DSLWRO

 RQ -DQXDU\  

             'HIHQGDQW (QULTXH 7DUULR LV D UHVLGHQW RI 0LDPL )ORULGD 6LQFH  KH KDV

 EHHQ D PHPEHU RI WKH 3URXG %R\V DQG VLQFH 1RYHPEHU   KH KDV EHHQ WKH &KDLUPDQ RI



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 WKH 3URXG %R\V ± WKH KLJKHVW UROH LQ DQG WKH IDFH RI WKH RUJDQL]DWLRQ 'HIHQGDQW 7DUULR LV DOVR

 WKH UHJLVWHUHG DJHQW RI 'HIHQGDQW :DUER\V //& DQG KDV EHHQ NQRZQ WR ZHDU SDUDSKHUQDOLD RI

 ERWK 3URXG %R\V DQG :DUER\V DW UDOOLHV DQG RWKHU SXEOLF JDWKHULQJV RI 3URXG %R\V PHPEHUV

 'HIHQGDQW 7DUULR IUHTXHQWO\ UHVSRQGV WR UHTXHVWV IRU FRPPHQW WR PHGLD RUJDQL]DWLRQV RQ EHKDOI

 RI WKH 3URXG %R\V DQG KH IUHTXHQWO\ OHDGV 3URXG %R\V UDOOLHV DQG JLYHV GLUHFWLRQ WR 3URXG %R\V

 PHPEHUV 'HIHQGDQW 7DUULR ZDV GLUHFWO\ UHVSRQVLEOH IRU SODQQLQJ DQG SURPRWLQJ WKH -DQXDU\ 

 LQVXUUHFWLRQ DW WKH &DSLWRO DQG KDV VHUYHG DV DQ DOWHU HJR RI WKH 3URXG %R\V DQG :DUER\V DQG

 SRVVLEO\ RWKHU HQWLWLHV WKDW KDYH EHHQ XVHG WR IXQG DQG RSHUDWH WKH 3URXG %R\V RUJDQL]DWLRQ

             7KH 3URXG %R\V RUJDQL]DWLRQ 3URXG %R\V ,QWHUQDWLRQDO //& :DUER\V //&

 DQG (QULTXH 7DUULR DV DQ DOWHU HJR RI WKRVH RUJDQL]DWLRQV KHUHLQDIWHU FROOHFWLYHO\ UHIHUUHG WR DV

 WKH ³3URXG %R\V´ KDV PXOWLSOH FKDSWHUV LQ WKH 8QLWHG 6WDWHV DQG GHVFULEHV LWVHOI DV D ³SUR

 :HVWHUQ IUDWHUQDO RUJDQL]DWLRQ IRU PHQ ZKR UHIXVH WR DSRORJL]H IRU FUHDWLQJ WKH PRGHUQ ZRUOG

 DND :HVWHUQ &KDXYLQLVWV´ 3URXG %R\V PHPEHUV KDYH SDUWLFLSDWHG LQ PXOWLSOH HYHQWV WKDW

 VXSSRUWHG DQG SURPRWHG YLHZV WKDW ZHUH KLJKO\ FULWLFDO RI SRVLWLRQV DGYDQFHG GXULQJ WKH

 SUHVLGHQWLDO FDPSDLJQ RI WKHQIRUPHU 9LFH 3UHVLGHQW %LGHQ DQG YLHZV WKDW ZHUH VWURQJO\

 VXSSRUWLYH RI SRVLWLRQV DGYDQFHG GXULQJ WKH SUHVLGHQWLDO FDPSDLJQ RI 'HIHQGDQW 7UXPS ,W DOVR

 KDV UHSHDWHGO\ HPSOR\HG DQG VXSSRUWHG WKH XVH RI YLROHQFH LQ LWV RSSRVLWLRQ WR YLHZV ZLWK ZKLFK

 LW GLIIHUHG VXFK DV WKH YLHZV H[SUHVVHG E\ OHDGHUV RI WKH %ODFN /LYHV 0DWWHU PRYHPHQW 3URXG

 %R\V PHPEHUV FDQ RIWHQ EH LGHQWLILHG E\ WKH \HOORZ DQG EODFN FRORUV WKH\ ZHDU DV ZHOO DV E\

 ORJRV DQG HPEOHPV WKDW DUH LGHQWLILHG ZLWK WKH 3URXG %R\V RUJDQL]DWLRQ $V GHVFULEHG LQ PRUH

 GHWDLO EHORZ 3URXG %R\V ZDV LQYROYHG LQ RUJDQL]LQJ DQG FDUU\LQJ RXW WKH LQVXUUHFWLRQ DW WKH

 &DSLWRO RQ -DQXDU\   LQ SXUVXLW RI D SXUSRVH VKDUHG E\ 'HIHQGDQWV 7UXPS DQG *LXOLDQL DV




                                                  

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 SDUW RI D MRLQWO\ FRQFHLYHG DQG H[HFXWHG SODQ WR SUHYHQW WKH FRXQWLQJ RI (OHFWRUDO 9RWHV

 FRQILUPLQJ 'HIHQGDQW 7UXPS¶V RSSRQHQW DV WKH QH[W 3UHVLGHQW

             'HIHQGDQW 2DWK .HHSHUV LV D PLOLWLD RUJDQL]DWLRQ LQFRUSRUDWHG DV D QRQSURILW

 FRUSRUDWLRQ LQ 1HYDGD ZLWK LWV PDLQ RIILFH ORFDWHG LQ /DV 9HJDV 1HYDGD ZKRVH PHPEHUV DUH

 FRPSULVHG RI FXUUHQW DQG IRUPHU PLOLWDU\ DQG ODZ HQIRUFHPHQW RIILFHUV ZKR H[SUHVV WKH YLHZ WKDW

 WKH IHGHUDO JRYHUQPHQW LV WU\LQJ WR VWULS $PHULFDQ FLWL]HQV RI WKHLU ULJKWV 7KH RUJDQL]DWLRQ¶V

 QDPH LV GHULYHG IURP WKH RDWK WKDW DOO PLOLWDU\ DQG SROLFH WDNH WR ³GHIHQG WKH &RQVWLWXWLRQ DJDLQVW

 DOO HQHPLHV IRUHLJQ DQG GRPHVWLF´ 7KH RUJDQL]DWLRQ DQG LWV OHDGHUVKLS KDYH URXWLQHO\ VWDWHG

 WKDW LW LV SUHSDULQJ IRU RU HQJDJHG LQ D FLYLO ZDU $V GHVFULEHG LQ PRUH GHWDLO EHORZ 2DWK

 .HHSHUV ZDV GLUHFWO\ LQYROYHG LQ RUJDQL]LQJ DQG FDUU\LQJ RXW WKH LQVXUUHFWLRQ DW WKH &DSLWRO RQ

 -DQXDU\   LQ SXUVXLW RI D SXUSRVH VKDUHG E\ 'HIHQGDQWV 7UXPS *LXOLDQL DQG 3URXG %R\V

                                    67$7(0(17 2) )$&76

 ,     'HIHQGDQW 7UXPS /DLG WKH *URXQGZRUN IRU WKH -DQXDU\  $WWDFN E\ 3UDLVLQJ
        9LROHQW 6XSSRUWHUV

             (YHQ EHIRUH WKH HOHFWLRQ 'HIHQGDQW 7UXPS UHSHDWHGO\ GHFOLQHG WR DJUHH WKDW

 UHJDUGOHVV RI WKH RXWFRPH KH ZRXOG HQVXUH D SHDFHIXO WUDQVLWLRQ RI SRZHU ,Q GRLQJ VR KH

 VROLFLWHG WKH VXSSRUW RI DQG HQGRUVHG WKH EHOOLJHUHQW DQG YLROHQW DFWLRQV RI RUJDQL]DWLRQV VXFK DV

 WKH 3URXG %R\V ZKLFK H[SUHVVHG VXSSRUW IRU KLV UHHOHFWLRQ 

             )RU H[DPSOH GXULQJ WKH 6HSWHPEHU   SUHVLGHQWLDO GHEDWH 'HIHQGDQW

 7UXPS ZDV DVNHG ³>$@UH \RX ZLOOLQJ WRQLJKW WR FRQGHPQ ZKLWH VXSUHPDFLVWV DQG PLOLWLD JURXSV

 DQG WR VD\ WKDW WKH\ QHHG WR VWDQG GRZQ DQG QRW DGG WR WKH YLROHQFH LQ D QXPEHU RI WKHVH FLWLHV"´

 ,Q UHVSRQVH 'HIHQGDQW 7UXPS VDLG ³*LYH PH D QDPH JLYH PH D QDPH JR DKHDG ZKR ZRXOG \RX

 OLNH PH WR FRQGHPQ"´ :KHQ WKHQIRUPHU 9LFH 3UHVLGHQW %LGHQ DQVZHUHG ³3URXG %R\V´

 'HIHQGDQW 7UXPS FRQGRQHG UDWKHU WKDQ FRQGHPQHG WKHLU YLROHQW FRQGXFW VSHDNLQJ GLUHFWO\ WR


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 PHPEHUV RI WKH JURXS ³3URXG %R\V VWDQG EDFN DQG VWDQG E\´ 8QGHUVWDQGLQJ WKDW 'HIHQGDQW

 7UXPS ZDV HQGRUVLQJ WKHLU YLROHQW FRQGXFW DQG HQOLVWLQJ WKHP IRU IXWXUH FRQIOLFWV 3URXG %R\V

 &KDLUPDQ 7DUULR UHVSRQGHG E\ WZHHWLQJ ³6WDQGLQJ E\ VLU´

             'XULQJ WKLV WLPH 'HIHQGDQW 7UXPS DFWLYHO\ DQG HQWKXVLDVWLFDOO\ VXSSRUWHG DUPHG

 SURWHVWHUV ZKR XVHG WKUHDWV DQG DW WLPHV YLROHQFH LQ WKH SXUVXLW RI WKHLU SROLWLFDO DQG VRFLDO

 DJHQGDV )RU H[DPSOH DIWHU VWDWH JRYHUQPHQWV EHJDQ LPSOHPHQWLQJ UHVWULFWLRQV RQ DFFHVV WR

 SXEOLF IDFLOLWLHV LQ UHVSRQVH WR WKH VSUHDG RI WKH &29,' 'HIHQGDQW 7UXPS UHIHUUHG WR

 VXSSRUWHUV ZKR WKUHDWHQHG WKH XVH RI YLROHQFH LQ UHVLVWLQJ WKHVH UHVWULFWLRQV DV WKH ³7UXPS $UP\´

 DQG WKH ³ILUVW OLQH RI GHIHQVH ZKHQ LW FRPHV WR ILJKWLQJ RII WKH /LEHUDO PRE´

             ,Q DQRWKHU LOOXVWUDWLRQ RI 'HIHQGDQW 7UXPS¶V HQGRUVHPHQW RI WKH WKUHDW RI

 YLROHQFH DIWHU D FDUDYDQ RI 7UXPS VXSSRUWHUV VZDUPHG D %LGHQ FDPSDLJQ EXV RQ 1RYHPEHU 

  QHDUO\ FDXVLQJ D YLROHQW DFFLGHQW DQG OHDGLQJ WR WKH FDQFHOODWLRQ RI D %LGHQ FDPSDLJQ

 HYHQW 'HIHQGDQW 7UXPS SUDLVHG WKH PRE VD\LQJ ³7KHVH SDWULRWV GLG QRWKLQJ ZURQJ´

 'HIHQGDQW 7UXPS ODWHU WZHHWHG D YLGHR RI WKH LQFLGHQW ZLWK WKH FDSWLRQ ³, /29( 7(;$6´

 ,,    'HIHQGDQWV 7UXPS DQG *LXOLDQL 0RELOL]HG 9LROHQW 6XSSRUWHUV ZLWK D
        0LVLQIRUPDWLRQ &DPSDLJQ

             %HIRUH D VLQJOH YRWH ZDV FDVW 'HIHQGDQW 7UXPS FODLPHG WKDW KH ZRXOG EH WKH

 ZLQQHU RI WKH SUHVLGHQWLDO HOHFWLRQ DQG WKH RQO\ ZD\ KH FRXOG ORVH ZDV WKURXJK IUDXG 2Q

 $XJXVW   'HIHQGDQW 7UXPS VDLG WKDW ³WKH RQO\ ZD\ ZH¶UH JRLQJ WR ORVH WKLV HOHFWLRQ LV LI

 WKLV HOHFWLRQ LV ULJJHG´ 6RRQ WKHUHDIWHU KH LQVLVWHG WKDW ³>W@KH RQO\ ZD\ WKH\ FDQ WDNH WKLV

 HOHFWLRQ IURP XV LV LI WKLV LV D ULJJHG HOHFWLRQ´ +H UHSHDWHG WKLV FRQWHQWLRQ RIWHQ LQ WKH HQVXLQJ

 PRQWKV ,Q RWKHU ZRUGV QR PDWWHU KRZ WKH $PHULFDQ SHRSOH YRWHG 7UXPS ZRXOG FODLP KH ZRQ

 DQG LI WKH YRWHUV GHFLGHG RWKHUZLVH KH ZRXOG FODLP IUDXG




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              $V YRWH FRXQWV EHJDQ WR UHYHDO WKDW 'HIHQGDQW 7UXPS ORVW WKH 1RYHPEHU  

 SUHVLGHQWLDO HOHFWLRQ 'HIHQGDQWV 7UXPS DQG *LXOLDQL ODXQFKHG D PLVLQIRUPDWLRQ FDPSDLJQ

 WU\LQJ WR FRQYLQFH YLROHQW VXSSRUWHUV²DQG WKH $PHULFDQ SXEOLF²WKDW WKH DQQRXQFHG YRWH WDOOLHV

 ZHUH WKH SURGXFW RI IUDXG DQG WKDW 'HIHQGDQW 7UXPS LQ IDFW ZRQ WKH HOHFWLRQ QRWZLWKVWDQGLQJ

 WKDW WKHVH DVVHUWLRQV ZHUH UHSHDWHGO\ UHMHFWHG E\ WKH FRXUWV DQG WKH VWDWHV WR ZKLFK WKH\ ZHUH

 SUHVHQWHG

              2Q 1RYHPEHU   'HIHQGDQW 7UXPS GHFODUHG WKDW KH KDG ZRQ WKH

 SUHVLGHQWLDO HOHFWLRQ QRWZLWKVWDQGLQJ WKDW VRPH YRWHV FDVW KDG QRW \HW EHHQ FRXQWHG

              $IWHU DOO WKH YRWHV KDG EHHQ FRXQWHG DQG IRUPHU 9LFH 3UHVLGHQW -RVHSK %LGHQ ZDV

 GHFODUHG WKH YLFWRU 'HIHQGDQWV 7UXPS DQG *LXOLDQL DQG 'HIHQGDQW 7UXPS¶V VXSSRUWHUV

 HPEDUNHG RQ D FDPSDLJQ WR FKDOOHQJH DV IUDXGXOHQW WKH YRWH UHVXOWV LQ PRUH WKDQ  ODZVXLWV

 ILOHG LQ YDULRXV VWDWH DQG IHGHUDO FRXUWV

              1RWZLWKVWDQGLQJ WKDW WKH DOOHJDWLRQV RI IUDXG ZHUH UHSHDWHGO\ UHMHFWHG E\ WKH

 FRXUWV LQ ZKLFK WKHVH VXLWV ZHUH ILOHG 'HIHQGDQWV 7UXPS DQG *LXOLDQL WRJHWKHU PDLQWDLQHG WKDW

 'HIHQGDQW 7UXPS KDG DFWXDOO\ SUHYDLOHG LQ WKH HOHFWLRQ DQG FRQWLQXHG WR DWWDFN WKH LQWHJULW\ RI

 WKH VWDWH HOHFWLRQ RIILFHV DQG RIILFLDOV DQG WKH HOHFWLRQ UHVXOWV LQ WKRVH VWDWHV WKDW UHSRUWHG

 'HIHQGDQW 7UXPS UHFHLYHG IHZHU YRWHV WKDQ IRUPHU 9LFH 3UHVLGHQW %LGHQ 'HIHQGDQW 7UXPS

 DOVR DWWDFNHG WKH LQWHJULW\ DQG FDSDELOLW\ RI FRXUWV DQG MXGJHV WKDW UXOHG DJDLQVW WKHLU PHULWOHVV

 ODZVXLWV

              'HIHQGDQW 7UXPS FRPPXQLFDWHG WKHVH LQIODPPDWRU\ DQG GHPRQVWUDEO\ IDOVH

 YLHZV WKURXJK YDULRXV VRFLDO PHGLD RXWOHWV LQFOXGLQJ 7ZLWWHU RQ ZKLFK KH KDG  PLOOLRQ

 IROORZHUV 6LPLODUO\ DW D SUHVV FRQIHUHQFH KHOG LQ WKH SDUNLQJ ORW RI )RXU 6HDVRQV 7RWDO

 /DQGVFDSLQJ LQ 3HQQV\OYDQLD KHOG RQ 1RYHPEHU   'HIHQGDQW *LXOLDQL VWDWHG WKDW WKHUH



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 KDG EHHQ ZLGHVSUHDG YRWHU IUDXG LQ 3KLODGHOSKLD DQG 3LWWVEXUJK ZKLFK KH FODLPHG DFFRXQWHG IRU

 'HIHQGDQW 7UXPS¶V ORVV LQ WKDW VWDWH %RWK FLWLHV KDYH ODUJH $IULFDQ $PHULFDQ SRSXODWLRQV

             'HIHQGDQW *LXOLDQL FODLPHG WKDW 3KLODGHOSKLD KDG ³D VDG KLVWRU\ RI YRWHU IUDXG´

 +H DOVR FDOOHG RXW E\ QDPH GHFHDVHG $IULFDQ $PHULFDQV ZKRP KH IDOVHO\ FODLPHG ZHUH VWLOO

 DOORZHG WR YRWH

             'HIHQGDQWV 7UXPS DQG *LXOLDQL HQJDJHG LQ WKLV PLVLQIRUPDWLRQ FDPSDLJQ LQ RUGHU

 WR FRQYLQFH 7UXPS¶V VXSSRUWHUV WKDW WKH\ ZHUH YLFWLPV RI D PDVVLYH HOHFWRUDO FRQVSLUDF\ WKDW

 WKUHDWHQHG WKHLU GHPRFUDF\ DQG WKH FRXQWU\¶V FRQWLQXHG H[LVWHQFH

             ,Q WKH ZHHNV DQG PRQWKV IROORZLQJ WKH HOHFWLRQ 'HIHQGDQW *LXOLDQL LQ FRQFHUW

 ZLWK 'HIHQGDQW 7UXPS LVVXHG VWDWHPHQWV IURP KLV SHUVRQDO 7ZLWWHU DFFRXQW DOOHJLQJ WKDW WKH

 HOHFWLRQ ZDV IUDXGXOHQW LQFOXGLQJ XQVXSSRUWHG FODLPV WKDW WKH HOHFWLRQ ZDV SDUW RI D PDVVLYH

 FRQVSLUDF\ E\ ³ELJ FLW\ « FURRNV´ LQ PXOWLSOH VWDWHV WR ³VWHDO YRWHV´ IURP 'HIHQGDQW 7UXPS¶V

 VXSSRUWHUV 'HIHQGDQW *LXOLDQL DOVR VHQW WZHHWV GXULQJ WKH VDPH WLPH SHULRG SURPRWLQJ WKH

 -DQXDU\  UDOO\

             2Q 1RYHPEHU   'HIHQGDQW *LXOLDQL VDLG ³7KH PDUJLQ LQ 0LFKLJDQ ZDV

  DQG WKHVH EDOORWV ZHUH DOO FDVW EDVLFDOO\ LQ 'HWURLW WKDW %LGHQ ZRQ  6R \RX VHH D

 FKDQJH DV D UHVXOW LQ WKH HOHFWLRQ LQ 0LFKLJDQ LI \RX WDNH RXW :D\QH &RXQW\ VR LW¶V D YHU\

 VLJQLILFDQW FDVH´ $V D UHVXOW 'HIHQGDQW *LXOLDQL DGYRFDWHG UHMHFWLQJ LQ WKHLU HQWLUHW\ WKH YRWHV

 FDVW E\ YRWHUV LQ 'HWURLW WKH SRSXODWLRQ RI ZKLFK LV  SHUFHQW $IULFDQ $PHULFDQ 1R HYLGHQFH

 RI VXFK IUDXG ZDV HYHU SURGXFHG RU IRXQG E\ DQ\ FRXUW RU VWDWH DJHQF\

             ,Q VWLOO DQRWKHU HSLVRGH LQ WKLV FDPSDLJQ WR LQVWLOO GRXEW LQ WKH LQWHJULW\ RI WKH

 HOHFWRUDO SURFHVV 'HIHQGDQW *LXOLDQL LQ FRRUGLQDWLRQ ZLWK 'HIHQGDQW 7UXPS DVVHUWHG DW D SUHVV

 FRQIHUHQFH KHOG RQ 1RYHPEHU   WKDW 'HIHQGDQW 7UXPS¶V ORVV LQ :LVFRQVLQ ZDV DWWULEXWHG



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 WR IUDXG LQ YRWLQJ LQ 0LOZDXNHH DQG 0DGLVRQ :LVFRQVLQ ERWK RI ZKLFK KDYH ODUJH $IULFDQ

 $PHULFDQ SRSXODWLRQV

             ,Q UHVSRQVH WR 'HIHQGDQW 7UXPS DQG *LXOLDQL¶V FRRUGLQDWHG DQG UHSHDWHG

 DVVHUWLRQV WKDW YRWLQJ LQ VWDWHV ZKHUH 'HIHQGDQW 7UXPS ORVW ZDV WDLQWHG E\ IUDXG VRPH

 VXSSRUWHUV RI 'HIHQGDQW 7UXPS ZLWK KLV XUJLQJ DQG VXSSRUW KDUDVVHG HOHFWLRQ ZRUNHUV LQ

 $UL]RQD *HRUJLD 0LFKLJDQ 1HYDGD 3HQQV\OYDQLD :LVFRQVLQ DQG RWKHU VWDWHV DQG DWWHPSWHG WR

 LQWHUIHUH ZLWK DQGRU VWRS WKH YRWH FRXQW LQ WKRVH VWDWHV

             8QGHWHUUHG 'HIHQGDQW 7UXPS FRQWLQXDOO\ VRXJKW WR FDVW GRXEW RQ WKH LQWHJULW\ RI

 WKH HOHFWRUDO SURFHVV LQ VWDWHV ZKHUH KH ORVW DQG HQFRXUDJLQJ VXSSRUWHUV WR GR WKH VDPH

 QRWZLWKVWDQGLQJ WKDW VWDWH HOHFWLRQ RIILFLDOV IRXQG QR HYLGHQFH RI IUDXG DQG HYHQ KLV RZQ

 $WWRUQH\ *HQHUDO DFNQRZOHGJHG WKDW WKH 86 'HSDUWPHQW RI -XVWLFH KDG XQFRYHUHG QR HYLGHQFH

 RI ZLGHVSUHDG YRWHU IUDXG WKDW FRXOG KDYH FKDQJHG WKH RXWFRPH RI WKH  HOHFWLRQ

 ,,,   'HIHQGDQW 7UXPS (QFRXUDJHG 9LROHQFH $JDLQVW 2IILFLDOV :KR 5HIXVHG WR /LH
        $ERXW WKH (OHFWLRQ 5HVXOWV

             $OWKRXJK VWDWH RIILFLDOV UHEXWWHG WKH DOOHJDWLRQV RI IUDXG DQG XUJHG FDOPHU

 H[FKDQJHV RYHU WKH HOHFWLRQ UHVXOWV VXSSRUWHUV RI 'HIHQGDQW 7UXPS ZLWK KLV H[SUHVVHG VXSSRUW

 FRQWLQXHG WR HQJDJH LQ SHUVRQDO DFFXVDWRU\ DQG DW WLPHV YLROHQW DWWDFNV

             )RU H[DPSOH 'HIHQGDQWV 7UXPS DQG *LXOLDQL DWWHPSWHG WR DSSO\ SUHVVXUH RQ VWDWH

 RIILFLDOV LQ RUGHU WR RYHUWXUQ WKH HOHFWLRQ RI 3UHVLGHQW %LGHQ :KHQ WKLV HIIRUW IDLOHG LQ *HRUJLD

 'HIHQGDQW 7UXPS SXEOLFO\ VWDWHG WKDW WKH *HRUJLD 6HFUHWDU\ RI 6WDWH ZDV DQ ³HQHP\ RI WKH

 SHRSOH´ IRU LQVLVWLQJ WKDW *HRUJLD¶V HOHFWLRQ ZDV QRW WDLQWHG E\ IUDXG ,Q UHVSRQVH WR WKHVH

 1RYHPEHU  UHPDUNV 'HIHQGDQW 7UXPS¶V IROORZHUV WKUHDWHQHG YLROHQFH DQG DVVDVVLQDWLRQ

 DJDLQVW WKH *HRUJLD 6HFUHWDU\ RI 6WDWH




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             2Q 1RYHPEHU   -RVHSK GL*HQRYD RQH RI WKH 7UXPS FDPSDLJQ¶V

 DWWRUQH\V FDOOHG LQWR D WHOHYLVLRQ VKRZ DQG VXJJHVWHG WKDW &KULVWRSKHU .UHEV D IRUPHU IHGHUDO

 HOHFWLRQ RIILFLDO ZKR UHIXVHG WR VD\ WKDW WKH  HOHFWLRQ ZDV QRW VHFXUH VKRXOG EH ³WDNHQ RXW DW

 GDZQ DQG VKRW´

             ,Q D WHOHYLVHG DGGUHVV RQ 'HFHPEHU   *HRUJLD 5HSXEOLFDQ HOHFWLRQ RIILFLDO

 *DEULHO 6WHUOLQJ ZDUQHG 'HIHQGDQW 7UXPS DERXW WKH IRUHVHHDEOH FRQVHTXHQFHV RI WKHVH UHPDUNV

 ³0U 3UHVLGHQW \RX KDYH QRW FRQGHPQHG WKHVH DFWLRQV « 7KLV KDV WR VWRS « 6WRS LQVSLULQJ

 SHRSOH WR FRPPLW SRWHQWLDO DFWV RI YLROHQFH 6RPHRQH LV JRLQJ WR JHW VKRW VRPHRQH LV JRLQJ WR

 JHW NLOOHG $QG LW¶V QRW ULJKW´

             'HIHQGDQW 7UXPS GLG QRW KHHG WKLV ZDUQLQJ DQG WKH WKUHDWV FRQWLQXHG XQDEDWHG

 2Q 'HFHPEHU   IRU H[DPSOH DUPHG SURWHVWRUV DUULYHG DW WKH KRPH RI 0LFKLJDQ 6HFUHWDU\

 RI 6WDWH -RFHO\Q %HQVRQ WKUHDWHQLQJ YLROHQFH DIWHU WKH UHVXOWV RI WKH HOHFWLRQ

             2Q 'HFHPEHU   WKH RIILFLDO 7ZLWWHU DFFRXQW RI WKH $UL]RQD *23 DVNHG

 VXSSRUWHUV LI WKH\ ZHUH ZLOOLQJ WR GLH IRU 'HIHQGDQW 7UXPS DFFRPSDQLHG E\ D FOLS IURP WKH

 PRYLH ³5DPER´

             $FNQRZOHGJLQJ WKH H[LVWHQFH RI WKHVH WKUHDWV RI YLROHQFH 7UXPS HQGRUVHG UDWKHU

 WKDQ GLVFRXUDJHG WKHP )RU H[DPSOH RQ 'HFHPEHU   'HIHQGDQW 7UXPS WZHHWHG

 ³3HRSOH DUH XSVHW DQG WKH\ KDYH D ULJKW WR EH *HRUJLD QRW RQO\ VXSSRUWHG 7UXPS LQ  EXW

 QRZ 7KLV LV WKH RQO\ 6WDWH LQ WKH 'HHS 6RXWK WKDW ZHQW IRU %LGHQ" +DYH WKH\ ORVW WKHLU PLQGV"

 7KLV LV JRLQJ WR HVFDODWH GUDPDWLFDOO\ 7KLV LV D YHU\ GDQJHURXV PRPHQW LQ RXU KLVWRU\´

             $V VWDWHV ILQLVKHG FHUWLI\LQJ WKH RIILFLDO HOHFWLRQ UHVXOWV FRQILUPLQJ WKDW

 'HIHQGDQW 7UXPS KDG ORVW WKH SUHVLGHQWLDO HOHFWLRQ 'HIHQGDQWV 7UXPS DQG *LXOLDQL²LQ D

 FRRUGLQDWHG PDQQHU DQG XVLQJ WKH VDPH ODQJXDJH²EHJDQ FKDUDFWHUL]LQJ WKH SUHVLGHQWLDO HOHFWLRQ



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 DV VWROHQ DQG HQFRXUDJHG VXSSRUWHUV WR WDNH GHVSHUDWH PHDVXUHV LQFOXGLQJ WKH XVH RI IRUFH

 LQWLPLGDWLRQ DQG WKUHDWV WR FKDQJH WKH RXWFRPH

              2Q 'HFHPEHU   ³6WRS WKH 6WHDO´ UDOOLHV RFFXUUHG DFURVV WKH FRXQWU\ $W

 WKH ³6WRS WKH 6WHDO´ UDOO\ LQ :DVKLQJWRQ '& DQ 2DWK .HHSHUV OHDGHU VDLG WKDW 'HIHQGDQW

 7UXPS ³QHHGV WR NQRZ IURP \RX WKDW \RX DUH ZLWK KLP >DQG@ WKDW LI KH GRHV QRW GR LW QRZ ZKLOH

 KH LV FRPPDQGHU LQ FKLHI ZH¶UH JRLQJ WR KDYH WR GR LW RXUVHOYHV ODWHU LQ D PXFK PRUH GHVSHUDWH

 PXFK PRUH EORRG\ ZDU « /HW¶V JHW LW RQ QRZ ZKLOH KH LV VWLOO WKH FRPPDQGHU LQ FKLHI´ 7KDW

 VDPH GD\ 'HIHQGDQW 7UXPS WZHHWHG LQ VXSSRUW RI WKLV UDOO\ WKHQ WZHHWHG ³:( +$9( -867

 %(*81 72 ),*+7´

 ,9     ,Q 'HFHPEHU  DQG -DQXDU\  'HIHQGDQWV¶ 3ODQV IRU WKH -DQXDU\ 
         ,QVXUUHFWLRQ 7RRN 6KDSH

             2Q 'HFHPEHU   'HIHQGDQW 7UXPS IRFXVHG WKH YLROHQW HIIRUWV WR FKDQJH

 WKH UHVXOWV RI WKH HOHFWLRQ RQ WKH FRQJUHVVLRQDO SURFHHGLQJV WR FHUWLI\ WKH (OHFWRUDO &ROOHJH YRWH

 FRXQW WZHHWLQJ ³6WDWLVWLFDOO\ LPSRVVLEOH WR KDYH ORVW WKH  (OHFWLRQ´ DQG ³%LJ SURWHVW LQ '&

 RQ -DQXDU\ WK %H WKHUH ZLOO EH ZLOG´

             :LWKLQ ILYH PLQXWHV RI WKLV WZHHW D XVHU RQ ZZZ7KH'RQDOGZLQ²D KHDYLO\ XVHG

 SUR7UXPS RQOLQH IRUXP WKDW EHFDPH D NH\ SODQQLQJ SODWIRUP IRU WKH LQVXUUHFWLRQ²SRVWHG D OLQN

 WR WKH WZHHW ZLWK WKH KHDGOLQH ³75803 7:((7 '$''< 6$<6 %( ,1 '& 21 -$1 7+´

 7KH SRVW ZDV SLQQHG WR WKH KRPHSDJH RI ZZZ7KH'RQDOGZLQ E\ PRGHUDWRUV DQG JDUQHUHG

  FRPPHQWV DQG  XSYRWHV ZKHUHE\ XVHUV VLJQDO DQ DSSURYDO RI D SRVW ZLWKLQ ILYH

 GD\V

             0DQ\ XVHUV RQ ZZZ7KH'RQDOGZLQ FRQVWUXHG 'HIHQGDQW 7UXPS¶V 'HFHPEHU 

 WZHHW DV ³PDUFKLQJ RUGHUV´ DQG SRVWHG FRPPHQWV VXFK DV ³7+( &200$1'(5 ,1 &+,()

 +$6 ,668(' +,6 25'(56´ DQG ³,I \RX¶YH EHHQ ZDLWLQJ IRU D VLJQDO 7+$7¶6 ,7´ 2QH XVHU

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 RQ ZZZ7KH'RQDOGZLQ SRVWHG ³5RJHU WKDW 6WDQGLQJ E\ QR ORQJHU´ UHIHUULQJ WR WKH

 6HSWHPEHU   3UHVLGHQWLDO 'HEDWH ZKHUH 'HIHQGDQW 7UXPS WROG WKH 3URXG %R\V WR ³VWDQG

 EDFN DQG VWDQG E\´

             8VHUV RQ ZZZ7KH'RQDOGZLQ DOVR KHDUG 3UHVLGHQW 7UXPS¶V VWDWHPHQW WKDW WKH

 SURWHVWV ³ZLOO EH ZLOG´ DV DQ LQVWUXFWLRQ ZLWK RQH XVHU H[SODLQLQJ ³µ:LOO %H :LOG¶ LV D KLGGHQ

 PHVVDJH IRU XV WR EH SUHSDUHG « DV LQ DUPHG´ 2Q 'HFHPEHU   WKH VDPH XVHU SRVWHG RQ

 ZZZ7KH'RQDOGZLQ ³VXUURXQG WKH HQHP\´ WRJHWKHU ZLWK D PDS RI WKH 86 &DSLWRO WKDW KDG D UHG

 SHULPHWHU GUDZQ DURXQG LW ZLWK WKH LQVWUXFWLRQ ³FUHDWH SHULPHWHU´ WKH PDS DOVR SURYLGHG WKH

 ORFDWLRQ RI &DSLWRO DFFHVV WXQQHOV

             &RPPHQWV RQ WKLV SRVW LQFOXGHG GLVFXVVLRQV DERXW KRZ ORQJ WKH SHULPHWHU VKRXOG

 EH WKH QXPEHU RI SHRSOH QHHGHG WR GHIHQG LW ZKDW VWUDWHJLHV WKH\ FRXOG XVH WR RYHUFRPH ODZ

 HQIRUFHPHQW DQG KRZ WKH\ FRXOG XVH UDGLRV WR FRPPXQLFDWH

             $QRWKHU ZLGHO\ FLUFXODWHG SRVW RQ ZZZ7KH'RQDOGZLQ WLWOHG

 ³0$*$B&$9$/5< '& &DUDYDQ 0$,1 )/<(5´ SUHVHQWHG D FRORUFRGHG JUDSKLF ZLWK ³UDOO\

 SRLQWV´ IRU JURXSV FRPLQJ WR :DVKLQJWRQ '& ,W DOVR VXJJHVWHG WLPHV ZKHQ WKH JURXSV VKRXOG

 OHDYH WKHLU ³UDOO\ SRLQWV´ VR WKH\ FRXOG DUULYH LQ '& VLPXOWDQHRXVO\

             6RPH SRVWV RQ ZZZ7KH'RQDOGZLQ SURYLGHG OLVWV RI LWHPV UHFRPPHQGHG IRU WKH

 UDOO\ LQFOXGLQJ SHSSHU VSUD\ EDWRQV WDVHUV EXOOHW SURRI YHVWV DQG NQLYHV 2WKHU SRVWV

 GLVFXVVHG WKH UDOO\ DV WKH ³ODVW VWDQG´ DQG UHSHDWHG FDOOV IRU YLROHQFH LQFOXGLQJ ³PDVV KDQJLQJV

 DQG ILULQJ VTXDGV´ ,Q WKH ZRUGV RI RQH XVHU ³>H@LWKHU 7UXPS ZLQV RU ZH ZDWHU WKH WUHH RI OLEHUW\

 ZLWK EORRG´

             3RVWV VLPLODU WR WKRVH RQ ZZZ7KH'RQDOGZLQ DSSHDUHG RQ RWKHU VRFLDO PHGLD

 ZHEVLWHV SRSXODU ZLWK 7UXPS VXSSRUWHUV LQFOXGLQJ 3DUOHU *DE 7ZLWWHU DQG )DFHERRN )RU



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 H[DPSOH 7UXPS VXSSRUWHUV RQ 7ZLWWHU DQG )DFHERRN SRVWHG DERXW ³2SHUDWLRQ 2FFXS\ WKH

 &DSLWRO´ DQG XVHG KDVKWDJV VXFK DV 2FFXS\&DSLWROV $V RQH VXSSRUWHU SRVWHG RQ VRFLDO PHGLD

 ³7KH REMHFWLYH LV &RQJUHVV´ DQG SHRSOH LQ WKH &DSLWRO VKRXOG ³OHDYH LQ RQH RI WZR ZD\V GHDG RU

 FHUWLI\LQJ 7UXPS WKH ULJKWIXO ZLQQHU´ 6RPH SRVWV HYHQ VXJJHVWHG WKDW 'HIHQGDQW 7UXPS ZRXOG

 SDUGRQ WKRVH DUUHVWHG IRU SDUWLFLSDWLQJ LQ WKH YLROHQFH

             'HIHQGDQWV 3URXG %R\V DQG 2DWK .HHSHUV ZHUH GLUHFWO\ LQYROYHG LQ WKLV YLROHQW

 SODQQLQJ $Q 2DWK .HHSHUV OHDGHU KDV VWDWHG WKDW WKH JURXS FRRUGLQDWHG ZLWK WKH 3URXG %R\V

 DERXW KRZ PHPEHUV RI WKH WZR RUJDQL]DWLRQV ZRXOG ZRUN WRJHWKHU GXULQJ WKH LQVXUUHFWLRQ RQ

 -DQXDU\  7KLV 2DWK .HHSHUV OHDGHU SRVWHG D )DFHERRN PHVVDJH RQ 'HFHPEHU   VWDWLQJ

 ³>7@KLV ZHHN , RUJDQL]HG DQ DOOLDQFH EHWZHHQ 2DWK .HHSHUV « DQG 3URXG %R\V :H KDYH

 GHFLGHG WR ZRUN WRJHWKHU DQG VKXW WKLV VKLW GRZQ´ 7KLV OHDGHU VHQW DQRWKHU )DFHERRN PHVVDJH

 RQ 'HFHPEHU  VD\LQJ 'HIHQGDQW 7UXPS ³ZDQWV XV WR PDNH LW :,/' WKDW¶V ZKDW KH¶V VD\LQJ

 +H FDOOHG XV DOO WR WKH &DSLWRO DQG ZDQWV XV WR PDNH LW ZLOG « *HQWOHPHQ ZH DUH KHDGLQJ WR

 '& SDFN \RXU VKLW´ 7KLV 2DWK .HHSHUV OHDGHU WKHQ SRVWHG D )DFHERRN PHVVDJH RQ

 'HFHPEHU   GLVFXVVLQJ FRPPXQLFDWLRQV ZLWK 3URXG %R\V OHDGHUVKLS DQG KRZ WKH 2DWK

 .HHSHUV KDG ³orchestrated a plan with the Proud Boys´ HPSKDVLV DGGHG 

             2Q 'HFHPEHU   (QULTXH 7DUULR &KDLUPDQ RI WKH 3URXG %R\V SRVWHG D

 PHVVDJH RQ WKH VRFLDO PHGLD VLWH 3DUOHU DERXW WKH GHPRQVWUDWLRQ SODQQHG IRU -DQXDU\  

 $PRQJ RWKHU WKLQJV 7DUULR DQQRXQFHG WKDW WKH 3URXG %R\V ZRXOG ³WXUQ RXW LQ UHFRUG QXPEHUV

 RQ -DQ WK EXW WKLV WLPH ZLWK D WZLVW« :H ZLOO QRW EH ZHDULQJ RXU WUDGLWLRQDO %ODFN DQG <HOORZ

 :H ZLOO EH LQFRJQLWR DQG ZH ZLOO EH VSUHDG DFURVV GRZQWRZQ '& LQ VPDOOHU WHDPV $QG ZKR

 NQRZV « ZH PLJKW GUHVV LQ DOO %/$&. IRU WKH RFFDVLRQ´ /DZ HQIRUFHPHQW LQYHVWLJDWLQJ WKH

 &DSLWRO LQVXUUHFWLRQ KDV DWWULEXWHG WKH VWDWHPHQW DERXW GUHVVLQJ LQ ³DOO %/$&.´ DV D UHIHUHQFH WR



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 GUHVVLQJ OLNH WKH JURXS NQRZQ DV ³$QWLID´ ZKRP WKH 3URXG %R\V KDYH LGHQWLILHG DV DQ HQHP\ RI

 WKHLU PRYHPHQW DQG DUH RIWHQ GHSLFWHG LQ WKH PHGLD ZHDULQJ DOO EODFN DWWLUH WR GHPRQVWUDWLRQV

             ,Q WKH GD\V OHDGLQJ XS WR WKH LQVXUUHFWLRQ 3URXG %R\V OHDGHUV REWDLQHG

 HTXLSPHQW LQFOXGLQJ WDFWLFDO YHVWV PLOLWDU\VW\OH FRPPXQLFDWLRQ HTXLSPHQW DQG EHDU PDFH IRU

 WKHLU PHPEHUV ZKLFK FRXOG EH XVHG GXULQJ WKH VLHJH RQ WKH &DSLWRO 7KH 3URXG %R\V VHW XS D

 VHFXUH HQFU\SWHG FRPPXQLFDWLRQV FKDQQHO FDOOHG ³%RRWV RQ WKH *URXQG´ WR FRRUGLQDWH WKH

 JURXS¶V DFWLYLWLHV GXULQJ WKH LQVXUUHFWLRQ $SSUR[LPDWHO\  SHRSOH SDUWLFLSDWHG LQ WKDW FKDQQHO

 GXULQJ WKH LQVXUUHFWLRQ

             'HIHQGDQW 7UXPS NQHZ RI WKH KXQGUHGV RI VRFLDO PHGLD SRVWV IURP KLV VXSSRUWHUV

 SURYLGLQJ WKH GHWDLOV RI KRZ WKH\ ZRXOG VWRUP WKH &DSLWRO DQG YLROHQWO\ WDNH RYHU &RQJUHVV RQ

 -DQXDU\  DV 'HIHQGDQW 7UXPS DQG KLV DGYLVRUV DFWLYHO\ PRQLWRUHG WKH ZHEVLWHV ZKHUH KLV

 IROORZHUV PDGH WKHVH SRVWV 7KHVH YLROHQW SRVWV ZHUH DOVR GLVFXVVHG E\ PHGLD RXWOHWV UHJXODUO\

 YLHZHG E\ 'HIHQGDQW 7UXPS LQFOXGLQJ )R[ 1HZV /DZ HQIRUFHPHQW LQFOXGLQJ WKH )%, LVVXHG

 H[SOLFLW ZDUQLQJV RI YLROHQFH EDVHG RQ WKHVH VRFLDO PHGLD SRVWV $QG LQ ZLGHO\ SXEOLFL]HG

 UHPDUNV RQ 'HFHPEHU   IRUPHU :KLWH +RXVH RIILFLDO 2OLYLD 7UR\H H[SUHVVHG FRQFHUQ

 ³WKDW WKHUH ZLOO EH YLROHQFH RQ -DQXDU\ WK EHFDXVH WKH SUHVLGHQW KLPVHOI HQFRXUDJHV LW´ 0V

 7UR\H FRQWLQXHG ³7KLV LV ZKDW >7UXPS@ GRHV +H WZHHWV +H LQFLWHV LW +H JHWV KLV IROORZHUV

 DQG VXSSRUWHUV WR EHKDYH LQ WKLV PDQQHU DQG WKHVH SHRSOH WKLQN WKH\ WKH\¶UH EHLQJ SDWULRWLF

 EHFDXVH WKH\ DUH VXSSRUWLQJ 'RQDOG 7UXPS´

             'HVSLWH WKHVH GLUH ZDUQLQJV 'HIHQGDQW 7UXPS H[SUHVVHG VXSSRUW IRU KLV

 IROORZHUV¶ YLROHQW SODQV 2Q -DQXDU\   IRU H[DPSOH 'HIHQGDQW 7UXPS UHWZHHWHG D WZHHW

 IURP WKH FKDLU RI :RPHQ IRU $PHULFD )LUVW DQ RUJDQL]HU RI WKH ³6DYH $PHULFD´ UDOO\ VWDWLQJ




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 ³7KH FDOYDU\ >sic@ LV FRPLQJ 0U 3UHVLGHQW´ ,Q UHVSRQVH WR WKH WZHHW 'HIHQGDQW 7UXPS VDLG

 ³$ JUHDW KRQRU´

             :LWK WKH KHOS RI KLV FDPSDLJQ DQG KLV DVVRFLDWHV 'HIHQGDQW 7UXPS DOVR SURYLGHG

 ORJLVWLFDO VXSSRUW IRU WKH -DQXDU\  SURWHVWV 'HIHQGDQW 7UXPS¶V FDPSDLJQ DQG WKH FDPSDLJQ¶V

 MRLQW IXQGUDLVLQJ FRPPLWWHHV PDGH GLUHFW SD\PHQWV RI DW OHDVW  PLOOLRQ WR RUJDQL]HUV RI WKH

 -DQXDU\  HYHQWV $QG D WRS 7UXPS FDPSDLJQ IXQGUDLVHU RYHUVDZ WKH ORJLVWLFV EXGJHWLQJ

 IXQGLQJ DQG PHVVDJLQJ IRU WKH -DQXDU\  UDOO\

             $IWHU 'HIHQGDQW 7UXPS GHFLGHG KH ZRXOG VSHDN DW WKH 6DYH $PHULFD UDOO\ RQ

 -DQXDU\  KH EHFDPH PRUH DFWLYHO\ LQYROYHG LQ GHFLVLRQV FRQFHUQLQJ WKH HYHQW LQFOXGLQJ WKH

 VSHDNLQJ OLQHXS DQG HYHQ WKH PXVLF WKDW ZRXOG EH SOD\HG 'HIHQGDQW 7UXPS DQG KLV FDPSDLJQ

 SURSRVHG WKDW WKH UDOO\ LQFOXGH D PDUFK WR WKH &DSLWRO $Q RUJDQL]HU RI WKH 6DYH $PHULFD UDOO\

 ODWHU WROG UHSRUWHUV KH ZDV VXUSULVHG WR OHDUQ WKDW WKH HYHQW ZRXOG LQYROYH D PDUFK IURP WKH

 (OOLSVH WR WKH &DSLWRO %HIRUH WKH :KLWH +RXVH EHFDPH LQYROYHG KH VDLG WKH SODQ KDG EHHQ WR

 VWD\ DW WKH (OOLSVH XQWLO WKH FRXQWLQJ RI WKH (OHFWRUDO &ROOHJH YRWHV ZDV FRPSOHWHG

             7KH :KLWH +RXVH ZDV DOVR LQ FRQWDFW ZLWK WKH 3URXG %R\V $Q )%, UHYLHZ RI

 SKRQH UHFRUGV VKRZHG WKDW LQ WKH GD\V OHDGLQJ XS WR WKH UDOO\ D SHUVRQ DVVRFLDWHG ZLWK WKH

 7UXPS :KLWH +RXVH FRPPXQLFDWHG ZLWK D PHPEHU RI WKH 3URXG %R\V E\ SKRQH

             $W WKH VDPH WLPH 'HIHQGDQW 7UXPS ZDV LQ FRQWDFW ZLWK ORQJWLPH DVVRFLDWH

 5RJHU 6WRQH ZKR ZDV LQ FRQWDFW ZLWK ERWK WKH 3URXG %R\V DQG WKH 2DWK .HHSHUV 0U 6WRQH

 SRVWHG RQ WKH VRFLDO PHGLD ZHEVLWH 3DUOHU WKDW DW WKH HQG RI 'HFHPEHU KH PHW ZLWK 'HIHQGDQW

 7UXPS WR ³HQVXUH WKDW 'RQDOG 7UXPS FRQWLQXHV DV RXU SUHVLGHQW´ 3URXG %R\V OHDGHU (QULTXH

 7DUULR FRQILUPHG WKDW KH FDOOHG 5RJHU 6WRQH LQ HDUO\ -DQXDU\ 0HPEHUV RI WKH 2DWK .HHSHUV

 DJUHHG WR VHUYH DV 0U 6WRQH¶V VHFXULW\ GHWDLO GXULQJ WKH -DQXDU\  SURWHVWV



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 9       %\ -DQXDU\   'HIHQGDQWV :HUH 3RLVHG IRU WKH 9LROHQW ,QVXUUHFWLRQ

             %\ -DQXDU\   PHPEHUV RI WKH 3URXG %R\V DQG WKH 2DWK .HHSHUV²DPRQJ

 RWKHU SUR7UXPS GHPRQVWUDWRUV²KDG IORFNHG WR :DVKLQJWRQ '& $V D -DQXDU\  Washington

 Post DUWLFOH REVHUYHG '& ZDV ³EUDFLQJ IRU SRWHQWLDOO\ YLROHQW SURWHVWV HJJHG RQ E\ 3UHVLGHQW

 7UXPS KLPVHOI´

             7KDW GD\ WKH OHDGHU RI WKH ³6WRS WKH 6WHDO´ HYHQW OHG D FURZG RI 7UXPS VXSSRUWHUV

 DVVHPEOHG LQ )UHHGRP 3OD]D LQ :DVKLQJWRQ '& LQ D FKDQW RI ³9LFWRU\ RU GHDWK´

             3URXG %R\V OHDGHU -RVHSK %LJJV VHQW LQVWUXFWLRQV WR PHPEHUV XVLQJ WKH VHFXUH

 ³%RRWV RQ WKH *URXQG´ FKDQQHO WHOOLQJ WKHP WR ³DYRLG JHWWLQJ LQWR DQ\ VKLW´ RQ WKH HYH RI WKH

 HYHQW EHFDXVH ³>W@RPRUURZ¶V WKH GD\´ %LJJV WKHQ VDLG ³-XVW WU\LQJ WR JHW RXU QXPEHUV 6R ZH

 FDQ SODQ DFFRUGLQJO\ IRU WRQLJKW DQG WRPRUURZ¶V SODQ´ /DWHU KH DVVXUHG WKH JURXS ³:H KDYH D

 SODQ´

 9,      7KH 0RUQLQJ RI -DQXDU\   'HIHQGDQWV $WWHPSWHG WR ([HFXWH D 0XOWL)DFHWHG
          &DPSDLJQ WR 3UHYHQW &RQJUHVV IURP &HUWLI\LQJ WKH (OHFWLRQ 5HVXOWV

             2Q WKH PRUQLQJ RI -DQXDU\   EHIRUH WKH &RQJUHVVLRQDO DSSURYDO RI WKH

 (OHFWRUDO &ROOHJH YRWH FRXQW ZDV VFKHGXOHG WR RFFXU 'HIHQGDQW 7UXPS VHQW D PHVVDJH E\

 7ZLWWHU WR 9LFH 3UHVLGHQW 3HQFH XUJLQJ KLP WR SUHYHQW WKH FRXQW RI VWDWHFHUWLILHG (OHFWRUDO

 &ROOHJH EDOORWV UHTXLUHG E\ $UWLFOH ,, 6HFWLRQ  DQG WKH 7ZHOIWK $PHQGPHQW WR WKH 8QLWHG 6WDWHV

 &RQVWLWXWLRQ LQ WKH KRSH WKDW 'HIHQGDQW 7UXPS FRXOG DFKLHYH D GLIIHUHQW RXWFRPH RI WKH

 HOHFWLRQ 6WLOO DFWLQJ LQ KLV SHUVRQDO FDSDFLW\ DV D FDQGLGDWH 'HIHQGDQW 7UXPS VWDWHG ³$OO 0LNH

 3HQFH KDV WR GR LV VHQG >WKH HOHFWLRQ@ EDFN WR WKH 6WDWHV $1' :( :,1´

             7KH (OHFWRUDO &RXQW $FW RI  UHTXLUHV WKDW &RQJUHVV FRQYHQH RQ -DQXDU\  DW

  30 RI WKH \HDU DIWHU HDFK SUHVLGHQWLDO HOHFWLRQ VR WKDW WKH EDOORWV FDVW E\ PHPEHUV RI WKH

 (OHFWRUDO &ROOHJH FDQ EH FRXQWHG DV UHTXLUHG E\ $UWLFOH ,, 6HFWLRQ  DQG WKH 7ZHOIWK


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 $PHQGPHQW 7KH 7ZHOIWK $PHQGPHQW H[SUHVVO\ SURYLGHV ³7KH 3UHVLGHQW RI WKH 6HQDWH VKDOO LQ

 WKH SUHVHQFH RI WKH 6HQDWH DQG +RXVH RI 5HSUHVHQWDWLYHV RSHQ DOO WKH FHUWLILFDWHV DQG WKH YRWHV

 shall then be counted 7KH SHUVRQ KDYLQJ WKH JUHDWHVW 1XPEHU RI YRWHV IRU 3UHVLGHQW shall be the

 President´ HPSKDVLV DGGHG  ,W LV EH\RQG GLVSXWH WKDW RQ -DQXDU\  -RVHSK %LGHQ KDG WKH

 JUHDWHVW QXPEHU RI (OHFWRUDO &ROOHJH YRWHV IRU 3UHVLGHQW 7KH 9LFH 3UHVLGHQW DFWLQJ DV 3UHVLGHQW

 RI WKH 6HQDWH LV UHTXLUHG WR IRUPDOO\ GHFODUH WKH YLFWRU LQ WKH HOHFWLRQ EDVHG RQ DQ DFFXUDWH FRXQW

 RI WKH HOHFWRUDO YRWHV

              'HIHQGDQW 7UXPS¶V GHPDQG RI 9LFH 3UHVLGHQW 3HQFH DV WKH 3UHVLGHQW RI WKH

 6HQDWH WKDW KH GHFOLQH WR FRXQW WKH (OHFWRUDO &ROOHJH EDOORWV DQG LQVWHDG RI GHFODULQJ WKH ZLQQHU

 RI WKH HOHFWLRQ VHQG WKH HOHFWLRQ EDFN WR WKH VWDWHV ZDV LQ GLUHFW FRQWUDYHQWLRQ RI WKH OHJDO

 UHTXLUHPHQWV WKDW WKH &RQVWLWXWLRQ DQG WKH (OHFWRUDO &RXQW $FW RI  LPSRVHG RQ WKH 9LFH

 3UHVLGHQW

              %\ -DQXDU\  WKH FRXQWLQJ RI WKH (OHFWRUDO &ROOHJH YRWHV DQG WKH RIILFLDO

 GHFODUDWLRQ RI -RVHSK %LGHQ DV WKH ZLQQHU RI WKH HOHFWLRQ FRXOG QRW EH VWRSSHG E\ DQ\ ODZIXO

 PHDQV 9LFH 3UHVLGHQW 3HQFH KDG ZULWWHQ 'HIHQGDQW 7UXPS D OHWWHU VWDWLQJ LQ UHOHYDQW SDUW ³,W LV

 P\ FRQVLGHUHG MXGJPHQW WKDW P\ RDWK WR VXSSRUW DQG GHIHQG WKH &RQVWLWXWLRQ FRQVWUDLQV PH IURP

 FODLPLQJ XQLODWHUDO DXWKRULW\ WR GHWHUPLQH ZKLFK HOHFWRUDO YRWHV VKRXOG EH FRXQWHG DQG ZKLFK

 VKRXOG QRW´

              +DYLQJ ORVW DOO OHJDO DYHQXHV RI FKDOOHQJLQJ WKH HOHFWLRQ 'HIHQGDQWV 7UXPS DQG

 *LXOLDQL UHVRUWHG WR WKH RQO\ PHDQV WKH\ UHJDUGHG DV DYDLODEOH WR UHHOHFW 'HIHQGDQW 7UXPS

 ZKLFK ZHUH WR HPSOR\ IRUFH WKUHDWV DQG LQWLPLGDWLRQ GLUHFWHG WRZDUGV PHPEHUV RI &RQJUHVV WR

 GHOD\ DQG SUHYHQW WKH ILQDO DSSURYDO RI WKH UHVXOWV RI WKH (OHFWRUDO &ROOHJH EDOORWLQJ




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              2Q WKH PRUQLQJ RI -DQXDU\   EHIRUH WKH ³6DYH $PHULFD´ UDOO\ 'HIHQGDQW

 7UXPS XUJHG KLV IROORZHUV WR UHVLVW WKH ILQDO FRXQW RI WKH (OHFWRUDO &ROOHJH EDOORWV PLVLQIRUPLQJ

 WKHP LQ D WZHHW WKDW ³7KH 6WDWHV ZDQW WR UHGR WKHLU YRWHV 7KH\ IRXQG RXW WKH\ YRWHG RQ D

 )5$8' /HJLVODWXUHV QHYHU DSSURYHG /HW WKHP GR LW %( 67521*´ 1R VWDWH HYHU H[SUHVVHG

 WKH YLHZ DWWULEXWHG WR WKHP E\ 'HIHQGDQW 7UXPS WKDW WKH\ ZDQWHG WR ³UHGR WKHLU YRWHV´

 )XUWKHUPRUH LQ WKH KLVWRU\ RI WKLV QDWLRQ WKHUH KDV QHYHU EHHQ DQ\ VXFK ³UHGR´ QRU KDV DQ\ FRXUW

 HYHU UXOHG WKDW D K\SRWKHWLFDO ³UHGR´ ZRXOG EH ODZIXO

              $W WKH UDOO\ 'HIHQGDQW *LXOLDQL VSRNH LPPHGLDWHO\ EHIRUH 'HIHQGDQW 7UXPS ,Q

 UHPDUNV PLUURULQJ 'HIHQGDQW 7UXPS¶V SULRU PHVVDJHV 'HIHQGDQW *LXOLDQL EHJDQ E\ PDNLQJ D

 VHULHV RI VWDWHPHQWV DERXW WKH HOHFWLRQ FRQWUDGLFWHG E\ WKH VWDWH HOHFWLRQ RIILFHUV FDOOLQJ WKH YRWHV

 ODZIXOO\ FDVW LQ IDYRU RI 3UHVLGHQW %LGHQ ³FURRNHG EDOORWV´ DQG VWDWLQJ WKDW KH ZDV ³JRLQJ WR ILQG

 FULPLQDOLW\´ DQG ³SURRI WKLV HOHFWLRQ ZDV VWROHQ´ 'HIHQGDQW *LXOLDQL IDOVHO\ WROG WKH FURZG WKDW

 LW ZDV ³SHUIHFWO\ OHJDO´ IRU 9LFH 3UHVLGHQW 3HQFH WR XQLODWHUDOO\ EORFN &RQJUHVV IURP FHUWLI\LQJ

 WKH (OHFWRUDO &ROOHJH YRWHV DV 'HIHQGDQW 7UXPS KDG SUHYLRXVO\ GHPDQGHG DQG UHIHUUHG WR D

 IDLOXUH E\ 9LFH 3UHVLGHQW 3HQFH WR EORFN WKH FHUWLILFDWLRQ DV XQODZIXO RU WUHDVRQRXV 7KHQ KH

 LQFLWHG WKH FURZG WR WDNH YLROHQW DFWLRQ VWDWLQJ ³,I ZH¶UH ULJKW D ORW RI WKHP ZLOO JR WR MDLO So,

 let’s have trial by combat ,¶P ZLOOLQJ WR VWDNH P\ UHSXWDWLRQ WKH 3UHVLGHQW LV ZLOOLQJ WR VWDNH

 KLV UHSXWDWLRQ RQ WKH IDFW WKDW ZH¶UH JRLQJ WR ILQG FULPLQDOLW\ WKHUH « ,¶OO EH GDUQHG LI WKH\¶UH

 JRLQJ WR WDNH RXU IUHH DQG IDLU YRWH « We’re going to fight to the very end WR PDNH VXUH WKDW

 GRHVQ¶W KDSSHQ´ HPSKDVLV DGGHG 

              7KHQ 'HIHQGDQW 7UXPS DGGUHVVHG WKH DVVHPEOHG FURZG 'HIHQGDQW 7UXPS

 EHJDQ E\ FRQGHPQLQJ KLV SROLWLFDO RSSRVLWLRQ DQG UHSHDWLQJ WKH VDPH XQSURYHQ DFFXVDWLRQ

 UHMHFWHG E\ WKH VWDWH HOHFWLRQ RIILFHUV WKDW WKH HOHFWLRQ ZDV VWROHQ IURP KLP ³7KH\ ULJJHG DQ



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 HOHFWLRQ 7KH\ ULJJHG LW OLNH WKH\¶YH QHYHU ULJJHG DQ HOHFWLRQ EHIRUH « +XQGUHGV RI WKRXVDQGV

 RI $PHULFDQ SDWULRWV DUH FRPPLWWHG WR WKH KRQHVW\ RI RXU HOHFWLRQV DQG WKH LQWHJULW\ RI RXU

 JORULRXV 5HSXEOLF $OO RI XV KHUH WRGD\ GR QRW ZDQW WR VHH RXU HOHFWLRQ YLFWRU\ VWROHQ E\

 HPEROGHQHG UDGLFDO OHIW 'HPRFUDWV ZKLFK LV ZKDW WKH\¶UH GRLQJ DQG VWROHQ E\ WKH IDNH QHZV

 PHGLD 7KDW¶V ZKDW WKH\¶YH GRQH DQG ZKDW WKH\¶UH GRLQJ :H ZLOO QHYHU JLYH XS :H ZLOO QHYHU

 FRQFHGH LW GRHVQ¶W KDSSHQ <RX GRQ¶W FRQFHGH ZKHQ WKHUH¶V WKHIW LQYROYHG´ 1R VWDWH RU FRXUW

 KDG FUHGLWHG 'HIHQGDQW 7UXPS¶V DVVHUWLRQ WKDW KLV RSSRUWXQLW\ WR ZLQ WKH SUHVLGHQWLDO HOHFWLRQ

 ZDV ³VWROHQ´ IURP KLP

             'HIHQGDQW 7UXPS WKHQ VWDWHG ³2XU FRXQWU\ KDV KDG HQRXJK :H ZLOO QRW WDNH LW

 DQ\PRUH DQG WKDW¶V ZKDW WKLV LV DOO DERXW 7R XVH D IDYRULWH WHUP WKDW DOO RI \RX SHRSOH UHDOO\

 FDPH XS ZLWK ZH ZLOO VWRS WKH VWHDO´ $V KH KDG GRQH UHSHDWHGO\ VLQFH WKH  HOHFWLRQ

 'HIHQGDQW 7UXPS PHDQW KH ZRXOG VWRS FHUWLILFDWLRQ RI -RVHSK %LGHQ DV 3UHVLGHQW DV ZDV

 VFKHGXOHG WR WDNH SODFH ODWHU WKDW GD\ DW WKH &DSLWRO

             'HIHQGDQW 7UXPS ZHQW RQ WR LQVWUXFW KLV IROORZHUV LQ ZKDW KH ZDQWHG WKHP WR GR

 ³:H PXVW VWRS WKH VWHDO DQG WKHQ ZH PXVW HQVXUH WKDW VXFK RXWUDJHRXV HOHFWLRQ IUDXG QHYHU

 KDSSHQV DJDLQ FDQ QHYHU EH DOORZHG WR KDSSHQ DJDLQ EXW ZH¶UH JRLQJ IRUZDUG´

             7KHQ NQRZLQJ WKDW WKH FURZG ZDV DUPHG DQG WKDW WKH DVVHPEOHG PDVVHV KDG

 WKUHDWHQHG YLROHQFH 'HIHQGDQW 7UXPS VWRNHG WKHLU DQJHU IXUWKHU DQG XUJHG WKHP WR WDNH DFWLRQ WR

 GLVUXSW WKH SURFHVV IRU FRXQWLQJ DQG DSSURYLQJ WKH (OHFWRUDO &ROOHJH EDOORWV ³5HSXEOLFDQV DUH

 FRQVWDQWO\ ILJKWLQJ OLNH D ER[HU ZLWK KLV KDQGV WLHG EHKLQG KLV EDFN ,W¶V OLNH D ER[HU DQG ZH

 ZDQW WR EH VR QLFH :H ZDQW WR EH VR UHVSHFWIXO RI HYHU\ERG\ LQFOXGLQJ EDG SHRSOH :H¶UH

 JRLQJ WR KDYH WR ILJKW PXFK KDUGHU DQG 0LNH 3HQFH LV JRLQJ WR KDYH WR FRPH WKURXJK IRU XV ,I

 KH GRHVQ¶W WKDW ZLOO EH D VDG GD\ IRU RXU FRXQWU\ EHFDXVH \RX¶UH VZRUQ WR XSKROG RXU



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 FRQVWLWXWLRQ 1RZ LW LV XS WR &RQJUHVV WR FRQIURQW WKLV HJUHJLRXV DVVDXOW RQ RXU GHPRFUDF\

 $IWHU WKLV ZH¶UH JRLQJ WR ZDON GRZQ DQG ,¶OO EH WKHUH ZLWK \RX :H¶UH JRLQJ WR ZDON GRZQ

 :H¶UH JRLQJ WR ZDON GRZQ DQ\ RQH \RX ZDQW EXW , WKLQN ULJKW KHUH We’re going walk down to

 the Capitol DQG ZH¶UH JRLQJ WR FKHHU RQ RXU EUDYH 6HQDWRUV DQG &RQJUHVVPHQ DQG ZRPHQ

 :H¶UH SUREDEO\ QRW JRLQJ WR EH FKHHULQJ VR PXFK IRU VRPH RI WKHP EHFDXVH you’ll never take

 back our country with weakness. You have to show strength, and you have to be strong´

  HPSKDVLV DGGHG 

             $V VKRZQ DERYH LQ D GLUHFW HIIRUW WR LQFUHDVH WKH QXPEHU RI KLV IROORZHUV ZKR

 ZRXOG MRXUQH\ WR WKH &DSLWRO 'HIHQGDQW 7UXPS IDOVHO\ WROG WKHP ³,¶OO EH WKHUH ZLWK \RX´

 1RWZLWKVWDQGLQJ WKLV VWDWHPHQW 'HIHQGDQW 7UXPS QHYHU WUDYHOHG WR WKH &DSLWRO RQ -DQXDU\ 

  WR MRLQ WKH ULRWHUV ZKRP KH GLVSDWFKHG

             'HIHQGDQW 7UXPS WKHQ WROG WKH FURZG WKDW LW FRXOG QRW DOORZ %LGHQ WR EH GHHPHG

 WKH ZLQQHU RI WKH HOHFWLRQ ³0LNH 3HQFH KDV WR DJUHH WR VHQG >WKH HOHFWRUDO FRXQW@ EDFN >WR WKH

 VWDWHV@    ,I \RX GRQ¶W GR WKDW WKDW PHDQV \RX ZLOO KDYH D 3UHVLGHQW RI WKH 8QLWHG 6WDWHV IRU IRXU

 \HDUV    ZKR ZDV YRWHG RQ E\ D EXQFK RI VWXSLG SHRSOH ZKR ORVW DOO RI WKHVH VWDWHV <RX ZLOO

 KDYH DQ LOOHJLWLPDWH SUHVLGHQW 7KDW LV ZKDW \RX ZLOO KDYH and we can’t let that happen´

  HPSKDVLV DGGHG 

             6KRZLQJ VWUHQJWK WKH FURZG EHJDQ VKRXWLQJ DQG FKDQWLQJ ³6WRUP WKH &DSLWRO´

 ³,QYDGH WKH &DSLWRO %XLOGLQJ´ DQG ³7DNH WKH &DSLWRO ULJKW QRZ´ $SSURYLQJ RI WKRVH FKDQWV

 'HIHQGDQW 7UXPS SUHVVHG RQ ³7KH UDGLFDO OHIW NQRZV H[DFWO\ ZKDW WKH\¶UH GRLQJ 7KH\¶UH

 UXWKOHVV DQG LW¶V WLPH WKDW VRPHERG\ GLG VRPHWKLQJ DERXW LW´ $V WKH FURZG VKRXWHG DQG EXVWOHG

 KH JDYH WKHP SHUPLVVLRQ WR EUHDN WKH UXOHV DVVXULQJ WKHP ³when you catch somebody in a

 fraud, you’re allowed to go by very different rules    6RPHWKLQJ LV ZURQJ KHUH VRPHWKLQJ LV



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 UHDOO\ ZURQJ FDQ¶W KDYH KDSSHQHG DQG ZH ILJKW ZH ILJKW OLNH KHOO DQG LI \RX GRQ¶W ILJKW OLNH

 KHOO \RX¶UH QRW JRLQJ WR KDYH D FRXQWU\ DQ\PRUH´ HPSKDVLV DGGHG  7KH FURZG DQVZHUHG LQ D

 FKDQW ³)LJKW OLNH +HOO )LJKW IRU 7UXPS´

             'HIHQGDQW 7UXPS GLUHFWHG KLV VFUHDPLQJ VXSSRUWHUV WR GHVFHQG XSRQ WKH &DSLWRO

 ³6R ZH DUH JRLQJ WR « ZDON GRZQ 3HQQV\OYDQLD $YHQXH « DQG ZH DUH JRLQJ WR WKH &DSLWRO

 DQG ZH DUH JRLQJ WR WU\ DQG JLYH « RXU 5HSXEOLFDQV WKH ZHDN RQHV EHFDXVH WKH VWURQJ RQHV

 GRQ¶W QHHG DQ\ RI RXU KHOS ZH¶UH « JRLQJ WR WU\ DQG JLYH WKHP WKH NLQG RI SULGH DQG EROGQHVV

 WKDW WKH\ QHHG WR WDNH EDFN RXU FRXQWU\ 6R OHW¶V ZDON GRZQ 3HQQV\OYDQLD $YHQXH´

             7KH SHUPLW REWDLQHG IRU WKH 6DYH $PHULFD UDOO\ H[SUHVVO\ SURYLGHG ³7KLV SHUPLW

 GRHV QRW DXWKRUL]H D PDUFK IURP WKH (OOLSVH´ 'HIHQGDQW 7UXPS QHYHUWKHOHVV LQVWUXFWHG WKH

 DQJU\ FURZG WR PDUFK IURP WKH (OOLSVH WR WKH &DSLWRO IRU WKH SXUSRVH RI ³ILJKW>LQJ@ OLNH KHOO´ DQG

 WKHUHIRUH GLUHFWHG WKH FURZG WR WDNH DFWLRQ RXWVLGH WKH ERXQGV RI ZKDW WKH SHUPLW DXWKRUL]HG

 9,,   'HIHQGDQWV 3URXG %R\V DQG 2DWK .HHSHUV DQG 7KHLU &R&RQVSLUDWRUV ,QYDGHG WKH
        &DSLWRO

             7KH 86 &DSLWRO ZKLFK LV ORFDWHG DW )LUVW 6WUHHW 6( LQ :DVKLQJWRQ '& LV

 VHFXUHG  KRXUV D GD\ E\ 86 &DSLWRO 3ROLFH 5HVWULFWLRQV DURXQG WKH 86 &DSLWRO LQFOXGH

 SHUPDQHQW DQG WHPSRUDU\ VHFXULW\ EDUULHUV DQG SRVWV PDQQHG E\ 86 &DSLWRO 3ROLFH 2QO\

 DXWKRUL]HG SHRSOH ZLWK DSSURSULDWH LGHQWLILFDWLRQ ZHUH DOORZHG DFFHVV LQVLGH WKH 86 &DSLWRO

             2Q -DQXDU\   WKH H[WHULRU SOD]D RI WKH 86 &DSLWRO ZDV FORVHG WR PHPEHUV

 RI WKH SXEOLF 0HWDO EDUULHUV ZHUH SODFHG DORQJ SHGHVWULDQ HQWUDQFHV DSSUR[LPDWHO\ RQH KXQGUHG

 IHHW IURP WKH ZHVW VLGH HQWUDQFH WR WKH &DSLWRO

             2Q -DQXDU\   DW DSSUR[LPDWHO\  30 LQ DFFRUGDQFH ZLWK WKH

 &RQVWLWXWLRQ DQG IHGHUDO ODZ GLFWDWLQJ WKH PHDQV E\ ZKLFK &RQJUHVV FRXQWV WKH VWDWHV¶ (OHFWRUDO

 9RWHV LQFOXGLQJ WKH GDWH DQG WLPH VXFK FRXQWLQJ VKDOO RFFXU D MRLQW VHVVLRQ RI WKH 8QLWHG 6DWHV


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 &RQJUHVV FRQYHQHG DW WKH 8QLWHG 6WDWHV &DSLWRO WR FHUWLI\ WKH YRWH FRXQW RI WKH  SUHVLGHQWLDO

 HOHFWLRQ

             $W DSSUR[LPDWHO\  30 RQ -DQXDU\   'HIHQGDQW 3URXG %R\V UDOOLHG

 E\ OHDGHUV -RVHSK %LJJV DQG (WKDQ 1RUGHDQ FRDOHVFHG DQG PDUFKHG WRZDUGV WKH &DSLWRO ZKLOH

 7UXPS ZDV VSHDNLQJ DW WKH 6DYH $PHULFD UDOO\

             (Q URXWH WR WKH &DSLWRO PHPEHUV RI 'HIHQGDQW 3URXG %R\V ZHUH HQJDJHG LQ

 YDULRXV FKDQWV DQG UHVSRQVH FDOOV LQFOXGLQJ ³)XFN $QWLID´ DQG ³:KRVH VWUHHWV" 2XU VWUHHWV´

             :KLOH WKH 3URXG %R\V ZHUH DVVHPEOHG QHDU WKH &DSLWRO RQH 3URXG %R\V PHPEHU

 ZDV YLGHR UHFRUGHG VKRXWLQJ ³/HW¶V WDNH WKH IXFNLQJ &DSLWRO´ ,Q UHVSRQVH RWKHU 3URXG %R\V

 PHPEHUV FKDVWLVHG WKH PHPEHU IRU VKRXWLQJ WKLV ZLWK DQRWKHU 3URXG %R\V PHPEHU VWDWLQJ

 ³/HW¶V QRW IXFNLQJ \HOO WKDW DOULJKW´ DQG DQRWKHU PHPEHU VWDWLQJ ³'RQ¶W \HOO LW GR LW´

             $W WKH GLUHFWLRQ RI WKH 'HIHQGDQW 3URXG %R\V UDOO\ RUJDQL]HUV PDQ\ 3URXG %R\V

 PHPEHUV DEDQGRQHG WKHLU RUJDQL]DWLRQ¶V FRORUV RI EODFN DQG \HOORZ LQ RUGHU WR ZHDU WKH EODFN

 DWWLUH DVVRFLDWHG ZLWK $QWLID

             3URXG %R\V PHPEHUV DFWLQJ DFFRUGLQJ WR D FDUHIXOO\ FRRUGLQDWHG SODQ DQG DW WKH

 GLUHFWLRQ RI WKHLU OHDGHUVKLS EURNH XS LQWR VPDOO JURXSV VR WKDW WKH\ FRXOG SXVK SDVW WKH &DSLWRO

 EDUULHUV IURP PXOWLSOH HQWU\ SRLQWV ZLWKRXW VLJQDOLQJ WR SROLFH WKDW WKH\ ZHUH ZRUNLQJ WRJHWKHU

 WKHVH VPDOOHU JURXSV FRPPXQLFDWHG ZLWK HDFK RWKHU WKURXJK WKH XVH RI PLOLWDU\VW\OH

 FRPPXQLFDWLRQ GHYLFHV

             $W DSSUR[LPDWHO\  30 0U %LJJV GLVSDWFKHG WKH OHDGHU RI WKH DVVDXOW RQ WKH

 &DSLWRO HQWUDQFH )ROORZLQJ KLP PRUH PHPEHUV RI 'HIHQGDQW 3URXG %R\V GHVFHQGHG RQ WKH

 &DSLWRO EUHDNLQJ WKURXJK WKH PHWDO EDUULHUV HUHFWHG D KXQGUHG IHHW IURP WKH &DSLWRO %XLOGLQJ DQG

 RYHUFRPLQJ WKH &DSLWRO 3ROLFH RIILFHUV VWDWLRQHG WKHUH WR UHSHO DQ\ LQFXUVLRQ RQ WKH &DSLWRO



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 'HIHQGDQW 3URXG %R\V ODXQFKHG WKLV DVVDXOW ZKLOH 7UXPS ZDV VSHDNLQJ DW WKH HOOLSVH DQG DV

 PHPEHUV EURNH WKURXJK WKH EDUULFDGHV WKH\ EODVWHG 7UXPS¶V VSHHFK RQ D EXOOKRUQ

            6RRQ DIWHU 3URXG %R\V KDG FOHDUHG WKH EDUULFDGHV 'HIHQGDQW 7UXPS ILQLVKHG KLV

 VSHHFK DQG GLVSDWFKHG WKH DQJU\ FURZG WR WKH &DSLWRO

            %\ WKH WLPH WKH WKRXVDQGV RI GHPRQVWUDWRUV ZKR KHDUG 7UXPS¶V VSHHFK DUULYHG DW

 WKH &DSLWRO WKH 3URXG %R\V KDG DOUHDG\ EHJXQ FRPSURPLVLQJ WKH SURWHFWLRQV HUHFWHG E\ WKH

 &DSLWRO 3ROLFH QHDU WKH EDVH RI WKH EXLOGLQJ

            $V D UHVXOW WKH FURZG WKDW DUULYHG SDVVHG HDVLO\ WKURXJK WKH RXWHU ULQJ RI EDUULHUV

 DQG ZDV DEOH WR FRQIURQW DQG XOWLPDWHO\ RYHUZKHOP DQ LQQHU DUUD\ RI &DSLWRO 3ROLFH DQG

 EDUULFDGHV HVWDEOLVKHG DV WKH ODVW OLQH RI GHIHQVH RXWVLGH WKH &DSLWRO %XLOGLQJ

            3URXG %R\V PHPEHUV DQG OHDGHUV DFWHG DFFRUGLQJ WR DQ LQWHQWLRQDO DQG

 SUHPHGLWDWHG SODQ WR UHO\ RQ QRQ3URXG %R\V ULRWHUV ZKRP WKH 3URXG %R\V GHVFULEHG DV

 ³QRUPLHV´ RU ³QRUPLHFRQV´ WR MRLQ IRUFHV ZLWK WKH 3URXG %R\V LQ RYHUWDNLQJ &DSLWRO 3ROLFH

 VHFXULW\ IRUFHV

            3URXG %R\V FRRUGLQDWHG WKHLU DVVDXOW ZLWK WKH ULRWHUV ZKR DW WKH GLUHFWLRQ RI

 'HIHQGDQWV 7UXPS DQG *LXOLDQL FUHDWHG FKDRV DQG PD\KHP VXUURXQGLQJ WKH &DSLWRO VXFK WKDW

 VHFXULW\ IRUFHV ZHUH VSUHDG WKLQ DQG ZHDNHQHG WKXV DOORZLQJ ERWK 3URXG %R\V DQG QRQ3URXG

 %R\V LQVXUUHFWLRQLVWV WR JDLQ HQWU\ LQ WKH EXLOGLQJ 7KH FURZG WKDW 'HIHQGDQWV 7UXPS DQG

 *LXOLDQL LQFLWHG WR PDUFK XSRQ DQG IRUFLEO\ HQWHU WKH &DSLWRO HUHFWHG JDOORZV RQ WKH &DSLWRO

 JURXQGV DQG GLVSOD\HG D QRRVH

            $W WKH WLPH WKH ULRWHUV LQLWLDOO\ EURNH LQWR WKH &DSLWRO PHPEHUV RI WKH +RXVH RI

 5HSUHVHQWDWLYHV DQG WKH 6HQDWH ZHUH HQJDJHG LQ GHEDWLQJ WKH WDOO\ RI WKH YRWHV FDVW E\ PHPEHUV

 RI WKH (OHFWRUDO &ROOHJH



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            'HIHQGDQW 7UXPS ZDV ZDWFKLQJ OLYH WHOHYLVHG UHSRUWV RI WKH IRUFLEOH HQWU\ LQWR WKH

 &DSLWRO DQG WKH YLROHQFH FRPPLWWHG E\ WKH FURZG GLVSDWFKHG E\ 'HIHQGDQWV 7UXPS DQG *LXOLDQL

 5DWKHU WKDQ WDNH DFWLRQ WR DWWHPSW WR FDOP WKH ULRWRXV FURZG RU GLUHFW DGGLWLRQDO ODZ HQIRUFHPHQW

 WR WKH VLWH 'HIHQGDQW 7UXPS HJJHG RQ PHPEHUV RI WKH ULRWRXV FURZG E\ WZHHWLQJ DW  30 D

 YLGHR RI WKH ³6DYH $PHULFD´ UDOO\ ILOPHG VKRUWO\ EHIRUH ZKHUH KH KDG UDOOLHG WKH FURZG ZLWK KLV

 FODULRQ FDOO ³2XU FRXQWU\ KDV KDG HQRXJK :H ZLOO QRW WDNH LW DQ\PRUH DQG WKDW¶V ZKDW WKLV LV DOO

 DERXW    <RX¶OO QHYHU WDNH EDFN RXU FRXQWU\ ZLWK ZHDNQHVV <RX KDYH WR VKRZ VWUHQJWK DQG

 \RX KDYH WR EH VWURQJ´

            6KRUWO\ DIWHU  30 WKH ULRWRXV FURZG EUHDFKHG WKH &DSLWRO %XLOGLQJ

 :LQGRZV DQG EDUULFDGHV ZHUH EURNHQ DV WKH PRE VWRUPHG LQWR WKH 1DWLRQDO 6WDWXDU\ +DOO WKH

 KHDUW RI WKH &DSLWRO %XLOGLQJ

            9LGHR UHFRUGHG D PHPEHU RI 'HIHQGDQW 3URXG %R\V DV KH EURNH WKURXJK D &DSLWRO

 ZLQGRZ DW DSSUR[LPDWHO\  30 XVLQJ WKH FOHDUSODVWLF VKLHOG VHL]HG IURP DQ RYHUFRPH

 &DSLWRO 3ROLFH RIILFHU 7KHUHDIWHU PHPEHUV RI WKH FURZG LQFOXGLQJ VRPH IURP WKH 'HIHQGDQW

 3URXG %R\V HQWHUHG WKH &DSLWRO WKURXJK WKH EURNHQ ZLQGRZ DQG WKHQ RSHQHG D GRRU WKURXJK

 ZKLFK WKH ULRWRXV FURZG VWUHDPHG LQWR WKH &DSLWRO

            7KH PHPEHU RI 'HIHQGDQW 3URXG %R\V ZKR EURNH WKURXJK WKH ZLQGRZ ZLWK D

 SODVWLF VKLHOG WKHQ SRVWHG D VHOIFRQJUDWXODWRU\ YLGHR RI KLPVHOI VPRNLQJ D FLJDU LQ FHOHEUDWLRQ RI

 KLV XQODZIXO HQWU\ GHFODULQJ ³9LFWRU\ VPRNH LQ WKH &DSLWRO ER\V « , NQHZ ZH FRXOG WDNH WKLV

 VKLW RYHU LI ZH WULHG KDUG HQRXJK´

            2WKHU YLGHR OLYH VWUHDPHG WR WKH VRFLDO PHGLD VLWH 3DUOHU FDSWXUHG 'HIHQGDQW

 3URXG %R\V OHDGHU -RVHSK %LJJV ZKR KDG HQWHUHG WKH &DSLWRO UHVSRQGLQJ WR DQ LQTXLU\ DVNLQJ

 ³+H\ %LJJV ZKDW GR \RX JRWWD VD\´ E\ VPLOLQJ DQG SURQRXQFLQJ ³7KLV LV DZHVRPH´



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            6KRUWO\ DIWHU WKH &DSLWRO ZDV EUHDFKHG WKH 6HQDWH ZDV FDOOHG LQWR UHFHVV

            &KDRV DQG YLROHQFH UHLJQHG DV ULRWRXV PHPEHUV RI WKH FURZG LQIODPHG E\ UHPDUNV

 IURP 'HIHQGDQWV 7UXPS DQG *LXOLDQL VWUHDPHG LQWR WKH &DSLWRO RYHUFRPLQJ PRVW RI WKH

 UHPDLQLQJ &DSLWRO 3ROLFH DQG GHVFHQGLQJ XSRQ &DSLWRO RIILFHV RI PHPEHUV RI &RQJUHVV DQG WKHLU

 VWDII 5LRWHUV EHDW RQ WKH GRRUV RI WKH &KDPEHU RI WKH +RXVH RI 5HSUHVHQWDWLYHV ZKHUH

 'HIHQGDQW 7KRPSVRQ DQG RWKHU PHPEHUV RI WKH +RXVH ZHUH IRUFHG WR VKHOWHU LQ SODFH

            (PSOR\LQJ HDU SLHFHV DQG ZDONLHWDONLHV LQ RUGHU WR FRPPXQLFDWH ZLWK HDFK RWKHU

 DQG FRRUGLQDWH WKHLU DWWDFN RQ WKH &DSLWRO PHPEHUV RI 'HIHQGDQW 3URXG %R\V LQVLGH WKH &DSLWRO

 %XLOGLQJ FRQWLQXHG WR OHDG DQG FRRUGLQDWH IDFHWV RI WKH DWWDFN RQ WKH &DSLWRO LQ RUGHU WR LQWHUIHUH

 ZLWK WKH WDOO\ RI (OHFWRUDO &ROOHJH YRWHV LQ ZKLFK PHPEHUV RI &RQJUHVV ZHUH HQJDJHG

            <HW DQRWKHU YLGHR GHSLFWHG D PHPEHU RI 'HIHQGDQW 3URXG %R\V LQVLGH WKH &DSLWRO

 VD\LQJ ³:H MXVW ZHQW DKHDG DQG VWRUPHG WKH &DSLWRO ,W¶V DERXW WR JHW XJO\´ +H ZDV

 VXUURXQGHG E\ ULRWRXV VXSSRUWHUV ZKR FKDQWHG ³2XU KRXVH´ DQG ZHUH DFFRPSDQLHG E\ DQRWKHU

 PHPEHU RI 'HIHQGDQW 3URXG %R\V ZKR FDOOHG IRU ³1DQF\´ WR VXPPRQ WKH 6SHDNHU RI WKH +RXVH

 RI WKH 8QLWHG 6WDWHV +RXVH RI 5HSUHVHQWDWLYHV 1DQF\ 3HORVL

            7KHUHDIWHU PHPEHUV RI 'HIHQGDQW 3URXG %R\V DQG PHPEHUV RI WKH ULRWRXV FURZG

 ZKRVH LQYDVLRQ RI WKH &DSLWRO ZDV LQFLWHG E\ 'HIHQGDQWV 7UXPS DQG *LXOLDQL URDPHG WKH

 &DSLWRO HQWHULQJ DQG ULIOLQJ WKURXJK PHPEHU RIILFHV LQFOXGLQJ WKH RIILFH RI +RXVH 6SHDNHU

 1DQF\ 3HORVL OHDYLQJ IXUQLWXUH DQG ILOHV LQ GLVDUUD\ DQG UHPRYLQJ SHUVRQDO DQG RIILFLDO HIIHFWV

 LQFOXGLQJ ODSWRSV FRQWDLQLQJ FRQILGHQWLDO LQIRUPDWLRQ $V WKH\ URDPHG WKH &DSLWRO %XLOGLQJ

 PHPEHUV RI 'HIHQGDQW 3URXG %R\V DQG PHPEHUV RI WKH ULRWRXV FURZG FKDQWHG ³)LJKW IRU

 7UXPS´




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            0HPEHUV RI 'HIHQGDQW 3URXG %R\V DV ZHOO DV PHPEHUV RI WKH ULRWRXV FURZG DOVR

 VHDUFKHG IRU PHPEHUV RI &RQJUHVV LQ WKH KDOOV DQG URRPV RI WKH &DSLWRO 6HYHUDO ULRWHUV

 FDUULHG SODVWLF KDQGFXIIV WKDW ZRXOG KDYH SHUPLWWHG WKHP WR GHWDLQ PHPEHUV RI &RQJUHVV ZKRP

 WKH\ HQFRXQWHUHG

            1RWZLWKVWDQGLQJ WKDW 5HSXEOLFDQ PHPEHUV RI &RQJUHVV WUDSSHG LQ WKH &DSLWRO

 WUDQVPLWWHG DSSHDOV WR WKH :KLWH +RXVH WR WDNH LPPHGLDWH DFWLRQ WR VWRS WKH LQVXUUHFWLRQ QR

 DFWLRQ ZDV IRUWKFRPLQJ DV 'HIHQGDQW 7UXPS FRQWLQXHG WR ZDWFK WKH LQVXUUHFWLRQ XQIROG LQ OLYH

 WHOHYLVHG UHSRUWV

            6RRQ DIWHU PHPEHUV RI WKH ULRWRXV FURZG GLVSDWFKHG E\ 'HIHQGDQWV 7UXPS DQG

 *LXOLDQL IRUFLEO\ HQWHUHG WKH &DSLWRO DQG EHJDQ URDPLQJ LWV KDOOV DQG RIILFHV 'HIHQGDQW 7UXPS

 WKURXJK KLV SHUVRQDO 7ZLWWHU DFFRXQW FDOOHG XSRQ WKHP WR GLVUXSW WKH (OHFWRUDO &ROOHJH EDOORW

 FRXQW WZHHWLQJ WKDW ³0LNH 3HQFH GLGQ¶W KDYH WKH FRXUDJH WR GR ZKDW VKRXOG KDYH EHHQ GRQH «´

            7KLV WZHHW ZDV UHSHDWHG E\ ULRWHUV DW WKH &DSLWRO RQ PHJDSKRQHV ZKR XQGHUVWRRG

 7UXPS¶V WZHHW WR EH HQFRXUDJHPHQW WR IXUWKHU YLROHQFH

            :KHQ WKH &DSLWRO ZDV EUHDFKHG VKRUWO\ DIWHU  30 WKHQ9LFH 3UHVLGHQW 3HQFH

 ZDV SUHVHQW DW WKH &DSLWRO LQ KLV FDSDFLW\ DV 3UHVLGHQW RI WKH 6HQDWH LQ RUGHU WR SUHVLGH RYHU WKH

 WDOO\ RI WKH (OHFWRUDO &ROOHJH EDOORWV

            +DYLQJ GHFOLQHG WR VXVSHQG WKH (OHFWRUDO &ROOHJH YRWH WDOO\ DV 'HIHQGDQW 7UXPS

 XUJHG KLP WR GR WKHQ9LFH 3UHVLGHQW 3HQFH KLPVHOI EHFDPH D WDUJHW RI WKH FURZG¶V WKUHDWV DQG

 LQWLPLGDWLRQ DORQJ ZLWK PHPEHUV RI &RQJUHVV DV ULRWHUV FKDQWHG ³+DQJ 0LNH 3HQFH´

            2QFH LQVLGH WKH &DSLWRO VRPH PHPEHUV RI WKH ULRWRXV FURZG FRQILUPHG WKH\ ZHUH

 DFWLQJ XSRQ WKH GLUHFWLRQ DQG DW WKH EHKHVW RI 'HIHQGDQW 7UXPS :KHQ WKH FURZG FRQIURQWHG

 &DSLWRO 3ROLFH LQVLGH WKH &DSLWRO WKH\ ZDUQHG WKH &DSLWRO 3ROLFH RIILFHUV ³<RX¶UH RXWQXPEHUHG



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 7KHUH¶V D IXFNLQJ PLOOLRQ RI XV RXW WKHUH $QG ZH DUH OLVWHQLQJ WR 7UXPS ± \RXU ERVV´

 $SSDUHQWO\ EHOLHYLQJ WKDW 'HIHQGDQW 7UXPS¶V LQFLWHIXO UHPDUNV DXWKRUL]HG DQG GLUHFWHG WKHP WR

 HQWHU DQG RYHUWDNH WKH &DSLWRO OHDGHUV RI WKH ULRWRXV FURZG DOVR WROG &DSLWRO 3ROLFH ³:H ZHUH

 LQYLWHG KHUH E\ WKH 3UHVLGHQW RI WKH 8QLWHG 6WDWHV´ 5LRWHUV SDUDGLQJ WKURXJK WKH KDOOV RI WKH

 &DSLWRO FDUULHG IODJV DQG ZRUH FORWKLQJ DQG RWKHU SDUDSKHUQDOLD EHDULQJ WKH QDPH RI WKHLU OHDGHU

 ³7UXPS´

            $IWHU WKH ULRWHUV EUHDFKHG WKH &DSLWRO +RXVH 0LQRULW\ /HDGHU .HYLQ 0F&DUWK\

 SOHDGHG ZLWK 'HIHQGDQW 7UXPS WR FDOO RII WKH ULRWHUV HPSKDVL]LQJ WKDW WKH ULRWHUV ZHUH DOO 7UXPS

 VXSSRUWHUV 'LVPLVVLYH RI /HDGHU 0F&DUWK\ V ZDUQLQJ 'HIHQGDQW 7UXPS WROG 0F&DUWK\ ³:HOO

 .HYLQ , JXHVV WKHVH SHRSOH DUH PRUH XSVHW DERXW WKH HOHFWLRQ WKDQ \RX DUH´

            $V +RXVH 5HSXEOLFDQ &RQIHUHQFH &KDLU WKH +RQRUDEOH (OL]DEHWK / &KHQH\

 VWDWHG LQ KHU YRWH LQ IDYRU RI WKH $UWLFOH RI ,PSHDFKPHQW RQ -DQXDU\   'HIHQGDQW 7UXPS

 ³VXPPRQHG WKLV PRE DVVHPEOHG WKH PRE DQG OLW WKH IODPH RI WKLV DWWDFN (YHU\WKLQJ WKDW

 IROORZHG ZDV KLV GRLQJ 1RQH RI WKLV ZRXOG KDYH KDSSHQHG ZLWKRXW WKH 3UHVLGHQW´

            7KHQ 6HQDWH 0DMRULW\ /HDGHU 6HQDWRU 0LWFK 0F&RQQHOO OLNHZLVH REVHUYHG LQ

 UHPDUNV GHOLYHUHG RQ WKH 6HQDWH IORRU RQ -DQXDU\   WKH SLYRWDO UROH RI 'HIHQGDQW 7UXPS

 LQ LQFLWLQJ WKH DWWDFN RQ WKH &DSLWRO VWDWLQJ ³7KH PRE ZDV IHG OLHV 7KH\ ZHUH SURYRNHG E\ WKH

 3UHVLGHQW DQG RWKHU SRZHUIXO SHRSOH DQG WKH\ WULHG WR XVH IHDU DQG YLROHQFH WR VWRS D VSHFLILF

 SURFHHGLQJ RI WKH ILUVW EUDQFK RI WKH IHGHUDO JRYHUQPHQW ZKLFK WKH\ GLG QRW OLNH´

            $FWLQJ LQ FRQFHUW ZLWK 'HIHQGDQW 3URXG %R\V DQG WKH UHVW RI WKH ULRWRXV PRE

 HQWHULQJ WKH &DSLWRO PHPEHUV RI 'HIHQGDQW 2DWK .HHSHUV ZRUH SDUDPLOLWDU\ HTXLSPHQW

 KHOPHWV UHLQIRUFHG YHVWV DQG FORWKLQJ ZLWK 2DWK .HHSHUV SDUDSKHUQDOLD PRYLQJ LQ D UHJLPHQWHG

 PDQQHU DV PHPEHUV RI WKH PLOLWDU\ DUH WUDLQHG 3XUVXLQJ D SXUSRVH VKDUHG E\ 'HIHQGDQWV 7UXPS



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 DQG *LXOLDQL DV ZHOO DV 'HIHQGDQW 3URXG %R\V 'HIHQGDQW 2DWK .HHSHUV SOD\HG D OHDGHUVKLS UROH

 RI WKH ULRWRXV FURZG DQG SURYLGHG PLOLWDU\VW\OH DVVLVWDQFH VXIILFLHQW WR RYHUFRPH WKH &DSLWRO

 3ROLFH UHVLVWDQFH

            2DWK .HHSHUV OHDGHUV UHFUXLWHG PHPEHUV LQ WKH ZHHNV OHDGLQJ XS WR WKH &DSLWRO

 LQVXUUHFWLRQ DQG SURYLGHG PLOLWDU\ WUDLQLQJ WR LWV UHFUXLWV DQG PHPEHUV VR WKDW WKH\ ZRXOG EH

 SUHSDUHG IRU WKH YLROHQW DFWLRQV WKH JURXS ZRXOG WDNH WKDW GD\

            0HPEHUV RI 'HIHQGDQW 2DWK .HHSHUV ZHUH HTXDOO\ FOHDU WKDW WKH SXUSRVH RI WKHLU

 XQODZIXO SUHVHQFH DW WKH &DSLWRO ZDV WR LQWHUIHUH ZLWK WKH WDOO\ RI (OHFWRUDO &ROOHJH YRWHV 2QH

 PHPEHU RI 'HIHQGDQW 2DWK .HHSHUV IRU H[DPSOH SRVWHG D SKRWRJUDSK RI KHUVHOI DW WKH &DSLWRO

 RQ WKH VRFLDO PHGLD VLWH 3DUOHU DORQJ ZLWK WKH VWDWHPHQW ³0H EHIRUH IRUFLQJ HQWU\ LQWR WKH

 &DSLWRO %XLOGLQJ VWRSWKHVWHDO VWRUPWKHFDSLWRO RDWKNHHSHUV RKLRPLOLWLD´ $QRWKHU SRVW ODWH

 LQ WKH GD\ GHFODUHG ³<HDK :H VWRUPHG WKH &DSLWRO WRGD\ 7HDUJDVVHG WKH ZKROH  3XVKHG

 RXU ZD\ LQWR WKH 5RWXQGD 0DGH LW LQWR WKH 6HQDWH HYHQ 7KH QHZV LV O\LQJ HYHQ )R[ DERXW WKH

 +LVWRULFDO (YHQWV ZH FUHDWHG WRGD\´

            /LNH 'HIHQGDQW 3URXG %R\V PHPEHUV RI 'HIHQGDQW 2DWK .HHSHUV FRPPXQLFDWHG

 ZLWK SRUWDEOH GHYLFHV WKDW SHUPLWWHG WKHP WR FRRUGLQDWH WKHLU DFWLYLWLHV LQ WKH &DSLWRO $ PHVVDJH

 ODWHU SRVWHG RQ )DFHERRN IRU H[DPSOH UHYHDOHG 'HIHQGDQW 2DWK .HHSHUV ZDV WUDQVPLWWLQJ

 LQWHOOLJHQFH DERXW WKH ORFDWLRQ RI PHPEHUV RI &RQJUHVV ZKRP WKH\ ZHUH KXQWLQJ ,W VDLG ³$OO

 PHPEHUV DUH LQ WKH WXQQHOV XQGHU FDSLWDO VHDO WKHP LQ 7XUQ RQ JDV´ $QRWKHU PHVVDJH

 WUDQVPLWWHG WR 'HIHQGDQW 2DWK .HHSHUV OHDGHU 7KRPDV &DOGZHOO GXULQJ WKH DWWDFN UHSRUWHG

 ³7RP DOO OHJLVODWRUV DUH GRZQ LQ WKH 7XQQHOV  IORRUV GRZQ´ DQG ³*R WKURXJK EDFN KRXVH

 FKDPEHU GRRUV IDFLQJ 1 OHIW GRZQ KDOOZD\ GRZQ VWHSV´ 6WLOO DQRWKHU PHVVDJH DPRQJ PHPEHUV

 RI 'HIHQGDQW 2DWK .HHSHUV UHYHDOHG WKH RUJDQL]HG PDQQHU LQ ZKLFK WKH\ SXUVXHG WKHLU PLVVLRQ



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 :H KDYH D JRRG JURXS :H KDYH DERXW  RI XV :H DUH VWLFNLQJ WRJHWKHU DQG VWLFNLQJ WR

 WKH SODQ´

            5HIOHFWLQJ RQ WKHLU VXFFHVV LQ LQWHUIHULQJ ZLWK WKH WDOO\ RI WKH (OHFWRUDO &ROOHJH

 YRWHV 'HIHQGDQW 2DWK .HHSHUV OHDGHU 7KRPDV &DOGZHOO SRVWHG D PHVVDJH RQ )DFHERRN DW QHDUO\

  30 RQ WKH VDPH GD\ ZLWK D YLGHR RI KLPVHOI LQVLGH WKH &DSLWRO DQG WKH PHVVDJH ³8V

 VWRUPLQJ WKH FDVWOH 3OHDVH VKDUH 6KDURQ ZDV ZLWK PH , DP VXFK DQ LQVWLJDWRU 6KH ZDV UHDG\

 IRU LW PDQ 'LGQ¶W HYHQ PLQG WKH WHDU JDV´

            *ORDWLQJ RYHU WKHLU SHUFHLYHG VXFFHVV &DOGZHOO WKHQ VHQW DQRWKHU PHVVDJH

 UHSRUWLQJ ³3URXG ER\V VFXIIOHG ZLWK FRSV DQG GURYH WKHP LQVLGH WR KLGH %UHDFKHG WKH GRRUV

 2QH JX\ PDGH LW DOO WKH ZD\ WR WKH KRXVH IORRU DQRWKHU WR 3HORVL¶V RIILFH $ JRRG WLPH´

            9LHZLQJ WKHLU VXFFHVV LQ GLVUXSWLQJ WKH &RQJUHVV DV D PRGHO IRU VLPLODU DFWLRQV LQ

 WKH IXWXUH &DOGZHOO VHQW DQRWKHU PHVVDJH VWDWLQJ ³:H QHHG WR GR WKLV DW WKH ORFDO OHYHO /HW¶V

 VWRUP WKH FDSLWRO LQ 2KLR 7HOO PH ZKHQ´

            0HPEHUV RI WKH ULRWRXV FURZG SURPLQHQWO\ GLVSOD\HG D &RQIHGHUDWH IODJ ZLWKLQ

 WKH ZDOOV RI WKH &DSLWRO :LGHO\ YLHZHG DV D V\PERO RI WKH VXEMXJDWLRQ RI $IULFDQ $PHULFDQV DV

 VODYHV E\ WKH GRPLQDQW ZKLWH VODYH KROGHUV DV ZHOO DV D SRZHUIXO UHPLQGHU RI WKH LQVXUUHFWLRQ

 FDXVHG E\ WKH VHFHVVLRQ RI WKH VRXWKHUQ VWDWHV EHIRUH WKH &LYLO :DU PHPEHUV RI WKH ULRWRXV

 FURZG FDUULHG WKH &RQIHGHUDWH )ODJ DV D EDQQHU UHIOHFWLQJ PXFK RI WKH VHQWLPHQW PRWLYDWLQJ

 PDQ\ ZKR LQYDGHG WKH &DSLWRO

            2XWVLGH WKH &DSLWRO ULRWHUV DWWDFNHG &DSLWRO 3ROLFH RIILFHUV \HOOLQJ ³WUDLWRUV´ DW

 WKRVH ODZ HQIRUFHPHQW RIILFHUV ZKR ZHUH WU\LQJ WR SURWHFW WKH &DSLWRO DQG WKH PHPEHUV RI WKH

 +RXVH RI 5HSUHVHQWDWLYHV DQG 6HQDWH




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            5LRWHUV VSUD\HG ODZ HQIRUFHPHQW RIILFHUV ZLWK EHDU PDFH D FRQFHQWUDWHG SHSSHU

 VSUD\ GHVLJQHG WR GHWHU EHDU DWWDFNV ZKLFK LV XQVDIH IRU XVH RQ KXPDQV

            &DSLWRO 3ROLFH RIILFHUV ZHUH GUDJJHG DQG NLFNHG

            $W OHDVW RQH RIILFHU ZDV EHDWHQ ZLWK WKH SROH DWWDFKHG WR DQ $PHULFDQ IODJ

            :KLOH WKH ULRWLQJ FURZG ZDV IRUFLEO\ HQWHULQJ WKH &DSLWRO URDPLQJ LWV KDOOV DQG

 GHVHFUDWLQJ LWV RIILFHV WKDW VDPH GD\ 'HIHQGDQW *LXOLDQL MRLQHG WKH RWKHU 'HIHQGDQWV LQ VHHNLQJ

 WR GHOD\ DQG GHUDLO WKH WDOO\ RI WKH (OHFWRUDO &ROOHJH EDOORWV E\ FDOOLQJ PHPEHUV RI &RQJUHVV

 XUJLQJ WKHP WR GR HYHU\WKLQJ WKH\ FRXOG WR ³VORZ LW GRZQ´ DQG ³GHOD\´ WKH (OHFWRUDO &ROOHJH

 YRWH FRXQW LQ &RQJUHVV LQ RUGHU WR VHUYH 'HIHQGDQW 7UXPS¶V JRDO RI UHWXUQLQJ WKH HOHFWLRQ WR WKH

 VWDWHV ZKHUH D GLIIHUHQW RXWFRPH FRXOG EH DUUDQJHG ,Q WKHVH SKRQH FDOO FRPPXQLFDWLRQV ZLWK

 VHOHFWHG PHPEHUV RI &RQJUHVV ZKLOH WKH LQVXUUHFWLRQ ZDV RQJRLQJ RQ -DQXDU\  'HIHQGDQW

 *LXOLDQL XUJHG ³$QG , NQRZ WKH\¶UH UHFRQYHQLQJ DW HLJKW WRQLJKW EXW WKH RQO\ VWUDWHJ\ ZH FDQ

 IROORZ LV WR REMHFW WR QXPHURXV VWDWHV DQG UDLVH LVVXHV VR WKDW ZH JHW RXUVHOYHV LQWR WRPRUURZ

 LGHDOO\ XQWLO WKH HQG RI WRPRUURZ´

            ,Q WKHVH SKRQH FDOOV ZLWK VHOHFWHG PHPEHUV RI &RQJUHVV 'HIHQGDQW *LXOLDQL

 LQWURGXFHG KLPVHOI DV WKH ³3UHVLGHQW¶V ODZ\HU´ LQYRNLQJ WKH DXWKRULW\ RI DQG FRQYH\LQJ KLV

 DJUHHPHQW ZLWK WKH SODQV RI 'HIHQGDQW 7UXPS 'HIHQGDQW *LXOLDQL ZDV 'HIHQGDQW 7UXPS¶V

 SHUVRQDO DWWRUQH\ DQG FRXQVHO RI UHFRUG IRU 'HIHQGDQW 7UXPS LQ PXOWLSOH ODZVXLWV IROORZLQJ WKH

 1RYHPEHU HOHFWLRQ DQG KDV DW DOO WLPHV UHSUHVHQWHG 'HIHQGDQW 7UXPS RQO\ LQ 'HIHQGDQW

 7UXPS¶V SHUVRQDO FDSDFLW\

            $W  30 'HIHQGDQW 7UXPS H[SUHVVHG WKH YLHZ WKDW WKH LQVXUUHFWLRQ DWWHPSWHG

 E\ WKH ULRWLQJ FURZG GLVSDWFKHG E\ 7UXPS DQG *LXOLDQL DQG WKH DFFRPSDQ\LQJ YLROHQFH DW WKH

 &DSLWRO ZHUH MXVWLILHG DQG WR EH H[SHFWHG WZHHWLQJ ³7KHVH DUH WKH WKLQJV DQG HYHQWV WKDW KDSSHQ



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 ZKHQ D VDFUHG ODQGVOLGH HOHFWLRQ YLFWRU\ LV VR XQFHUHPRQLRXVO\       YLFLRXVO\ VWULSSHG DZD\ IURP

 JUHDW SDWULRWV ZKR KDYH EHHQ EDGO\      XQIDLUO\ WUHDWHG IRU VR ORQJ *R KRPH ZLWK ORYH      LQ

 SHDFH 5HPHPEHU WKLV GD\ IRUHYHU´ 'HIHQGDQW 7UXPS PDGH WKHVH VWDWHPHQWV QRWZLWKVWDQGLQJ

 WKDW QR VWDWH RU FRXUW FUHGLWHG WKH FODLPV RI IUDXG WKDW KH DQG WKRVH DFWLQJ RQ KLV EHKDOI KDG

 UDLVHG

              7KH ILQDO DQQRXQFHPHQW E\ 9LFH 3UHVLGHQW 0LNH 3HQFH RI WKH FRXQW RI WKH

 (OHFWRUDO &ROOHJH YRWHV ZKLFK SURYLGHG WKH LPSULPDWXU RI &RQJUHVV RQ WKH UHVXOWV RI WKH

 SUHVLGHQWLDO HOHFWLRQ KHOG LQ  GLG QRW RFFXU XQWLO  $0 WKH QH[W PRUQLQJ -DQXDU\ 

 

              )LYH SHRSOH GLHG GXULQJ WKH FRXUVH RI WKH ULRW RU IURP LQMXULHV VXVWDLQHG GXULQJ WKH

 ULRW

              )LJKWV EHWZHHQ ULRWHUV DQG RIILFHUV RI WKH &DSLWRO 3ROLFH UHVXOWHG LQ WKH

 KRVSLWDOL]DWLRQ RI PRUH WKDQ  RIILFHUV

              )DFHG ZLWK WKH WKUHDW RI FULPLQDO SURVHFXWLRQ PDQ\ RI WKH ULRWLQJ FURZG PHPEHUV

 MXVWLILHG WKHLU SUHVHQFH DQG WKHLU DFWLRQV DV RFFXUULQJ EHFDXVH 'HIHQGDQWV 7UXPS DQGRU *LXOLDQL

 LQVWUXFWHG WKHP WR SURFHHG LQ WKLV XQUXO\ DQG GLVUXSWLYH PDQQHU DQG WKDW WKHVH LQGLYLGXDOV ZHUH

 IROORZLQJ RUGHUV IURP WKHLU WKHQ3UHVLGHQW DQG KLV DWWRUQH\

              5DWKHU WKDQ UHFRJQL]LQJ WKH\ KDG SDUWLFLSDWHG LQ D YLROHQW LQVXUUHFWLRQ DJDLQVW WKH

 JRYHUQPHQW VRPH ULRWHUV ZHUH OHG WR EHOLHYH WKDW WKH\ ZHUH DXWKRUL]HG WR RYHUWDNH WKH &DSLWRO WR

 SUHYHQW WKH IUDXGXOHQW HOHFWLRQ RI WKHQIRUPHU 9LFH 3UHVLGHQW -RVHSK %LGHQ JLYHQ WKH IDFWXDOO\

 EDVHOHVV VWDWHPHQWV PDGH LQ WKH GD\V DQG ZHHNV EHIRUH E\ 'HIHQGDQWV 7UXPS DQG *LXOLDQL DQG

 WKH GLUHFWLRQV WR WKH DVVHPEOHG FURZG DW WKH 6DYH $PHULFD UDOO\




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            6RPH RI WKRVH ZKR IROORZHG 'HIHQGDQW 7UXPS¶V GLUHFWLRQV DQG VWRUPHG WKH

 &DSLWRO LQFOXGLQJ OHDGHUV RI WKH 3URXG %R\V KDYH VLQFH VWDWHG WKDW WKH\ EHOLHYHG WKHLU DFWLRQV

 ZHUH ODZIXO DV WKH\ ZHUH DFWLQJ DW WKH GLUHFWLRQ RI 'HIHQGDQW 7UXPS ZKRP WKH\ EHOLHYHG WR EH

 WKH FRXQWU\¶V FKLHI ODZ HQIRUFHPHQW RIILFHU

            0DQ\ IRUPHU PHPEHUV RI 'HIHQGDQW 7UXPS¶V DGPLQLVWUDWLRQ LQFOXGLQJ IRUPHU

 :KLWH +RXVH &KLHI RI 6WDII -RKQ .HOO\ IRUPHU :KLWH +RXVH &KLHI RI 6WDII 0LFN 0XOYDQH\

 IRUPHU 6HFUHWDU\ RI 'HIHQVH -LP 0DWWLV IRUPHU $WWRUQH\ *HQHUDO %LOO %DUU IRUPHU $PEDVVDGRU

 WR WKH 8QLWHG 1DWLRQV -RKQ %ROWRQ DQG IRUPHU 1DWLRQDO 6HFXULW\ $GYLVRU +5 0F0DVWHU KDYH

 VWDWHG WKDW 'HIHQGDQW 7UXPS ZDV GLUHFWO\ UHVSRQVLEOH IRU WKH LQVXUUHFWLRQ

 9,,, $ %LSDUWLVDQ *URXS RI 2IILFLDOV 5HFRJQL]H 'HIHQGDQW 7UXPS¶V &XOSDELOLW\ IRU WKH
       -DQXDU\  $VVDXOW RQ WKH &DSLWRO

            2Q -DQXDU\   DQ $UWLFOH RI ,PSHDFKPHQW ZDV SDVVHG E\ D ELSDUWLVDQ

 PDMRULW\ RI WKH +RXVH RI 5HSUHVHQWDWLYHV FLWLQJ 'HIHQGDQW 7UXPS IRU LQFLWLQJ WKH YLROHQFH

 SHUSHWUDWHG DW WKH &DSLWRO 7KH $UWLFOH RI ,PSHDFKPHQW SURYLGHV LQ SDUW

                2Q -DQXDU\   SXUVXDQW WR WKH WK $PHQGPHQW WR WKH
                &RQVWLWXWLRQ RI WKH 8QLWHG 6WDWHV WKH 9LFH 3UHVLGHQW RI WKH 8QLWHG
                6WDWHV WKH +RXVH RI 5HSUHVHQWDWLYHV DQG WKH 6HQDWH PHW DW WKH
                8QLWHG 6WDWHV &DSLWRO IRU D -RLQW 6HVVLRQ RI &RQJUHVV WR FRXQW WKH
                YRWHV RI WKH (OHFWRUDO &ROOHJH ,Q WKH PRQWKV SUHFHGLQJ WKH -RLQW
                6HVVLRQ 3UHVLGHQW 7UXPS UHSHDWHGO\ LVVXHG IDOVH VWDWHPHQWV
                DVVHUWLQJ WKDW WKH 3UHVLGHQWLDO HOHFWLRQ UHVXOWV ZHUH WKH SURGXFW RI
                ZLGHVSUHDG IUDXG DQG VKRXOG QRW EH DFFHSWHG E\ WKH $PHULFDQ
                SHRSOH RU FHUWLILHG E\ 6WDWH RU )HGHUDO RIILFLDOV 6KRUWO\ EHIRUH WKH
                -RLQW 6HVVLRQ FRPPHQFHG 3UHVLGHQW 7UXPS DGGUHVVHG D FURZG DW
                WKH (OOLSVH LQ :DVKLQJWRQ '& 7KHUH KH UHLWHUDWHG IDOVH FODLPV
                WKDW ³ZH ZRQ WKLV HOHFWLRQ DQG ZH ZRQ LW E\ D ODQGVOLGH´ +H DOVR
                ZLOOIXOO\ PDGH VWDWHPHQWV WKDW LQ FRQWH[W HQFRXUDJHG ² DQG
                IRUHVHHDEO\ UHVXOWHG LQ ² ODZOHVV DFWLRQ DW WKH &DSLWRO VXFK DV ³LI
                \RX GRQ¶W ILJKW OLNH KHOO \RX UH QRW JRLQJ WR KDYH D FRXQWU\
                DQ\PRUH´ 7KXV LQFLWHG E\ 3UHVLGHQW 7UXPS PHPEHUV RI WKH
                FURZG KH KDG DGGUHVVHG LQ DQ DWWHPSW WR DPRQJ RWKHU REMHFWLYHV
                LQWHUIHUH ZLWK WKH -RLQW 6HVVLRQ V VROHPQ FRQVWLWXWLRQDO GXW\ WR
                FHUWLI\ WKH UHVXOWV RI WKH  3UHVLGHQWLDO HOHFWLRQ XQODZIXOO\
                EUHDFKHG DQG YDQGDOL]HG WKH &DSLWRO LQMXUHG DQG NLOOHG ODZ
                                                 

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                HQIRUFHPHQW SHUVRQQHO PHQDFHG 0HPEHUV RI &RQJUHVV WKH 9LFH
                3UHVLGHQW DQG &RQJUHVVLRQDO SHUVRQQHO DQG HQJDJHG LQ RWKHU
                YLROHQW GHDGO\ GHVWUXFWLYH DQG VHGLWLRXV DFWV


            $W WKH FRQFOXVLRQ RI 3UHVLGHQW 7UXPS¶V LPSHDFKPHQW WULDO WKH 6HQDWH YRWHG WR

 DFTXLW 'HIHQGDQW 7UXPS ILQGLQJ 'HIHQGDQW 7UXPS QRW JXLOW\ RI LQFLWLQJ WKH GHDGO\ ULRW DW WKH

 &DSLWRO E\ D YRWH RI  WR 

            0LQXWHV DIWHU YRWLQJ WR DFTXLW 'HIHQGDQW 7UXPS KRZHYHU 6HQDWH 0LQRULW\

 /HDGHU 0LWFK 0F&RQQHOO JDYH D VSHHFK RQ WKH IORRU RI WKH 6HQDWH 6HQDWRU 0F&RQQHOO EHJDQ E\

 DFNQRZOHGJLQJ 'HIHQGDQW 7UXPS¶V FXOSDELOLW\ ³7KHUH LV QR TXHVWLRQ WKDW 3UHVLGHQW 7UXPS LV

 SUDFWLFDOO\ DQG PRUDOO\ UHVSRQVLEOH IRU SURYRNLQJ WKH HYHQWV RI WKDW GD\ 7KH SHRSOH ZKR

 VWRUPHG WKLV EXLOGLQJ EHOLHYHG WKH\ ZHUH DFWLQJ RQ WKH ZLVKHV DQG LQVWUXFWLRQV RI WKHLU SUHVLGHQW

 $QG WKHLU KDYLQJ WKDW EHOLHI ZDV D IRUHVHHDEOH FRQVHTXHQFH RI WKH JURZLQJ FUHVFHQGR RI IDOVH

 VWDWHPHQWV FRQVSLUDF\ WKHRULHV DQG UHFNOHVV K\SHUEROH ZKLFK WKH GHIHDWHG 3UHVLGHQW NHSW

 VKRXWLQJ LQWR WKH ODUJHVW PHJDSKRQH RQ SODQHW (DUWK´ +RZHYHU OLNH WKH RWKHU 6HQDWRUV ZKR

 YRWHG WR DFTXLW 'HIHQGDQW 7UXPS 6HQDWRU 0F&RQQHOO GLG QRW EHOLHYH WKDW WKH LPSHDFKPHQW

 SURFHVV ZDV FRQVWLWXWLRQDO 6HQDWRU 0F&RQQHOO ZHQW RQ WR VWDWH WKDW ³3UHVLGHQW 7UXPS LV VWLOO

 OLDEOH IRU HYHU\WKLQJ KH GLG ZKLOH KH ZDV LQ RIILFH DV DQ RUGLQDU\ FLWL]HQ XQOHVV WKH VWDWXWH RI

 OLPLWDWLRQV KDV UXQ VWLOO OLDEOH IRU HYHU\WKLQJ KH GLG ZKLOH LQ RIILFH GLGQ W JHW DZD\ ZLWK

 DQ\WKLQJ \HW ± \HW :H KDYH D FULPLQDO MXVWLFH V\VWHP LQ WKLV FRXQWU\ :H KDYH FLYLO OLWLJDWLRQ

 $QG IRUPHU SUHVLGHQWV DUH QRW LPPXQH IURP EHLQJ KHOG DFFRXQWDEOH E\ HLWKHU RQH´




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 ,;    3ODLQWLIIV :HUH ,QMXUHG E\ 'HIHQGDQWV¶ &RQGXFW

        D      7KH +RQRUDEOH %HQQLH 7KRPSVRQ

            :KHQ WKH DWWDFN RQ WKH &DSLWRO EHJDQ 3ODLQWLII 7KRPSVRQ ZDV VHDWHG LQ *DOOHU\

 & RI WKH +RXVH RI 5HSUHVHQWDWLYHV SUHSDUHG WR GLVFKDUJH KLV GXWLHV WR VXSHUYLVH DQG HYHQWXDOO\

 YRWH RQ DSSURYDO RI WKH FRXQW RI WKH (OHFWRUDO &ROOHJH EDOORWV

            3ODLQWLII 7KRPSVRQ ZDV SUHVHQW ZKHQ WKH SURFHHGLQJ EHJDQ DW  30 DV

 UHTXLUHG E\ WKH (OHFWRUDO &RXQW $FW RI 

            %HWZHHQ DSSUR[LPDWHO\  DQG  30 VRRQ DIWHU ULRWHUV KDG EUHDFKHG WKH

 &DSLWRO %XLOGLQJ WKH +RXVH ZDV FDOOHG LQWR UHFHVV

            3ODLQWLII 7KRPSVRQ KHDUG ULRWHUV SRXQGLQJ RQ WKH GRRU RI WKH +RXVH &KDPEHU DQG

 VDZ VHFXULW\ JXDUGV PRYH IXUQLWXUH WR EORFNDGH WKH GRRU +H WKHQ KHDUG WKH ULRWHUV WU\LQJ WR

 EUHDN LQWR WKH &KDPEHU UHIHU WR 6SHDNHU 3HORVL DV D ³ELWFK´ VD\LQJ WKH\ ZDQWHG WR JHW WKHLU

 KDQGV RQ KHU DQG UHIHU WR 9LFH 3UHVLGHQW 3HQFH DV KDYLQJ EHWUD\HG 3UHVLGHQW 7UXPS

            3ODLQWLII 7KRPSVRQ ZLWQHVVHG VHFXULW\ SHUVRQQHO GUDZ WKHLU ILUHDUPV WR SURWHFW

 3ODLQWLII 7KRPSVRQ DQG RWKHU PHPEHUV RI &RQJUHVV ZKR ZHUH WKHUH WR SHUIRUP WKHLU OHJDOO\

 UHTXLUHG GXWLHV IURP WKH YLROHQW ULRWHUV ZKR ZHUH DWWHPSWLQJ WR GLVUXSW DQG XOWLPDWHO\ GLG

 GLVUXSW WKLV LPSRUWDQW IXQFWLRQ RI &RQJUHVV

            7KURXJK WKH EORFNHG GRRUV 3ODLQWLII 7KRPSVRQ KHDUG WKUHDWV RI SK\VLFDO YLROHQFH

 DJDLQVW DQ\ PHPEHU ZKR DWWHPSWHG WR SURFHHG WR DSSURYH WKH (OHFWRUDO &ROOHJH EDOORW FRXQW

            3ODLQWLII 7KRPSVRQ KHDUG D JXQVKRW WKH VRXUFH RI ZKLFK DW WKH WLPH ZDV

 XQNQRZQ WR KLP DOWKRXJK KH ODWHU OHDUQHG WKDW LW KDG NLOOHG RQH RI WKH ULRWHUV ZKR KDG IRUFHG KHU

 ZD\ LQWR WKH &DSLWRO OREE\




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            &DSLWRO VHFXULW\ LQVWUXFWHG 3ODLQWLII 7KRPSVRQ DQG WKH RWKHU ODZPDNHUV WR OLH RQ

 WKH IORRU GRQ JDV PDVNV WKDW ZHUH VWRUHG XQGHU VHDWV LQ WKH JDOOHU\ DQG WR PRYH WR WKH RWKHU VLGH

 RI WKH JDOOHU\ $IWHU DQ H[WHQGHG SHULRG RI WLPH KDG HODSVHG GXULQJ ZKLFK 3ODLQWLII 7KRPSVRQ

 DQG KLV FROOHDJXHV ZHUH XQDEOH WR PRYH RU OHDYH WKH JDOOHU\ EHFDXVH WKH ULRWHUV SRVHG D

 FRQWLQXLQJ WKUHDW WR WKHLU VDIHW\ &DSLWRO VHFXULW\ OHG 3ODLQWLII 7KRPSVRQ DQG WKH RWKHU ODZPDNHUV

 WKURXJK D WXQQHO RXW RI WKH &DSLWRO WR WKH /RQJZRUWK +RXVH 2IILFH %XLOGLQJ ³/RQJZRUWK´ 

 ZKHUH WKH\ ZHUH GLUHFWHG WR VKHOWHU LQ D URRP ZLWK  RWKHU ODZPDNHUV VWDII PHPEHUV DQG

 IDPLO\ PHPEHUV

            'XULQJ WKLV SHULRG 3ODLQWLII 7KRPSVRQ UHFHLYHG WHOHSKRQH FDOOV IURP KLV ZLIH

 ZKR UHSRUWHG ZKDW VKH VDZ RQ WKH WHOHYLVHG UHSRUWV RI YLROHQFH DW WKH &DSLWRO 3ODLQWLII

 7KRPSVRQ XOWLPDWHO\ PRYHG WR D GLIIHUHQW URRP LQ /RQJZRUWK DQG DW DERXW  30 ZDV PRYHG

 WR D VHFXUH ORFDWLRQ LQ WKH &DSLWRO

            3ODLQWLII 7KRPSVRQ SHUVRQDOO\ ZLWQHVVHG ULRWHUV ZKR KDG JRWWHQ IDU LQWR WKH

 EXLOGLQJ DQG ZHUH O\LQJ IDFH GRZQ RQ WKH IORRU DQG UHVWUDLQHG DIWHU EHLQJ DUUHVWHG E\ VHFXULW\

            $OO WKHVH HYHQWV WRRN SODFH GXULQJ D ZRUOGZLGH &29,' SDQGHPLF 3ODLQWLII

 7KRPSVRQ ZDV  \HDUV ROG DW WKH WLPH DQG WKHUHIRUH ZLWKLQ WKH DJH JURXS IRU ZKLFK WKH YLUXV

 SRVHG WKH JUHDWHVW ULVN WR KLV KHDOWK

            %\ EHLQJ UHTXLUHG WR VKHOWHU LQ SODFH 3ODLQWLII 7KRPSVRQ DQG RWKHU PHPEHUV RI

 &RQJUHVV ZHUH IRUFHG WR RFFXS\ VSDFH WKDW GLG QRW DOORZ IRU WKH VRFLDO GLVWDQFLQJ PHDVXUHV WKDW

 PLQLPL]HG WKH ULVN RI WUDQVPLVVLRQ RI WKH YLUXV

            6KRUWO\ DIWHU WKH VLHJH RQ WKH &DSLWRO HQGHG DW OHDVW WZR RWKHU PHPEHUV RI

 &RQJUHVV ZKR VKDUHG WKH FRQILQHG VSDFH ZLWK 3ODLQWLII 7KRPSVRQ WHVWHG SRVLWLYH IRU &29,'




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              8QWLO WKH SURFHHGLQJV ZLWK WKH FRXQW RI WKH (OHFWRUDO &ROOHJH EDOORWV UHVXPHG DW

 DSSUR[LPDWHO\  30 3ODLQWLII 7KRPSVRQ DQG RWKHU PHPEHUV ZHUH EDUUHG IURP OHDYLQJ WKH

 &DSLWRO %XLOGLQJ EHFDXVH WKHLU VDIHW\ UHPDLQHG DW ULVN IURP ULRWLQJ FURZG PHPEHUV ZKR ZHUH

 VWLOO SUHVHQW

              'XULQJ WKLV HQWLUH WLPH 3ODLQWLII 7KRPSVRQ UHDVRQDEO\ IHDUHG IRU KLV SK\VLFDO

 VDIHW\ :KLOH WUDSSHG LQ WKH EXLOGLQJ GXULQJ WKH VLHJH E\ WKH ULRWHUV WKDW 'HIHQGDQWV XQOHDVKHG

 RQ WKH &DSLWRO 3ODLQWLII 7KRPSVRQ IHDUHG IRU KLV OLIH DQG ZRUULHG WKDW KH PLJKW QHYHU VHH KLV

 IDPLO\ DJDLQ

         E       7KH +RQRUDEOH .DUHQ %DVV

              5HS %DVV ZDV SUHVHQW ZKHQ WKH SURFHHGLQJV EHJDQ DW  30 DV UHTXLUHG E\ WKH

 (OHFWRUDO &RXQW $FW RI 

               6KRUWO\ EHIRUH WKH DWWDFN RQ WKH &DSLWRO EHJDQ 5HS %DVV OHIW WKH *DOOHU\ WR ZDON

 WR KHU RIILFH LQ WKH 5D\EXUQ +RXVH 2IILFH %XLOGLQJ ³5D\EXUQ´  ZKHUH VKH ZDV WR FRQGXFW D

 YLGHR FRQIHUHQFH FDOO $V VKH ZDONHG VKH VDZ WKH FURZG RI 'HIHQGDQW 7UXPS¶V VXSSRUWHUV

 WKURXJK WKH ZLQGRZ

              8SRQ ZDONLQJ LQWR KHU RIILFH 5HS %DVV OHDUQHG WKDW WKH &DSLWRO KDG EHHQ

 EUHDFKHG +DG VKH ZDONHG VORZHU RU EHHQ GHOD\HG HYHQ E\ D IHZ PLQXWHV VKH ZRXOG KDYH EHHQ

 VXEMHFW WR DWWDFN ZKHQ WKH ULRWHUV EUHDFKHG WKH EXLOGLQJ

              5HS %DVV ZDV GLUHFWHG E\ WKH &DSLWRO 3ROLFH WR VKHOWHU LQ SODFH LQ KHU RIILFH

 5HS %DVV SRVWHG D YLGHR RQ VRFLDO PHGLD ZKLOH LQ KHU RIILFH +HU FRQFHUQ IRU KHU VDIHW\ JUHZ

 ZKHQ DQ RIILFHU GLUHFWHG KHU WR WDNH GRZQ WKH SRVW DV WKH YLGHR UHYHDOHG KHU ORFDWLRQ DQG FRXOG

 H[SRVH KHU WR KDUP IURP WKH ULRWHUV




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             )HDULQJ IRU KHU VDIHW\ 5HS %DVV UHPDLQHG LQ KHU RIILFH XQWLO WKH LQVXUUHFWLRQ ZDV

 TXHOOHG DQG VKH FRQILUPHG LW ZDV VDIH WR OHDYH

             $W DERXW  30 5HS %DVV UHWXUQHG WR WKH &DSLWRO WR GLVFKDUJH KHU GXW\ WR

 REVHUYH DQG XOWLPDWHO\ DSSURYH WKH FRXQW RI WKH (OHFWRUDO &ROOHJH EDOORWV DQG UDWLI\ WKH UHVXOWV RI

 WKH  SUHVLGHQWLDO HOHFWLRQ 6KH UHPDLQHG LQ WKH &DSLWRO XQWLO WKH HDUO\ PRUQLQJ RI -DQXDU\ 

 LQ RUGHU WR SHUIRUP WKRVH GXWLHV

             7KH ULRW KDV VKDNHQ 5HS %DVV¶V IDLWK LQ WKH VHFXULW\ RI WKH &DSLWRO )RU GD\V DIWHU

 WKH ULRW VKH ZDV WURXEOHG E\ WKH UHDOL]DWLRQ WKDW VKH FRXOG KDYH EHHQ VHULRXVO\ KDUPHG RU NLOOHG

 E\ WKH ULRWHUV DW WKH &DSLWRO

         F      7KH +RQRUDEOH 6WHSKHQ &RKHQ

             :KHQ WKH DWWDFN RQ WKH &DSLWRO EHJDQ 5HS &RKHQ ZDV VHDWHG LQ WKH *DOOHU\ RI

 WKH +RXVH RI 5HSUHVHQWDWLYHV SUHSDUHG WR GLVFKDUJH KLV FRQVWLWXWLRQDO GXWLHV RI WDOO\LQJ WKH

 EDOORWV RI WKH (OHFWRUDO &ROOHJH DQG FHUWLI\LQJ WKH UHVXOWV RI WKH  SUHVLGHQWLDO HOHFWLRQ

             5HS &RKHQ ZDV SUHVHQW ZKHQ WKH SURFHHGLQJV EHJDQ DW  30 DV UHTXLUHG E\

 WKH (OHFWRUDO &RXQW $FW RI 

             6KRUWO\ DIWHU WKH SURFHHGLQJV EHJDQ 5HS &RKHQ KHDUG ORXG VKRXWV DQG DJJUHVVLYH

 EDQJLQJ RQ WKH GRRUV IURP RXWVLGH WKH *DOOHU\ 7KH RIILFHUV ZLWKLQ WKH URRP JDYH LQVWUXFWLRQV WR

 WKH PHPEHUV WR UHWULHYH DQG EH SUHSDUHG WR GRQ JDV PDVNV VWRUHG EHORZ WKHLU VHDWV $V KH KHDUG

 WKHVH WKUHDWHQLQJ QRLVHV JURZ ORXGHU DQG PRUH LQVLVWHQW 5HS &RKHQ EHFDPH LQFUHDVLQJO\ IHDUIXO

 WKDW KLV SHUVRQDO VDIHW\ ZDV LQ MHRSDUG\ $QWLFLSDWLQJ WKDW KH PLJKW QRW HPHUJH IURP WKH +RXVH

 *DOOHU\ DOLYH KH EHJDQ WR FRQWHPSODWH ZKHWKHU KH ZRXOG ZDQW WR EH EXULHG ZLWK KLV IDPLO\ LQ

 0HPSKLV RU DW WKH &RQJUHVVLRQDO &HPHWHU\




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            :KHQ WKH &DSLWRO 3ROLFH GLUHFWHG PHPEHUV VLWWLQJ LQ WKH +RXVH *DOOHU\ WR

 HYDFXDWH WKH\ ZHUH GLUHFWHG WR WUDYHUVH WKH *DOOHU\ WR DUULYH DW WKH H[LW 7KLV HYDFXDWLRQ

 UHTXLUHG 5HS &RKHQ WR ZDON WKH OHQJWK RI WKH *DOOHU\ QDYLJDWLQJ QDUURZ SDWKV EHWZHHQ FORVHO\

 SRVLWLRQHG URZV RI VHDWV DQG VXUPRXQWLQJ PXOWLSOH DLVOH UDLOLQJV $V 5HS &RKHQ KDG FRQWUDFWHG

 SROLR DV D FKLOG WKDW OHIW KLP ZLWK D OLPS WKH QHHG WR H[LW WKH +RXVH *DOOHU\ UDSLGO\ LPSDLUHG KLV

 EDODQFH FDXVLQJ KLP WR IHDU WKDW KH ZRXOG IDOO

            )ROORZLQJ HYDFXDWLRQ IURP WKH *DOOHU\ 5HS &RKHQ ZDONHG RXW LQWR D SXEOLF KDOO

 ZKHUH DQ RIILFHU FDOOHG IRU DQ HOHYDWRU 5HS &RKHQ WRRN WKH HOHYDWRU WR WKH VXEEDVHPHQW )URP

 WKHUH KH ZHQW WR KLV RIILFH LQ 5D\EXUQ 2QFH LQVLGH KLV RIILFH KH ORFNHG WKH WZR GRRUV WXUQHG

 RII WKH OLJKWV VR QR RQH ZRXOG NQRZ KH ZDV WKHUH DQG JUDEEHG D EDVHEDOO EDW IRU SURWHFWLRQ +H

 VDW LQ KLV FKDLU ZLWK WKH EDW LQ KLV KDQGV RU O\LQJ QH[W WR KLP IRU WZR WR WKUHH KRXUV

            )ROORZLQJ WKH LQFLGHQWV GHVFULEHG DERYH 5HS &RKHQ GHYHORSHG GLIILFXOWLHV

 IDOOLQJ DQG VWD\LQJ DVOHHS WKDW KH KDG QRW SUHYLRXVO\ VXIIHUHG DQG GLIILFXOWLHV ZLWK KLV GLJHVWLRQ

 WKDW KH KDG QRW VXIIHUHG EHIRUH +H EHFDPH MXPS\ ZKHQHYHU KH KHDUG D ORXG RU XQIDPLOLDU QRLVH

 LQ KLV KRPH +H DOVR KDG UHFXUULQJ IHDUV WKDW KH ZDV QRW DV VDIH DV KH KDG SUHYLRXVO\ EHOLHYHG

 UHQHZLQJ KLV WKRXJKWV DERXW WKH FKRLFH RI SODFHV ZKHUH KH ZRXOG EH EXULHG

        G      7KH +RQRUDEOH 9HURQLFD (VFREDU

            :KHQ WKH DWWDFN RQ WKH &DSLWRO EHJDQ 5HS (VFREDU ZDV VHDWHG LQ WKH IURQW URZ

 RI WKH *DOOHU\ RI WKH +RXVH RI 5HSUHVHQWDWLYHV SUHSDUHG WR GLVFKDUJH KHU FRQVWLWXWLRQDO GXWLHV RI

 WDOO\LQJ WKH EDOORWV RI WKH (OHFWRUDO &ROOHJH DQG FHUWLI\LQJ WKH UHVXOWV RI WKH  SUHVLGHQWLDO

 HOHFWLRQ

            5HS (VFREDU ZDV SUHVHQW ZKHQ WKH SURFHHGLQJV EHJDQ DW  30 DV UHTXLUHG E\

 WKH (OHFWRUDO &RXQW $FW RI 



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            6KRUWO\ DIWHU WKH SURFHHGLQJV EHJDQ 5HS (VFREDU OHDUQHG WKDW WKH &DQQRQ +RXVH

 2IILFH %XLOGLQJ ³&DQQRQ´ ZDV EHLQJ HYDFXDWHG DQG WKHQ VDZ WKH 6SHDNHU RI WKH +RXVH

 HVFRUWHG IURP WKH +RXVH IORRU :KLOH VKH KDG UHFHLYHG QR IRUPDO QRWLFH WKDW ULRWHUV KDG HQWHUHG

 WKH &DSLWRO LQTXLULHV DERXW KHU VDIHW\ IURP IDPLO\ PHPEHU WH[W PHVVDJHV DQG UHSRUWV RQ VRFLDO

 PHGLD OHIW KHU IHHOLQJ WKDW WKH &DSLWRO ZDV XQGHU DWWDFN 1RQHWKHOHVV VKH H[SHFWHG WKH ODZ

 HQIRUFHPHQW RIILFHUV SUHVHQW ZRXOG DEO\ SURWHFW WKH &DSLWRO DQG WKH PHPEHUV SUHVHQW ZLWKLQ LW

            5HS (VFREDU JUHZ PRUH IHDUIXO IRU KHU VDIHW\ ZKHQ VKH VDZ ODZ HQIRUFHPHQW

 RIILFHUV HVFRUW WKH 6SHDNHU RI WKH +RXVH DQG RWKHU OHDGHUVKLS RII WKH +RXVH IORRU +HU IHDUV

 LQFUHDVHG ZKHQ WKH GRRUV RI WKH +RXVH &KDPEHU ZHUH VKXW DQG D &DSLWRO 3ROLFH RIILFHU LQVWUXFWHG

 KHU DQG WKH RWKHU PHPEHUV SUHVHQW WR UHWULHYH WKH JDV PDVNV IURP XQGHU WKHLU FKDLUV 6KH JUHZ

 PRUH DODUPHG WKDW KHU VDIHW\ PLJKW EH MHRSDUGL]HG ZKHQ VKH EHJDQ KHDULQJ VKRXWV DQG EDQJLQJ

 IURP SHRSOH RXWVLGH WKH +RXVH *DOOHU\ +HU KHDUW EHJDQ UDFLQJ DV VKH UHDOL]HG VKH PLJKW EH

 WUDSSHG LQ WKH +RXVH *DOOHU\ XQDEOH WR SURWHFW KHUVHOI IURP ZKDW VRXQGHG OLNH DQ DQJU\ PRE

 +HU IHDUV ZHUH KHLJKWHQHG HYHQ IXUWKHU ZKHQ WKH &DSLWRO 3ROLFH LQIRUPHG KHU WKDW WHDU JDV KDG

 EHHQ UHOHDVHG LQ 6WDWXDU\ +DOO DQG VKH UHDOL]HG VKH GLG QRW NQRZ KRZ WR SURSHUO\ ZHDU WKH JDV

 PDVN SURYLGHG KHU

            (YHQWXDOO\ 5HS (VFREDU ZDV LQVWUXFWHG WR HYDFXDWH WKH +RXVH *DOOHU\ ZKLFK

 UHTXLUHG KHU WR ZDON WR WKH RWKHU VLGH RI WKH *DOOHU\ 6KH KDG WR WUDYHUVH QDUURZ SDWKV EHWZHHQ

 WKH URZV RI VHDWV DQG FURXFK XQGHU D QXPEHU RI UDLOLQJV WKDW VHSDUDWH WKH VHFWLRQV RI WKH *DOOHU\

 :KHQ VKH UHDFKHG WKH RWKHU VLGH RI WKH *DOOHU\ VKH VDZ WKDW GRRUV WR WKH +RXVH &KDPEHU KDG

 EHHQ EDUULFDGHG ZLWK IXUQLWXUH DQG ZDV VWDUWOHG E\ WKH VRXQGV RI VKDWWHULQJ JODVV 6KH IHDUHG

 ULRWHUV ZRXOG UHDFK DQRWKHU GRRU WR WKH +RXVH &KDPEHU WKDW VKH VDZ ZDV QHLWKHU EDUULFDGHG QRU

 JXDUGHG E\ WKH &DSLWRO 3ROLFH



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            'XULQJ WKH WLPH UHTXLUHG IRU 5HS (VFREDU WR FURVV WKH HQWLUH *DOOHU\ VKH KHDUG

 VKDUS QRLVHV DQG EDQJLQJ SURPSWLQJ KHU RQ VHYHUDO RFFDVLRQV WR WDNH FRYHU EHKLQG WKH ZDOO LQ

 WKH IURQW RI WKH *DOOHU\ :KHQ 5HS (VFREDU DQG RWKHU PHPEHUV ZLWK KHU ILQDOO\ UHDFKHG WKH

 RWKHU VLGH RI WKH *DOOHU\ WKH\ ZHUH LQVWUXFWHG WR OLH GRZQ RQ WKH IORRU RI WKH *DOOHU\ 6KH IHOW

 WKHLU VDIHW\ ZDV LQ JUHDW MHRSDUG\ ZKHQ VKH VDZ SROLFH RIILFHUV VWDQGLQJ EHKLQG D GRRU EDUULFDGHG

 ZLWK IXUQLWXUH ZLWK WKHLU ILUHDUPV GUDZQ WRZDUGV WKH GRRU 7KH JODVV LQ WKH ZLQGRZV ZDV EURNHQ

 DQG VKH FRXOG VHH IDFHV RI ULRWHUV RQ WKH RWKHU VLGH RI WKH RIILFHUV

            $IWHU KHDULQJ WKH ULRWHUV VKRXWLQJ RXWVLGH WKH +RXVH &KDPEHU DQG EDQJLQJ RQ WKH

 &KDPEHU GRRUV SXQFWXDWHG E\ D ORXG JXQVKRW 5HS (VFREDU IHDUHG WKDW DQ RIILFHU KDG EHHQ VKRW

 DQG WKDW WKH PRE KDG HQWHUHG WKH 6SHDNHU¶V /REE\ ORFDWHG DGMDFHQW WR WKH +RXVH &KDPEHU

 SXWWLQJ KHU OLIH LQ LPPLQHQW GDQJHU +RSLQJ WKDW D QHDUE\ &DSLWRO 3ROLFH RIILFHU ZKR ZDV

 JXDUGLQJ D GRRU WR WKH +RXVH *DOOHU\ ZRXOG EH KHU ODVW OLQH RI GHIHQVH VKH SOHDGHG ZLWK KLP QRW

 WR DGPLW DQ\RQH ZKRVH LGHQWLW\ ZDV QRW FRQILUPHG

            :KHQ 5HS (VFREDU ZDV ILQDOO\ HYDFXDWHG IURP WKH *DOOHU\ VKH VDZ VHYHUDO

 LQWUXGHUV ZKR KDG EHHQ DSSUHKHQGHG O\LQJ IDFH GRZQ RQ WKH IORRU (YHQWXDOO\ VKH UHDFKHG WKH

 VXEEDVHPHQW RI WKH +RXVH &KDPEHU DQG IRXQG KHU ZD\ WR D ODUJH URRP LQ /RQJZRUWK ZKHUH VKH

 DQG RWKHU PHPEHUV ZHUH GLUHFWHG WR UHPDLQ $V WKHUH ZDV LQVXIILFLHQW VSDFH LQ WKH KHDULQJ URRP

 IRU PHPEHUV WR PDLQWDLQ WKH VRFLDO GLVWDQFH SUHVFULEHG E\ WKH &'& DQG PDQ\ PHPEHUV ZHUH

 XQZLOOLQJ WR ZHDU PDVNV VKH EHFDPH ZRUULHG WKDW VKH ZDV EHLQJ H[SRVHG WR D KHLJKWHQHG ULVN RI

 FRQWUDFWLQJ &29,' 6KH ZDLWHG LQ WKH DQWHURRP ZLWK VHYHUDO RWKHU PHPEHUV $W WKH

 GLUHFWLRQ RI WKH &DSLWRO 3ROLFH VKH VKHOWHUHG LQ WKLV URRP IRU VHYHUDO KRXUV EHIRUH VKH ZDV DEOH WR

 UHWXUQ WR KHU RIILFH ZKHUH VKH UHPDLQHG XQWLO VKH UHWXUQHG WR WKH +RXVH &KDPEHU ZKHQ WKH

 SURFHHGLQJV UHVXPHG 6KH UHPDLQHG LQ WKH +RXVH XQWLO DERXW  $0



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            :KHQ 5HS (VFREDU KDG UHWXUQHG WR WKH +RXVH DIWHU OHDYLQJ /RQJZRUWK VKH VDZ

 WKH IORRU OLWWHUHG ZLWK EURNHQ JODVV DQG RWKHU GHEULV UHPLQLVFHQW RI D FULPH VFHQH

            5HS (VFREDU VWUXJJOHG WR IDOO DVOHHS WKDW QLJKW DQG KDV KDG GLIILFXOW\ DV QHYHU

 EHIRUH VOHHSLQJ LQ WKH ZHHNV IROORZLQJ -DQXDU\   6KH VXIIHUHG IURP YLROHQW QLJKWPDUHV

 DQG KDV VLQFH WDONHG ZLWK PHQWDO KHDOWK SURIHVVLRQDOV DV D GLUHFW UHVXOW RI WKHVH HYHQWV

        H      7KH +RQRUDEOH 3UDPLOD -D\DSDO

            :KHQ WKH DWWDFN RQ WKH &DSLWRO EHJDQ 5HS -D\DSDO ZDV VHDWHG LQ WKH *DOOHU\ RI

 WKH +RXVH RI 5HSUHVHQWDWLYHV SUHSDUHG WR GLVFKDUJH KHU FRQVWLWXWLRQDO GXWLHV RI WDOO\LQJ WKH

 EDOORWV RI WKH (OHFWRUDO &ROOHJH DQG FHUWLI\LQJ WKH UHVXOWV RI WKH  SUHVLGHQWLDO HOHFWLRQ

            5HS -D\DSDO ZDV SUHVHQW ZKHQ WKH SURFHHGLQJV EHJDQ DW  30 DV UHTXLUHG E\

 WKH (OHFWRUDO &RXQW $FW RI 

            6KRUWO\ DIWHU WKH SURFHHGLQJV EHJDQ VKH UHFHLYHG DQ HPDLO QRWLILFDWLRQ IURP WKH

 &DSLWRO 3ROLFH UHSRUWLQJ WKH HYDFXDWLRQ RI &DQQRQ

            6RRQ WKHUHDIWHU 5HS -D\DSDO VHQW D WH[W PHVVDJH VWDWLQJ ³3ROLFH KDYH EHHQ

 EUHDFKHG &KDRV LV JRLQJ WR EUHDN RXW DQG YLROHQFH WRR´ %HOLHYLQJ WKDW WKH &KDPEHU RI WKH

 +RXVH RI 5HSUHVHQWDWLYHV ZDV WKH PRVW VHFXUH SODFH VKH FRXOG EH DQG KDYLQJ UHFHLYHG QR

 GLUHFWLRQ RWKHUZLVH 5HS -D\DSDO UHPDLQHG LQ WKH +RXVH *DOOHU\ FRQILGHQW WKDW WKH &DSLWRO

 3ROLFH ZHUH DEOH WR SURWHFW KHU

            $W DERXW WKLV WLPH 5HS -D\DSDO VDZ RQ VRFLDO PHGLD WR ZKLFK VKH KDG DFFHVV WKDW

 ULRWHUV EUHDFKHG WKH &DSLWRO DQG VKH EHJDQ KHDULQJ VKRXWV VFUHDPV DQG RWKHU ORXG QRLVHV RXWVLGH

 WKH +RXVH *DOOHU\ $QRWKHU 0HPEHU RI &RQJUHVV VKRZHG KHU D SKRWR RI D ULRWHU ZKR ZDV LQVLGH

 WKH 6HQDWH &KDPEHU KROGLQJ IOH[ FXII UHVWUDLQWV




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            $ OLWWOH ZKLOH ODWHU 5HS -D\DSDO VDZ WKH 6SHDNHU RI WKH +RXVH RWKHU +RXVH

 OHDGHUVKLS DQG WKH PHPEHUV RQ WKH +RXVH IORRU HYDFXDWH FDXVLQJ KHU WR EHJLQ TXHVWLRQLQJ KHU

 VDIHW\ LQ WKH +RXVH *DOOHU\

            7KHQ 5HS -D\DSDO VDZ WKH &DSLWRO 3ROLFH EDUULFDGLQJ WKH GRRUV RI WKH +RXVH

 &KDPEHU KHLJKWHQLQJ KHU FRQFHUQV DERXW KHU VDIHW\ LQ WKH +RXVH *DOOHU\

            6RRQ WKHUHDIWHU WKH &DSLWRO 3ROLFH LQVWUXFWHG 5HS -D\DSDO DQG RWKHUV LQ WKH

 +RXVH *DOOHU\ WR UHWULHYH IURP XQGHU WKHLU VHDWV DQG SXW RQ JDV PDVNV ZKLFK VKH KDG QHYHU

 EHHQ WUDLQHG WR XVH

            7KHQ WKH &DSLWRO 3ROLFH LQVWUXFWHG 5HS -D\DSDO DQG RWKHU PHPEHUV VHDWHG LQ WKH

 +RXVH *DOOHU\ WKDW WKH\ QHHGHG WR PRYH WR WKH RWKHU HQG RI WKH *DOOHU\ WKRXJK WKH\ ZHUH QRW

 WROG ZK\ 7R UHDFK WKH RWKHU VLGH RI WKH *DOOHU\ 5HS -D\DSDO ZDV UHTXLUHG WR FURXFK GRZQ DQG

 ZDON XQGHU PXOWLSOH UDLOLQJV WR WUDYHO WKURXJK WKH YDULRXV VHFWLRQV RI WKH *DOOHU\ $V VKH ZDV

 UHFRYHULQJ IURP VXUJHU\ IRU WKH UHSODFHPHQW RI KHU NQHH WKDW UHTXLUHG KHU WR PRYH VORZO\ DQG

 XVH D FDQH WUDYHUVLQJ WKH *DOOHU\ ZDV YHU\ GLIILFXOW DQG SDLQIXO HVSHFLDOO\ ZKHQ VKH KDG WR

 FURXFK XQGHU WKH UDLOLQJV

            2QFH VKH UHDFKHG WKH RWKHU VLGH RI WKH *DOOHU\ 5HS -D\DSDO DQG WKH PHPEHUV

 ZKR ZHUH LQ WKH *DOOHU\ ZLWK KHU ZHUH LQVWUXFWHG WR JHW GRZQ RQ WKH IORRU 7KLV ZDV H[WUHPHO\

 GLIILFXOW IRU 5HS -D\DSDO EHFDXVH RI KHU UHFHQW VXUJHU\ 2QFH 5HS -D\DSDO ZDV RQ WKH IORRU VKH

 ORRNHG GRZQ RQ WKH PDLQ IORRU RI WKH &KDPEHU DQG VDZ WKH GRRUV WR WKH PDLQ IORRU KDG EHHQ

 EDUULFDGHG DQG ODZ HQIRUFHPHQW ZDV SRVLWLRQHG LQ D VHPLFLUFOH DURXQG WKH GRRUV ZLWK JXQV

 GUDZQ 6KH DOVR KHDUG ULRWHUV EDQJLQJ RQ WKH GRRUV RI WKH *DOOHU\ DQG VDZ &DSLWRO 3ROLFH

 RIILFHUV XVLQJ WKHLU ERGLHV WR KROG WKRVH GRRUV FORVHG +HU IHDU IRU KHU VDIHW\ VSLNHG ZKHQ VKH

 KHDUG D JXQVKRW EHOLHYLQJ LW ZDV D VKRW LQWR WKH +RXVH &KDPEHU



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             5HS -D\DSDO¶V IHDU IRU KHU VDIHW\ LQFUHDVHG ZKHQ VKH QRWLFHG LW ZDVQ¶W SRVVLEOH WR

 EDUULFDGH WKH GRRUV WR WKH +RXVH *DOOHU\ DV WKH IXUQLWXUH ZDV EROWHG WR WKH IORRU $V KHU YHU\

 OLPLWHG PRELOLW\ SUHFOXGHG KHU IURP PRYLQJ TXLFNO\ DQG VKH IHDUHG ZRXOG UHQGHU LW LPSRVVLEOH

 IRU KHU WR UDSLGO\ HVFDSH DQ\ SK\VLFDO WKUHDWV VKH FRQVLGHUHG DV D ODVW UHVRUW XVLQJ KHU FDQH DQG

 JDV PDVN WR GHIHQG KHUVHOI IURP DWWDFNV E\ ULRWHUV LQ WKH HYHQW WKH\ HQWHUHG WKH *DOOHU\ $V VKH

 KHDUG VRPH PHPEHUV DURXQG KHU EHJLQ SUD\LQJ 5HS -D\DSDO ZDV VWUXFN E\ WKH UHDOL]DWLRQ WKDW

 VKH PLJKW ORVH KHU OLIH RU VXIIHU VHYHUH LQMXU\ LQ WKH *DOOHU\

             (YHQWXDOO\ &DSLWRO 3ROLFH RIILFHUV SHUPLWWHG 5HS -D\DSDO WR H[LW WKH *DOOHU\

 ZKLFK UHTXLUHG KHU WR SDVV E\ D JURXS RI ULRWHUV SURQH RQ WKH IORRU ZKRVH FRQGXFW ZDV VR YLROHQW

 WKDW WKH ODZ HQIRUFHPHQW RIILFHUV KDG WR VHFXUH WKHP ZLWK GUDZQ ILUHDUPV

             7KH H[LW IURP WKH *DOOHU\ UHTXLUHG 5HS -D\DSDO WR GHVFHQG VHYHUDO WLHUV RI VWDLUV

 YHU\ VORZO\ OHDQLQJ RQ DQRWKHU 0HPEHU RI &RQJUHVV IRU VXSSRUW 7KH SDLQ LQ KHU NQHH ZDV

 H[FUXFLDWLQJ

             (YHQWXDOO\ VKH GHVFHQGHG WR WKH VXEEDVHPHQW OHYHO $V WKH FRQJUHVVLRQDO WUDLQV

 ZHUH QRW UXQQLQJ WKDW GD\ 5HS -D\DSDO OLPSHG WKURXJK WKH WXQQHO WR /RQJZRUWK ZKHUH VKH KDG

 LQLWLDOO\ EHHQ GLUHFWHG WR VKHOWHU 2Q KHU ZD\ WR /RQJZRUWK VKH JRW RQ WKH HVFDODWRUV WR

 5D\EXUQ $W WKDW SRLQW D &DSLWRO 3ROLFH RIILFHU LQVWUXFWHG 5HS -D\DSDO DQG WKH VPDOO JURXS RI

 RWKHU PHPEHUV ZLWK KHU WR LQVWHDG JR WR D ODUJH URRP LQ 5D\EXUQ

             )LQDOO\ 5HS -D\DSDO DUULYHG DW WKH URRP LQ 5D\EXUQ H[KDXVWHG DQG GUDLQHG E\

 WKH WKUREELQJ SDLQ LQ KHU JUHDWO\ VZROOHQ NQHH

             7KH URRP WR ZKLFK 5HS -D\DSDO ZDV GLUHFWHG ZDV GHQVHO\ SRSXODWHG E\ PDQ\

 PHPEHUV RI &RQJUHVV IRUFLQJ WKH PHPEHUV LQ SUR[LPLW\ WR HDFK RWKHU PXFK FORVHU WKDQ WKH &'&

 VRFLDO GLVWDQFLQJ JXLGHOLQHV SUHVFULEHG WR PLQLPL]H WKH ULVN RI &29,' LQIHFWLRQ :KLOH 5HS



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 -D\DSDO FRQWLQXRXVO\ ZRUH D PDVN SUHVFULEHG E\ WKH &'& VKH VDZ PDQ\ PHPEHUV LQ WKH URRP

 ZKR ZHUH QRW ZHDULQJ SURWHFWLYH PDVNV H[SRVLQJ KHU WR D ³VXSHU VSUHDGHU HYHQW´ +DYLQJ EHHQ

 FRQILQHG WR WKLV URRP WR HQVXUH KHU VDIHW\ IURP WKH ULRWHUV ZKR LQYDGHG WKH &DSLWRO 5HS -D\DSDO

 ZDV FRPSHOOHG WR UHPDLQ WKHUH IRU QHDUO\ ILYH KRXUV GXULQJ ZKLFK VKH ZDV LQHYLWDEO\ H[SRVHG WR

 PHPEHUV ZLWK DQG ZLWKRXW PDVNV QRQH RI ZKRP ZHUH VRFLDOO\ GLVWDQW IURP WKH RWKHUV

             5HS -D\DSDO ZDV SHUPLWWHG WR GHSDUW IURP 5D\EXUQ DW DERXW  30 DW ZKLFK

 WLPH VKH UHWXUQHG GLUHFWO\ WR WKH +RXVH &KDPEHU VKH UHPDLQHG WKHUH XQWLO DSSUR[LPDWHO\ 

 $0 RQ -DQXDU\   ZKHQ WKH YRWLQJ FRQFOXGHG WKDW UDWLILHG WKH UHVXOWV RI WKH (OHFWRUDO

 &ROOHJH EDOORWLQJ

             ,Q WKH ZHHN SULRU WR WKHVH HYHQWV 5HS -D\DSDO WHVWHG QHJDWLYH WZLFH IRU WKH

 &29,' YLUXV 6HYHUDO GD\V DIWHU VKH ZDV FRQILQHG WR WKH URRP LQ 5D\EXUQ ZLWK PHPEHUV

 ZKR UHIXVHG WR ZHDU SURWHFWLYH PDVNV VKH H[KLELWHG V\PSWRPV VXFK DV IHYHU FKLOOV H[WUHPH

 H[KDXVWLRQ DQG GLIILFXOW\ EUHDWKLQJ 2Q 0RQGD\ -DQXDU\  5HS -D\DSDO WHVWHG SRVLWLYH IRU

 &29,'

             $V 5HS -D\DSDO¶V V\PSWRPV ZRUVHQHG DQG VKH H[SHULHQFHG JUHDWHU GLIILFXOW\

 EUHDWKLQJ KHU SUHH[LVWLQJ FRQGLWLRQV RI DVWKPD DQG SUHGLDEHWHV TXDOLILHG KHU IRU WKH

 0RQRFORQDO $QWLERG\ 7UHDWPHQW IRU &29,' 1RWZLWKVWDQGLQJ WKLV WUHDWPHQW VKH FRQWLQXHG

 WR H[SHULHQFH &29,' V\PSWRPV IRU DW OHDVW VHYHQ GD\V DQG GLG QRW IXOO\ UHFRYHU IRU VL[

 ZHHNV

             7KH HYHQWV GHVFULEHG DERYH FDXVHG 5HS -D\DSDO SK\VLFDO SDLQ WR KHU NQHH WKDW

 HQGXUHG ZHOO DIWHU VKH UHWXUQHG IURP GLVFKDUJLQJ KHU GXW\ WR UDWLI\ WKH UHVXOWV RI WKH (OHFWRUDO

 &ROOHJH YRWH 3ULRU WR -DQXDU\  5HS -D\DSDO ZDV LQIRUPHG E\ KHU SK\VLFDO WKHUDSLVW DQG

 VXUJHRQ WKDW KHU UHFRYHU\ IURP WKH NQHHUHSODFHPHQW VXUJHU\ ZDV DKHDG RI VFKHGXOH $IWHU



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 EHLQJ UHTXLUHG WR EHQG KHU NQHH WR PDQHXYHU XQGHU WKH UDLOLQJV LQ WKH +RXVH *DOOHU\ FURXFK

 GRZQ RQ WKH IORRU FUDZO RQ KHU NQHHV VWDQG EDFN XS DQG WUDYHUVH PXOWLSOH VWDLUFDVHV DQG ORQJ

 ZDONZD\V 5HS -D\DSDO HQGXUHG VLJQLILFDQW SDLQ DQG H[SHULHQFHG VHWEDFNV LQ KHU NQHH

 UHSODFHPHQW VXUJHU\ UHFRYHU\

            )ROORZLQJ WKHVH HYHQWV 5HS -D\DSDO¶V SK\VLFDO WKHUDSLVW LQIRUPHG KHU WKDW QR

 LQGLYLGXDO UHFRYHULQJ IURP NQHH UHSODFHPHQW VXUJHU\ ZRXOG EH DEOH WR HDVLO\ JHW GRZQ RQ WKH

 IORRU RQO\ ILYH ZHHNV SRVWRSHUDWLRQ +HU UDQJH RI PRYHPHQW GHFUHDVHG IROORZLQJ WKHVH HYHQWV

 DQG KHU UHFRYHU\ ZDV VORZHG +HU UHFRYHU\ ZDV DOVR QHJDWLYHO\ LPSDFWHG E\ KHU &29,'

 GLDJQRVLV DV VKH FRXOG QRW FRQWLQXH KHU SK\VLFDO WKHUDS\ VFKHGXOH UHJXODUO\ IRU VHYHUDO ZHHNV

            ,Q DGGLWLRQ WR WKH SDLQ DQG VXIIHULQJ FDXVHG 5HS -D\DSDO E\ WKH HYHQWV DOOHJHG

 DERYH VKH DOVR VXIIHUHG JUDYH IHDU IRU KHU SHUVRQDO VDIHW\ ZKLOH VKH ZDV FRQILQHG LQ WKH +RXVH

 &KDPEHU ,Q WKH GD\V IROORZLQJ WKH HYHQWV RI -DQXDU\  5HS -D\DSDO VSRNH ZLWK PHQWDO KHDOWK

 SURIHVVLRQDOV LQ ERWK JURXS DQG LQGLYLGXDO VHWWLQJV DERXW IHDUV IRU KHU VDIHW\ WKDW VKH KDG QHYHU

 HQFRXQWHUHG EHIRUH +HU QHHG IRU FRXQVHOLQJ ZDV D GLUHFW UHVXOW RI WKH DWWDFN RQ WKH &DSLWRO

        I      7KH +RQRUDEOH +HQU\ & ³+DQN´ -RKQVRQ -U

            :KHQ WKH DWWDFN RQ WKH &DSLWRO EHJDQ 5HS -RKQVRQ ZDV VHDWHG LQ WKH *DOOHU\ RI

 WKH +RXVH RI 5HSUHVHQWDWLYHV SUHSDUHG WR GLVFKDUJH KLV GXWLHV WR VXSHUYLVH DQG HYHQWXDOO\ YRWH

 RQ DSSURYDO RI WKH FRXQW RI WKH (OHFWRUDO &ROOHJH EDOORWV

            5HS -RKQVRQ ZDV SUHVHQW VKRUWO\ DIWHU WKH SURFHHGLQJV EHJDQ DW  30 DV

 UHTXLUHG E\ WKH (OHFWRUDO &RXQW $FW RI 

            $IWHU WKH SURFHHGLQJV KDG EHHQ XQGHUZD\ IRU D OLWWOH ZKLOH 5HS -RKQVRQ KHDUG

 QRLVHV WKDW VRXQGHG OLNH D FRPPRWLRQ EXPSLQJ DQG VKXIIOLQJ 6XFK QRLVHV ZHUH QRW W\SLFDO DW

 WKH &DSLWRO IRU VXFK DQ HYHQW FDXVLQJ KLP WR EHJLQ ZRUU\LQJ ZKHWKHU WKHUH ZDV WURXEOH QHDUE\



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            6KRUWO\ WKHUHDIWHU WKH &DSLWRO 3ROLFH LQVWUXFWHG 5HS -RKQVRQ DQG RWKHU PHPEHUV

 WR UHWULHYH DQG SXW RQ JDV PDVNV WKDW ZHUH VWRUHG XQGHU WKHLU VHDWV LQ WKH *DOOHU\ 6RPHWLPH

 ODWHU KH DQG RWKHU PHPEHUV ZHUH LQVWUXFWHG WR PDNH WKHLU ZD\ WR WKH *DOOHU\ H[LW UHTXLULQJ KLP

 WR QDYLJDWH ZLWK GLIILFXOW\ QDUURZ SDWKV EHWZHHQ WKH URZV RI VHDWV DQG VXUPRXQW UDLOLQJV EHWZHHQ

 *DOOHU\ VHFWLRQV $V KH FRQWLQXHG WR KHDU EDQJLQJ RQ WKH +RXVH &KDPEHU GRRUV DQG LQFUHDVLQJO\

 YLUXOHQW VKRXWLQJ KH IHDUHG WKH VLWXDWLRQ ZDV VHULRXV DQG PLJKW HQG EDGO\ IRU KLP DQG RWKHU

 PHPEHUV QHDUE\

            +LV IHDU WKDW KH PLJKW EH XQDEOH WR HYDGH WKH JURZLQJ HIIRUWV WR HQWHU WKH +RXVH

 &KDPEHU E\ ORXG DQG ERLVWHURXV LQWUXGHUV ZHUH KHLJKWHQHG HYHQ IXUWKHU ZKHQ KH KHDUG D

 JXQVKRW SURPSWLQJ KLP WR GURS WR WKH IORRU LQ D FURXFK DV WKH &DSLWRO 3ROLFH LQVWUXFWHG 5HS

 -RKQVRQ DQG RWKHU PHPEHUV WR OLH RQ WKH IORRU

            $IWHU H[LWLQJ WKH *DOOHU\ KH ZDV VXUSULVHG DQG WURXEOHG WR VHH LQWUXGHUV ZKR ZHUH

 VHFXUHG E\ ODZ HQIRUFHPHQW RIILFHUV O\LQJ IDFH GRZQ RQ WKH IORRU ZKHUH WKH\ ZHUH JXDUGHG E\

 RIILFHUV ZLWK GUDZQ ZHDSRQV

            (YHQWXDOO\ 5HS -RKQVRQ ZDV GLUHFWHG WR VKHOWHU LQ /RQJZRUWK ZKHUH KH

 UHPDLQHG IRU VHYHUDO KRXUV ,PPHGLDWHO\ XSRQ DUULYLQJ DW WKH /RQJZRUWK URRP DQG WKURXJKRXW

 KLV WLPH VKHOWHULQJ WKHUH KH ZDV IRUFHG WR VWDQG ZLWK RWKHU PHPEHUV ZKR EHFDXVH RI WKHLU

 QXPEHU FRXOG QRW EH VRFLDOO\ GLVWDQW IURP HDFK RWKHU DV WKH &'& SUHVFULEHG WR PLQLPL]H

 WUDQVPLVVLRQ RI WKH &29,' YLUXV $QG PDQ\ PHPEHUV GHFOLQHG WR ZHDU PDVNV DV WKH &'&

 SUHVFULEHG $V 5HS -RKQVRQ ZDV  \HDUV ROG DW WKH WLPH KH IHDUHG GXULQJ WKH WLPH KH VKHOWHUHG

 LQ /RQJZRUWK WKDW KH ZRXOG FRQWUDFW WKH YLUXV DQG MHRSDUGL]H KLV KHDOWK DIWHU KDYLQJ IOHG

 FRQGLWLRQV WKDW MHRSDUGL]HG KLV VDIHW\




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            $IWHU KH VKHOWHUHG LQ /RQJZRUWK IRU VHYHUDO KRXUV KH UHWXUQHG WR WKH &DSLWRO

 ZKHUH KH FRPSOHWHG KLV UHVSRQVLELOLW\ WR RYHUVHH DQG DSSURYH WKH UHVXOWV RI WKH (OHFWRUDO &ROOHJH

 EDOORWLQJ

        J      7KH +RQRUDEOH 0DUF\ .DSWXU

            :KHQ WKH DWWDFN RQ WKH &DSLWRO EHJDQ 5HS .DSWXU ZDV VHDWHG LQ WKH *DOOHU\ RI

 WKH +RXVH RI 5HSUHVHQWDWLYHV SUHSDUHG WR GLVFKDUJH KHU FRQVWLWXWLRQDO GXWLHV RI WDOO\LQJ WKH

 EDOORWV RI WKH (OHFWRUDO &ROOHJH DQG FHUWLI\LQJ WKH UHVXOWV RI WKH  SUHVLGHQWLDO HOHFWLRQ

            5HS .DSWXU ZDV SUHVHQW ZKHQ WKH SURFHHGLQJV EHJDQ DW  30 DV UHTXLUHG E\

 WKH (OHFWRUDO &RXQW $FW RI 

            6RPHWLPH DIWHU WKH SURFHHGLQJV ZHUH XQGHUZD\ 5HS .DSWXU ZLWQHVVHG ODZ

 HQIRUFHPHQW RIILFHUV HVFRUW WKH 9LFH 3UHVLGHQW DQG WKH 6SHDNHU RI WKH +RXVH RII WKH +RXVH IORRU

 $QRWKHU 0HPEHU RI WKH +RXVH OHDGHUVKLS DWWHPSWHG WR SUHVLGH RYHU WKH GHEDWH EXW WKH

 SURFHHGLQJV ZHUH WRWDOO\ LQWHUUXSWHG E\ ORXG DQG XQUXO\ VKRXWLQJ DQG EDQJLQJ KHDUG QHDUE\

 5HS .DSWXU DOVR KHDUG HFKRLQJ VRXQGV LQ WKH VWDLUZHOO RI WKH &DSLWRO 7KHQ D &DSLWRO 3ROLFH

 RIILFHU UDQ LQWR WKH +RXVH &KDPEHU DQQRXQFLQJ WKDW WKH SROLFH ZHUH WU\LQJ WR JDLQ FRQWURO RI

 VRPH FRUULGRUV WKDW KDG EHHQ EUHDFKHG E\ ULRWHUV SURPSWLQJ VRPH FRQFHUQ WKDW KHU VDIHW\ DQG

 WKDW RI RWKHU PHPEHUV PLJKW EH LQ MHRSDUG\ 7KHUHDIWHU WKH +RXVH ZDV FDOOHG LQWR UHFHVV DQG

 VKH DQG RWKHU PHPEHUV ZHUH LQVWUXFWHG WR UHPDLQ VHDWHG

            :KLOH VKH ZDV VHDWHG LQ WKH *DOOHU\ 5HS .DSWXU JUHZ LQFUHDVLQJO\ ZRUULHG DERXW

 WKH VDIHW\ RI WKH PHPEHUV DQG VWDII DV VKH KHDUG ORXG QRLVHV DQG EDQJV LQ WKH KDOOZD\V RXWVLGH

 WKH +RXVH &KDPEHU WKDW VRXQGHG OLNH ORJV EHLQJ SRXQGHG DJDLQVW WKH GRRUV 6KH JUHZ

 LQFUHDVLQJO\ HDJHU WR H[LW WKH *DOOHU\ DV VKH IHDUHG WKDW KRVWLOH LQWUXGHUV PLJKW HQWHU WKH +RXVH

 &KDPEHU DQG SXW KHU VDIHW\ DW ULVN



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            5HS .DSWXU¶V ZRUULHV WKDW WKUHDWV WR KHU VDIHW\ ZHUH QHDUE\ ZHUH KHLJKWHQHG

 ZKHQ D &DSLWRO 3ROLFH RIILFHU DQQRXQFHG WKDW WHDU JDV KDG EHHQ ODXQFKHG LQ WKH 5RWXQGD DQG

 XUJHG WKHP WR SXW RQ JDV PDVNV VWRUHG XQGHU WKHLU VHDWV 5HS .DSWXU KDG QRW EHHQ WUDLQHG RQ

 KRZ WR UHPRYH WKH JDV PDVN IURP LWV FDVH DQG PHWDOOLF VKULQNZUDSSLQJ RU KRZ WR XVH WKH JDV

 PDVN 6KH IDFHG D GLOHPPD WKDW ZRUULHG KHU DV VKH IHDUHG ZHDULQJ D JDV PDVN ZRXOG IRJ XS KHU

 JODVVHV PDNLQJ LW GLIILFXOW WR VHH FOHDUO\ DQG XOWLPDWHO\ WR H[LW

            +HU FRQFHUQ IRU KHU VDIHW\ JUHZ DV EDQJLQJ RQ WKH *DOOHU\ GRRUV EHFDPH ORXGHU

 DQG PRUH IUHTXHQW DQG VKH VDZ DQ RIILFHU SXVKLQJ EDFN RQ D KHDY\ GRRU

            5HS .DSWXU EHLQJ RQH RI DERXW D GR]HQ PHPEHUV IHHOLQJ VWUDQGHG LQ WKH *DOOHU\

 IRU VRPH WLPH ZDV HYHQWXDOO\ LQVWUXFWHG WR H[LW WKH DUHD E\ FURVVLQJ WR WKH RSSRVLWH VLGH RI WKH

 *DOOHU\ +HU H[LW ZDV GHOD\HG DQG PDGH PRUH GLIILFXOW E\ WKH QHHG WR SDVV WKURXJK PDQ\ VHWV RI

 ORZULVH UDLOLQJV E\ HLWKHU FOLPELQJ RYHU WKH UDLOLQJV RU FURXFKLQJ XQGHU WKHP 6HYHUDO PHPEHUV

 DKHDG RI KHU VWUXJJOHG WR FURXFK EHORZ WKHVH UDLOLQJV %XW ZKHQ VKH UHDFKHG WKH RWKHU HQG RI WKH

 *DOOHU\ 5HS .DSWXU ZDV GLUHFWHG E\ WKH &DSLWRO 3ROLFH WR FURXFK GRZQ DQG KLGH EHKLQG WKH

 VKRUW EDOFRQ\ ZDOO DQG ZDLW TXLHWO\ $V WKH LQWUXGHUV FRQWLQXHG WR VWRUP WKH KDOOZD\V DQG EDQJ

 RQ WKH *DOOHU\ GRRUV VKH ZDV LQIRUPHG WKHUH ZDV VWLOO QR VDIH H[LW 7KHUH ZDV QR PHDQV WR

 DVVXUH ZKR PLJKW EH RQ WKH RWKHU VLGH RI WKH *DOOHU\¶V H[LW

            :KLOH 5HS .DSWXU KLG RQ WKH IORRU RI WKH *DOOHU\ KHU IHDU IRU KHU VDIHW\ DQG WKDW

 RI KHU FROOHDJXHV ZDV FRQILUPHG ZKHQ DQ RIILFHU GLUHFWHG D SKRWRJUDSKHU WR FHDVH KLV HIIRUWV WR

 SKRWRJUDSK WKH VXUURXQGLQJV DV WKH IODVK RI WKH FDPHUD PLJKW UHYHDO WKHLU ORFDWLRQ WR WKH ULRWHUV

 LPPHGLDWHO\ RXWVLGH WKH +RXVH &KDPEHU 5HS .DSWXU UHPDLQHG RQ WKH *DOOHU\ IORRU IRU FORVH WR

 KDOI DQ KRXU EHIRUH VKH ZDV ILQDOO\ DOORZHG WR H[LW +HU ODVW YLHZ RI WKH +RXVH IORRU ZDV RI




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 VHYHUDO ODZ HQIRUFHPHQW RIILFHUV VWDQGLQJ ZLWK WKHLU ILUHDUPV GUDZQ WRZDUGV WKH GRRUV WR WKH

 +RXVH &KDPEHU

             $IWHU VKH H[LWHG WKH *DOOHU\ 5HS .DSWXU WUDYHOHG D ORQJ GLVWDQFH WKURXJK

 KDOOZD\V DQG VWDLUZHOOV GRZQ WR WKH VXEEDVHPHQW ZKHUH VKH ILQDOO\ DUULYHG DW D YHU\ FURZGHG

 URRP ZKHUH RWKHU PHPEHUV DQG WKHLU VWDIIV VKHOWHUHG $IWHU OHDYLQJ WKUHDWV WR KHU SK\VLFDO

 VDIHW\ 5HS .DSWXU JUHZ FRQFHUQHG IRU KHU KHDOWK DV VKH ZDV GLUHFWHG WR VKHOWHU LQ D URRP LQ

 ZKLFK PHPEHUV FRXOG QRW UHPDLQ VRFLDOO\ GLVWDQW DQG PDQ\ UHIXVHG WR ZHDU PDVNV DV WKH &'&

 SUHVFULEHG DV WKH PHDQV WR PLQLPL]H WKH ULVN RI FRQWUDFWLQJ &29,' 5HS .DSWXU ZDV 

 \HDUV ROG DW WKH WLPH DQG WKHUHIRUH ZLWKLQ WKH DJH JURXS IRU ZKLFK WKH YLUXV SRVHG WKH JUHDWHVW

 ULVN WR KHU KHDOWK

             5HS .DSWXU ZDV UHTXLUHG WR UHPDLQ LQ WKLV URRP IRU VHYHUDO KRXUV XQWLO VKH ZDV

 LQIRUPHG WKDW LW ZDV VDIH WR UHWXUQ WR KHU RIILFH 6KH UHWXUQHG WR KHU RIILFH DQG MRLQHG KHU VWDII DW

 DSSUR[LPDWHO\  30 DW ZKLFK SRLQW VKH OHIW WKH &DSLWRO FRPSOH[ DQG UHWXUQHG KRPH

         K      7KH +RQRUDEOH %DUEDUD /HH

             :KHQ WKH DWWDFN RQ WKH &DSLWRO EHJDQ 5HS /HH ZDV VHDWHG LQ WKH +RXVH RI

 5HSUHVHQWDWLYHV SUHSDUHG WR GLVFKDUJH KHU FRQVWLWXWLRQDO GXWLHV RI WDOO\LQJ WKH EDOORWV RI WKH

 (OHFWRUDO &ROOHJH DQG FHUWLI\LQJ WKH UHVXOWV RI WKH  SUHVLGHQWLDO HOHFWLRQ

             5HS /HH ZDV SUHVHQW ZKHQ WKH SURFHHGLQJV EHJDQ DW  30 DV UHTXLUHG E\ WKH

 (OHFWRUDO &RXQW $FW RI 

             6KRUWO\ DIWHU WKH SURFHHGLQJV EHJDQ 5HS /HH VDZ UHSRUWV WKDW &DQQRQ ZDV EHLQJ

 HYDFXDWHG :KHQ WKH 6SHDNHU RI WKH +RXVH DQG RWKHU PHPEHUV RI WKH +RXVH OHDGHUVKLS ZHUH

 HVFRUWHG IURP WKH &KDPEHU 5HS /HH FRQFOXGHG WKDW WDNHQ WRJHWKHU WKHVH WZR HYHQWV UHIOHFWHG

 VRPH NLQG RI WKUHDW ZDV QHDUE\



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            5HS /HH EHJDQ WR KDUERU FRQFHUQV DERXW KHU VDIHW\ ZKHQ &DSLWRO 3ROLFH RIILFHUV

 ORFNHG WKH GRRUV WR WKH +RXVH &KDPEHU DQG WROG WKH PHPEHUV ZKR UHPDLQHG WR VKHOWHU LQ SODFH

            6KRUWO\ WKHUHDIWHU 5HS /HH¶V IHDU IRU KHU VDIHW\ JUHZ ZKHQ VDZ QHZV UHSRUWV

 WUDQVPLWWHG WR KHU PRELOH WHOHSKRQH WKDW YLROHQW LQWUXGHUV KDG EUHDFKHG WKH RXWHU SHULPHWHU RI WKH

 &DSLWRO DQG KDG HQWHUHG 6WDWXDU\ +DOO

            +HU IHDUV IRU KHU VDIHW\ JUHZ HYHQ KLJKHU ZKHQ WKH &DSLWRO 3ROLFH RIILFHUV ZDUQHG

 WKDW VKH PD\ QHHG WR VKHOWHU RQ WKH +RXVH IORRU DQG KHDUG VRPHRQH VD\ WKDW EXOOHWV PLJKW EH

 FRPLQJ LQ 7KH LQVWUXFWLRQ WKDW IROORZHG WKDW VKH SUHSDUH WR SXW RQ D JDV PDVN IRU ZKLFK VKH

 ZDV QHYHU WUDLQHG WR XVH FRPSRXQGHG KHU IHDUV DV VKH H[SHFWHG WKDW WKH LQWUXGHUV ZRXOG EH

 XVLQJ WHDU JDV RU DQRWKHU FKHPLFDO LUULWDQW $V WKLV FKDRV XQIROGHG &DSLWRO 3ROLFH WROG 5HS /HH

 DQG RWKHUV RQ WKH +RXVH IORRU WKDW WKH\ QHHGHG WR HYDFXDWH 5HS /HH DQG RWKHUV KXUULHG RII WKH

 +RXVH IORRU WKURXJK WKH 6SHDNHU¶V /REE\ DQG WKHQ HVFDSHG GRZQ WKUHH RU IRXU IOLJKWV RI VWDLUV

            $IWHU WUDYHOLQJ WKURXJK WXQQHOV LQ WKH VXEEDVHPHQW VKH DUULYHG LQ /RQJZRUWK DQG

 ZDV EURXJKW WR D URRP ZKHUH D ODUJH QXPEHU RI RWKHU PHPEHUV RI &RQJUHVV DQG VWDIIHUV

 VKHOWHUHG LQ SODFH $IWHU OHDYLQJ WKUHDWV WR KHU SK\VLFDO VDIHW\ 5HS /HH UHDOL]HG WKH SODFH ZKHUH

 VKH ZDV GLUHFWHG WR VKHOWHU ZRXOG SRVH D WKUHDW WR KHU KHDOWK DV WKHUH ZDV LQVXIILFLHQW URRP IRU

 WKH PHPEHUV LQ WKH URRP WR VRFLDO GLVWDQFH WKHPVHOYHV DV WKH &'& SUHVFULEHG DQG PDQ\ UHIXVHG

 WR ZHDU PDVNV DV WKH &'& GLUHFWHG LQ RUGHU WR PLQLPL]H WUDQVPLVVLRQ RI WKH &29,' YLUXV

 5HS /HH ZDV  \HDUV ROG DW WKH WLPH DQG WKHUHIRUH ZLWKLQ WKH DJH JURXS IRU ZKLFK WKH YLUXV

 SRVHG WKH JUHDWHVW ULVN WR KHU KHDOWK

            $W DERXW  30 5HS /HH ZDV SHUPLWWHG WR OHDYH WKH URRP LQ /RQJZRUWK LQ

 ZKLFK VKH KDG VKHOWHUHG IRU VHYHUDO KRXUV 6KH UHWXUQHG GLUHFWO\ WR WKH +RXVH &KDPEHU ZKHUH




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 VKH UHPDLQHG XQWLO DSSUR[LPDWHO\  $0 RQ -DQXDU\   ZKHQ WKH YRWLQJ FRQFOXGHG WKDW

 UDWLILHG WKH UHVXOWV RI WKH (OHFWRUDO &ROOHJH EDOORWLQJ

              7KH HYHQWV RQ -DQXDU\  GHVFULEHG DERYH OHIW 5HS /HH IHHOLQJ WKDW VKH KDG

 QDUURZO\ HVFDSHG VHULRXV LQMXU\ RU GHDWK RQ WKDW GDWH SURPSWLQJ KHU WR ILQDOL]H KHU SODQV IRU KHU

 HVWDWH

           L     7KH +RQRUDEOH -HUUROG 1DGOHU

              5HS 1DGOHU ZDV SUHVHQW ZKHQ WKH SURFHHGLQJV EHJDQ DW  30 DV UHTXLUHG E\

 WKH (OHFWRUDO &RXQW $FW RI 

              6KRUWO\ DIWHU DQ REMHFWLRQ ZDV PDGH WR WKH FRXQWLQJ RI WKH FHUWLILHG (OHFWRUDO

 &ROOHJH EDOORWV IURP $UL]RQD 5HS 1DGOHU ZHQW WR KLV RIILFH LQ 5D\EXUQ WR ZDLW XQWLO WKH MRLQW

 VHVVLRQ RI &RQJUHVV ZDV UHFRQYHQHG $IWHU DUULYLQJ DW KLV RIILFH 5HS 1DGOHU OHDUQHG WKDW WKH

 &DSLWRO KDG EHHQ EUHDFKHG E\ ERLVWHURXV DQG WKUHDWHQLQJ LQWUXGHUV

              +DYLQJ VHHQ WKDW YLROHQW LQWUXGHUV KDG HQWHUHG WKH &DSLWRO DQG QHHGLQJ WR UHPDLQ

 QHDUE\ WR SDUWLFLSDWH LQ WKH YRWHV QHHGHG WR UDWLI\ WKH UHVXOWV RI WKH  SUHVLGHQWLDO HOHFWLRQ

 5HS 1DGOHU EHOLHYHG KH QHHGHG WR VKHOWHU LQ SODFH LQ 5D\EXUQ

              %HOLHYLQJ WKDW LI WKH LQWUXGHUV FRXOG HQWHU WKH &DSLWRO WKH\ FRXOG DOVR HQWHU

 5D\EXUQ KH EHJDQ VHDUFKLQJ IRU D SODFH LQ ZKLFK KH FRXOG VKHOWHU LQ SODFH VDIHO\ $IWHU

 FRQVLGHULQJ SODFHV LQ KLV SHUVRQDO RIILFH WKDW PLJKW EH VDIH KH FRQFOXGHG WKH SODWH EHDULQJ KLV

 QDPH RQ KLV RIILFH GRRU PDGH KLV RIILFH D WDUJHW RI KRVWLOH LQWUXGHUV LQ WKH HYHQW WKH\ HQWHUHG WKH

 EXLOGLQJ 7KHUHIRUH 5HS 1DGOHU VRXJKW UHIXJH LQ WKH QHDUE\ RIILFHV RI WKH +RXVH -XGLFLDU\

 &RPPLWWHH ZKHUH KLV QDPH GLG QRW DSSHDU RQ WKH H[WHULRU

              5HS 1DGOHU VKHOWHUHG LQ SODFH LQ WKH -XGLFLDU\ &RPPLWWHH RIILFH IRU KRXUV

 DZDLWLQJ FRQILUPDWLRQ WKDW WKH ULRW KDG EHHQ TXHOOHG 7KURXJKRXW WKLV WLPH 5HS 1DGOHU



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 JHQXLQHO\ IHDUHG IRU KLV VDIHW\ $QWLFLSDWLQJ WKDW KH PLJKW QHHG WR HYDFXDWH 5D\EXUQ RQ VKRUW

 QRWLFH KH SUHSDUHG D ³JR EDJ´ ZLWK PDWHULDOV KH PLJKW QHHG LQ WKH LPPHGLDWH IXWXUH +DYLQJ

 ZDWFKHG UHSRUWV RI WKH PHQDFLQJ DQG DJJUHVVLYH EHKDYLRU RI WKH ULRWHUV ZKR HQWHUHG WKH &DSLWRO

 5HS 1DGOHU KDG VHULRXV FRQFHUQV WKDW KLV SHUVRQDO VDIHW\ DQG HYHQ KLV OLIH ZRXOG EH MHRSDUGL]HG

 LQ WKH HYHQW WKH LQWUXGHUV FDPH WR 5D\EXUQ

        M      7KH +RQRUDEOH 0D[LQH :DWHUV

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 WKH (OHFWRUDO &RXQW $FW RI 

             6KRUWO\ EHIRUH WKH DWWDFN RQ WKH &DSLWRO EHJDQ 5HS :DWHUV OHIW WKH *DOOHU\ WR

 ZDON WR KHU RIILFH LQ 5D\EXUQ DQG ZDLW IRU WKH MRLQW VHVVLRQ WR UHFRQYHQH

            8SRQ DUULYDO DW KHU RIILFH 5HS :DWHUV OHDUQHG IURP WHOHYLVHG QHZV UHSRUWV WKDW

 ULRWHUV KDG EUHDFKHG WKH &DSLWRO 3OD]D DQG KDG DGYDQFHG WR WKH &DSLWRO %XLOGLQJ 6KH ZDWFKHG DV

 WKH ULRWHUV IRUFLEO\ HQWHUHG WKH &DSLWRO DQG YLROHQWO\ FKDUJHG SROLFH RIILFHUV IHDUIXO WKDW KHU RZQ

 VDIHW\ ZDV LQ MHRSDUG\

            5HS :DWHUV WHOHSKRQHG WKH &KLHI RI WKH &DSLWRO 3ROLFH WR GLVFXVV WKH GDQJHURXV

 VLWXDWLRQ WKDW ZDV XQIROGLQJ +DYLQJ EHHQ LQIRUPHG RQ WKDW WHOHSKRQH FDOO RI WKH VFRSH DQG IRUFH

 RI WKH LQFXUVLRQ LQWR WKH &DSLWRO 5HS :DWHUV LPPHGLDWHO\ EDUULFDGHG KHUVHOI LQ KHU RIILFH

            $OWKRXJK 5HS :DWHUV ZDV ODWHU DGYLVHG E\ WKH &DSLWRO 3ROLFH WKDW VKH FRXOG MRLQ

 RWKHU 0HPEHUV ZKR ZHUH VKHOWHULQJ LQ WKH &DQQRQ %XLOGLQJ VKH GHFOLQHG WKH RIIHU RXW RI IHDU

 IRU KHU VDIHW\ ,QVWHDG VKH UHPDLQHG EDUULFDGHG LQ KHU RIILFH

            $IWHU VHYHUDO KRXUV KDG HODSVHG WKH &DSLWRO 3ROLFH LQIRUPHG KHU WKDW WKH ULRWHUV

 KDG EHHQ FRQWDLQHG 7KHUHDIWHU 5HS :DWHUV UHWXUQHG WR WKH &DSLWRO WR GLVFKDUJH KHU GXW\ WR

 REVHUYH DQG XOWLPDWHO\ DSSURYH WKH FRXQW RI WKH (OHFWRUDO &ROOHJH EDOORWV DQG UDWLI\ WKH UHVXOWV RI



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 WKH  3UHVLGHQWLDO HOHFWLRQ 6KH UHPDLQHG LQ WKH &DSLWRO XQWLO WKH HDUO\ PRUQLQJ RI -DQXDU\ 

 LQ RUGHU WR SHUIRUP WKRVH GXWLHV

            6LQFH WKH ULRW 5HS :DWHUV KDV KDG LQFUHDVHG ZRUULHV DERXW KHU VDIHW\ DQG KDV

 IHOW FRPSHOOHG WR LQFUHDVH WKH DPRXQW RI VHFXULW\ SHUVRQQHO ZLWK ZKRP VKH WUDYHOV WR DQG IURP

 KHU KRPH

        N      7KH +RQRUDEOH %RQQLH :DWVRQ &ROHPDQ

            2Q -DQXDU\  5HS :DWVRQ &ROPDQ DUULYHG DW WKH &DSLWRO HDUOLHU WKDQ VKH KDG

 RULJLQDOO\ SODQQHG EHFDXVH VKH ZDV HYDFXDWHG IURP KHU DSDUWPHQW GXH WR D ERPE IRXQG QHDU KHU

 EXLOGLQJ

            5HS :DWVRQ &ROHPDQ ZDV LQ WKH &DSLWRO ZKHQ WKH SURFHHGLQJV EHJDQ DW 

 30 DV UHTXLUHG E\ WKH (OHFWRUDO &RXQW $FW RI 

            5HS :DWVRQ &ROPDQ KHU KXVEDQG DQG RQH RI KHU VWDIIHUV DUULYHG DW WKH &DSLWRO

 VKRUWO\ EHIRUH WKH WLPH DW ZKLFK WKH ULRWHUV GHVFHQGHG RQ WKH &DSLWRO 8SRQ DUULYLQJ 5HS

 :DWVRQ &ROPDQ SODQQHG WR JR WR WKH DWWHQGLQJ SK\VLFLDQ¶V RIILFH WR DWWHQG WR D PLQRU PHGLFDO

 QHHG $V VKH ZDONHG WRZDUG WKDW RIILFH VKH FRXOG VHH DQG KHDU WKH ULRWHUV DV WKH\ FDPH GRZQ WKH

 KDOOZD\

            $Q RIILFHU LQVWUXFWHG 5HS :DWVRQ &ROPDQ KHU KXVEDQG DQG WKH VWDIIHU WR JHW

 EHKLQG KLP 7KH RIILFHU HVFRUWHG WKHP WR D VPDOO URRP QHDU WKH SK\VLFLDQ¶V RIILFH ,QVLGH WKH

 URRP 5HS :DWVRQ &ROHPDQ KHU KXVEDQG WKH VWDIIHU DQG D QXUVH ORFNHG WKHPVHOYHV EHKLQG WZR

 GRRUV 5HS :DWVRQ &ROHPDQ FRXOG KHDU FKDQWV RI ³86$´ DORQJ ZLWK RWKHU VKRXWV DQG

 PHQDFLQJ QRLVHV IURP WKH LQVXUJHQWV LQ WKH QH[W KDOOZD\ :KLOH WUDSSHG LQ WKH URRP 5HS

 :DWVRQ &ROHPDQ KRSHG WKDW LI WKH ULRWHUV EURNH GRZQ WKH ILUVW GRRU WKH VHFRQG WKLFNHU GRRU

 ZRXOG EH VWURQJ HQRXJK WR NHHS WKHP RXW RI WKH URRP



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            $IWHU VHYHUDO KRXUV KDG WUDQVSLUHG GXULQJ ZKLFK VKH KHDUG WKH PHQDFLQJ VRXQGV

 RI WKH YLROHQW DQG KRVWLOH LQWUXGHUV DQG IHDUHG WKDW WKHLU HQWU\ ZRXOG FDXVH KHU SK\VLFDO KDUP

 PHPEHUV RI WKH &DSLWRO 3ROLFH EDQJHG RQ WKH GRRU WR UHDVVXUH KHU WKDW VKH FRXOG OHDYH WKH SODFH

 ZKHUH VKH KDG VKHOWHUHG

            7KHUHDIWHU 5HS :DWVRQ &ROHPDQ DQG WKH RWKHUV ZHUH WDNHQ WKURXJK D WXQQHO WR

 /RQJZRUWK 5HS :DWVRQ &ROHPDQ ZKR VXIIHUV IURP FKURQLF REVWUXFWLYH SXOPRQDU\ GLVHDVH

 KDG WR VWRS PXOWLSOH WLPHV GXULQJ WKH WUHN WR FDWFK KHU EUHDWK

            8SRQ DUULYLQJ LQ /RQJZRUWK 5HS :DWVRQ &ROHPDQ UHDOL]HG WKDW ZKLOH VKH PD\

 KDYH OHIW EHKLQG WKH WKUHDW RI SK\VLFDO DVVDXOW VKH ZDV JRLQJ WR EH H[SRVHG WR DQRWKHU KHDOWK ULVN

 7KH ODUJH QXPEHU RI PHPEHUV FRQILQHG WR WKH VDPH URRP PDGH LW LPSRVVLEOH IRU KHU WR VRFLDOO\

 GLVWDQFH KHUVHOI IURP RWKHUV DV WKH &'& KDG UHFRPPHQGHG DQG WKH PXOWLSOH PHPEHUV ZKR

 UHIXVHG WR ZHDU PDVNV SRVHG D VLJQLILFDQW ULVN RI &29,' WUDQVPLVVLRQ WR KHU $V 5HS

 :DWVRQ &ROHPDQ ZDV  \HDUV ROG DW WKH WLPH DQG KDG D SUHH[LVWLQJ SXOPRQDU\ PHGLFDO

 FRQGLWLRQ VKH KDG D KHLJKWHQHG ULVN RI LQIHFWLRQ DQG RI H[SHULHQFLQJ VHYHUH V\PSWRPV $IWHU

 EHLQJ FRQILQHG LQ WKLV URRP IRU VHYHUDO KRXUV VKH DUUDQJHG WR PRYH WR WKH RIILFH RI DQRWKHU

 0HPEHU RI &RQJUHVV ZKHUH WKHUH ZHUH IDU IHZHU SHRSOH 6KH UHPDLQHG WKHUH XQWLO VKH ZDV

 SHUPLWWHG WR UHWXUQ WR WKH &DSLWRO

            3ULRU WR EHLQJ WUDSSHG DW WKH &DSLWRO 5HS :DWVRQ &ROHPDQ KDG FRQVLVWHQWO\

 WDNHQ PHDVXUHV WR OLPLW SRWHQWLDO H[SRVXUH WR WKH &29,' YLUXV 6KH KDG EHHQ WHVWHG IRU WKH

 YLUXV DV UHFHQWO\ DV -DQXDU\   DQG WKH UHVXOWV ZHUH QHJDWLYH

            $IWHU OHDUQLQJ IURP WKH DWWHQGLQJ SK\VLFLDQ WKDW SHUVRQV ZLWK KHU LQ /RQJZRUWK

 ZHUH WHVWLQJ SRVLWLYH IRU &29,' RQ 0RQGD\ -DQXDU\   5HS :DWVRQ &ROHPDQ

 VXEPLWWHG WR D WHVW WKDW GD\ )ROORZLQJ WKH WHVW 5HS :DWVRQ &ROHPDQ OHDUQHG WKDW KHU UHVXOWV



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 ZHUH SRVLWLYH +HU DJH DQG PHGLFDO FRQGLWLRQ SHUPLWWHG KHU DFFHVV WR WKH 0RQRFORQDO $QWLERG\

 7UHDWPHQW IRU &29,' ZKLFK VKH EHJDQ UHFHLYLQJ WKH VDPH GD\ DV VKH UHFHLYHG WKH WHVW

 UHVXOWV +HU SK\VLFLDQ LQIRUPHG KHU WKDW DEVHQW KHU SDUWLDO YDFFLQDWLRQ DQG VSHFLDO DQWLERG\

 WUHDWPHQW KHU OLIH ZRXOG KDYH EHHQ LQ MHRSDUG\ 1RWZLWKVWDQGLQJ WKH SURPSW PHGLFDO WUHDWPHQW

 VKH UHFHLYHG 5HS :DWVRQ &ROHPDQ VWLOO VXIIHUHG IURP FRQJHVWLRQ FRXJKLQJ DQG IDWLJXH

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                                 9LRODWLRQ RI WKH .X .OX[ .ODQ $FW

             3ODLQWLIIV LQFRUSRUDWH KHUHLQ E\ UHIHUHQFH WKH DOOHJDWLRQV FRQWDLQHG LQ DOO

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             8QGHU WKH .X .OX[ .ODQ $FW  86&     'HIHQGDQWV PD\ QRW ³FRQVSLUH

 WR SUHYHQW E\ IRUFH LQWLPLGDWLRQ RU WKUHDW DQ\ SHUVRQ « KROGLQJ DQ\ RIILFH WUXVW RU SODFH RI

 FRQILGHQFH XQGHU WKH 8QLWHG 6WDWHV « IURP GLVFKDUJLQJ DQ\ GXWLHV WKHUHRI RU WR LQGXFH E\ OLNH

 PHDQV DQ\ RIILFHU RI WKH 8QLWHG 6WDWHV WR OHDYH DQ\ « SODFH>@ ZKHUH KLV GXWLHV DV DQ RIILFHU DUH

 UHTXLUHG WR EH SHUIRUPHG RU « WR PROHVW LQWHUUXSW KLQGHU RU LPSHGH KLP LQ WKH GLVFKDUJH RI KLV

 RIILFLDO GXWLHV´

             'HIHQGDQWV 7UXPS *LXOLDQL 3URXG %R\V DQG 2DWK .HHSHUV SORWWHG FRRUGLQDWHG

 DQG H[HFXWHG D FRPPRQ SODQ WR SUHYHQW &RQJUHVV IURP GLVFKDUJLQJ LWV RIILFLDO GXWLHV LQ

 FHUWLI\LQJ WKH UHVXOWV RI WKH SUHVLGHQWLDO HOHFWLRQ

             ,Q IXUWKHUDQFH RI WKLV FRQVSLUDF\ 'HIHQGDQWV 7UXPS DQG *LXOLDQL HQJDJHG LQ D

 FRQFHUWHG FDPSDLJQ WR PLVLQIRUP WKHLU VXSSRUWHUV DQG WKH SXEOLF HQFRXUDJLQJ DQG SURPRWLQJ

 IRUFH LQWLPLGDWLRQ DQG WKUHDWV LQ IXUWKHUDQFH RI WKHLU FRPPRQ SODQ WR SURPRWH WKH UHHOHFWLRQ RI

 'HIHQGDQW 7UXPS HYHQ DIWHU WKH VWDWHV KDG FHUWLILHG HOHFWLRQ UHVXOWV GHFLVLYHO\ VKRZLQJ KH ORVW




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 WKH HOHFWLRQ DQG WR GLVUXSW WKH OHJDOO\ UHTXLUHG SURFHVV EHIRUH &RQJUHVV WR VXSHUYLVH WKH FRXQWLQJ

 RI WKH (OHFWRUDO &ROOHJH EDOORWV DQG FHUWLI\ WKH UHVXOWV RI WKDW FRXQW

            $V D UHVXOW 'HIHQGDQW 7UXPS DFWHG EH\RQG WKH RXWHU SHULPHWHU RI KLV RIILFLDO

 GXWLHV DQG WKHUHIRUH LV VXVFHSWLEOH WR VXLW LQ KLV SHUVRQDO FDSDFLW\

            7KH DFWLYLWLHV DOOHJHG DERYH ZHUH XQGHUWDNHQ E\ DOO 'HIHQGDQWV DV FRFRQVSLUDWRUV

 IRU WKH SXUSRVH RI VHHNLQJ WR SUHYHQW HDFK RI WKH 3ODLQWLIIV QDPHG DERYH DQG RWKHU PHPEHUV RI

 &RQJUHVV IURP FHUWLI\LQJ WKDW IRUPHU 9LFH 3UHVLGHQW %LGHQ ZRQ WKH SUHVLGHQWLDO HOHFWLRQ

            $V D UHVXOW RI WKH DFWV VHW RXW LQ WKH DERYH SDUDJUDSKV FRPPLWWHG LQ IXUWKHUDQFH RI

 WKLV FRQVSLUDF\ HDFK RI WKH 3ODLQWLIIV QDPHG DERYH ZDV KLQGHUHG DQG LPSHGHG LQ WKH GLVFKDUJH RI

 KLV RU KHU RIILFLDO GXWLHV DQG VXIIHUHG WKH GHSULYDWLRQ RI WKH ULJKW WR EH IUHH IURP LQWLPLGDWLRQ DQG

 WKUHDWV LQ WKH GLVFKDUJH RI KLV RU KHU RIILFLDO GXWLHV DV H[SOLFLWO\ SURWHFWHG XQGHU .X .OX[ .ODQ

 $FW 'XULQJ WKH WLPH ZKHQ WKH &DSLWRO ZDV XQGHU DWWDFN HDFK RI WKH 3ODLQWLIIV QDPHG DERYH

 VXIIHUHG HPRWLRQDO KDUP

            $V D UHVXOW HDFK RI WKH 3ODLQWLIIV QDPHG DERYH VHHNV DQ DZDUG RI FRPSHQVDWRU\

 GDPDJHV

            $V WKH XQODZIXO DFWLRQV WDNHQ E\ WKH 'HIHQGDQWV ZHUH PDOLFLRXV DQG LQ UHFNOHVV

 GLVUHJDUG RI IHGHUDOO\ SURWHFWHG ULJKWV HDFK RI WKH 3ODLQWLIIV QDPHG DERYH VHHNV DQ DZDUG RI

 SXQLWLYH GDPDJHV WR SXQLVK WKH 'HIHQGDQWV IRU HQJDJLQJ LQ D FRQFHUWHG DQG FRQWLQXLQJ FRXUVH RI

 XQODZIXO FRQGXFW DQG WR GHWHU WKH 'HIHQGDQWV DQG RWKHUV IURP HQJDJLQJ LQ VLPLODU XQODZIXO

 FRQGXFW LQ WKH IXWXUH




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                                     35$<(5 )25 5(/,()

 :KHUHIRUH 3ODLQWLIIV UHVSHFWIXOO\ UHTXHVW DQ DZDUG RI WKH IROORZLQJ UHOLHI

          $    $ GHFODUDWRU\ MXGJPHQW WKDW WKH DFWLRQV GHVFULEHG KHUHLQ FRQVWLWXWH D YLRODWLRQ RI

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          %    ,QMXQFWLYH UHOLHI HQMRLQLQJ 'HIHQGDQWV IURP HQJDJLQJ LQ IXWXUH YLRODWLRQV RI 

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  /s/ Janette Louard                             /s/ Joseph M. Sellers
  -DQHWWH /RXDUG pro hac vice motion to be       -RVHSK 0 6HOOHUV %DU 1R 
  filed                                          %ULDQ &RUPDQ %DU 1R 
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  1$$&3                                           1HZ <RUN $YHQXH 1: 6XLWH  (DVW
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  MORXDUG#QDDFSQHWRUJ                           EFRUPDQ#FRKHQPLOVWHLQFRP
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  DEDUQHV#QDDFSQHWRUJ



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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

 _________________________________________
                                           )
 BENNIE G. THOMPSON et al.,                )
                                           )
       Plaintiffs,                         )
                                           )
              v.                           )   Case No. 21-cv-00400 (APM)
                                           )
 DONALD J. TRUMP et al.,                   )
                                           )
       Defendants.                         )
 _________________________________________ )
 _________________________________________
                                           )
 ERIC SWALWELL,                            )
                                           )
       Plaintiff,                          )
                                           )
              v.                           )   Case No. 21-cv-00586 (APM)
                                           )
 DONALD J. TRUMP et al.,                   )
                                           )
       Defendants.                         )
 _________________________________________ )
 _________________________________________
                                           )
 JAMES BLASSINGAME &                       )
       SIDNEY HEMBY,                       )
                                           )
       Plaintiffs,                         )
                                           )
              v.                           )   Case No. 21-cv-00858 (APM)
                                           )
 DONALD J. TRUMP,                          )
                                           )
       Defendant.                          )
 _________________________________________ )




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                                  MEMORANDUM OPINION AND ORDER

 I.         INTRODUCTION

            January 6, 2021 was supposed to mark the peaceful transition of power. It had been that

 way for over two centuries, one presidential administration handing off peacefully to the next.

 President Ronald Reagan in his first inaugural address described “the orderly transfer of authority”

 as “nothing less than a miracle.” 1 Violence and disruption happened in other countries, but not

 here. This is the United States of America, and it could never happen to our democracy.

            But it did that very afternoon. At around 1:30 p.m., thousands of supporters of President

 Donald J. Trump descended on the U.S. Capitol building, where Congress had convened a Joint

 Session for the Certification of the Electoral College vote. The crowd had just been at the Ellipse

 attending a “Save America” rally, where President Trump spoke. At the end of his remarks, he

 told rally-goers, “we fight, we fight like hell, and if you don’t fight like hell, you’re not going to

 have a country anymore.” The President then directed the thousands gathered to march to the

 Capitol—an idea he had come up with himself. About 45 minutes after they arrived, hundreds of

 the President’s supporters forced their way into the Capitol building. Many overcame resistance

 by violently assaulting United States Capitol Police (“Capitol Police”) with their fists and with

 weapons. Others simply walked in as if invited guests. As Capitol Police valiantly fought back

 and diverted rioters, members of Congress adjourned the Joint Session and scrambled to safety.


 1
     President Reagan said on that day:

                     To a few of us here today, this is a solemn and most momentous occasion; and
                     yet, in the history of our Nation, it is a commonplace occurrence. The orderly
                     transfer of authority as called for in the Constitution routinely takes place as it has
                     for almost two centuries and few of us stop to think how unique we really are. In
                     the eyes of many in the world, this every-4-year ceremony we accept as normal is
                     nothing less than a miracle.

 President Ronald W. Reagan, First Inaugural Address (Jan. 20, 1981), https://www.reaganfoundation
 .org/media/128614/inaguration.pdf (last visited Feb. 17, 2022).

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 So, too, did the Vice President of the United States, who was there that day in his capacity as

 President of the Senate to preside over the Certification. Five people would die, dozens of police

 officers suffered physical and emotional injuries and abuse, and considerable damage was done to

 the Capitol building. But, in the end, after law enforcement succeeded in clearing rioters from the

 building, Congress convened again that evening and certified the next President and Vice President

 of the United States. The first ever presidential transfer of power marred by violence was over.

        These cases concern who, if anyone, should be held civilly liable for the events of

 January 6th. The plaintiffs in these cases are eleven members of the House of Representatives in

 their personal capacities and two Capitol Police officers, James Blassingame and Sidney Hemby

 (“Blassingame Plaintiffs”). Taken together, they have named as defendants: President Trump; the

 President’s son, Donald J. Trump Jr.; the President’s counsel, Rudolph W. Giuliani; Representative

 Mo Brooks; and various organized militia groups—the Proud Boys, Oath Keepers, and Warboys—

 as well as the leader of the Proud Boys, Enrique Tarrio.

        Plaintiffs’ common and primary claim is that Defendants violated 42 U.S.C. § 1985(1), a

 provision of a Reconstruction-Era statute known as the Ku Klux Klan Act of 1871. The Act was

 aimed at eliminating extralegal violence committed by white supremacist and vigilante groups like

 the Ku Klux Klan and protecting the civil rights of freedmen and freedwomen secured by the

 Fourteenth Amendment. Section 1985(1) is not, however, strictly speaking a civil rights provision;

 rather, it safeguards federal officials and employees against conspiratorial acts directed at

 preventing them from performing their duties. It provides:

                If two or more persons in any State or Territory conspire to prevent,
                by force, intimidation, or threat, any person from accepting or
                holding any office, trust, or place of confidence under the United
                States, or from discharging any duties thereof; or to induce by like
                means any officer of the United States to leave any State, district, or
                place, where his duties as an officer are required to be performed, or

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                  to injure him in his person or property on account of his lawful
                  discharge of the duties of his office, or while engaged in the lawful
                  discharge thereof, or to injure his property so as to molest, interrupt,
                  hinder, or impede him in the discharge of his official duties.

 42 U.S.C. § 1985(1). The statute, in short, proscribes conspiracies that, by means of force,

 intimidation, or threats, prevent federal officers from discharging their duties or accepting or

 holding office. A party injured by such a conspiracy can sue any coconspirator to recover damages.

 Id. § 1985(3).

        Plaintiffs all contend that they are victims of a conspiracy prohibited by § 1985(1). They

 claim that, before and on January 6th, Defendants conspired to prevent members of Congress, by

 force, intimidation, and threats, from discharging their duties in connection with the Certification

 of the Electoral College and to prevent President-elect Joseph R. Biden and Vice President–elect

 Kamala D. Harris from accepting or holding their offices. More specifically, they allege that,

 before January 6th, President Trump and his allies purposely sowed seeds of doubt about the

 validity of the presidential election and promoted or condoned acts of violence by the President’s

 followers, all as part of a scheme to overturn the November 2020 presidential election. Those

 efforts culminated on January 6th, when the President’s supporters, including organized militia

 groups and others, attacked the Capitol building while Congress was in a Joint Session to certify

 the Electoral College votes. Notably, Plaintiffs allege that President Trump’s January 6 Rally

 Speech incited his supporters to commit imminent acts of violence and lawlessness at the Capitol.

 Plaintiffs all claim that they were physically or emotionally injured, or both, by the acts of the

 conspirators.

        Plaintiffs advance other claims, as well.         Swalwell alleges a violation of § 1986, a

 companion provision to § 1985. 42 U.S.C. § 1986. That statute makes a person in a position of

 power who knows about a conspiracy prohibited by § 1985, and who neglects or refuses to take

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 steps to prevent such conspiracy, liable to a person injured by the conspiracy. Swalwell claims

 that President Trump, Trump Jr., Giuliani, and Brooks violated § 1986 by refusing to act to prevent

 the violence at the Capitol. Swalwell and the Blassingame Plaintiffs also advance numerous

 common law torts and statutory violations under District of Columbia law.

        All Defendants have appeared except the Proud Boys and Warboys. Defendants have

 moved to dismiss all claims against them. They advance a host of arguments that, in the main,

 seek dismissal for lack of subject matter jurisdiction or for failure to state a claim. The parties

 have submitted extensive briefing on a range of constitutional, statutory, and common law issues.

 The court held a five-hour-long oral argument to consider them.

        After a full deliberation over the parties’ positions and the record, the court rules as follows:

 (1) President Trump’s motion to dismiss is denied as to Plaintiffs’ § 1985(1) claim and certain

 District of Columbia–law claims and granted as to Swalwell’s § 1986 claim and certain District of

 Columbia–law claims; (2) Trump Jr.’s motion to dismiss is granted; (3) Giuliani’s motion to

 dismiss is granted; (4) the Oath Keepers’ motion to dismiss is denied; and (5) Tarrio’s motion to

 dismiss is denied. Separately, Brooks has moved to substitute the United States as the proper party

 under the Westfall Act. The court declines to rule on that motion and instead invites Brooks to

 file a motion to dismiss, which the court will grant for the same reasons it has granted Trump Jr.’s

 and Giuliani’s motions.

 II.    BACKGROUND

        A.      Facts Alleged

        This summary of the alleged facts is drawn from the complaints in all three cases. There

 is substantial overlap, but there are some differences. The court has not referenced every fact

 alleged across the three complaints; this factual recitation is meant to summarize the main



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 allegations. Additionally, a citation to one complaint should not be understood to mean that the

 allegation is not present in the other complaints. The court has limited the citations in the interest

 of efficiency. Additional facts will be referenced as appropriate in the Discussion section.

           As is required on a motion to dismiss, the court assumes these facts to be “true (even if

 doubtful in fact).” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007). These are not the

 court’s factual findings.

                  1.       The Weeks Following the Election

                           a.       False claims of election fraud and theft

           President Trump began to sow seeds of doubt about the validity of the November 2020

 presidential election in the weeks leading up to Election Day. Am. Compl., Blassingame v. Trump,

 No. 21-cv-00858 (APM) (D.D.C.), ECF No. 3 [hereinafter Blassingame Compl.], ¶ 13.

 He claimed, among other things, that there would be “fraud,” the election was “rigged,” and his

 adversaries were “trying to steal” victory from him. Id. ¶¶ 13, 16; Compl., Swalwell v. Trump,

 No. 21-cv-00586 (APM) (D.D.C.), ECF No. 1 [hereinafter Swalwell Compl.]; Mot. for Leave to

 File Am. Compl., ECF No. 11, Am. Compl., ECF No. 11-1, [hereinafter, Thompson Compl.],

 ¶ 33. 2

           On election night, the President claimed victory before all the votes were counted. He

 tweeted that “they are trying to STEAL the Election. We will never let them do it.” Blassingame

 Compl. ¶ 17. He also would say in a primetime television address the next day, “If you count the

 legal votes, I easily win. If you count the illegal votes, they can try to steal the election from us.”

 Swalwell Compl. ¶ 33.




 2
   Subsequent citations to filings from these three dockets omit the case name and number. Context and/or the title of
 the filing should make clear to which docket a particular filing belongs.

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        The President’s allies joined him in making similar claims. For example, on November 5,

 2020, Brooks tweeted that he “lack[ed] faith that this was an honest election.”             Id. ¶ 78.

 On November 6, 2021, Trump Jr. tweeted that his father’s campaign was uncovering evidence of

 voter fraud and that the media was creating a false narrative that voter fraud was not real. Id. ¶ 69.

 On November 7, 2020, one of President Trump’s lawyers, Rudolph Giuliani, held a press

 conference in suburban Philadelphia, during which he asserted that there was rampant voter fraud

 in Philadelphia and Pittsburgh, which accounted for the President’s loss in Pennsylvania.

 Thompson Compl. ¶ 38.

                        b.      Efforts to influence state and local election officials

        The President also took his case directly to state and local election officials. These

 meetings occurred by phone and in person, and centered mostly on Georgia, Michigan, and

 Pennsylvania. Swalwell Compl. ¶¶ 39, 45, 49, 52. In some instances, these efforts were followed

 by threatening words and conduct by some supporters.

        In Georgia, for example, the President called Georgia’s Secretary of State an “enemy of

 the people” and tweeted about him over a dozen times. Swalwell Compl. ¶ 49. The Secretary and

 his family were then targeted by some of the President’s supporters with threats of violence and

 death. Id. ¶ 50. Another Georgia state official pleaded with the President to condemn death threats

 made to election workers in Georgia, but he refused to do so. Blassingame Compl. ¶ 29.

        In another instance, in Michigan, on December 5, 2020, the President falsely declared that

 he had won almost every county in the state. Swalwell Compl. ¶ 40. The next day armed protesters

 went to the home of Michigan’s Secretary of State, demanding she overturn the election results.

 Thompson Compl. ¶ 50. During these weeks, the President also tweeted criticism of Republican




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 governors in Arizona and Georgia, claiming that “[i]f they were with us, we would have already

 won both.” Swalwell Compl. ¶ 36.

         During these efforts, and aware of the threats directed against state election officials, the

 President tweeted, “People are upset, and they have a right to be.” Thompson Compl. ¶ 52.

         The President’s allies, including Brooks and Giuliani, continued to support the President’s

 campaign to undo the election results. Brooks, for example, tweeted false claims that President-

 elect Joe Biden had not won Georgia, and he also announced that he would object to certifying the

 Electoral College ballots from Georgia. Swalwell Compl. ¶ 82. Giuliani also continued his efforts,

 falsely suggesting in mid-November that irregularities in Detroit were the reason for the

 President’s loss. Thompson Compl. ¶ 42. He asked then–Deputy Secretary of Homeland Security

 Ken Cuccinelli to seize voting machines. Swalwell Compl. ¶ 62. A Trump campaign attorney

 even suggested that an election official should be shot. Thompson Compl. ¶ 48.

                        c.      “Stop the Steal” rallies

         Dozens of protests sprung up around the country. Blassingame Compl. ¶ 22. Two in

 Washington, D.C., turned violent. On the evening of November 14, 2020, multiple police officers

 were injured and nearly two dozen arrests were made. Id. ¶ 26. Then, on December 12, 2020,

 supporters of the President clashed with District of Columbia police, injuring eight of them, which

 led to over 30 arrests, many for acts of assault. Id. ¶ 28. The President was aware of these rallies,

 as he tweeted about them, and he would have known about the violence that accompanied them.

 Id. ¶¶ 25, 27.

         Organized militia groups attended these events in Washington, D.C. One of them was the

 Proud Boys. During a pre-election debate, the moderator asked whether President Trump would

 denounce white supremacist groups. When the President asked, “[W]ho would you like me to



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 condemn?,” Vice President Biden suggested the “Proud Boys,” to which the President responded,

 “Proud Boys, stand back, and stand by.” Thompson Compl. ¶ 30. Tarrio, the head of the Proud

 Boys, tweeted in response, “Standing by sir.” Id.

        Another militia group that came to Washington, D.C., for these rallies was the Oath

 Keepers. At the December rally, an Oath Keepers leader told the assembled crowd, the President

 “needs to know from you that you are with him, [and] that if he does not do it while he is

 commander in chief, we’re going to have to do it ourselves later, in a much more desperate, much

 more bloody war.” Id. ¶ 54.

                2.        Preparations for the January 6 Rally

        On December 19, 2020, President Trump announced that there would be a rally in

 Washington, D.C., on January 6th, the day of the Certification of the Electoral College: “Big

 protest in D.C. on January 6th. Be there, will be wild!” Swalwell Compl. ¶ 86. The President and

 his campaign were involved in planning and funding the rally. He participated in selecting the

 speaker lineup and music, and his campaign made direct payments of $3.5 million to rally

 organizers. Thompson Compl. ¶¶ 68–69. Significantly, the rally was not permitted for a march

 from the Ellipse. Id. ¶ 90. The President and his campaign came up with the idea for a march to

 the Capitol. Id. ¶ 69.

        Pro-Trump message boards and social media lit up after the President’s tweet announcing

 the January 6 Rally. Some followers viewed the President’s tweet as “marching orders.” One user

 posted, referring to the President’s debate statement to the Proud Boys, “standing by no longer.”

 Swalwell Compl. ¶ 88; Thompson Compl. ¶ 57.            Other supporters explicitly contemplated

 “[s]torm[ing] the [Capitol],” and some posted about “Operation Occupy the Capitol” or tweeted

 using the hashtag #OccupyCapitols. Swalwell Compl. ¶ 89; Thompson Compl. ¶ 62.



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        The President knew that his supporters had posted such messages. He and “his advisors

 actively monitored the websites where his followers made these posts.” Thompson Compl. ¶ 66.

 News outlets, including Fox News, discussed them, as well. Id. On December 28, 2020, in widely

 publicized remarks, a former White House aide predicted, “there will be violence on January 6th

 because the president himself encourages it.” Id.

        Trump’s allies also worked to promote the January 6 Rally. Trump Jr. posted a video on

 Instagram asking his followers to “Be Brave. Do Something.” Swalwell Compl. ¶ 74. Giuliani

 tweeted a video purporting to explain how Vice President Mike Pence could block the certification

 of the election results. Id. ¶ 65. Brooks posted on social media on the eve of the rally that the

 President “asked [him] personally to speak & tell the American people about the election system

 weaknesses that the Socialist Democrats exploited to steal this election.” Id. ¶ 84.

        At the same time, members of the Proud Boys and the Oath Keepers began their

 preparations for the rally in earnest. On December 19 and 25, 2020, leaders of the Oath Keepers

 announced that they had “organized an alliance” and “orchestrated a plan” with the Proud Boys.

 Thompson Compl. ¶ 63. Tarrio said that the Proud Boys would turn out in “record numbers.” Id.

 ¶ 64. The groups also secured tactical and communications equipment. Id. ¶ 65. The Oath

 Keepers recruited additional members and prepared them with military-style training. Id. ¶ 127.

                3.      January 6th—The Riot at the Capitol Building

        The “Save America” rally on the Ellipse began at about 7:00 a.m. Blassingame Compl.

 ¶ 58. Brooks took the stage around 8:50 a.m. Swalwell Compl. ¶ 84. The Congressman said,

 among other things, that “[w]e are great because our ancestors sacrificed their blood, their sweat,

 their tears, their fortunes, and sometimes their lives,” and that “[t]oday is the day American patriots

 start taking down names and kicking ass!” Id. ¶¶ 106, 108. After Brooks finished, Giuliani spoke.



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 He repeated that the “election was stolen” and said that it “has to be vindicated to save our

 country.” Id. ¶ 113. Then, in the context of discussing how disputes over election fraud might be

 resolved, he proclaimed, “Let’s have trial by combat!” Id. ¶ 114. Trump Jr. gave the last speech

 before the President took to the podium. He spent much of his remarks claiming that the

 Republican Party belongs to Donald Trump. He also warned Republican members of Congress,

 “If you’re gonna be the zero, and not the hero, we’re coming for you, and we’re gonna have a good

 time doing it.” Id. ¶¶ 117–119.

            At about noon, President Trump took the stage. Id. ¶ 121. The court will discuss the

 President’s speech in much greater detail later in this opinion, so recites only portions here. The

 President spoke for 75 minutes, and during that time, he pressed the false narrative of a stolen

 election. He suggested that Vice President Pence could return Electoral College ballots to the

 states, allowing them to recertify Electors, which would bring about an election victory. He urged

 rally-goers to “fight like hell,” and he told them that “you’re allowed to go by very different rules”

 when fraud occurs. Swalwell Compl. ¶¶ 126, 128. Early in the speech he referenced a march to

 the Capitol and said he knew the crowd would be going there to “peacefully and patriotically”

 make their voices heard. An hour later, he punctuated his speech by saying that the election loss

 “can’t have happened and we fight, we fight like hell, and if you don’t fight like hell, you’re not

 going to have a country anymore.” Thompson Compl. ¶ 88. He then directed his supporters to the

 Capitol. The crowd at various points responded, “Fight Like Hell. Fight for Trump,” and at other

 points, “Storm the Capitol,” “Invade the Capitol Building,” and “Take the Capitol right now.”

 Blassingame Compl. ¶ 61; Thompson Compl. ¶ 88. 3 Responding to the President’s call, thousands

 marched to the Capitol building after he finished his remarks.



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     As discussed later, these Complaints make different allegations about the timing of these shouts and chants.

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        Meanwhile, Congress had convened a Joint Session at 1:00 p.m. to certify the Electoral

 College vote. Thompson Compl. ¶ 93. Outside the building, some supporters already had begun

 confrontations with Capitol Police. Even before the President’s speech had concluded, the Proud

 Boys, operating in small groups, had begun to breach the outer perimeter of the Capitol.

 Blassingame Compl. ¶ 66; Thompson Compl. ¶¶ 98–100. The Ellipse crowd began to arrive by

 1:30 p.m. Blassingame Compl. ¶ 69. As their numbers grew, the crowd overwhelmed police and

 exterior barriers and entered the Capitol by 2:12 p.m. Swalwell Compl. ¶ 134. The Oath Keepers

 were among the crowd. Thompson Compl. ¶ 126. The Joint Session was suspended, and the Vice

 President and members of Congress were evacuated. Id. ¶ 111; Swalwell Compl. ¶¶ 135–136.

 Police officers, including the Blassingame Plaintiffs, were injured as violent confrontations

 continued with the President’s supporters.

                4.      The President’s Response

        After his speech, the President returned to the White House and watched the events at the

 Capitol unfold on television.    Thompson Compl. ¶ 106.        Despite pleas from advisors and

 Congressmen, the President did not immediately call on his supporters to leave the Capitol

 building. Blassingame Compl. ¶¶ 114, 116; Thompson Compl. ¶ 123. At about 2:24 p.m., after

 rioters had entered the Capitol, he sent a tweet critical of the Vice President for lacking “the

 courage to do what should have been done to protect our Country and our Constitution.”

 Blassingame Compl. ¶ 116. Eventually, two hours later, the President would tell his supporters to

 stand down. He tweeted a video calling on them to “[g]o home. We love you. You’re very

 special.” Id. ¶ 125.

        The President sent one more tweet that day. After police had cleared the Capitol, around

 6:00 p.m., the President said: “These are the things and events that happen when a sacred landslide



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 election victory is so unceremoniously & viciously stripped away from great patriots who have

 been badly & unfairly treated for so long. . . . Remember this day forever!” Id. ¶ 127.

          The House of Representatives would later pass a single Article of Impeachment accusing

 President Trump of “Inciting an Insurrection,” but the Senate would acquit him after he left office.

          B.      Procedural History

                  1.      Thompson v. Trump

          The Thompson case was the first to come before the court on February 16, 2021. See

 Compl., ECF No. 1. The plaintiffs in that case are ten members of the House of Representatives. 4

 Although the case is captioned Thompson v. Trump, the court will refer to these plaintiffs as the

 “Bass Plaintiffs”—after the second named plaintiff, Representative Karen R. Bass—because the

 lead plaintiff, Representative Bennie G. Thompson, voluntarily dismissed his claims after his

 appointment to serve as the chair of the Select Committee to Investigate the January 6th Attack on

 the United States Capitol. See Notice of Voluntary Dismissal, ECF No. 39. Although all are

 elected officials, the Bass Plaintiffs have filed suit in their personal capacities. See Thompson

 Compl.

          The Bass Plaintiffs have named six defendants: President Trump, Giuliani, the Oath

 Keepers, Proud Boys International, Warboys LLC, and Tarrio. Id. They assert a single claim

 against all Defendants: a violation of 42 U.S.C. § 1985(1). Id. at 60. All Defendants except the

 Proud Boys and Warboys have appeared and moved to dismiss the claim against them. See Def.

 Oath Keepers’ Mot. to Dismiss, ECF No. 20 [hereinafter Thompson Oath Keepers’ Mot.]; Def.

 Giuliani’s Mot. to Dismiss, ECF No. 21, Mem. of P. & A. in Supp. of Def.’s Mot. to Dismiss, ECF

 No. 21-1 [hereinafter Thompson Giuliani Mot.]; Def. Trump’s Mot. to Dismiss, ECF No. 22, Mem.


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  The plaintiffs are Representatives Karen R. Bass, Stephen I. Cohen, Veronica Escobar, Pramila Jayapal, Henry C.
 Johnson, Jr., Marcia C. Kaptur, Barbara J. Lee, Jerrold Nadler, Maxine Waters, and Bonnie M. Watson Coleman.

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 in Supp. of Def. Trump’s Mot. to Dismiss, ECF No. 22-1 [hereinafter Thompson Trump Mot.];

 Def. Tarrio’s Notice of Intention to Join Mots. to Dismiss, ECF No. 64.

                  2.     Swalwell v. Trump

           Representative Eric Swalwell filed his action on March 5, 2021, also in his personal

 capacity. Swalwell Compl. He named as defendants President Trump, Trump Jr., Brooks, and

 Giuliani. His Complaint advances a host of federal and District of Columbia–law claims against

 all Defendants: (1) violation of § 1985(1) (Count 1); (2) violation of 42 U.S.C. § 1986 (Count 2);

 (3) two counts of negligence per se predicated on violations of District of Columbia anti-rioting

 and disorderly conduct criminal statutes (Counts 3 and 4); (4) violation of the District of Columbia

 anti-bias statute, D.C. Code § 22-3701 et seq. (Count 5); (5) intentional infliction of emotional

 distress (Count 6); (6) negligent infliction of emotional distress (Count 7); (7) aiding and abetting

 common law assault (Count 8); and (8) negligence (Count 9). Id. at 45–62.

           Each Defendant except Brooks has moved to dismiss all claims against him. See Def.

 Giuliani’s Mot. to Dismiss, ECF No. 13, Mem. of P. & A. in Supp. of Def.’s Mot. to Dismiss, ECF

 No. 13-1 [hereinafter Swalwell Giuliani Mot.]; Defs. Trump & Trump Jr.’s Mot. to Dismiss, ECF

 No. 14, Mem. in Supp. of Trump & Trump Jr.’s Mot. to Dismiss, ECF No. 14-1 [hereinafter

 Swalwell Trump Mot.].

        Brooks has moved for a scope-of-office certification under the Westfall Act, 28 U.S.C.

 § 2679.     See Pet. to Certify Def. Mo Brooks Was Acting Within Scope of His Office or

 Employment, ECF No. 20. Under the Westfall Act, if the Attorney General certifies that a tort

 claim against an employee of government—including a member of Congress—arises from conduct

 performed while “acting within the scope of his office or employment,” the United States is to be

 substituted as the defendant. 28 U.S.C. § 2679(d)(1). Brooks asked the Attorney General for a



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 Westfall Act certification, but he declined the request. See U.S. Resp. to Def. Mo Brooks’s Petition

 to Certify He Was Acting Within Scope of His Office or Employment, ECF No. 33 [hereinafter

 U.S. Resp. to Brooks]. Notwithstanding the Attorney General’s denial, the Westfall Act authorizes

 a court to make the requisite certification. See 28 U.S.C. § 2679(d)(3) (“In the event that the

 Attorney General has refused to certify scope of office or employment under this section, the

 employee may at any time before trial petition the court to find and certify that the employee was

 acting within the scope of his office or employment.”). Brooks seeks such relief from the court.

                 3.     Blassingame v. Trump

          The third action is brought by James Blassingame and Sidney Hemby, two Capitol Police

 officers who were on duty and injured on January 6th. They name only President Trump as a

 defendant. Blassingame Compl. They advance numerous federal and District of Columbia–law

 claims: (1) directing assault and battery (Count 1); (2) aiding and abetting assault and battery

 (Count 2); (3) directing intentional infliction of emotional distress (Count 3); (4) two counts of

 negligence per se predicated on violations of District of Columbia anti-rioting and disorderly

 conduct criminal statutes (Counts 4 and 5); (5) punitive damages (Count 6); (6) violation of

 § 1985(1) (Count 7); and (7) civil conspiracy in violation of common law (Count 8). See id. at

 36–48.

          Defendant Trump has moved to dismiss all counts against him. Def. Trump’s Mot. to

 Dismiss, ECF No. 10, Def.’s Mem. in Supp. of His Mot. to Dismiss, ECF No. 10-1 [hereinafter

 Blassingame Trump Mot.].

                 4.     The Motions to Dismiss

          Defendants’ arguments for dismissal are the same across all three cases. Generally, all

 Defendants contend the following: (1) Plaintiffs lack standing to sue under Article III of the



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 Constitution; (2) the First Amendment bars Plaintiffs’ claims; and (3) Plaintiffs have failed to state

 claims under § 1985(1) and District of Columbia law. President Trump advances a number of

 contentions that are specific to him: (1) he is absolutely immune from suit; (2) the political question

 doctrine renders these cases nonjusticiable; (3) the Impeachment Judgment Clause bars civil suits

 against a government official, like him, acquitted following impeachment; and (4) the doctrines of

 res judicata and collateral estoppel premised on his acquittal by the Senate preclude all of

 Plaintiffs’ claims.

          The court held oral argument on January 10, 2022, on Defendants’ motions. See Hr’g Tr.,

 ECF No. 63.

 III.     DISCUSSION

          This section consists of two subparts: a discussion of (1) whether the court has subject

 matter jurisdiction to hear these actions, and if it does, (2) whether Plaintiffs have stated cognizable

 claims. The court begins, where it must, with determining whether it has jurisdiction to hear these

 matters.

          A.       Subject Matter Jurisdiction

          Defendants’ challenge to the court’s subject matter jurisdiction requires the court to make

 four inquiries: (1) whether Plaintiffs have Article III standing to sue, (2) whether President Trump

 enjoys absolute immunity from suit, (3) whether the cases present a political question that is

 nonjusticiable as to President Trump, and (4) whether the claims against President Trump are

 barred by the Impeachment Judgment Clause. 5 The court also addresses in this portion of the


 5
  President Trump raises another contention under the rubric of Article III standing but misclassifies it. He insists that
 Swalwell and the Bass Plaintiffs cannot bring suit under § 1985(1) because such a claim “is only available to specific
 federal officials,” which does not include members of Congress. Thompson Trump Mot. at 16. Therefore, he says,
 “Plaintiffs are not of a class of individuals who have standing to bring a claim under § 1985(1).” Id. at 18 (emphasis
 added). This type of argument is commonly referred to as “statutory standing.” See Lexmark Int’l, Inc. v. Static


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 opinion President Trump’s res judicata and collateral estoppel defenses, which, although not

 jurisdictional in nature, logically fit here because they are premised on his acquittal following

 impeachment.

          The court holds that (1) all Plaintiffs have plausibly established Article III standing,

 (2) President Trump is not absolutely immune from suit, except as to Swalwell’s § 1986 failure-

 to-act claim (Count 2), (3) the political question doctrine does not bar the court’s review, (4) the

 Impeachment Judgment Clause does not foreclose the claims against President Trump, and (5) the

 doctrines of res judicata and collateral estoppel do not preclude litigation of the case or any claim

 or fact against President Trump. The court takes up these issues in the order listed.

                    1.       Article III Standing

          The Article III standing arguments made by Defendants are of two varieties. First,

 President Trump maintains that Swalwell and the Bass Plaintiffs “have not alleged a particularized

 injury causally connected to Mr. Trump.” Thompson Trump Mot. at 15; Swalwell Trump Mot. at

 16–17 (arguing that Swalwell “failed to allege any concrete injury caused by Defendants”).

 Second, the Oath Keepers contend that the Bass Plaintiffs lack standing to sue in their personal

 capacities to redress the alleged interference with their official duty to attend and participate in the

 Certification of the Electoral College vote. Thompson Oath Keepers’ Mot. at 17. Neither

 contention has merit.




 Control Components, Inc., 572 U.S. 118, 128 n.4 (2014). The Supreme Court has made clear, however, that a question
 of statutory standing does not implicate the court’s subject matter jurisdiction, that is, the court’s power to hear a case.
 See id. Rather, a dispute as to statutory standing simply requires a court to determine whether a plaintiff “has a cause
 of action under the statute.” Id. at 128. It is therefore an argument properly addressed pursuant to Federal Rule of
 Civil Procedure 12(b)(6), not Rule 12(b)(1). The court thus takes up President Trump’s statutory standing argument
 below in the section addressing whether Swalwell and the Bass Plaintiffs have stated a claim under § 1985(1).

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                           a.       The elements of standing

         A plaintiff in federal court bears the burden of showing that she meets the “irreducible

 constitutional minimum” of Article III standing: (1) injury in fact, (2) causation, and

 (3) redressability. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). To establish standing

 at the motion to dismiss stage, the plaintiff “must state a plausible claim that [she has] suffered an

 injury in fact fairly traceable to the actions of the defendant that is likely to be redressed by a

 favorable decision on the merits.” Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 913 (D.C.

 Cir. 2015) (internal quotation marks omitted). The court must accept the well-pleaded allegations

 of the complaint as true and draw all inferences in favor of the plaintiff. Arpaio v. Obama, 797

 F.3d 11, 19 (D.C. Cir. 2015).

         The primary question the court faces concerns “injury in fact, the first and foremost of

 standing’s three elements.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (internal quotation

 marks and alteration omitted). In one sense that inquiry here is easy; in another, it is a bit more

 complicated. The easy establishment of a concrete injury is in Blassingame and as to one Plaintiff

 in Thompson. “If a defendant has caused physical . . . injury to the plaintiff, the plaintiff has

 suffered a concrete injury in fact under Article III.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190,

 2204 (2021). The Blassingame Plaintiffs claim to have suffered physical injury. Blassingame

 Compl. ¶ 83 (“Officer Hemby was crushed against the doors on the east side trying to hold the

 insurrectionists back.”); id. ¶ 88 (alleging Officer Hemby suffered “cuts and abrasions” over his

 face and hands); id. ¶ 109 (“The insurrectionists struck Officer Blassingame in his face, head,

 chest, arms, and what felt like every part of his body.”). 6 So, too, does Bass Plaintiff Jayapal. See


 6
  Although President Trump does not contest the Blassingame Plaintiffs’ standing except for a cursory mention in the
 one-page motion to which he attaches his memorandum, Def. Trump’s Mot. to Dismiss, ECF No. 10; see generally
 Blassingame Trump Mot., the court nevertheless addresses it. See Arbaugh v. Y & H Corp., 546 U.S. 500, 514 (2006)


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 Thompson Compl. ¶¶ 197, 203, 208 (alleging that she had a recent knee-replacement surgery and

 the evacuation from the House Gallery caused her to suffer “throbbing pain in her greatly swollen

 knee,” and that she “endured significant pain and experienced setbacks in her knee replacement

 surgery recovery”). Because only one plaintiff must establish standing in Thompson, the court

 need not inquire as to the other Bass Plaintiffs. See In re Navy Chaplaincy, 697 F.3d 1171, 1178

 (D.C. Cir. 2012).

         The more challenging question surrounding injury in fact relates to Swalwell in his

 individual case. He does not allege any physical injury, only emotional harm. Swalwell Compl.

 ¶¶ 149, 223 (claiming “severe emotional distress”). For his common law claims, such harm is

 sufficient to establish an injury in fact. See, e.g., TransUnion LLC, 141 S. Ct. at 2211 n.7

 (acknowledging that emotional or psychological injury suffices for the tort of intentional infliction

 of emotional distress). But not automatically so for his claims under § 1985(1) and § 1986 of the

 Ku Klux Klan Act. See Davis v. Fed. Election Comm’n, 554 U.S. 724, 734 (2008) (stating that “a

 plaintiff must demonstrate standing for each claim he seeks to press” (internal quotation marks

 omitted)).    As to those claims, a question remains whether emotional harm is sufficiently

 “concrete” to establish Article III standing. Spokeo, 578 U.S. at 340. To determine “whether [such

 an] intangible harm” is sufficiently concrete, courts must consider “both history and the judgment

 of Congress.” Id. As to history, “it is instructive to consider whether an alleged intangible harm

 has a close relationship to a harm that has traditionally been regarded as providing a basis for a

 lawsuit in English or American courts.” Id. at 341. And, as to Congress’s judgment, courts must

 ask “whether Congress has permissibly sought to ‘elevate to the status of legally cognizable




 (stating that federal courts have an “independent obligation to determine whether subject-matter jurisdiction exists,
 even in the absence of a challenge from any party”).

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 injuries concrete de facto injuries that were previously inadequate in law[.]’” Magruder v. Capital

 One, Nat’l Ass’n, 540 F. Supp. 3d 1, 7 (D.D.C. 2021) (quoting Spokeo, 578 U.S. at 341).

        The parties have devoted scant attention to these questions. The court has considered them,

 however, and concludes that emotional harm is sufficiently concrete to establish Article III

 standing for claims asserted under § 1985(1) and § 1986. Starting with history, the alleged

 intangible harm here—emotional distress—has long been accepted as a basis for certain types of

 suits in American courts. “Emotional harm has long-standing recognition as a compensable injury

 as a parasitic harm to personal injury or property damage claims, usually referred to as a claim for

 pain and suffering.” Betsy J. Grey, The Future of Emotional Harm, 83 FORDHAM L. REV. 2605,

 2610 (2015). Additionally, “[c]ommon law . . . traditionally recognized emotional harm claims as

 a component of trespassory torts like assault, false imprisonment, and defamation, allowing a

 presumption of damages without a showing of related physical injury.” Id. This common law

 tradition dovetails with the plain text of § 1985(1) and Congress’s reasons for enacting it. The

 statute creates a cause of action for a person “injured in his person or property” due to a proscribed

 conspiracy.   42 U.S.C. § 1985(3).     The statute makes no distinction between physical and

 emotional injury, and in that sense it aligns with the common law tradition of permitting recovery

 for emotional distress for certain torts without a showing of physical injury. And, though the

 statute “was enacted by a Congress acutely aware of the massive and frequently violent resistance

 in the southern states to federal Reconstruction after the Civil War,” Stern v. U.S. Gypsum, Inc.,

 547 F.2d 1329, 1334 (7th Cir. 1977), courts have broadly interpreted § 1985(1) consistent with its

 “terms and legislative intent . . . , which [are] directed against efforts to impede governmental

 operations by interfering with officials in the discharge of their duties.” Lawrence v. Acree, 665

 F.2d 1319, 1329 (D.C. Cir. 1981) (Wald, J., concurring) (citing Stern, 547 F.2d 1329). Permitting



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 recovery for emotional harm arising from such interference is consistent with that intent. The

 court thus concludes that “history and the judgment of Congress” support recognizing emotional

 harm as a concrete injury to establish standing to bring claims under § 1985(1) and § 1986.

        This conclusion is buttressed, at least implicitly, by two D.C. Circuit decisions. In both

 Barr v. Clinton, 370 F.3d 1196 (D.C. Cir. 2004), and Hall v. Clinton, 285 F.3d 74 (D.C. Cir. 2002),

 the court faced claims brought under § 1985(1). In Barr, the court dismissed the claim based on

 the statute of limitations and the First Amendment, 370 F.3d at 1202–03, and in Hall, it dismissed

 based on the statute of limitations alone, 285 F.3d at 82. In both cases, the plaintiff alleged

 emotional distress as their injury, Barr, 370 F.3d at 1200; Hall, 285 F.3d at 77, yet in neither did

 the court address whether emotional harm was a concrete injury for purposes of Article III.

 Perhaps that is because the sufficiency of such injury was so obvious it did not need to be

 addressed. Barr and Hall therefore support the court’s conclusion.

        President Trump also contests whether Swalwell and the Bass Plaintiffs have plausibly

 demonstrated the second element of standing—causation. He contends that their claimed injuries

 were caused not by his challenged actions, but by “the independent and intervening acts of third-

 party rioters.” Swalwell Trump Mot. at 16. He also contends that causation is lacking because

 “Plaintiffs did not properly allege a conspiracy.” Thompson Trump Mot. at 15. But these

 arguments misconstrue the standing inquiry. In “reviewing the standing question, the court must

 be careful not to decide the questions on the merits for or against the plaintiff, and must therefore

 assume that on the merits the plaintiffs would be successful in their claims.” City of Waukesha v.

 EPA, 320 F.3d 228, 235 (D.C. Cir. 2003); see also Weissman v. Nat’l R.R. Passenger Corp., 21

 F.4th 854, 857 (D.C. Cir. 2021) (citing City of Waukesha, 320 F.3d 228). Thus, in assessing

 Plaintiffs’ standing here, the court must assume that Plaintiffs have successfully pleaded an



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 actionable conspiracy under § 1985(1): that is, President Trump did conspire “to prevent, by force,

 intimidation, or threat,” (1) President Biden and Vice President Harris “from accepting or holding

 any office, trust, or place of confidence under the United States” and (2) members of Congress

 from lawfully discharging their constitutional and statutory duties with respect to certifying the

 Electoral College vote. Viewed in this way, it is apparent that Plaintiffs’ injuries are “fairly

 traceable” to President Trump’s alleged actions as a coconspirator, and “not the result of the

 independent action of some third party not before the court.” Lujan, 504 U.S. at 560 (cleaned up)

 (emphasis added).

          Finally, Plaintiffs’ injuries are redressable with money damages. The court therefore is

 satisfied that Plaintiffs have sufficiently alleged the requisite elements of standing. 7

                             b.        Legislator standing

          The Oath Keepers take a different tack on standing. They assert that the Bass Plaintiffs’

 injuries are institutional in nature—that is, they derive exclusively from their positions as members

 of the House. The Oath Keepers contend that if their injuries are so understood, the Bass Plaintiffs,

 as individual members, lack standing to vindicate an institutional injury. Oath Keepers Mot. at

 17–26. The court might agree with this line of argument if the Bass Plaintiffs were claiming no

 more than that the riot interfered with their abilities to carry out their legislative duties. But that

 is not what they allege. They do not advance an institutional injury, such as the “dilut[ion] [of]

 their Article I voting power.” Raines v. Byrd, 521 U.S. 811, 817 (1997) (internal quotation marks

 omitted). Their injuries are instead personal: emotional distress in the main, as well as physical




 7
   Certain Plaintiffs seek injunctive relief in addition to damages. See Swalwell Compl. at 64; Thompson Compl. at 62.
 The standing inquiry for injunctive relief is different, as it requires a plaintiff to establish a likelihood of future harm.
 In re Navy Chaplaincy, 697 F.3d at 1178 (“It is sufficient that plaintiffs have demonstrated a ‘likelihood of injury that
 rises above the level of unadorned speculation—that is, a realistic danger that [they] will suffer future harm.” (internal
 quotation marks omitted)). Plaintiffs have not plausibly pleaded at this stage any likelihood of future injury.

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 injury to Jayapal. Thompson Compl. ¶ 265 (“During the time when the Capitol was under attack,

 each of the Plaintiffs named above suffered emotional harm.”). Personal harm is the basis for their

 standing and, as discussed, it is sufficient for purposes of Article III. 8

                   2.       Presidential Immunity

          The court turns next to the question of presidential immunity. President Trump contends

 that under the Supreme Court’s decision in Nixon v. Fitzgerald, 457 U.S. 731 (1982), he is

 absolutely immune from damages liability in all three cases because his alleged conduct fell within

 the “outer perimeter” of his official presidential responsibilities. See Swalwell Trump Mot. at

 8–11; Thompson Trump Mot. at 8–11; Blassingame Trump Mot. at 7–13. This is not an easy issue.

 It is one that implicates fundamental norms of separation of powers and calls on the court to assess

 the limits of a President’s functions. And, historical examples to serve as guideposts are few.

 After careful consideration, the court concludes that, on the facts alleged, absolute immunity does

 not shield President Trump from suit, except as to Swalwell’s § 1986 failure-to-act claim.

                            a.       The scope of a President’s absolute immunity against damages
                                     liability

          The court’s discussion naturally begins with the Supreme Court’s decision in Nixon v.

 Fitzgerald. In that case, a former federal employee sued President Richard Nixon and various

 Executive Branch officials for damages arising from his termination from employment.

 Fitzgerald, 457 U.S. at 733–39. The plaintiff claimed that President Nixon was directly involved

 in his firing and that the action was undertaken in retaliation for his having publicly revealed during


 8
   It is understandable why the Oath Keepers interpreted the Bass Plaintiffs’ claimed injury to include an impairment
 of their official duties. Their Complaint states that “each of the Plaintiffs named above was hindered and impeded in
 the discharge of his or her official duties and suffered the deprivation of the right to be free from intimidation and
 threats in the discharge of his or her official duties, as explicitly protected under the Ku Klux Klan Act.” Thompson
 Compl. ¶ 265. That certainly sounds like an institutional injury. In any event, the Bass Plaintiffs have expressly
 disavowed such a theory of standing. Bass Pls.’ Omnibus Mem. of Law in Opp’n to Defs.’ Mots. to Dismiss, ECF
 No. 29, at 20 (“Plaintiffs, however, are not seeking damages for an impaired ability to certify the results of the
 election.”).

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 congressional hearings cost overruns in the Department of the Air Force. See id. The plaintiff

 asserted two statutory claims and one claim under the First Amendment against President Nixon,

 who by that point no longer occupied the Office of the President. See id. After the D.C. Circuit

 declined to dismiss the case on the ground of absolute presidential immunity, the Supreme Court

 took up the question of the “scope of immunity available to a President of the United States.” Id.

 at 741.

           The Court held that President Nixon enjoyed absolute immunity from the plaintiff’s suit:

 “[W]e hold that petitioner, as former President of the United States, is entitled to absolute

 immunity from damages liability predicated on his official acts.” Id. at 749. The Court continued:

 “We consider this immunity a functionally mandated incident of the President’s unique office,

 rooted in the constitutional tradition of the separation of powers.” Id. Central to the Court’s

 determination was the “unique position in the constitutional scheme” that the President occupies.

 Id. The Court observed that, “as the chief constitutional officer of the Executive Branch,” the

 President is “entrusted with supervisory and policy responsibilities of the utmost discretion and

 sensitivity.” Id. at 750. Those responsibilities include taking care that the laws be faithfully

 executed; conducting foreign affairs; and managing the Executive Branch. Id.; see also Trump v.

 Vance, 140 S. Ct. 2412, 2425 (2020) (describing the President’s “duties, which range from

 faithfully executing the laws to commanding the Armed Forces,” as “of unrivaled gravity and

 breadth”). Though the Court had previously held that qualified immunity struck the proper

 separation-of-powers balance for cabinet officers, the Court said that “[t]he President’s unique

 status under the Constitution distinguishes him from other executive officials.” Fitzgerald, 457

 U.S. at 750. For a President, “diversion of his energies by concern with private lawsuits would

 raise unique risks to the effective functioning of government.” Id. at 751. Indeed, because the



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 President must concern himself with “matters likely to ‘arouse the most intense feelings,’” “there

 exists the greatest public interest in providing an official the maximum ability to deal fearlessly

 and impartially with the duties of his office.” Id. at 752 (internal quotation marks omitted). The

 Court also weighed the “sheer prominence” of the President’s office, which makes him “an easily

 identifiable target for suits for civil damages.” Id. at 752–53. “Cognizance of this personal

 vulnerability frequently could distract a President from his public duties, to the detriment of not

 only the President and his office but also the Nation that the Presidency was designed to serve.”

 Id.

        The Court then defined the scope of a President’s absolute immunity. It observed that “the

 sphere of protected action must be related closely to the immunity’s justifying purposes.” Id. at

 755. That principle militated in favor of expansive immunity: “In view of the special nature of

 the President’s constitutional office and functions, we think it appropriate to recognize absolute

 Presidential immunity from damages liability for acts within the ‘outer perimeter’ of his official

 responsibility.” Id. at 756. The Court recognized that given the “broad variety of areas, many of

 them highly sensitive,” of presidential discretionary responsibility, in “many cases it would be

 difficult to determine which of the President’s innumerable ‘functions’ encompassed a particular

 action.” Id. Such function could not, however, be defined by probing the President’s motive for

 the contested action or by simply claiming a violation of law. The plaintiff in Fitzgerald, for

 example, could not avoid the immunity bar by alleging that the President’s motive for terminating

 him was retaliatory, and thus unlawful, and therefore fell outside the outer perimeter of his duties.

 See id. at 756. Such a “construction would subject the President to trial on virtually every

 allegation that an action was unlawful, or was taken for a forbidden purpose.” Id. President Nixon

 thus enjoyed absolute immunity from suit because it was clearly within his constitutional and



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 statutory authority to prescribe reorganizations and reductions in force within a military branch—

 the stated reason for Plaintiff’s termination. Id. at 757. Such action “lay well within the outer

 perimeter of [a President’s] authority.” Id.

         Fitzgerald thus established a scope of presidential immunity for civil money damages that

 is unquestionably capacious, though not categorical. The Supreme Court contemplated that, at

 least, there might be some actions by a President that would fall outside the outer perimeter of his

 official responsibilities and expose him to a civil suit. What lay beyond the outer perimeter would

 come into some focus fifteen years later in Clinton v. Jones.

         There, President Bill Clinton, while in office, faced a suit by Paula Jones that, in the main,

 alleged that he had engaged in sexually inappropriate conduct while he was the Governor of

 Arkansas and had retaliated against her for rebuffing his advances. Clinton v. Jones, 520 U.S. 681,

 686 (1997). 9 Such acts, the Court said, were “unrelated to any of his official duties as President

 of the United States and, indeed, occurred before he was elected to that office.” Id. at 686.

 President Clinton nevertheless urged the Court to hold that “the Constitution affords the President

 temporary immunity from civil damages litigation arising out of events that occurred before he

 took office.” Id. at 692. The Court rejected the President’s call for “temporary immunity.” Id.

 It reasoned that the principal rationale for affording certain public servants absolute immunity was

 to enable “such officials to perform their designated functions effectively without fear that a

 particular decision may give rise to personal liability,” and that such rationale did not apply to

 “unofficial conduct.” Id. at 693–94. The Court emphasized that in defining the scope of immunity




 9
   Clinton v. Jones also involved a claim of defamation that arose while President Clinton was in office. The claim
 was that “persons authorized to speak for the President publicly branded [the plaintiff] a liar by denying that the
 incident had occurred.” 520 U.S. at 685. The question of immunity as to the defamation claim was not before the
 Court, though it did observe in passing that the defamation claim “may involve conduct within the outer perimeter of
 the President’s official responsibilities.” Id. at 686 & n.3.

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 it had taken a “functional approach,” and that “immunities are grounded in the nature of the

 function performed, not the identity of the actor who performed it.” Id. at 694–95 (internal

 quotation marks omitted). It concluded: “With respect to acts taken in his ‘public character’—that

 is, official acts—the President may be disciplined principally by impeachment, not by private

 lawsuits for damages. But he is otherwise subject to the laws for his purely private acts.” Id. at

 696. 10

                            b.       The parties’ positions on official-acts immunity

           Guided by the foregoing principles, the court turns to the parties’ arguments. President

 Trump bears the burden of establishing that he is immune from suit. See Banneker Ventures, LLC

 v. Graham, 798 F.3d 1119, 1140 (D.C. Cir. 2015).

           The complained-of actions of the President in these matters can be generally framed as

 falling into three categories: his pre–January 6th tweets, the January 6 Rally Speech, and his failure

 to promptly act once the Capitol was breached by rioters. President Trump argues that these acts

 fall into two presidential “functions”: (1) the constitutional duty to “take Care that the Laws be

 faithfully executed,” U.S. Const., art. II, § 3, and (2) speaking on matters of public concern.

 Swalwell Trump Mot. at 8–11; Blassingame Trump Mot. 12; Reply in Supp. of Def. President

 Trump’s Mot. to Dismiss, ECF No. 43 [hereinafter Thompson Trump Reply], at 3–6. Across his

 various briefs, President Trump describes these functions in different ways. With respect to

 faithful execution of the laws, President Trump says that he “had an ever-present duty to ensure

 that the election laws were followed, including the certification process.” Thompson Trump Reply



 10
    The Court also made clear in Clinton, and later in Vance v. Trump, that the “dominant concern” for crafting broad
 immunity in Fitzgerald “was not mere distraction but the distortion of the Executive’s ‘decisionmaking process’ with
 respect to official acts that would stem from ‘worry as to the possibility of damages.’” Vance, 140 S. Ct. at 2426
 (quoting Clinton, 520 U.S. at 694 n.19). President Trump alludes to a “distraction” rationale in his papers, see
 Thompson Trump Mot. at 9, but he does not seriously advocate for it, recognizing instead that the “distortion” rationale
 is the predominant reason for affording a President absolute immunity from civil suit for official acts.

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 at 3. Quoting from a law review student note, he says that enforcing election laws is “at the core

 of the executive branch’s duty to faithfully execute the law.” Id. (internal quotation marks and

 citation omitted). As to speaking on matters of public concern, the President argues that he “was

 engaged in discretionary action pursuant to his Constitutional duty to ensure that the laws were

 faithfully executed by petitioning Congress not to certify the electors from States with ongoing

 election challenges.” Blassingame Trump Mot. at 10–11. Elsewhere he contends that the speech

 and social media posts complained of by Plaintiffs all addressed matters of public concern and

 thus are “within the outer perimeter of the Presidential office.” Thompson Trump Reply at 5. “[A]

 political speech by the President is not at the ‘outer perimeter’ of his duties,” he says; rather, “it is

 at dead center.” Swalwell Trump Mot. at 9.

         The court finds that President Trump’s Take Care Clause argument is misleading and

 wrong as a matter of law, and that his contention with respect to speech of public concern is too

 simplistic.

                                 i.      The Take Care Clause

         Article II, Section 3 vests in the President the authority to “take Care that the Laws be

 faithfully executed.” Those are “sweeping words,” Myers v. United States, 272 U.S. 52, 122

 (1926), but they do not confer limitless presidential authority or the authority to encroach on the

 powers vested in the co-equal branches, see Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S.

 579, 587–88 (1952). Presidential authority remains constrained by the Constitution and the laws

 that Congress enacts. See id. at 587 (“In the framework of our Constitution, the President’s power

 to see that the laws are faithfully executed refutes the idea that he is to be a lawmaker.”); id. at 588

 (“The President’s order does not direct that a congressional policy be executed in a manner




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 prescribed by Congress—it directs that a presidential policy be executed in a manner prescribed

 by the President.”).

         President Trump cites no constitutional provision or federal statute that grants or vests in

 the President (or the Executive Branch) any power or duty with respect to the Certification of the

 Electoral College vote, at least in the manner in which he conceives it. That is because there is

 none. The Constitution spells out the respective responsibilities of various actors in the election

 of the President. 11 The Constitution provides that States are to select Electors who will cast votes

 for President and Vice President, and the Electors transmit a tally of those votes to the President

 of the Senate. U.S. Const. art. II, § 1, cl. 3; id. amend. XII. The President of the Senate “in the

 presence of the Senate and House of Representatives” shall “open all the certificates and the votes

 shall then be counted.” Id. amend. XII. A sitting President is prescribed no role.

         The Electoral Count Act, Pub. L. No. 49-90, 24 Stat. 373 (1887), fills in procedural details

 not addressed in the Constitution. It, too, prescribes no role for a sitting President. A Joint Session

 of the Senate and the House of Representatives must meet “at the hour of 1 o’clock in the

 afternoon” on “the sixth day of January succeeding every meeting of the electors.” 3 U.S.C. § 15.

 The President of the Senate, as the presiding officer, opens the certificates of the electoral votes

 and hands them to tellers appointed by each House, who make a list of the votes. Id. When

 announcing each certificate, the President of the Senate calls for objections, which if made must

 be in writing and signed by one Senator and one member of the House of Representatives. Id.

 Thereafter, the Senate and the House withdraw to their respective chambers to consider each

 objection, and “each Senator and Representative may speak to such objection or question five

 minutes, and not more than once[.]” Id. § 17. The presiding officer must cut the debate off after


  The below summary is pulled, some of it verbatim, from Judge Friedrich’s decision in United States v. Sandlin,
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 No. 21-cr-88 (DLF), 2021 WL 5865006, at *4 (D.D.C. Dec. 10, 2021).

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 two hours. Id. He also has the “power to preserve order” during the session. Id. § 18. The Act

 even details where the presiding officer, the Speaker, the Senators, the Representatives, the tellers,

 and others are to sit in the chamber. Id. § 16. And it commands that the session “not be dissolved

 until the count of electoral votes shall be completed and the result declared.” Id. As this summary

 demonstrates, a sitting President has no expressly identified duty to faithfully execute the laws

 surrounding the Certification of the Electoral College. So, perhaps it is not surprising that

 President Trump does not identify any law relating to the Certification that he was purportedly

 executing through his tweets and the January 6 Rally Speech.

        Nor does he identify any authority that would support his assertion that merely exhorting

 non–Executive Branch officials to act in a certain way is a responsibility within the scope of the

 Take Care Clause. Scholars have emphasized that the Take Care Clause is written in the passive

 voice (“take Care that the Laws be faithfully executed”). They have interpreted that construction

 to mean that the Framers envisioned not that the President personally would implement the laws

 but that their actual execution would be carried out by others subject to the President’s direction

 and supervision. See, e.g., Andrew Kent et al., Faithful Execution and Article II, 132 HARV. L.

 REV. 2111, 2126 (2019); Gillian E. Metzger, The Constitutional Duty to Supervise, 124 YALE L.J.

 1836, 1875 (2015).      The President’s Take Care Clause duty therefore does not extend to

 government officials over whom he has no power or control. Here, the Vice President, acting as

 President of the Senate, and members of Congress had constitutionally and statutorily prescribed

 duties to carry out the Certification. Their actions are those of a co-equal branch, not subject to




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 Executive Branch control. President Trump’s advocacy of the scope of their duties and how they

 should be performed therefore falls outside even the expansive Take Care Clause. 12

          In summoning authority in aid of this argument, President Trump leaves out critical

 context. President Trump relies on a law review note for the general proposition that “enforcing

 election laws . . . [strikes] at the core of the executive branch’s duty to faithfully execute the law.”

 Thompson Trump Reply at 3 (quoting Alton L. Lightsey, Note, Constitutional Law:                                      The

 Independent Counsel and Supreme Court’s Separation of Powers Jurisprudence, 40 U. FLA. L.

 REV. 563, 573 (1988)). What President Trump omits from that quote, however, makes his citation

 grossly misleading. The full quote reads: “However, enforcing election laws through litigation

 [strikes] at the core of the executive branch’s duty to faithfully execute the law. It must therefore

 belong solely to the executive.” Lightsey, supra, at 573 (emphasis added). Including “through

 litigation” completely changes the meaning of the sentence. The President can enforce election

 laws through litigation initiated by the Department of Justice or the Federal Election Commission,

 agencies over which he has appointment authority. The case the Lightsey note cites, Buckley v.

 Valeo, makes that clear: “A lawsuit is the ultimate remedy for a breach of the law, and it is to the

 President, and not to the Congress, that the Constitution entrusts the responsibility to ‘take Care

 that the Laws be faithfully executed.’” 424 U.S. 1, 138 (1976). This case, of course, does not

 involve litigation to enforce federal election laws, and so the President’s reliance on the Lightsey

 note is inapt.




 12
    To be clear, the court does not mean to say that there is no conceivable circumstance in which the President would
 have a role in faithfully executing the laws pertaining to the Certification of the Electoral College. The court’s holding
 is limited to President Trump’s contention that his mere exhortation to carry out Certification duties in a particular
 way falls within the Take Care Clause.

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                                 ii.     Speech on matters of public concern

         The court turns next to President Trump’s assertion that his alleged actions all involve

 speech on matters of public concern and therefore are well within the President’s duties. As he

 puts it: “It is enough that the nature of the activity, a speech by the President, is the type of activity

 normal and customary to the presidency. Indeed, it was not at the outer perimeter of the President’s

 duties—it was dead center.” Thompson Trump Reply at 2.

         The court agrees with President Trump in two respects. First, speech is unquestionably a

 critical function of the presidency. “The President of the United States possesses an extraordinary

 power to speak to his fellow citizens and on their behalf.” Trump v. Hawaii, 138 S. Ct. 2392,

 2417–18 (2018); see also Columbia Broad. Sys., Inc. v. FCC, 454 F.2d 1018, 1020 (D.C. Cir.

 1971) (“The President’s extensive use of the media cannot, of course, be faulted, for there can be

 no doubt that in the distillation of an informed public opinion such appearances play a very basic

 role.”). Second, his pre–January 6th tweets and the January 6 Rally Speech addressed matters of

 public concern: the outcome of the 2020 Presidential Election and election integrity. Whatever

 one thinks of the President’s views on those subjects, they plainly were matters of public concern.

 See Snyder v. Phelps, 562 U.S. 443, 453 (2011) (“Speech deals with matters of public concern

 when it can be fairly considered as relating to any matter of political, social, or other concern to

 the community or when it is a subject of legitimate news interest; that is, a subject of general

 interest and of value and concern to the public.” (internal quotation marks and citations omitted));

 Rankin v. McPherson, 483 U.S. 378, 387 (1987) (stating the arguably “inappropriate or

 controversial character of a statement is irrelevant to the question whether it deals with a matter of

 public concern”).




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          But to say that speaking on matters of public concern is a function of the presidency does

 not answer the question at hand: Were President Trump’s words in this case uttered in performance

 of official acts, or were his words expressed in some other, unofficial capacity? The President’s

 proposed test—that whenever and wherever a President speaks on a matter of public concern he is

 immune from civil suit—goes too far. It mirrors what the Supreme Court has said cannot be the

 basis for absolute immunity: “[T]o construct an immunity from suit for unofficial acts grounded

 purely in the identity of [the President’s] office is unsupported by precedent.” Clinton, 520 U.S.

 at 695. And the Supreme Court has recognized different capacities in which the person occupying

 the Office of the President can act: “Presidents and other officials face a variety of demands on

 their time, . . . some private, some political, and some as a result of official duty.” Id. at 705 n.40.13

 Thus, to say that the President spoke on a matter of public concern does not dispositively answer

 the question of whether he enjoys absolute immunity for such speech.

          Consider some examples. At a rally promoting his reelection, an incumbent President touts

 his policy accomplishments and makes promises about a second term, but during his speech he

 instructs members of the crowd to “punch” a protester “in the face right now.” Or, take a President

 who speaks at a party fundraising event before a group of high-dollar donors, where he not only

 discusses pending legislation but also falsely and with malice accuses a political opponent who is



 13
   This observation was made as part of the Supreme Court’s rejection of the “distraction” theory as justifying absolute
 immunity:

                   There is, no doubt, some truth to Learned Hand’s comment that a lawsuit should
                   be “dread[ed] . . . beyond almost anything else short of sickness and death.” We
                   recognize that a President, like any other official or private citizen, may become
                   distracted or preoccupied by pending litigation. Presidents and other officials face
                   a variety of demands on their time, however, some private, some political, and
                   some as a result of official duty. While such distractions may be vexing to those
                   subjected to them, they do not ordinarily implicate constitutional separation-of-
                   powers concerns.

 Clinton, 520 U.S. at 705 n.40 (citation omitted).

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 blocking the legislation of running a child-trafficking operation. Or, consider a President who

 appears at a campaign event for a candidate of his party who is running for Congress, and during

 his remarks touts the candidate because his election will help advance his agenda, but also calls on

 the crowd to destroy property as a sign of support. In each of these scenarios, the conduct of the

 President comes in the context of words uttered on matters of public concern, but it is doubtful that

 anyone would consider the President immune from tort liability for harm resulting from his speech.

 To be sure, these scenarios may seem far-fetched, but they illustrate an important point: blanket

 immunity cannot shield a President from suit merely because his words touch on matters of public

 concern. The context in which those words are spoken and what is said matter.

        For their part, Plaintiffs urge the court to reject President Trump’s claim of absolute

 immunity for two reasons: first, because they “allege that he was acting solely in his personal

 capacity as a candidate,” and second, because he “engaged in serious misconduct that obstructed

 a co-equal branch of government, removing his actions from the outer bounds of permissible

 presidential conduct.” Bass Pls.’ Omnibus Mem. of Law in Opp’n to Defs.’ Mots. to Dismiss,

 ECF No. 29 [hereinafter Thompson Pls.’ Opp’n], at 65 (internal quotation marks omitted); see also

 Pl. Swalwell’s Combined Opp’n to Defs.’ Mots. to Dismiss, ECF No. 23 [hereinafter Swalwell

 Opp’n], at 11 (arguing that “Trump conflates his role as a candidate with his role as President”);

 Blassingame Pls.’ Opp’n to Def.’s Mot. to Dismiss, ECF No. 21 [hereinafter Blassingame Pls.’

 Opp’n], at 6 (“Article II does not provide Trump with immunity for inciting an insurrection.”).

 These formulations present their own set of problems.

        For one, the line between President and candidate will not always be clear. A first-term

 President is, in a sense, always a candidate for office. It is not the least bit unusual for first-term

 Presidents to comment on public policy or foreign affairs at campaign events, or, in this day, to



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 announce policy changes by tweet during an election year.                          Plaintiffs offer no principled

 constitutional basis on which to discern how to categorize such acts. 14

          As for their contention that immunity cannot extend to a President that incites a mob to

 attack a co-equal branch of government, while having surface appeal, it too runs into an analytical

 problem. If what Plaintiffs mean to say is that an alleged violation of law by a President cannot

 fall within the outer perimeter of his official duties, the Supreme Court rejected that very argument

 in Fitzgerald. Such a “construction,” the Court said, “would subject the President to trial on

 virtually every allegation that an action was unlawful, or was taken for a forbidden purpose.

 Adoption of this construction thus would deprive absolute immunity of its intended effect.”

 Fitzgerald, 457 U.S. at 756–57. Plaintiffs’ position also runs up against the Court’s admonition

 that a test for immunity that depends upon “a President’s motives” “could be highly intrusive.” Id.

 at 756. Predicating an immunity determination on whether President Trump intended to cause a

 riot arguably would require just such an inquiry. 15


 14
    At oral argument and in a post-hearing filing, Plaintiffs proposed that the court could rely on an Office of Legal
 Counsel Opinion from 1982, Payment of Expenses Associated with Travel by the President and Vice President,
 6 Op. O.L.C. 214 (1982), to distinguish between a President’s official duties and campaign activities. See Hr’g Tr.
 33; Pls.’ Notice of Suppl. Authority, ECF No. 59 (on Thompson docket). That Opinion adopts a “reasonable
 connection” to “official purposes” test to differentiate the two capacities. 6 Op. O.L.C. at 216. The court is skeptical
 that a test rooted in statutory and administrative rules on spending of appropriations can define the scope of a
 constitutional immunity.
 15
    That said, the court would be remiss in not pointing out that there is at least some historical support for Plaintiffs’
 position. In Fitzgerald, the Court found persuasive Justice Story’s analysis on presidential immunity. 457 U.S. at
 749 (quoting 3 J. STORY, COMMENTARIES OF THE CONSTITUTION OF THE UNITED STATES § 1563, at 418–19 (1st ed.
 1833)). Justice Story also commented on the open question of “whether, under the constitution, any acts are
 impeachable, except such, as are committed under colour of office.” 2 Commentaries § 799. In other words, does the
 constitutional remedy of impeachment extend to official acts only, or can it be based on unofficial conduct? In
 addressing this issue, Justice Story did not formulate a firm opinion, but he did make the following observation:

                   In the argument upon Blount’s impeachment, it was pressed with great
                   earnestness, that there is not a syllable in the constitution, which confines
                   impeachments to official acts, and it is against the plainest dictates of common
                   sense, that such restraint should be imposed upon it. Suppose a judge should
                   countenance, or aid insurgents in a meditated conspiracy or insurrection against
                   the government. This is not a judicial act; and yet it ought certainly to be
                   impeachable.


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                                    iii.     The President’s challenged acts

         Rather than apply the parties’ proffered categorial rules to the immunity question, the court

 thinks the better course is to evaluate the defense on the specific facts alleged and, based on those

 facts, determine whether President Trump’s words were spoken in furtherance of a presidential

 function. That is the approach that the D.C. Circuit took in Banneker Ventures, LLC v. Graham,

 a case in which then–Board Member of the Washington Metropolitan Area Transit Authority

 (“WMATA”) Jim Graham asserted absolute immunity from a suit accusing him of improperly

 interfering with a developer’s ultimately unsuccessful project negotiations with WMATA.

 798 F.3d 1119, 1139 (D.C. Cir. 2015). The court viewed Graham’s immunity defense, in part,

 through the lens of federal common law and asked whether Graham’s alleged conduct fell within

 the scope of his official duties. Id. at 1140. It applied the “within the outer perimeter of [an

 official’s] line of duty” test as demarcating the line between Graham’s official and unofficial acts.

 Id. (quoting Barr v. Matteo, 360 U.S. 564, 575 (1959)). The trial court had found that all of

 Graham’s alleged tortious acts were immune, but the D.C. Circuit criticized the trial court for

 “conceiv[ing] of the inquiry at too high a level” and for not “analyzing each challenged act.” Id.

 at 1141; id. (“At a high enough level of generality, almost any act that has any relationship to an

 overarching duty . . . will be immunized.”). “The appropriate focus,” the court wrote, “is on the

 relationship between ‘the act complained of’ and the corresponding ‘matters committed by law to

 [the official’s] control or supervision.’” Id. (quoting Barr, 360 U.S. at 573). The court noted that



 Id. § 802 (emphasis added). Justice Story’s mention of “Blount’s impeachment” refers to the impeachment of Senator
 William Blount of Tennessee in 1797, who stood accused of conspiring with British officials and others in a plot to
 establish British control over the Spanish-controlled territories of Louisiana and the Floridas. The House impeached
 Blount, but the Senate ultimately dismissed the charges because Blount had already been expelled and the Senate
 concluded it no longer had jurisdiction over him. See Impeachment Trial of Senator William Blount, 1799, U.S.
 SENATE, https://www.senate.gov/about/powers-procedures/impeachment/impeachment-blount htm (last visited Feb.
 8, 2022). This tidbit of history does lend some credence to the notion that a high government official who “aid[s]
 insurgents in a meditated conspiracy or insurrection against the government” is not acting in an official capacity.

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 “[o]ne way that an official acts manifestly beyond his authority is through the use of ‘manifestly

 excessive means,’ even if he does so in the conduct of duties otherwise within his official purview.”

 Id. at 1141 (citation omitted). The court emphasized that the burden of establishing immunity rests

 on the official claiming it. Id. at 1140.

        Concededly, the scope-of-duty evaluation undertaken in Graham was quite rigorous, and

 such rigor arguably should not apply here with equal force. This case involves the President of

 the United States, not a board member of a public agency. (Barr, on which Graham relied,

 involved the acting director of a federal agency.) There are separation-of-powers considerations

 at play here that were not present in Graham. Nevertheless, the court believes that Graham’s basic

 approach applies; that is, in evaluating a presidential claim of absolute immunity the court must

 consider the relationship of the challenged conduct to the claimed corresponding function of the

 President.

        In undertaking this analysis, the court starts from the following premise, as to which there

 should be no dispute: The Office of the President has no preference for who occupies it. Article

 II of the Constitution, which defines the powers and duties of the President, is agnostic as to

 whether a sitting President is elected to a new term. So, too, is federal statutory law. A function

 of the presidency therefore is not to secure or perpetuate incumbency. Plaintiffs’ allegations

 against President Trump accuse him of doing just that: devoting his last weeks in office to

 continuing his term as President of the United States through the Electoral College vote and

 certification process, even though he did not prevail in the general election.

        Among his first alleged acts following the general election were tweets criticizing state

 officials for not doing enough to enable him to prevail in their states. Swalwell Compl. ¶ 36

 (criticizing the governors of Arizona and Georgia and saying, “If they were with us, we would



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 have already won both”). The President also directly contacted local election officials and state

 legislators in Michigan, Pennsylvania, and Georgia to allegedly pressure them to overturn their

 election results. Id. ¶¶ 37–54. These efforts included urging local Michigan officials to reverse

 their certification of election results, id. ¶ 38, and saying to Georgia’s Secretary of State, “I just

 want to find 11,780 votes, which is one more than we have,” id. ¶ 53. He would later call that

 Georgia state official an “enemy of the people.” Thompson Compl. ¶ 47. President Trump also

 filed multiple lawsuits in jurisdictions in which he did not prevail. Id. ¶ 36. Those suits plainly

 were directed at securing incumbency. They, like his tweets and direct outreach to state election

 officials, were not official acts.

         The same is true with respect to his tweets regarding rallies that occurred in Washington,

 D.C., in November and December 2020. Those tweets did not advocate any policy changes or

 legislation. Rather, they expressly stated or implied that the rallies would help him remain

 President. Blassingame Compl. ¶¶ 23, 25, 26 (tweeted photo of rally captioned “We will WIN!”);

 id. ¶ 27 (tweet stating “WE HAVE JUST BEGUN TO FIGHT!!!”).

         That, too, was the purpose of the January 6 Rally. President Trump invited people to

 Washington, D.C., for the event. Id. ¶ 32. In a tweet referencing the January 6 Rally, he

 encouraged his followers to “Never give up.” Swalwell Compl. ¶ 56. On the eve of the January 6

 Rally, the President’s tweets turned to Vice President Pence. Blassingame Compl. ¶ 38. The

 President expressed the view that the Vice President had the power, as President of the Senate, to

 reject states’ Electoral College certifications and return them to be recertified. Id. The clear

 purpose of such recertification would be to allow Electoral College votes to be recast in his favor:

 “All Mike Pence has to do is send them back to the States, AND WE WIN.” Id. These tweets

 were not official acts but issued to help him “win.”



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        Nor did planning for the January 6 Rally involve official duties. Those acts took place

 largely through President Trump’s campaign organization. In mid-December, the campaign used

 campaign funds to pay Event Strategies, Inc., the company that would secure the permit for the

 January 6 Rally. Blassingame Compl. ¶ 31. The campaign’s Director of Finance was listed as the

 “VIP Lead” for the rally, Swalwell Compl. ¶ 97, and a “top Trump campaign fundraiser oversaw

 the logistics, budgeting, funding and messaging” for the rally, Thompson Compl. ¶ 68. The Trump

 campaign and various related entities paid more than $3.5 million to assist in organizing.

 Blassingame Compl. ¶ 39. President Trump also allegedly participated directly in the planning.

 He was involved in decisionmaking about the speaking lineup and music selection. Thompson

 Compl. ¶ 69. And, critically, to the surprise of rally organizers, President “Trump and his

 campaign proposed that the rally include a march to the Capitol,” even though the permit they had

 obtained did not allow for one. Id. ¶¶ 69, 90 (alleging that the permit expressly provided: “This

 permit does not authorize a march from the Ellipse”). Organizing the January 6 Rally involved no

 presidential function.

        And then there is the January 6 Rally Speech itself. The court has considered it in its

 entirety, analyzing it beyond the words quoted in the Complaints. The court will go into greater

 detail about the Speech later in this opinion. For present purposes it suffices to say that while the

 Speech did touch on matters of public concern (namely President Trump’s pledge to work on

 election laws in a second term), the main thrust of the Speech was not focused on policy or

 legislation. It was to complain about perceived cases of election fraud that led President-elect

 Biden to win more votes in closely contested states, to urge members of Congress to object to

 certain state certifications, and to exhort the Vice President to return those certifications to those

 states to be recertified. Much like the tweets leading up to the January 6 Rally, the words spoken



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 by the President—without delving into the motivation behind them—reflect an electoral purpose,

 not speech in furtherance of any official duty.

        To deny a President immunity from civil damages is no small step. The court well

 understands the gravity of its decision. But the alleged facts of this case are without precedent,

 and the court believes that its decision is consistent with the purposes behind such immunity.

 Subjecting a president to potential liability for the acts described in the Complaints will not

 “diver[t] . . . the President’s attention during the decisionmaking process” with “needless worry as

 to the possibility of damages actions stemming from any particular official decision.” Clinton,

 520 U.S. at 694 n.19. After all, the President’s actions here do not relate to his duties of faithfully

 executing the laws, conducting foreign affairs, commanding the armed forces, or managing the

 Executive Branch. They entirely concern his efforts to remain in office for a second term. These

 are unofficial acts, so the separation-of-powers concerns that justify the President’s broad

 immunity are not present here. “If the Judiciary may severely burden the Executive Branch by

 reviewing the legality of the President’s official conduct, and if it may direct appropriate process

 to the President himself, it must follow that the federal courts have power to determine the legality

 of his unofficial conduct.” Id. at 705. The court therefore may “determine the legality” of

 President Trump’s acts that are alleged to have given rise to Plaintiffs’ injuries on January 6th.

                                iv.     Section 1986 claim

        The foregoing comes with one important caveat: President Trump is immune as to

 Swalwell’s failure-to-act claim under § 1986. That provision states:

                Every person who, having knowledge that any of the wrongs
                conspired to be done, and mentioned [in section 1985 of this title],
                are about to be committed, and having power to prevent or aid in
                preventing the commission of the same, neglects or refuses so to do,
                if such wrongful act be committed, shall be liable to the party
                injured, or his legal representatives, for all damages caused by such

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                    wrongful act, which such person by reasonable diligence could have
                    prevented.

 42 U.S.C. § 1986. The statutory provision is unique. It requires persons with knowledge of a

 conspiracy proscribed in § 1985 and with the means to prevent the conspiracy to take affirmative

 actions to do so. A person who refuses or neglects to exercise such power is liable for damages to

 those persons whose injuries could have been prevented.

          Swalwell alone asserts a claim under § 1986 against President Trump. He alleges that

 President Trump knew about the alleged § 1985 conspiracy, had the power to prevent it, and failed

 to exercise “reasonable diligence” to avoid harm. Specifically, he asserts that “when it was clear

 that rioters had stormed the Capitol, and Congress was unable to certify the results of the Electoral

 College vote, [President Trump] had the power to stop the rioters but refused and, instead,

 encouraged them.” Swalwell Compl. ¶ 190. That allegation, it would seem, makes out a § 1986

 claim against the President.

          But the President cannot be held liable for his failure to exercise his presidential powers,

 at least under § 1986. Just as he is immune for acts that fall within the outer perimeter of his

 official responsibilities, so too must he be immune for alleged failures to exercise that official

 responsibility. Were it otherwise, Presidents routinely would be subject to suit for not doing more

 or for not acting at all. Absolute immunity would be gutted if a plaintiff could avoid it simply by

 alleging a failure to exercise presidential power. The court therefore dismisses Swalwell’s § 1986

 claim. 16




 16
    If Swalwell contends that President Trump is liable under § 1986 because he himself is an alleged coconspirator
 and had the power to stop the conspiracy, the court is dubious that § 1986 can sustain such a construction. If accepted,
 it would mean that any coconspirator of a § 1985 conspiracy with some degree of authority is likewise liable under
 § 1986. The court is skeptical that Congress intended such an interpretation. In any event, Swalwell does not
 specifically articulate a reading of § 1986 that would rest on the President’s failure to act before the rally-goers stormed
 the Capitol. See Swalwell Compl. ¶ 90.

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                 3.      The Political Question Doctrine

         President Trump raises a related jurisdictional argument:            these cases present a

 nonjusticiable political question. See Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189, 195

 (2012) (stating that, when a case involves a political question, “a court lacks the authority to decide

 the dispute”). The political question doctrine removes from the purview of the courts cases that

 “revolve around policy choices and value determinations constitutionally committed for resolution

 to the halls of Congress or the confines of the Executive Branch.” Japan Whaling Ass’n v. Am.

 Cetacean Soc’y, 478 U.S. 221, 230 (1986). The doctrine bars a court’s “jurisdiction only when

 the Constitution textually commits ‘the issue’ to be adjudicated in the case ‘to a coordinate political

 department,’ or when there is ‘a lack of judicially discoverable and manageable standards for

 resolving it.’” Hourani v. Mirtchev, 796 F.3d 1, 8 (D.C. Cir. 2015) (quoting Nixon v. United States,

 506 U.S. 224, 228 (1993)). President Trump’s effort to morph this case into one presenting a

 political question fails.

         For starters, the court already has held that the President’s actions leading up to the riot at

 the Capitol building were not undertaken in his official capacity. To that extent, these cases

 implicate no policy choice or value determination committed to the Executive Branch. That

 holding alone takes this case outside of the political question doctrine.

         But even if the court uses the doctrine’s analytical framework, President Trump fares no

 better. He first argues that because this suit is “based upon the words or action of the President,”

 an adjudication “would improperly regulate the executive department, in violation of Article II,

 § 1 which requires that the executive power be exercised solely by the President.” Thompson

 Trump Mot. at 11–12. If by that argument the President means that any suit touching on

 presidential speech gives rise to a political question, that cannot be, because the Constitution says



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 nothing about a President’s speech. Moreover, the Supreme Court has never held that just because

 a case involves review of a President’s claimed exercise of his general Article II executive powers

 it is nonjusticiable. That is not the law. See, e.g., Youngstown Sheet & Tube, 343 U.S. at 587

 (rejecting claimed presidential authority to seize steel mills based on Article II’s grant of Executive

 power in the President).

        The President next argues that to adjudicate these cases would force the court “to make a

 value determination about what is or is not proper for the President to say during a political speech

 when advocating for governmental action.” Thompson Trump Mot. at 12. It is true that, in a sense,

 an adjudication here might involve a “judgment” of the President’s speech, “[b]ut that has never

 been enough, by itself, to trigger the political question doctrine’s jurisdictional bar.” Cf. Hourani,

 796 F.3d at 8 (stating that the fact that a judgment might implicate the acts of a foreign nation, by

 itself, does not create a nonjusticiable political question). A suit against the President often has

 political overtones, but “courts cannot avoid their responsibility merely ‘because the issues have

 political implications.’” Zivotofsky, 566 U.S. at 196 (quoting INS v. Chadha, 462 U.S. 919, 943

 (1983)).

        President Trump also tries a different approach.          He suggests that because he was

 impeached by the House but acquitted by the Senate for his actions relating to January 6th, a

 judicial inquiry of his conduct raises a political question because it might “displace the Senate as

 the final arbiter on the subject of impeachment, showing disrespect for a co-equal branch.”

 Blassingame Trump Mot. at 14. But, of course, this court is in no sense conducting a review of

 the impeachment proceedings; nor could it do so. See Nixon, 506 U.S. at 230–31 (holding that a

 court lacks the constitutional authority to review the Senate’s impeachment trial procedures). Its

 concern is with the President’s potential civil liability for the events of January 6th. The mere fact



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 that these cases and the impeachment proceedings pertain to the same subject matter does not

 implicate the political question doctrine.

                4.      The Impeachment Judgment Clause

        President Trump also seeks dismissal based upon his impeachment proceedings in a

 different way: he contends that the Impeachment Judgment Clause forecloses civil liability of

 someone who is not convicted following an impeachment trial. The court understands this

 argument to challenge its subject matter jurisdiction.        The Impeachment Judgment Clause

 provides:

                Judgment in Cases of Impeachment shall not extend further than to
                removal from Office, and disqualification to hold and enjoy any
                Office of honor, Trust or Profit under the United States: but the Party
                convicted shall nevertheless be liable and subject to Indictment,
                Trial, Judgment and Punishment, according to Law.

 U.S. Const. art. I, § 3, cl. 7. According to the President, because the Impeachment Judgment

 Clause speaks only to further action against a “Party convicted,” and is silent as to a person not

 convicted, it follows that the Clause “forbids further litigation of the same claims by those

 acquitted by the Senate.” Thompson Trump Mot. at 13.

        In support of this reading, the President invokes the expressio unius est exclusio alterius

 canon of statutory interpretation, which means that “expressing one item of [an] associated group

 or series excludes another left unmentioned.” Chevron U.S.A. Inc. v. Echazabal, 536 U.S. 73, 80

 (2002) (alteration in original) (citation omitted); Thompson Trump Mot. at 13. But that canon does

 not apply. For one, the President cites no case in which the Supreme Court has used that canon of

 statutory construction to directly interpret a clause of the Constitution, and the court has struggled

 to find one. Cf. U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779, 793 n.9 (1995) (relying on one

 Framer’s commentary to observe that “the Framers were well aware of the expressio unius



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 argument that would result from their wording of the Qualifications Clauses”); Salamanca Twp.

 v. Wilson, 109 U.S. 627, 628 (1883) (applying canon to interpretation of state constitution); Pine

 Grove Twp. v. Talcott, 86 U.S. 666, 675 (1873) (same). Even if the canon were to apply, “it has

 force only when the items expressed are members of an ‘associated group or series,’ justifying the

 inference that items not mentioned were excluded by deliberate choice, not inadvertence.”

 Barnhart v. Peabody Coal Co., 537 U.S. 149, 168 (2003) (citation omitted); see also Echazabal,

 536 U.S. at 81 (“The canon depends on identifying a series of two or more terms or things that

 should be understood to go hand in hand, which [is] abridged in circumstances supporting a

 sensible inference that the term left out must have been meant to be excluded.”). The Impeachment

 Judgment Clause does not contain an “associated group or series” or “two or more terms or things”;

 it only addresses the non-preclusive effect of a conviction following impeachment. The Supreme

 Court has said that “[w]e do not read the enumeration of one case to exclude another unless it is

 fair to suppose that Congress considered the unnamed possibility and meant to say no to it.”

 Barnhart, 537 U.S. at 168. President Trump offers no evidence to support a conclusion that the

 Framers intended for the absence of any reference to an acquitted officer following impeachment

 to mean that such official could not be subject to judicial process.

        In fact, the historical evidence is to the contrary. An Office of Legal Counsel (OLC)

 Opinion from 2000, which the President himself cites, provides a helpful summary. See Whether

 a Former President May Be Indicted and Tried for the Same Offense for Which He Was Impeached

 by the House and Acquitted by the Senate, 24 Op. O.L.C. 110, 113 (2000). That opinion

 concludes, “We are unaware of any evidence suggesting that the framers and ratifiers of the

 Constitution chose the phrase ‘the party convicted’ with a negative implication in mind.” Id. at

 120.



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                  Indeed, if the Impeachment Judgment Clause were intended to
                  imply that acquittal by the Senate would block criminal prosecution
                  for the same offenses, one would expect that at least one participant
                  in the process of framing and ratifying the Constitution would have
                  pointed out this negative implication. We are aware of none.

 Id. at 121–24. The court finds the OLC’s exhaustive historical recitation of the origins of the

 Impeachment Disqualification Clause to be persuasive. The court therefore draws no negative

 implication from the words of the Impeachment Judgment Clause that would bar civil liability of

 a President acquitted following impeachment. 17

                  5.       Res Judicata and Collateral Estoppel

         President Trump attempts to make one last use of his impeachment proceedings: he

 contends that his acquittal bars litigation of the present claims on the grounds of res judicata and

 collateral estoppel. Thompson Trump Mot. at 13–14. He devotes scant attention to this argument

 in Thompson and Swalwell—largely one conclusory paragraph in each motion, id. at 14; Swalwell

 Trump Mot. at 14–15—but devotes more attention to it in Blassingame, Blassingame Trump Mot.

 at 14–18. The court addresses it as if fully raised in all three cases.

         The doctrine of res judicata, also known as claim preclusion, provides that “a final

 judgment on the merits of an action precludes the parties or their privies from relitigating issues

 that were or could have been raised in that action.” Allen v. McCurry, 449 U.S. 90, 94 (1980).

                  Under the doctrine of res judicata . . . a subsequent lawsuit will be
                  barred if there has been prior litigation (1) involving the same claims
                  or cause of action, (2) between the same parties or their privies, and


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    In his Blassingame motion, President Trump makes a further argument. He contends that the Impeachment
 Judgment Clause’s use of the word “Indictment” to start the series “Indictment, Trial, Judgment and Punishment,
 according to Law” underscores that “an individual convicted is only potentially liable for follow on criminal charges
 brought by the government rather than a civil suit on the same issues.” Blassingame Trump Mot. at 21 (emphasis
 added). The court already has rejected the contention that the Impeachment Judgment Clause implicitly forecloses
 further action against an acquitted individual. President Trump does not, however, make the alternative argument
 that, even if an acquitted official can be subject to some judicial process, the word “Indictment” implies that such
 process can only be criminal and not civil in nature. See id. at 21–22. The court therefore does not address that
 contention.

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                 (3) there has been a final, valid judgment on the merits, (4) by a
                 court of competent jurisdiction.

 Smalls v. United States, 471 F.3d 186, 192 (D.C. Cir. 2006). The related doctrine of collateral

 estoppel, or issue preclusion, provides that “once a court has decided an issue of fact or law

 necessary to its judgment, that decision may preclude relitigation of the issue in a suit on a different

 cause of action involving a party to the first case.” Allen, 449 U.S. at 94.

                 [C]ollateral estoppel bars successive litigation of an issue of fact or
                 law when “(1) the issue is actually litigated; (2) determined by a
                 valid, final judgment on the merits; (3) after a full and fair
                 opportunity for litigation by the parties or their privies; and (4) under
                 circumstances where the determination was essential to the
                 judgment, and not merely dictum.”.

 Capitol Servs. Mgmt., Inc. v. Vesta Corp., 933 F.3d 784, 794 (D.C. Cir. 2019) (citation omitted).

         Applying these preclusion doctrines strikes the court as more complicated that it might

 seem at first blush. Plaintiffs, for instance, argue that the President’s Senate impeachment trial is

 not a prior “litigation” because the term “litigation” is defined to mean the resolution of disputes

 in a court of law. See Thompson Pls.’ Opp’n at 73. But the Supreme Court has recognized that

 preclusion principles can bind an Article III court based on a final judgment from an administrative

 agency acting in a judicial capacity. See B & B Hardware, Inc. v. Hargis Indus., Inc., 575 U.S.

 138, 148 (2015) (“Both this Court’s cases and the Restatement make clear that issue preclusion is

 not limited to those situations in which the same issue is before two courts.”). And, there is a more

 than colorable argument to be made that the Senate acts in a judicial capacity when “try[ing]” an

 official on an Article of Impeachment. See, e.g., In re Comm. on the Judiciary, U.S. House of

 Representatives, 951 F.3d 589, 596 (D.C. Cir. 2020) (“The constitutional text confirms that a

 Senate impeachment trial is a judicial proceeding.”), vacated and remanded sub nom. Dep’t of

 Just. v. House Comm. on the Judiciary, 142 S. Ct. 46 (2021). Plaintiffs also argue that the “claims”



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 here are different because they rest on federal and District of Columbia law, as opposed to the sole

 charge of “Incitement of Insurrection” lodged against the President by the House. See Thompson

 Pls.’ Opp’n at 73; Blassingame Pls.’ Opp’n at 19. But Plaintiffs read the “same claim” element

 too narrowly, because “[w]hether two cases implicate the same cause of action turns on whether

 they share the same ‘nucleus of facts.’” Apotex, Inc. v. FDA, 393 F.3d 210, 217 (D.C. Cir. 2004)

 (citation omitted). The impeachment trial and this case clearly do.

        Still, the court thinks that neither doctrine applies for several reasons. First, the text of the

 Impeachment Judgment Clause does not support their application. As discussed, that Clause

 expressly contemplates that a person impeached and convicted could face a criminal trial.

 See Nixon, 506 U.S. at 234 (“[T]he Framers recognized that most likely there would be two sets

 of proceedings for individuals who commit impeachable offenses—the impeachment trial and a

 separate criminal trial.”). The court also has concluded that neither the text nor the history of the

 Clause forecloses a subsequent proceeding, criminal or civil, for a person acquitted following

 impeachment. See supra pp. 44–46. If that is correct, it would be an odd result to then say that

 the acquitted individual could use the non-conviction by the Senate to have preclusive effect,

 which would thwart any second proceeding. To accept the President’s application of res judicata

 and collateral estoppel here would add an implicit preclusion bar to the Impeachment Judgment

 Clause where there is none.

        Second, although it is not a settled question, the court doubts that any Plaintiff is in privity

 with the House of Representatives if one deems the House as the opposing party in an impeachment

 trial. The Blassingame Plaintiffs certainly are not in privity with members of the House. Swalwell

 and the Bass Plaintiffs are members of the House, but in voting for the Article of Impeachment

 and, in Swalwell’s case, prosecuting it, those Plaintiffs were acting in their legislative capacities



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 as representatives of their constituents. The Supreme Court has long recognized that the law treats

 members of Congress differently depending on the capacity in which they are acting. See, e.g.,

 Raines, 521 U.S. at 820–21 (distinguishing between personal and institutional injuries for purposes

 of a legislator’s standing); United States v. Brewster, 408 U.S. 501, 507 (1972) (“The immunities

 of the Speech or Debate Clause were not written into the Constitution simply for the personal or

 private benefit of Members of Congress . . . .”). Here, they seek relief not as legislators but for

 injuries they suffered personally.

        Third, applying preclusion principles here would require the court to assess the adequacy

 of the Senate proceedings, an inquiry that is nonjusticiable. See Nixon, 506 U.S. at 229–30, 237–38

 (declining to decide whether the authority conferred on the Senate “to try all Impeachments”

 precluded certain Senate impeachment procedures). For instance, assessing whether Plaintiffs here

 had “a full and fair opportunity for litigation” for purposes of collateral estoppel would require the

 court to evaluate the adequacy of the Senate procedures used during the President’s impeachment

 trial. See Restatement (Second) of Judgments § 28(3) (Am. L. Inst. 1982) (stating that issue

 preclusion may not apply where “differences in the quality or extensiveness of the procedures

 followed in the two courts or by factors relating to the allocation of jurisdiction between them”).

 This the court cannot do.

        Finally, it is impossible to discern whether there was a “final, valid judgment on the merits”

 for purposes of res judicata, Smalls, 471 F.3d at 192, and what issues of fact or law the Senate

 deemed “necessary to its judgment” for purposes of collateral estoppel, Allen, 449 U.S. at 94. The

 Senate made no written findings, and individual Senators were not required to explain the reason

 for their vote for acquittal. In fact, if the court looks beyond the pleadings, several Senators,

 including Senate Minority Leader Mitch McConnell, publicly stated that they voted to acquit



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 because the Senate lacked jurisdiction to punish a former President. See Swalwell Opp’n at 36.

 An acquittal on jurisdictional grounds arguably does not constitute a “judgment on the merits” for

 purposes of res judicata. Cf. Kasap v. Folger Nolan Fleming & Douglas, Inc., 166 F.3d 1243,

 1248 (D.C. Cir. 1999) (stating that “dismissals for lack of jurisdiction are not decisions on the

 merits and therefore have no res judicata effect on subsequent attempts to bring suit in a court of

 competent jurisdiction”). Nor would such an acquittal have any bearing on this court’s jurisdiction

 for purposes of collateral estoppel.

         The court therefore holds that neither res judicata nor collateral estoppel bars these suits or

 precludes litigation of any issue or fact.

         B.       Failure to State a § 1985(1) Claim

         Having concluded that all claims against Defendants, except one (Swalwell’s § 1986

 claim), are justiciable, the court now turns to the question of whether Plaintiffs have stated a claim

 under § 1985(1). All Defendants argue that Plaintiffs have not. Their arguments are as follows:

 (1) Swalwell and the Bass Plaintiffs lack statutory standing to bring suit under § 1985(1);

 (2) Swalwell and the Bass Plaintiffs are not “covered federal officials” under § 1985(1); 18 (3) no

 Plaintiff can state a claim because members of Congress were not discharging a “duty” on

 January 6th; and (4) Plaintiffs have failed to allege a plausible conspiracy among Defendants and

 others. The court rejects the first three arguments outright. As to the fourth, the court finds that

 Plaintiffs have pleaded a plausible § 1985(1) conspiracy against President Trump, the Oath

 Keepers, and Tarrio, but not Trump Jr. and Giuliani.




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    President Trump does not advance these first two arguments against the Blassingame Plaintiffs, and because
 statutory standing is not jurisdictional, see Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118,
 125–28 (2014), the court treats them as forfeited as to the Blassingame Plaintiffs.

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                1.      Statutory Standing

         Inquiry into a plaintiff’s statutory standing asks whether the plaintiff “has a cause of action

 under the statute.” See Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 128

 & n.4 (2014). That question requires a court “to determine the meaning of the congressionally

 enacted provision creating a cause of action.” Id. at 128. In doing so, the court “appl[ies]

 traditional principles of statutory interpretation.” Id. The ultimate question is not whether in the

 court’s “judgment Congress should have authorized [the plaintiff’s] suit, but whether Congress in

 fact did so.” Id.

         Section 1985 authorizes a “party” that is “injured in his person or property” to bring suit to

 recover damages for such injury against any “one or more of the conspirators” of a conspiracy

 proscribed by § 1985(1). 42 U.S.C. § 1985(3). No one makes the argument that such broad text

 might permit a suit by anyone who can satisfy the requirements of Article III, and likely for good

 reason: The Supreme Court in Lexmark rejected such an expansive reading of the remedial

 provision of the Lanham Act, which authorizes suit by “‘any person who believes that he or she is

 likely to be damaged’ by a defendant’s false advertising.” Lexmark, 572 U.S. at 129 (quoting

 15 U.S.C. § 1125(a)). Instead, the court relied on “two relevant background principles”: the “zone

 of interests and proximate causality.” Id. at 129. Applying those principles, the Court held,

 “supplies the relevant limits on who may sue.” Id. at 134. In this case, there can be no genuine

 dispute at this stage that Defendants’ alleged acts were the proximate cause of Plaintiffs’ claimed

 injuries, and so the court does not dwell on that requirement. The court focuses on the zone of

 interests.

         The Supreme Court has “presume[d]” that “a statutory cause of action extends only to

 plaintiffs whose interests ‘fall within the zone of interests protected by the law invoked.’” Id. at



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 129 (citation omitted). Though originally formulated in the context of challenges under the

 Administrative Procedure Act, the Court has “made clear” that the zone-of-interests analysis

 “applies to all statutorily created causes of action.” Id. A court should look to “the interests

 protected” by the statute to determine whether a plaintiff comes with its zone of interests. Id. at

 131.

        The interests protected by § 1985(1) are decidedly broad. As the Seventh Circuit observed

 in Stern v U.S. Gypsum:

                [W]e think it important to note here that Congress, in enacting what
                became § 1985(1), did not fashion a narrow and limited remedy
                applicable only to the southern states in 1871. The outrageous
                conditions there at that time were, no doubt, what induced Congress
                to act, but it chose to do so with a statute cast in general language of
                broad applicability and unlimited duration.

 547 F.2d at 1335 (citations omitted). The court also noted that the Supreme Court had accorded

 the Reconstruction-Era civil rights statutes “a sweep as broad as [their] language.” Id. at 1336

 (alteration in original) (quoting United States v. Price, 383 U.S. 787, 801 (1966)). Viewed in this

 way, the Seventh Circuit had little trouble concluding that § 1985(1)’s protections extended to an

 Internal Revenue Service Agent who claimed the defendants had conspired to defame and discredit

 him to his superiors. Id. at 1335–36. It strains credulity to think that Reconstruction-Era members

 of Congress meant to protect low-level Executive Branch employees but not themselves.

        The statutory text supports this conclusion. Section 1985(1) makes unlawful conspiracies

 whose object is a person who occupies “any office, trust, or place of confidence under the United

 States” or is “any officer of the United States.” 42 U.S.C. § 1985(1). The words used by Congress

 here are decidedly expansive and, on their face, would seem to encompass members of Congress.

 President Trump nevertheless insists that these words must be read in tandem with their usage in

 the Constitution. President Trump thus maintains that the word “officer” includes only persons

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 “appoint[ed] by the President, or of one of the courts of justice[,] or heads of departments

 authorized by law to make such an appointment.” Thompson Trump Mot. at 16–17 (quoting

 United States v. Mouat, 124 U.S. 303, 307 (1888)). Similarly, he contends that the phrase “any

 office, trust, or place of confidence” must be read consistent with Article I, § 1, which states that

 “no Senator or Representative, or Person holding an Office of Trust or Profit under the United

 States,” shall serve as an Elector. Thompson Trump Mot. at 16. Because the Constitution

 distinguishes between members of Congress and a “Person holding an Office of Trust or Profit

 under the United States,” he asserts, the Bass Plaintiffs and Swalwell do not hold “any office, trust,

 or place of confidence” for purposes of § 1985(1). Id. at 17–18. He also focuses on the modifier

 “under the United States” and points to Article I, § 6, which disqualifies “a Member of either

 House during his Continuance in Office” from “holding any Office under the United States.” Id.

 at 17. So, in short, President Trump argues that because the Bass Plaintiffs and Swalwell are not

 identified as among those protected by § 1985(1), they cannot bring a claim under it.

        The court doubts that Congress intended to use the Constitution as a dictionary for

 interpreting the words found in § 1985(1). President Trump points to no case or legislative history

 to support his preferred reading. To the contrary, cases like Stern have read the scope of § 1985(1)

 broadly, consistent with its words. Cf. 1 Op. O.L.C. 274, 276 (1977) (opining, in the context of

 interpreting § 1985(1)’s identically worded, companion criminal statute, 28 U.S.C. § 372, that

 “[t]he broad purpose of protecting the Federal presence as fully as possible therefore supports a

 broad, rather than a narrow, reading of the word ‘office’”). This court does the same.

        Moreover, the Supreme Court has not reflexively imported constitutional meanings into

 federal statutes, as President Trump urges the court to do. Lamar v. United States, 240 U.S. 60

 (1916), is illustrative. There, a defendant who presented himself as a member of the House of



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 Representatives was convicted of impersonating “an officer of the United States.” Lamar, 240

 U.S. at 64. On appeal, the defendant asserted, much like President Trump does here, “that the

 interpretation of the Constitution was involved in the decision that a Congressman is an officer of

 the United States.” Id. The Court soundly rejected that argument, saying “[a]s to the construction

 of the Constitution being involved, it obviously is not.” Id. at 65. “[W]ords may be used in a

 statute in a different sense from that in which they are used in the Constitution.” Id. The pertinent

 question, the Court said, was what “officer” meant not in the Constitution but in the criminal code.

 Id. The same is true here.

         To conduct that inquiry the court focuses on the meaning of the words used in § 1985(1).

 Courts “normally interpret[] a statute in accord with the ordinary public meaning of its terms at

 the time of its enactment. After all, only the words on the page constitute the law adopted by

 Congress and approved by the President.” Bostock v. Clayton County, 140 S. Ct. 1731, 1738

 (2020). Starting with the word “office,” the Bass Plaintiffs have convincingly shown that

 Reconstruction-Era dictionaries defined that term to include legislators. One law dictionary

 defined “office” to mean “a right to exercise a public function or employment, and to take the fees

 and emoluments belonging to it,” and identified as an example of a “political office” “the office

 of the president of the United States, of the heads of departments, [or] of the members of the

 legislature.” JOHN BOUVIER, LAW DICTIONARY, ADAPTED TO THE CONSTITUTION AND LAWS OF

 THE UNITED STATES OF AMERICA, AND OF THE SEVERAL STATES OF THE UNION 259 (5th ed. 1855)

 (emphasis added). 19 That same dictionary defines “officer” to include “members of congress.” Id.

 at 260. Other dictionaries from that period are to the same effect. 2 ALEXANDER M. BURRILL, A

 LAW DICTIONARY AND GLOSSARY 257 (2d ed. 1867) (defining “office” to mean any “position or


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   According to a Westlaw search, the Supreme Court has cited various editions of Bouvier’s Law Dictionary over
 50 times, most recently in 2019 in Peter v. NantKwest, Inc., 140 S. Ct. 365, 372 (2019).

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 station in which a person is employed to perform certain duties,” including “[a] station or

 employment conferred by election of the people”); EDWARD HOPPER & J.J.S. WHARTON, LAW

 LEXICON, OR DICTIONARY OF JURISPRUDENCE: EXPLAINING THE TECHNICAL WORDS AND PHRASES

 EMPLOYED IN THE SEVERAL DEPARTMENTS OF ENGLISH LAW 537 (2d ed. 1860) (defining an

 “office” as “that function by virtue whereof a person has some employment in the affairs of

 another, whether judicial, ministerial, legislative, municipal, ecclesiastical” (emphasis added)).

          The Reconstruction-Era Congress also would have understood the term “trust” to include

 members of Congress. In fact, the term had a meaning broader than the term “office.” It included

 “a confidence reposed in one person for the benefit of another.” BURRILL, supra, at 549. And,

 though the term “place of confidence” does not appear in the legal dictionaries of the day, its

 natural meaning must be as all-encompassing as “trust.” There can be little doubt that the plain

 text of § 1985(1) reaches members of Congress. 20

          President Trump pushes back on none of this definitional history. 21 Instead, he cites

 Supreme Court and lower court decisions that use the term “federal officer” in describing the

 persons protected under § 1985(1). Thompson Trump Reply at 18. For instance, he cites Kush v.

 Rutledge, in which the Court, when describing the “classes of prohibited conspiracy” under § 1985,

 said that § 1985(1) made unlawful interference with “the performance of official duties by federal


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    The Bass Plaintiffs also convincingly cite legislative history to buttress their argument that members of Congress
 are within the reach of § 1985(1). Thompson Pls.’ Opp’n at 22–27. The court need not recite that legislative history
 here because the meaning of the words found in § 1985(1) plainly encompasses members of Congress.
 21
    President Trump does cite a law review article for the proposition that “in common law, an office of trust or profit
 referred exclusively to those in the employ in the executive, judiciary, or the church,” and did not include legislators.
 Thompson Trump Mot. at 17–18 (citing Benjamin Cassady, “You’ve Got Your Crook, I’ve Got Mine”: Why the
 Disqualification Clause Doesn’t (Always) Disqualify, 32 QUINNIPIAC L. REV. 209, 278–79 (2014)). But this is just
 another argument to tie § 1985(1)’s terms to similar words in the Constitution. The cited law review article was
 reviewing the historical underpinning of the Impeachment Clause, which states that “Judgment in Cases of
 Impeachment shall not extend further than to removal from Office, and disqualification to hold and enjoy any Office
 of honor, Trust or Profit under the United States.” Art. I, § 3, cl. 7 (emphasis added); see also Cassady, supra, at 277
 (“This interpretation—that legislators are not officers who hold offices of ‘honor, Trust or Profit’—is buttressed by
 the text, history, and structure of the Constitution.”). But for the reasons already discussed, the meaning of the terms
 in § 1985(1) is not bound by the meaning of similar terms in the Constitution.

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 officers.” 460 U.S. 719, 724 (1983). Similarly, the Ninth Circuit in Canlis v. San Joaquin Sheriff’s

 Posse Comitatus said that “the clear import of [§ 1985(1)’s] language is that the statute’s

 protections extend exclusively to the benefit of federal officers.” 641 F.2d 711, 717 (9th Cir.

 1981). Other courts have put forth the same formulation. See Miller v. Indiana Hosp., 562

 F. Supp. 1259, 1281 (W.D. Pa. 1983) (observing that “§ 1985(1) . . . only protects federal

 officers”); Lobosco v. Falsetti, No. 09-1455 (JAP), 2010 WL 4366209, at *3 (D.N.J. Oct. 28, 2010)

 (citing Miller, 562 F. Supp. 1259); Diulus v. Churchill Valley Country Club, 601 F. Supp. 677,

 681 (W.D. Pa. 1985) (“Section 1985(1), by its terms, proscribes only conspiracies which interfere

 with the performance of official duties by federal officers.”). From these cases President Trump

 asserts that “the phrase, ‘office, trust, or place of confidence under the United States’ in § 1985(1)

 is all merged to mean federal officer.” Thompson Trump Reply at 19.

        But no case says any such thing. A reading of the above-cited cases makes evident that the

 courts were using “federal officer” as shorthand for persons protected under § 1985(1) and, in the

 lower-court decisions, to distinguish such persons from state and local officials or private citizens.

 Of course, the term “federal officer” never appears in § 1985(1), and none of the cited cases

 engages in a textual analysis of § 1985(1) at all. The definitional shorthand of “federal officer” is

 of no use in the present case. And, in the end, President Trump’s argument still requires equating

 “officer” with the meaning of the term as used in the Constitution. The court already has rejected

 that equivalency. The question here is whether the Reconstruction-Era Congress would have

 understood members of Congress to occupy an “office, trust, or place of confidence under the

 United States” or qualify as an “officer of the United States.” They certainly would have.

        The court therefore finds that members of Congress plainly are within § 1985(1)’s zone of

 interests. Swalwell and the Bass Plaintiffs therefore have statutory standing to advance a claim.



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                2.      Whether Plaintiffs Are “Covered Federal Officials” Under § 1985(1)

        President Trump advances a variation of the above argument, which the foregoing

 discussion largely resolves. He contends that to successfully plead a § 1985(1) claim a plaintiff

 must allege conspiratorial action directed against a “covered federal official,” and because

 members of the House do not so qualify, Swalwell and the Bass Plaintiffs fail to state a claim.

 Thompson Trump Mot. at 26 n.8; Swalwell Trump Mot. at 29 n.12. For the same reasons the court

 found Swalwell and the Bass Plaintiffs to have statutory standing, the court rejects the instant

 contention: the plain words of § 1985(1), as they would have been understood during the

 Reconstruction Era, reach members of Congress. Therefore, a conspiracy to interfere with the

 discharge of their duties, by force, intimidation, or threat states a § 1985(1) claim.

        But there is a bit more to say here. The Bass Plaintiffs advance an additional theory for

 stating a claim under § 1986 that does not depend on their occupying an office or position protected

 under § 1985(1). They contend that the alleged conspiracy also was designed to “prevent, by force,

 intimidation, or threat any person from accepting or holding any office, trust, or place of

 confidence under the United States.” 42 U.S.C. § 1985(1) (emphasis added). Those persons that

 the alleged conspiracy prevented from “accepting or holding” such office were President-elect

 Biden and Vice President–elect Harris. See Thompson Pls.’ Opp’n at 30–31 (explaining that the

 “broader aim of the conspiracy was to prevent President Biden and Vice President Harris from

 ‘accepting or holding’” their elected offices). The court agrees with this alternative theory. The

 Offices of the President and the Vice President unquestionably qualify as “any office, trust, or

 place of confidence under the United States.” Persons seeking to “accept[] or hold[]” those offices

 therefore are, in President Trump’s terms, “covered federal officials.” So, even if the Bass

 Plaintiffs are not “covered federal officials,” President-elect Biden and Vice President–elect Harris



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 are, and a conspiracy directed at preventing them from accepting or holding office states a

 § 1985(1) claim. Under this alternative theory of conspiracy, the Bass Plaintiffs would be able to

 seek damages as “person[s]” injured by that alleged conspiracy. 42 U.S.C. § 1985(3).

                3.      Whether Members of Congress Were Discharging a “Duty” on January 6th

        The Oath Keepers advance an argument that no other Defendant does. They maintain that

 members of Congress were not discharging any “duty” on January 6th. Thompson Oath Keepers’

 Mot. at 4–8. They contend that the Constitution requires the opening of electoral ballots “in the

 presence of . . . the House of Representatives,” U.S. Const. amend. XII, and therefore vests in

 individual members no duty but only “the opportunity to observe” the Electoral College vote. Id.

 at 7–8. In the Oath Keepers’ view, because § 1985(1) prohibits conspiracies to prevent federal

 officials from “discharging any duties,” the Bass Plaintiffs cannot state a claim.

        This reading of the Constitution defies common sense. The House of Representatives can

 only act through its individual members. The Certification of the Electoral College vote, in

 particular the opening of Electoral ballots, cannot proceed “in the presence” of the House unless

 its individual members show up. Concededly, the Constitution does not expressly require a

 member to appear for the Certification. But the Constitution lacks such express appearance

 requirements as a general matter. Article I, which establishes the Congress and defines its powers,

 nowhere requires that an individual Senator or Representative appear for any particular

 proceeding. Article I, § 7, for example, which sets forth the process for passing legislation, does

 not require a Senator or Representative to cast a vote, but no one would reasonably say that the

 Constitution affords them only an “opportunity” to vote but no duty. The Oath Keepers’ argument

 is also too myopic. It ignores the Electoral Count Act, which does define roles for individual

 Senators and Representatives in the certification process, including making objections to ballots



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 and, importantly, debating and voting on such objections. See supra pp. 29–30. Swalwell and the

 Bass Plaintiffs allege that they were at the Capitol on January 6th for those very purposes.

 Swalwell Compl. ¶ 10 (alleging that Swalwell “was at the Capitol performing his official duties as

 a member . . . to count the Electoral College votes and certify the winner of the 2020 Presidential

 election”); Thompson Compl. ¶¶ 12–21 (alleging that, for example, one member Plaintiff “was

 present in the Capitol on January 6, 2021, prepared to discharge her duties of tallying ballots of

 the Electoral College and certifying the results of the 2020 presidential election”).

        The Oath Keepers’ reading also is inconsistent with the broad scope of § 1985(1). Under

 their reading, only expressly mandated acts qualify as a “duty,” and everyday discretionary acts—

 like voting on legislation or nominees, speaking to the press, or meeting with a constituent—would

 not. A member of Congress is not required to do any of those things. To read § 1985(1) to not

 reach such acts would eviscerate its purpose.

        The court also notes that the Oath Keepers’ argument does nothing to defeat the Bass

 Plaintiffs’ alternative theory of liability under § 1985(1): that the charged conspiracy was intended

 to prevent the President-elect and the Vice President–elect from “accepting or holding” office. On

 this alternative theory, it does not matter whether members of the House had a “duty.”

        Finally, the Oath Keepers make two additional arguments that the court quickly dismisses.

 First, they contend that the Bass Plaintiffs have pleaded themselves out of a claim because they

 allege that the Joint Session of Congress was in recess at the time rioters entered the Capitol

 building and, therefore, the “delay” in the proceedings occasioned on January 6th was due to “this

 internal reason,” not Defendants’ conduct. Thompson Oath Keepers’ Mot. at 9. That argument

 makes little sense for it does not matter what initially caused the Joint Session to recess or when it

 occurred: the alleged interference occurred during the hours that it took to remove the Oath



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 Keepers and others from the Capitol building, when the Bass Plaintiffs otherwise would have been

 discharging their duty to certify election results. Second, the Oath Keepers argue that “Plaintiffs

 further allege that each member in his or her personal capacity were delayed, but this states no

 constitutional violation as a matter of law because the Constitutional provisions asserted in the

 complaint do not speak to or address delay of the proceeding.” Id. It is not at all clear what the

 Oath Keepers mean by this. The Bass Plaintiffs assert that the Oath Keepers’ conduct both

 prevented and delayed discharge of their duties; § 1985(1) requires no textual hook in the

 Constitution to define the interfered-with duty, although there is one here, or the ways in which

 someone might prevent such duty from being discharged.

                4.      Pleading of a Conspiracy

        The court now reaches the most significant of Defendants’ sufficiency-of-pleading

 contentions: that all Plaintiffs have failed to plead a plausible conspiracy. Section 1985(1) is a

 conspiracy statute, and so pleading a plausible conspiracy is an essential element of all Plaintiffs’

 § 1985(1) claims.

        Before evaluating the sufficiency of the allegations, the court must address two arguments

 made by Trump and Giuliani about the pleading requirements. Invoking the standard under

 Rule 9(b), they have insisted that Plaintiffs must plead conspiracy with “particularity.” See, e.g.,

 Thompson Trump Mot. at 25; Thompson Giuliani Mot. at 10. Not so. The Supreme Court in

 Leatherman v. Tarrant County Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 169

 (1993), held that Rule 9(b)’s heightened pleading standard applies only to the two instances

 identified in the Rule: “the circumstances constituting fraud or mistake,” Fed. R. Civ. P. 9(b).

 Leatherman, 507 U.S. at 168 (rejecting heightened pleading standard for a claim under § 1983).

 Neither circumstance applies here.



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        Second, Trump and Giuliani contend that Swalwell and the Bass Plaintiffs must plead

 “actual malice” as part of their § 1985(1) claim because they are public officials. Thompson Trump

 Mot. at 26; Thompson Giuliani Mot. at 11. Again, not so. The element of “actual malice” derives

 from defamation claims against public figures. See New York Times Co. v. Sullivan, 376 U.S. 254,

 279–80 (1964). Courts have applied an “actual malice” requirement to claims under § 1985, but

 only when the conspiracy involved defamatory conduct. See Barr, 370 F.3d at 1202–03 (“Both

 the Supreme Court and this court have made clear that the constitutional protections available to

 defendants charged with defaming public officials may extend to other civil actions alleging

 reputational or emotional harm from the publication of protected speech.”). No such conduct is

 alleged here. Plus, a state-of-mind element that would require Plaintiffs to prove that a defendant

 made a statement with “knowledge that it was false or with reckless disregard of whether it was

 false or not” would make little sense in the context of a claim for conspiracy to interfere with

 discharge of a federal legislator’s duties through force, intimidation, or threat. New York Times

 Co., 376 U.S. at 279–80.

                        a.      Principles of civil conspiracy

        With these two issues out of the way, the court turns to describing the general principles of

 civil conspiracy. The term “conspiracy,” particularly in the minds of non-lawyers, likely conjures

 images of people meeting secretly to hatch a plan to violate the law. That is certainly one type of

 conspiracy. But the law does not require such a degree of deliberation, formality, or coordination.

 Conspiracies can be, and often are, established with far less direct proof.

        “A civil conspiracy is defined as an agreement between two or more people to participate

 in an unlawful act or a lawful act in an unlawful manner.” Hobson v. Wilson, 737 F.2d 1, 51 (D.C.

 Cir. 1984). The agreement can be either express or tacit. Halberstam v. Welch, 705 F.2d 472, 476



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 (D.C. Cir. 1983). So, a plaintiff “need not show that the members entered into any express or

 formal agreement, or that they directly, by words spoken or in writing, stated between themselves

 what their object or purpose was to be, or the details thereof, or the means by which the object or

 purpose was to be accomplished.” 3B FED. JURY PRAC. & INSTR. § 167:30, Westlaw (database

 updated Jan. 2022) (quoting federal standard jury instruction for claims brought under § 1985(3)

 (emphasis added)). It is enough “that members of the conspiracy in some way or manner, or

 through some contrivance, positively or tacitly[,] came to a mutual understanding to try to

 accomplish a common and unlawful plan.” Id. All coconspirators must share in the general

 conspiratorial objective, though they need not know all the details of the plan or even possess the

 same motives. Hobson, 737 F.2d at 51. They need not know the identities of other coconspirators.

 Id. In short, a civil conspiracy requires a showing “that there was a single plan, the essential nature

 and general scope of which were known to each person who is to be held responsible for its

 consequences.” Id. at 51–52 (cleaned up). And, to be actionable, there must be an overt act in

 furtherance of the conspiracy that results in injury. Id. at 52.

        At this stage of the case—on motions to dismiss—Plaintiffs’ burden to establish a

 conspiracy is lighter than it would be following discovery. A plaintiff at this stage must draft a

 complaint “with enough factual matter (taken as true) to suggest that an agreement was made.”

 Twombly, 550 U.S. at 556. Such factual matter must establish “plausible grounds to infer an

 agreement” but not “a probability requirement at the pleading stage.” Id. The standard for

 pleadings “simply calls for enough fact to raise a reasonable expectation that discovery will reveal

 evidence of illegal agreement.” Id. “[A]n allegation of parallel conduct and a bare assertion of

 conspiracy will not suffice.” Id.




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                             b.        The alleged conspiracy

          Before assessing the sufficiency of Plaintiffs’ pleadings, it is important to bear in mind

 what the alleged unlawful conspiracy is and what it is not. It is not that Defendants conspired to

 sow doubt and mistrust about the legitimacy of the electoral process and results of the 2020

 presidential election. Nor is it that Defendants worked together to influence, pressure, or coerce

 local officials, members of Congress, and the Vice President to overturn a lawful election result.

 Though many Americans might view such conduct to be undemocratic or far worse, neither

 example is an actionable conspiracy under § 1985(1). The conspiracy alleged is that Defendants

 agreed “to prevent, by force, intimidation, or threat,” (1) Swalwell and the Bass Plaintiffs from

 discharging their duties in certifying the results of the presidential election and (2) the President-

 elect and Vice President–elect from “accepting or holding” their offices. 22 It is this conspiracy

 that Plaintiffs must plausibly establish through well-pleaded facts. The court begins with a detailed

 summary of those facts and then, assuming those facts to be true, assesses their sufficiency as to

 each coconspirator.

                                       i.        Summary of allegations 23

          According to Plaintiffs, in the months leading up to January 6th, President Trump and his

 allies created the conditions that would enable the violence that happened that day. The President’s

 role during this period was multifaceted. It included regularly issuing false tweets insisting, among

 other things, that the elections in those states and localities where he had not prevailed were

 rampant with voter fraud; that he actually had won in those places when in truth he had lost; that




 22
    The Blassingame Plaintiffs do not allege that the conspiracy’s purpose was to prevent them from discharging their
 duties, but they do allege that they were injured as a result of the conspiracy to disrupt the Certification of the Electoral
 College vote. Blassingame Compl. ¶ 226.
 23
    In this section, the court does not include citations to the Complaints to support these facts to avoid cluttering up
 the text. There is no dispute that the Complaints make these allegations.

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 “big city . . . crooks” had plotted to “steal votes”; that if certain Republican governors had done

 more he would have won; and that a voting-machine vendor had helped rig elections. President

 Trump also directly contacted state and local election officials in places where he had lost to

 convince them to take steps to reverse their election results. And, he invited supporters to come

 to Washington, D.C., for a rally on January 6th, the day of the Certification of the Electoral College

 vote. President Trump directly participated in rally planning, and his campaign committee

 provided substantial funding and organizational assistance. Giuliani and Trump Jr. aided the

 President in the foregoing efforts. They coordinated with him, spread similar disinformation,

 contacted state and local election officials, and agreed to speak at the January 6 Rally.

        According to the Complaints, President Trump convinced his supporters that the election

 had been stolen from him and, importantly, them. These supporters included organized groups,

 such as the Proud Boys and the Oath Keepers. Some supporters, responding to President Trump’s

 tweets, engaged in acts of intimidation toward state and local election officials. For example, after

 President Trump said that a Georgia election official was an “enemy of the people,” that official

 received threats of violence and assassinations. When another Georgia official asked President

 Trump to condemn these actions, urging him to “Stop inspiring people to commit acts of violence,”

 and warned that “Someone is going to get shot, someone is going to get killed,” the President

 remained silent. Another state election official had armed protesters descend on her home.

        Some supporters organized and attended rallies, including two in Washington, D.C., on

 November 14, 2020, and December 12, 2020. The Proud Boys and the Oath Keepers attended

 these District of Columbia–based events. At the December 12 rally, an Oath Keepers leader said

 that President Trump “needs to know from you that you are with him, [and] that if he does not do

 it now while he is Commander in Chief, we’re going to have to do it ourselves later, in a much



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 more desperate, much more bloody war.” Violence also broke out in connection with these rallies.

 Police clashed with some of the President’s supporters. Dozens were arrested, persons were

 stabbed, police were injured, and property destroyed.

        President Trump first promoted the January 6 Rally on December 19, 2020, announcing on

 Twitter: “Statistically impossible to have lost the 2020 Election. Big protest in D.C. on January

 6th. Be there, will be wild!” Some of the President’s supporters interpreted the President’s tweet

 as a call to violence. Some followers on the message board TheDonald.win openly talked of

 bringing weapons to Washington, D.C., and engaging in acts of violence. Some on Twitter and

 Facebook posted about “Operation Occupy the Capitol” and used hashtags such as

 #OccupyCapitols. The Proud Boys and the Oath Keepers, for their part, began active planning for

 January 6th, including reaching an agreement to work together. Oath Keepers leaders announced

 on Facebook “an alliance” and “a plan with the Proud Boys.” Tarrio posted on the social media

 site Parler that the Proud Boys would “turn out in record numbers on Jan 6th” but would be

 “incognito” and “spread across downtown DC in smaller teams.” The Proud Boys and the Oath

 Keepers prepared for the January 6 Rally by obtaining tactical equipment, communications

 equipment, and bear mace.

        On the eve and the morning of the January 6 Rally, the President tweeted yet again that the

 election had been rife with fraud and insisted that the Vice President could send ballots back to the

 states for recertification. He also tweeted that Washington, D.C., “is being inundated by people

 who don’t want to see an election victory stolen by emboldened Radical Left Democrats. Our

 Country has had enough, they won’t take it anymore!”

        Supporters, including the Proud Boys and Oath Keepers, arrived at the Ellipse for the

 January 6 Rally before 9:00 a.m. They heard from various speakers, including Giuliani and



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 Trump Jr. (more on their statements below), both of whom repeated false claims about the election

 being stolen and asserted that the Vice President could block the Certification. President Trump

 spoke last. 24 He gave a 75-minute speech based on the false premise that he had won the election

 and that it had been stolen from him and those gathered. At the start, he said that “Our country

 has had enough. We will not take it anymore and that’s what this is all about. And to use a favorite

 term that all of you people really came up with, we will ‘stop the steal.’” Early in the speech he

 alluded to rally-goers marching to the Capitol building. The President told the assembled crowd

 that “Mike Pence is going to have to come through for us. And if he doesn’t, that will be a sad

 day for our country because you’re sworn to uphold our Constitution. Now it is up to Congress to

 confront this egregious assault on our democracy.” He continued:

                  And after this, we’re going to walk down—and I’ll be there with
                  you—we’re going to walk down. We’re going to walk down any
                  one you want, but I think right here. We’re going to walk down to
                  the Capitol, and we’re going to cheer on our brave senators, and
                  congressmen and women. And we’re probably not going to be
                  cheering so much for some of them because you’ll never take back
                  our country with weakness.

                  You have to show strength, and you have to be strong. We have
                  come to demand that Congress do the right thing and only count the
                  electors who have been lawfully slated, lawfully slated. I know that
                  everyone here will soon be marching over to the Capitol building to
                  peacefully and patriotically make your voices heard. Today we will
                  see whether Republicans stand strong for integrity of our elections,
                  but whether or not they stand strong for our country, our country.

 The President’s call for a march to the Capitol was not, however, authorized. It was something

 that he and his campaign had devised. The Rally’s permit said: “This permit does not authorize a

 march from the Ellipse.”




 24
   A full transcript of the President’s remarks can be found on the Thompson docket. Def. Oath Keepers’ Mot. for
 Leave to File Am., Suppl. Ex. in Supp. of the Oath Keepers’ Mot. to Dismiss, ECF No. 57, Ex. 2, ECF No. 57-2.

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          As the President’s speech continued, the crowd grew increasingly animated. The President

 told them that if the Vice President did not send ballots back for recertification, “you will have a

 President of the United States for four years . . . who was voted on by a bunch of stupid people

 who lost all of these states. You will have an illegitimate president. That is what you will have,

 and we can’t let that happen.” At some point after, the crowd began shouting “Storm the Capitol,”

 “Invade the Capitol Building,” and “Take the Capitol Right Now.” They also began to chant

 “Fight Like Hell” and “Fight for Trump.” 25 At the conclusion of his speech, the President told the

 rally-goers: “I said, ‘Something’s wrong here. Something’s really wrong. Can’t have happened.’

 And we fight like hell and if you don’t fight like hell, you’re not going to have a country anymore.”

 Almost immediately after, he told the crowd:

                   So, we’re going to walk down Pennsylvania Avenue . . . and we’re
                   going to the Capitol and we’re going to try and give—the Democrats
                   are hopeless. They’re never voting for anything. But we’re going
                   to try to give our Republicans, the weak ones, because the strong
                   ones don’t need any of our help, we’re going to try and give them
                   the kind of pride and boldness they need to take back our country.
                   So, let’s walk down Pennsylvania Avenue.

          Meanwhile, before the President’s speech had concluded, the Proud Boys had already

 breached the outer perimeter of the Capitol grounds. One Proud Boys member shouted, “Let’s

 take the fucking Capitol!,” to which one responded, “Don’t yell it, do it.” They then broke into

 smaller groups and began breaking through exterior barricades. By the time the crowd arrived

 from the Ellipse, those barricades had been compromised. The crowd eventually overwhelmed

 Capitol police and was able to enter the building. Some rioters told Capitol police officers, “[W]e



 25
    There is a conflict between two Complaints as to when these shouts and chants took place. According to the Bass
 Plaintiffs, the chants to lay siege to the Capitol took place during the President’s speech and shouts to fight for the
 President took place after he concluded speaking. Thompson Compl. ¶ 88. The Blassingame Plaintiffs say just the
 opposite. Their version is that the chants regarding the Capitol took place after the President concluded his remarks
 and the shouts to fight for him occurred during his speech. Blassingame Compl. ¶ 61. The court does not attempt to
 resolve that factual conflict here.

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 are listening to Trump—your boss” and “We were invited here by the President of the United

 States.” Some entered the House chamber, and others, the Speaker of the House’s office. The

 Oath Keepers entered the building in a military-style formation, dressed in paramilitary equipment,

 helmets, and reinforced vests. One message exchanged among them said: “We have a good group.

 We have about 30–40 of us. We are sticking together and sticking to the plan.” As a result of

 rioters entering and remaining in the Capitol, Congress and the Vice President were prevented

 from proceeding with the Certification of the Electoral College vote as planned.

        President Trump had not, as promised, joined the crowd at the Capitol. Instead, he was

 already back at the White House by the time rioters entered the Capitol. He began watching live

 televised reports of the siege. He first tweeted a video of his Rally Speech. Then, about fifteen

 minutes after rioters had entered the Capitol building, President Trump tweeted:

                Mike Pence didn’t have the courage to do what should have been
                done to protect our Country and our Constitution, giving States a
                chance to certify correct set of facts, not the fraudulent or inaccurate
                ones which they were asked to previously certify. USA demands
                truth!

 Rioters at the Capitol building repeated the tweet on megaphones. Minutes later, the President

 called Senator Mike Lee looking for Senator Tommy Tuberville; Senator Lee informed the

 President that the Vice President was being evacuated by the Secret Service and that he had to go.

 Later, when House Leader Kevin McCarthy spoke to the President by phone and urged him to call

 off the rioters, the President responded: “Well, Kevin, I guess these people are more upset about

 the election than you are.” About a half hour after rioters had entered the Capitol building, the

 President tweeted: “Please support our Capitol Police and Law Enforcement. They are truly on

 the side of our Country. Stay peaceful!” Approximately 90 minutes later, at 4:17 p.m., the

 President tweeted a video in which he again repeated that the election had been stolen but told his



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 supporters to go home. He said to them, “I know your pain. I know you’re hurt,” and added, “We

 love you. You’re very special.” At 5:40 p.m., law enforcement finally cleared the Capitol

 building. At 6:00 p.m., the President sent another tweet:

                These are the things and events that happen when a sacred landslide
                election victory is so unceremoniously & viciously stripped away
                from great patriots who have been badly & unfairly treated for so
                long. Go home with love & in peace. Remember this day forever!

 Congress would resume the Certification later that night and would complete it at 3:41 a.m. the

 next day.

                                ii.    President Trump

        Viewing the foregoing well-pleaded facts in the light most favorable to Plaintiffs, and

 drawing all reasonable inferences in their favor, see Hurd v. District of Columbia, 864 F.3d 671,

 675 (D.C. Cir. 2017), the court concludes that the Complaints establish a plausible § 1985(1)

 conspiracy involving President Trump. That civil conspiracy included the Proud Boys, the Oath

 Keepers, Tarrio, and others who entered the Capitol on January 6th with the intent to disrupt the

 Certification of the Electoral College vote through force, intimidation, or threats.

        Recall, a civil conspiracy need not involve an express agreement; so, the fact that President

 Trump is not alleged to have ever met, let alone sat down with, a Proud Boy or an Oath Keeper to

 hatch a plan is not dispositive. A tacit agreement—one that is “implied or indicated . . . but not

 actually expressed”—is enough.         Tacit, MERRIAM-WEBSTER’S DICTIONARY, https://www

 .merriam-webster.com/dictionary/tacit (last visited Feb. 8, 2022). The key is that the conspirators

 share the same general conspiratorial objective, or a single plan the essential nature and general

 scope of which is known to all conspirators. See Hobson, 737 F.2d at 51–52. Multiple factors

 make President Trump’s involvement in the alleged § 1985(1) conspiracy plausible.




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        First, a court “must initially look to see if the alleged joint tortfeasors are pursuing the same

 goal—although performing different functions—and are in contact with one another.”

 Halberstam, 705 F.2d at 481. Both elements are present here. The President, the Proud Boys, the

 Oath Keepers, and others “pursu[ed] the same goal”: to disrupt Congress from completing the

 Electoral College certification on January 6th. That President Trump held this goal is, at least,

 plausible based on his words and actions. He repeatedly tweeted false claims of election fraud and

 corruption, contacted state and local officials to overturn election results, and urged the Vice

 President to send Electoral ballots back for recertification. The President communicated directly

 with his supporters, inviting them to Washington, D.C., to a rally on January 6th, the day of the

 Certification, telling them it would be “wild.” He directly participated in the rally’s planning, and

 his campaign funded the rally with millions of dollars. At the rally itself, the President gave a

 rousing speech in which he repeated the false narrative of a stolen election. The crowd responded

 by chanting and screaming, “Storm the Capitol,” “Invade the Capitol,” “Take the Capitol right

 now,” and “Fight for Trump.” Still, the President ended his speech by telling the crowd that “we

 fight like hell and if you don’t fight like hell, you’re not going to have a country anymore.” Almost

 immediately after these words, he called on rally-goers to march to the Capitol to give “pride and

 boldness” to reluctant lawmakers “to take back our country.” Importantly, it was the President

 and his campaign’s idea to send thousands to the Capitol while the Certification was underway. It

 was not a planned part of the rally. In fact, the permit expressly stated that it did “not authorize a

 march from the Ellipse.” From these alleged facts, it is at least plausible to infer that, when he

 called on rally-goers to march to the Capitol, the President did so with the goal of disrupting

 lawmakers’ efforts to certify the Electoral College votes. The Oath Keepers, the Proud Boys, and

 others who forced their way into the Capitol building plainly shared in that unlawful goal.



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        Second, it is also plausible that the President was aware of the essential nature and general

 scope of the conspiracy. See Hobson, 737 F.2d at 51–52. He knew the respective roles of the

 conspirators: his was to encourage the use of force, intimidation, or threats to thwart the

 Certification from proceeding, and organized groups such as the Proud Boys and the Oath Keepers

 would carry out the required acts. The President expressed knowledge of the Proud Boys during

 a presidential debate, in which he said, “Proud Boys, stand back and stand by.” He also likely

 knew of the Oath Keepers based on the group’s public profile at pro-Trump rallies in Washington,

 D.C. It is reasonable to infer that the President knew that these were militia groups and that they

 were prepared to partake in violence for him. The same is true of other supporters. The President

 and his advisors allegedly “actively monitored” websites where supporters made violent posts, and

 such posts were discussed on Fox News, a media outlet regularly viewed by the President. He also

 would have known about violent threats made against state election officials, which he had refused

 to condemn. The President thus plausibly would have known that a call for violence would be

 carried out by militia groups and other supporters.

        Third, Plaintiffs’ allegations show a call-and-response quality to the President’s

 communications, of which the President would have been aware. The Complaints contain

 numerous examples of the President’s communications being understood by supporters as direct

 messages to them and, in the case of the January 6 Rally, as a call to action. When he told the

 Proud Boys to “stand back, and stand by,” Tarrio tweeted in response, “Standing by sir.” After

 publicly criticizing state election officials, some of those election officials became the object of

 threats of violence. When the President tweeted an invitation to the January 6 Rally, pro-Trump

 message boards and social media lit up with some supporters expressing a willingness to act

 violently, if needed. Based on these allegations, it is reasonable to infer that before January 6th



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 the President would have known about the power of his words and that, when asked, some of his

 supporters would do as he wished. On January 6th they did so. When he called on them to march

 to the Capitol, some responded, “Storm the Capitol.” Thousands marched down Pennsylvania

 Avenue as directed. And, when some were inside the Capitol, they told officers, “We were invited

 here by the President of the United States.” Even the President’s counsel conceded that an

 invitation to commit a tort and the acceptance to do so would establish a civil conspiracy. Hr’g

 Tr. at 67–68; see also id. at 56–57 (same concession by Giuliani’s counsel); id. at 82 (same

 concession by the Oath Keepers’ counsel). A plausible causal connection between the President’s

 words and the response of some supporters is therefore well pleaded. Cf. Hobson, 737 F.2d at 54

 (observing that “the flow of information back and forth, coupled with evidence of efforts to impede

 plaintiffs’ rights . . . conceivably could have sufficed to permit a jury to infer that an agreement

 existed among certain persons . . . to disrupt plaintiffs’ activities”).

         Fourth, the President’s January 6 Rally Speech can reasonably be viewed as a call for

 collective action. The President’s regular use of the word “we” is notable. To name just a few

 examples: “We will not take it anymore”; “We will ‘stop the steal’”; “We will never give up”;

 “We will never concede”; “We will not take it anymore”; “All Mike Pence has to do is send it back

 to the states to recertify, and we become president”; “[W]e’re going to have to fight much harder”;

 “We can’t let that happen”; “We’re going to walk down . . .”; “We fight like hell”; “We’re going

 to walk down Pennsylvania Avenue.” “We” used repeatedly is this context implies that the

 President and rally-goers would be acting together towards a common goal. That is the essence of

 a civil conspiracy.




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         And, finally, a tacit agreement involving the President is made all the more plausible by

 his response to the violence that erupted at the Capitol building.26 Approximately twelve minutes

 after rioters entered the Capitol building, the President sent a tweet criticizing the Vice President

 for not “hav[ing] the courage to do what should have been done to protect our Country.” Rioters

 repeated that criticism at the Capitol, some of whom saw it as encouragement to further violence.

 It is reasonable to infer that the President would have understood the impact of his tweet, since he

 had told rally-goers earlier that, in effect, the Vice President was the last line of defense against a

 stolen election outcome. The President also took advantage of the crisis to call Senator Tuberville;

 it is reasonable to think he did so to urge delay of the Certification. And then, around 6:00 p.m.,

 after law enforcement had cleared the building, the President issued the following tweet: “These

 are the things and events that happen when a sacred landslide election victory is so

 unceremoniously & viciously stripped away from great patriots who have been badly & unfairly

 treated for so long. Go home with love & in peace. Remember this day forever!” A reasonable

 observer could read that tweet as ratifying the violence and other illegal acts that took place at the

 Capitol only hours earlier. See Hobson, 737 F.2d at 53 (agreeing that “evidence of a pattern of

 mutually supportive activity over a period of time provides a reasonable basis for inferring that

 parties are engaged in a common pursuit” (cleaned up)).

         The President argues that, at most, Plaintiffs have pleaded that the President “made political

 statements . . . at a rally meant to persuade political officials.” Thompson Trump Mot. at 27. But

 that contention misses the forest for the trees. It ignores the larger context of the Rally Speech.




 26
   With respect to the President’s post–Rally Speech conduct, the court for present purposes considers only those acts
 that plausibly were undertaken in his unofficial capacity. Circuit precedent suggests that immunized action (or
 inaction) cannot be considered. See Banneker Ventures, 798 F.3d at 1145 (instructing trial court on remand to
 “evaluate whether the actions that it concludes would not be immunized, taken together, state a claim against Graham
 for tortious interference or civil conspiracy” (emphasis added)).

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 For months, the President led his supporters to believe the election was stolen. When some of his

 supporters threatened state election officials, he refused to condemn them. Rallies in Washington,

 D.C., in November and December 2020 had turned violent, yet he invited his supporters to

 Washington, D.C., on the day of the Certification. They came by the thousands. And, following

 a 75-minute speech in which he blamed corrupt and weak politicians for the election loss, he called

 on them to march on the very place where Certification was taking place. The President’s narrow

 characterization of his conduct accounts for none of this.

         The President also contends that a conspiracy involving him not only is “far-fetched, but it

 is also in direct opposition to many of the statements made by Mr. Trump at the very rally.” Id. at

 28. The only portion of the Speech he cites to support that proposition is that, early on, he said

 that rally-goers soon would be “marching over to the Capitol building to peacefully and

 patriotically make your voices heard.” See id. The President certainly uttered those words. But

 he also uttered others, which he ignores. Immediately before directing them to the Capitol, he told

 rally-goers that they would need to “fight like hell and if you don’t fight like hell, you’re not going

 to have a country anymore.” When those supporters did “fight like hell,” just as he had told

 them to, the President did not demand they act “peacefully and patriotically.” He instead tweeted

 that “Mike Pence didn’t have the courage to do what should have been done to protect our

 Country.” Later, he referred to those who had attacked the Capitol as “great patriots,” and told

 them to, “Remember this day forever!” These other statements by the President stand in stark

 contrast to his passing observation that rally-goers would soon be “peacefully and patriotically”

 marching to the Capitol. Those three words do not defeat the plausibility of Plaintiffs’ § 1985(1)

 claim at this stage.




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        The President also dismisses two allegations as weak and speculative that purport to tie

 him to the Proud Boys and the Oath Keepers. The court relies on neither at this juncture but thinks

 one may prove significant in discovery. The first is an allegation that “a person associated with

 the Trump White House communicated with a member of the Proud Boys by phone.” Thompson

 Compl. ¶ 70. The court agrees that this is a speculative allegation and has not considered it. The

 other concerns the President’s confidant, Roger Stone. Stone posted on Parler in late December

 that he had met with the President “to ensure that Donald Trump continues as our president.”

 Shortly thereafter, Stone spoke with Tarrio, and later he used the Oath Keepers as his security

 detail for the January 6 Rally. The court does not rely on these allegations to establish the

 President’s knowledge of the Proud Boys or the Oath Keepers. Other alleged facts make that

 inference plausible. That said, Stone’s connections to both the President and these groups in the

 days leading up to January 6th is a well-pleaded fact. Discovery might prove that connection to

 be an important one.

        The President also suggests that, at most, Plaintiffs have pleaded independent, parallel

 conduct that does not make out a plausible conspiracy under Twombly. Thompson Trump Reply

 at 21–22. But that argument ignores the multiple ways in which the President interacted with his

 supporters, including organized groups. The Complaints detail how the President’s tweets led to

 threats of violence against state election officials; how his tweet inviting supporters to Washington,

 D.C., on January 6th was understood by some to be a call to action; and how he called on thousands

 to participate in an unauthorized march on the Capitol building that ended in acts of violence. That

 is a pattern of mutually supportive activity that supports a plausible conspiracy. Hobson, 737 F.2d

 at 53. Such mutually supportive activity distinguishes this case from Twombly, in which the Court




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 held that the complaint failed to allege a conspiracy because market factors, not concerted action,

 were a more plausible explanation for the alleged conduct. See Twombly, 550 U.S. at 566–69.

         Finally, the President argues that Plaintiffs cannot construct a conspiracy based on

 “Mr. Trump’s political activity,” which is protected speech. Thompson Trump. Mot. at 28. The

 court addresses the President’s First Amendment defense below.

                                iii.    Giuliani

         The court reaches a different conclusion as to Giuliani. There is little doubt that Plaintiffs

 have adequately pleaded that Giuliani was involved in a conspiracy to “engage[] in a months-long

 misinformation campaign to convince Trump’s supporters that the election had been illegally

 stolen.” Thompson Pls.’ Opp’n at 42. But, as the court stated earlier, such a conspiracy does not

 violate § 1985(1). What Plaintiffs must plausibly establish is that Giuliani conspired to prevent

 Congress from discharging its duties on January 6th by force, intimidation, or threat. There, they

 fall short.

         In addition to his pre–January 6th actions—which alone do not establish Giuliani as a

 § 1985(1) conspirator—Plaintiffs point to two of Giuliani’s acts that occurred on January 6th:

 (1) his rally speech, in which he said, “So, let’s have trial by combat” and “We’re going to fight

 to the very end to make sure that doesn’t happen,” and (2) a phone call that he made to members

 of Congress, urging them to delay the Certification. Thompson Pls.’ Opp’n at 42–43. These

 allegations, individually and taken together, do not “nudge[]” Plaintiffs’ § 1985(1) claim against

 Giuliani “across the line from conceivable to plausible.” Twombly, 550 U.S. at 570.

         As to his rally remarks, the court believes Giuliani’s words are not enough to make him

 part of a § 1985(1) conspiracy. Critically, Giuliani uttered no words that resembled a call to action.

 “Trial by combat” was not accompanied by a direction to do anything. And, given the speaker,



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 those words were not likely to move the crowd to act. There is no allegation that anyone took

 Giuliani’s words as permission to enter the Capitol. And there are no allegations that Giuliani at

 any time before January 6th uttered words advocating or inspiring violence. Indeed, as discussed

 further below, the court holds that Giuliani’s rally remarks are constitutionally protected speech.

 Nor is Giuliani alleged to have been involved in rally planning or known that the President would

 direct the crowd to march to the Capitol. And he did not express solidarity with the rally-goers

 after some violently assaulted police and forced their way into the Capitol. Giuliani’s words at the

 rally are not sufficiently additive to make him a § 1985(1) coconspirator.

        Neither are his phone calls to lawmakers on January 6th after the Capitol was breached.

 There is some conflict among Plaintiffs on this allegation. The Bass Plaintiffs allege that such

 calls were made “while the insurrection was ongoing.”            Thompson Compl. ¶ 138.         The

 Blassingame Plaintiffs, on the other hand, say that two such calls occurred at 7:00 p.m., after law

 enforcement had cleared the Capitol. Blassingame Compl. ¶ 128. Whatever the timing of those

 calls, they at most establish Giuliani as an opportunist, not someone who shared in the same general

 conspiratorial objective as others before the violence at the Capitol occurred. Though Giuliani

 unquestionably was a central figure in the President’s efforts to sow doubt and mistrust in the

 election’s outcome, the court cannot say, based on the facts alleged, that he plausibly shared the

 common conspiratorial goal of violently disrupting the Certification.

                               iv.     Trump Jr.

        The court reaches the same conclusion as to Trump Jr. The allegations against him are

 even thinner than those against Giuliani. Before January 6th, he sent false and misleading tweets

 about the election and publicly criticized officials who did not support his father. He also spoke

 at the rally, during which he repeated false claims about election fraud and theft. He also warned



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 Republicans who failed to back the President, “we’re coming for you, and we’re gonna have a

 good time doing it.” As discussed below, the court believes these words to be protected speech.

 That is all Plaintiffs have attributed to Trump Jr. 27 He is not alleged to have participated in rally

 planning, known that the President would direct a march to the Capitol, or expressed support for

 the rioters and their actions. The allegations against Trump Jr. are insufficient to make him a

 coconspirator in a plan to disrupt Congress from performing its duties.

                                    v.      The Oath Keepers

         The Oath Keepers also challenge the sufficiency of the conspiracy allegations against them.

 But that argument goes nowhere. At a minimum, the alleged facts establish a § 1985(1) conspiracy

 between the Oath Keepers and the Proud Boys. After the President’s announcement of the January

 6 Rally, a leader of the group posted a Facebook message that he had “organized an alliance

 between Oath Keepers . . . and Proud Boys. We have decided to work together and shut this shit

 down.” Days later, another leader posted on Facebook that the Oath Keepers had “orchestrated a

 plan with the Proud Boys.” Those statements, if true, would be direct evidence of a civil

 conspiracy. The Complaints also detail each group’s preparations for January 6th, and they allege

 that members from each group forcibly entered the Capitol building intent on disrupting the

 Certification. These well-pleaded allegations easily establish a plausible § 1985(1) conspiracy

 between the two groups.

         The Oath Keepers make two primary contentions. First, they maintain that the Thompson

 complaint lacks sufficient details, such as names of the leaders who posted to Facebook, to

 establish a conspiracy. Thompson Oath Keepers’ Mot. at 14. But Rule 8’s notice-pleading rules


 27
    Swalwell also includes in his Complaint a photograph of Trump Jr. from May 2019 that purports to show him
 wearing a t-shirt bearing the symbol of a militia group known as the Three Percenters. Swalwell Compl. ¶ 96. The
 Three Percenters are among the groups alleged to have stormed the Capitol. But this effort to tie Trump Jr. to the
 alleged conspiracy is tenuous, at best.

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 apply here, and the Oath Keepers have not cited any case that requires the specificity they demand

 to survive a motion to dismiss. Second, they complain that they are being held responsible for the

 acts of the group’s members. See id. at 15. Plaintiffs, however, have pleaded sufficient facts to

 establish respondeat superior liability at this stage.

                                vi.     Tarrio

        Tarrio’s role in the conspiracy is established through well-pleaded allegations. It is

 reasonable to infer that, as the leader of the Proud Boys, he would have participated in forming the

 announced “alliance” and “orchestrated plan” with the Oath Keepers. Thompson Compl. ¶ 63.

 He also said that the Proud Boys would be there in “record numbers on Jan 6th,” would be

 “incognito,” and would “spread across downtown DC in smaller teams.” Id. ¶ 64. It is also

 reasonable to infer that he would have been involved in the Proud Boys’ collection of tactical vests,

 military-style communication equipment, and bear mace. Id. ¶ 65. These allegations are sufficient

 to plausibly establish Tarrio as a conspirator.

                                           *       *      *

        To sum up, the court holds that Plaintiffs have successfully pleaded a § 1985(1) conspiracy

 claim against President Trump, the Oath Keepers, and Tarrio. They have fallen short as to Giuliani

 and Trump Jr.

        C.       Failure to State a § 1986 Claim

        The court already has held that President Trump is immune from suit as to Swalwell’s

 § 1986 claim. The question remains whether Swalwell has stated such a claim against the other

 defendants, Giuliani and Trump Jr. He has not.

        Recall, § 1986 provides a cause of action against anyone who has “knowledge that any of

 the wrongs conspired to be done, and mentioned in section 1985 of this title, are about to be



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 committed, and having the power to prevent or aid in preventing the commission of the same,

 neglects or refuses so to do.” 42 U.S.C. § 1986. Thus, if Giuliani or Trump Jr. “knew of a

 [§ 1985(1)] conspiracy, were in a position to prevent the implementation of that conspiracy, and

 neglected or refused to prevent it, they are liable under § 1986.” Park v. City of Atlanta, 120 F.3d

 1157, 1160 (11th Cir. 1997). Swalwell’s pleading falls short in two respects. First, it fails to plead

 sufficient facts establishing that Giuliani or Trump Jr. knew of a tacit plan to prevent members of

 Congress from discharging their duties. The Complaint does not, for example, allege either was

 involved in the planning of the January 6 Rally or knew in advance that the President would call

 on rally-goers, including organized groups, to march on the Capitol while Congress was in session.

 Second, it does not allege that Giuliani or Trump Jr. had the “power” to prevent such conspiracy.

 Few courts appear to have addressed this element, but those finding the requisite power to be

 present have done so where the defendant was a government official or employee with some formal

 authority to act. See, e.g., Peck v. United States, 470 F. Supp. 1003, 1013 (S.D.N.Y. 1979) (FBI

 agents); Santiago v. City of Philadelphia, 435 F. Supp. 136, 156 (E.D. Pa. 1977) (mayor and city

 managing director who had “some authority, though limited, to control policies and practices”),

 abrogated on other grounds by Chowdhury v. Reading Hosp. & Med. Ctr., 677 F.2d 317 (3d Cir.

 1982). Giuliani and Trump Jr., as personal lawyer to the President and the President’s son,

 respectively, evidently do not so qualify. Swalwell’s Complaint thus fails to plead a § 1986 claim

 against Giuliani and Trump Jr.

        D.      The First Amendment Defense

        The court thus far has held that President Trump is not immune from suit as to Plaintiffs’

 § 1985(1) claim and that Plaintiffs have successfully pleaded such claim against him. The question

 remains, however, whether that claim (and others) can move forward when, as here, the President’s



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 alleged conspiratorial acts are predicated entirely on his speech. This is a substantial constitutional

 question. The First Amendment grants all citizens expansive protections in what they can say, but

 that protection must be particularly guarded when it comes to the President of the United States.

 As the Supreme Court has repeatedly reminded, a President’s position in our system of government

 is unique and his duties and responsibilities “are of unrivaled gravity and breadth.” Vance, 140

 S. Ct. at 2425. A President could not function effectively if there were a risk that routine speech

 might hale him into court. Only in the most extraordinary circumstances could a court not

 recognize that the First Amendment protects a President’s speech. But the court believes this is

 that case. Even Presidents cannot avoid liability for speech that falls outside the expansive reach

 of the First Amendment. The court finds that in this one-of-a-kind case the First Amendment does

 not shield the President from liability.

                1.      The First Amendment and Speech on Matters of Public Concern

        The Supreme Court has spoken in soaring terms about the First Amendment’s protection

 of speech on matters of public concern. “Expression on public issues ‘has always rested on the

 highest rung of the hierarchy of First Amendment values.’” NAACP v. Claiborne Hardware Co.,

 458 U.S. 886, 913 (1982) (citation omitted). “[S]peech concerning public affairs is more than self-

 expression; it is the essence of self-government.” Garrison v. Louisiana, 379 U.S. 64, 74–75

 (1964). The First Amendment embodies our “profound national commitment to the principle that

 debate on public issues should be uninhibited, robust, and wide-open.” New York Times Co., 376

 U.S. at 270. Such speech may “well include vehement, caustic, and sometimes unpleasantly sharp

 attacks on government and public officials.” Id. “Strong and effective extemporaneous rhetoric

 cannot be nicely channeled in purely dulcet phrases. An advocate must be free to stimulate his




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 audience with spontaneous and emotional appeals for unity and action in a common cause.”

 Claiborne Hardware, 458 U.S. at 928.

           Protection for speech on matters of public concern is decidedly capacious, but it is not

 unbounded. “The presence of protected activity . . . does not end the relevant constitutional

 inquiry. Governmental regulation that has an incidental effect on First Amendment freedoms may

 be justified in certain narrowly defined instances.” Id. at 912. But when considering liability in

 such “narrowly defined instances,” courts must tread carefully. When, as here, liability is based

 in part on “a public address—which predominantly contained highly charged political rhetoric—

 [the court must] approach this suggested basis of liability with extreme care.” Id. at 926–27. Such

 care extends even when, as in this case, the allegation is that speech produced violence. “When

 violence occurs during activity protected by the First Amendment, that provision mandates

 ‘precision of regulation’ with respect to ‘the grounds that may give rise to damages liability’ as

 well as ‘the persons who may be held accountable for those damages.’” McKesson v. Doe, 141

 S. Ct. 48, 50 (2020) (quoting Claiborne Hardware, 458 U.S. at 916–17).

           Thus, the court’s task here is to determine whether a “narrowly defined instance” applies

 to President Trump’s speech such that he “may be held accountable” for the damages it may have

 caused.     Plaintiffs here advance two such “narrowly defined instances”: (1) the President

 participated in an unlawful conspiracy and (2) the President’s January 6 Rally Speech incited

 violence. Thompson Pls.’ Opp’n at 49–56; Swalwell Opp’n at 18–19; Blassingame Pls.’ Opp’n at

 36–39. The court considers in turn each of these grounds for denying President Trump’s speech

 First Amendment protection.




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                        a.      Participation in an unlawful conspiracy

        Plaintiffs say that “conspiratorial statements and agreements in furtherance of unlawful

 actions are not protected by the First Amendment.” Thompson Pls.’ Opp’n at 50. They cite various

 cases for various propositions, including that the First Amendment does not authorize “knowing

 association with a conspiracy,” id. at 50 (quoting Scales v. United States, 367 U.S. 203, 229

 (1961)); it does not confer a right to “impede or obstruct” a government employee’s “performance

 of duty by threats,” id (quoting United States v. Varani, 435 F.2d 758, 762 (6th Cir. 1970)); it does

 not protect “speech integral to criminal conduct,” Blassingame Pls.’ Opp’n at 18 (quoting United

 States v. Alvarez, 567 U.S. 709, 717 (2012)); and it does not “immunize[] [speech] from regulation

 when [it] is used as an integral part of conduct which violates a valid statute,” id. at 18–19 (quoting

 Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 514 (1972)).

        But the court finds these broad-stroke principles inapt here. For one, cases like Scales,

 Varani, and Alvarez involve criminal conspiracies, which the Supreme Court seems to have put in

 its own category. Plaintiffs sometimes suggest that the President engaged in criminal conduct, but

 what is before the court is a civil conspiracy, and it would be imprudent for the court to assess

 whether factual allegations in a civil complaint make out criminal conduct. Even the low probable-

 cause standard is higher than Rule 8’s plausibility standard. Other cases, like California Motor

 Transport, arise in the context of economic regulation, involving, for example, statutes barring

 monopolization or concerted activity, where the speech at issue usually is not on matters of public

 concern. Speech used to facilitate the fixing of prices or the manipulation of markets is naturally

 afforded less First Amendment protection than a presidential speech on a matter of public concern.

        Speech on matters of public concern may even be protected if it is part of a concerted

 violation of law. That is the lesson of the Supreme Court’s decision in Claiborne Hardware.



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 There, Mississippi state courts had found the NAACP; its state field secretary, Charles Evers; and

 others liable for losses incurred by white merchants as a result of a boycott—a kind of civil

 conspiracy—that violated state law “on three separate conspiracy theories.” 458 U.S. at 891.

 Indeed, the Mississippi Supreme Court had found that the defendants “had agreed to use force,

 violence, and ‘threats’ to effectuate the boycott.” Id. at 895. The Supreme Court observed that

 the boycott was “supported by speeches and nonviolent picketing” aimed at expressing

 dissatisfaction with “the social structure that denied them rights to equal treatment and respect”—

 plainly matters of public concern. Id. at 907. The Court, in assessing the defendants’ plea for First

 Amendment protection, did not dismiss it out of hand merely because the defendants had conspired

 to violate state law. Rather, in recognition of the weighty First Amendment values at stake, the

 Court narrowed the scope of inquiry to whether any of the business losses were caused by speech

 that was not otherwise protected under the First Amendment—namely, speech that caused violence

 or constituted threats of violence. Id. at 916. Once the Court identified speech that might so

 qualify, it did not declare the speech unprotected because it was part of a conspiracy; instead, it

 evaluated the speech under the narrow “incitement” standard announced in Brandenburg v. Ohio,

 395 U.S. 444 (1969).

        The court here must follow the same path the Court did in Claiborne Hardware.

 President Trump’s speech cannot be deemed unprotected merely because Plaintiffs have alleged it

 to be part of a conspiratorial agreement to violate a civil statute. Instead, because his speech is on

 a matter of public concern, it will lose its First Amendment protection only if it meets the stringent

 Brandenburg “incitement” standard. See Tri-Corp Housing, Inc. v. Bauman, 826 F.3d 446, 449

 (7th Cir. 2016) (recognizing that public officials have the right to “urge their constituents to act in

 particular ways . . . , as long as they refrain from making the kind of threats that the Supreme Court



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 treats as subject to control under the approach of Brandenburg” (citation omitted)). It is to that

 inquiry the court now turns.

                            b.       Brandenburg and incitement

          A trio of Supreme Court cases has come to define the incitement exception to the First

 Amendment. They are Brandenburg, Hess v. State of Indiana, and Claiborne Hardware. A brief

 discussion of each helps to frame the determination this court must make.

          Brandenburg involved the conviction of a member of the Ku Klux Klan under Ohio’s

 Criminal Syndicalism statute. 395 U.S. at 444. 28 Two films of the defendant were introduced at

 trial. One showed him among twelve hooded Klansmen, surrounding a large wooden cross, which

 they burned. Words uttered on the film included statements disparaging of Black and Jewish

 people. The defendant also said the following: “We’re not a revengent organization, but if our

 President, our Congress, our Supreme Court, continues to suppress the white, Caucasian race, it’s

 possible that there might have to be some revengeance taken. We are marching on Congress July

 the Fourth, four hundred thousand strong . . . .” Id. at 446. Seen on the film, and introduced into

 evidence, were a pistol, shotgun, and ammunition. Id. at 445–46. The second film was along the

 same lines. Id. at 447. The Supreme Court overturned the defendant’s conviction, finding the

 films to be protected speech. Articulating what is now termed the “Brandenburg test,” the Court

 said that “the constitutional guarantees of free speech and free press do not permit a State to forbid

 or proscribe advocacy of the use of force or of law violation except where such advocacy is

 directed to inciting or producing imminent lawless action and is likely to incite or produce such

 action.” Id. Thus, Brandenburg has come to stand for the proposition that “mere advocacy” of


 28
    Numerous states passed criminal syndicalism laws in the early part of the 20th century “with the purpose of making
 it illegal for individuals or groups to advocate radical political and economic changes by criminal or violent means.”
 Dale Mineshima-Lowe, Criminal Syndicalism Laws, THE FIRST AMENDMENT ENCYCLOPEDIA, https://www.mtsu.edu
 /first-amendment/article/942/criminal-syndicalism-laws (last visited Feb. 8, 2022).

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 the use of force or violence is protected speech; only when speech is directed at inciting imminent

 lawless action, and likely to do so, does it lose the cloak of the First Amendment’s protection.

        Four years later, in Hess v. State of Indiana, the Court applied Brandenburg to a defendant

 convicted under Indiana’s disorderly conduct statute.       414 U.S. 105, 105–06 (1973).        The

 defendant was participating in a demonstration of between 100 and 150 people when the sheriff

 gave an order to clear the streets. As the sheriff passed him, Hess was standing off the street and

 said words to the effect of “We’ll take the fucking street later” or “We’ll take the fucking street

 again.” Id. at 107. Witnesses testified that Hess did not appear to be exhorting the crowd to go

 back into the street, was not addressing any particular person, and though loud, was no louder than

 anyone else in the area. Id. Applying Brandenburg, the Court overturned Hess’s conviction. The

 Court observed that Hess’s statement was “[a]t best, . . . counsel for present moderation, at worst,

 it amounted to nothing more than advocacy of illegal action at some indefinite future time.” Id. at

 108. The Court said that, because Hess was not directing his statement to any person or group of

 persons, it could not be said he was advocating any action. Id. Also, “since there was no evidence

 or rational inference from the import of the language, that his words were intended to produce, and

 likely to produce, imminent disorder,” his words could not be punished based on the mere

 “tendency to lead to violence,” as the Indiana Supreme Court had held. Id. at 108–09 (citation

 omitted).

        The last of the three cases is Claiborne Hardware, the facts of which the court already has

 briefly discussed. The Court evaluated Charles Evers’s speech in the context of the boycott, during

 which he said to several hundred people, referring to boycott violators, “If we catch any of you

 going in any of them racist stores, we’re gonna break your damn neck.” 458 U.S. at 902. In

 another speech Evers warned that “the Sheriff could not sleep with boycott violators at night,” an



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 implicit threat to Black persons that retaliation for shopping at white establishments could come

 at any moment without the protection of law enforcement.                      Id.   The Court held that the

 “emotionally charged rhetoric of Charles Evers’ speeches did not transcend the bounds of

 protected speech set forth in Brandenburg.” Id. at 928. The court acknowledged that Evers had

 used “strong language” and observed that if his “language had been followed by acts of violence,

 a substantial question would be presented whether Evers could be held liable for the consequences

 of that lawful conduct.” Id. However, “[w]hen such appeals do not incite lawless action, they

 must be regarded as protected speech.” Id. The Court also said that “[i]f there were other evidence

 of his authorization of wrongful conduct, the references to discipline in the speeches could be used

 to corroborate that evidence.” Id. at 929. But because there was no evidence that “Evers

 authorized, ratified, or directly threatened acts of violence,” his words could not be used for such

 purpose. Id. The Court therefore vacated the damages award against Evers.

         The Supreme Court has not had occasion to apply the Brandenburg test in the 40 years

 since Claiborne Hardware. Scholars have given it attention, but few federal appellate court

 decisions have applied it. The parties have not cited any D.C. Circuit case applying Brandenburg,

 and the court has not found one. 29 One treatise has distilled Brandenburg into a three-part test,

 requiring proof that “(1) the speaker subjectively intended incitement; (2) in context, the words

 used were likely to produce imminent, lawless action; and (3) the words used by the speaker

 objectively encouraged and urged and provoked imminent action.” 5 RONALD D. ROTUNDA &

 JOHN E. NOWAK, TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND PROCEDURE § 20.15(d),




 29
   The D.C. Circuit addressed Brandenburg in National Organization for Women v. Operation Rescue, but in the
 context of evaluating the terms of an injunction, not applied to any particular speech. 37 F.3d 646, 657 (D.C. Cir.
 1994).

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 Westlaw (database updated May 2021). An en banc panel of the Sixth Circuit articulated a similar

 three-part test:

                    The Brandenburg test precludes speech from being sanctioned as
                    incitement to riot unless (1) the speech explicitly or implicitly
                    encouraged the use of violence or lawless action, (2) the speaker
                    intends the speech will result in the use of violence or lawless action,
                    and (3) the imminent use of violence or lawless action is the likely
                    result of his speech.

 Bible Believers v. Wayne County, 805 F.3d 228, 246 (6th Cir. 2015) (en banc). The court does not

 take a position on whether defining Brandenburg’s standard as a three-part test is useful, or even

 accurate. 30 The key to the Brandenburg exception is incitement: whether the speech “is directed

 to inciting or producing imminent lawless action and is likely to incite or produce such action.”

 Brandenburg, 395 U.S. at 447.

          In making that evaluation, both the words spoken and the context in which they are spoken

 matter. The Supreme Court said as much in Young v. American Mini Theaters:

                    The question whether speech is, or is not, protected by the First
                    Amendment often depends on the content of the speech. Thus, the
                    line between permissible advocacy and impermissible incitation to
                    crime or violence depends, not merely on the setting in which speech
                    occurs, but also on exactly what the speaker had to say.

 427 U.S. 50, 66 (1976). Similarly, the Court in FCC v. Pacifica Foundation observed that the

                    classic exposition of the proposition that both the content and the
                    context of speech are critical elements of First Amendment analysis
                    is Mr. Justice Holmes’ statement for the Court in Schenck v. United
                    States[:] . . . “[T]he character of every act depends upon the
                    circumstances in which it is done . . . . The most stringent protection
                    of free speech would not protect a man falsely shouting fire in a
                    theater and causing a panic . . . .”


 30
    The Rotunda and Nowak treatise’s three-factor test has been called into question insofar as it requires inquiry into
 whether the speaker “objectively encouraged and urged and provoked imminent action.” The Sixth Circuit has
 declined to wholly embrace such an “objective” element, except insofar as the Brandenburg inquiry must focus on
 “the words used by the speaker . . . , not how they may be heard by a listener.” Nwanguma v. Trump, 903 F.3d 604,
 613 (6th Cir. 2018).

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 438 U.S. 726, 744 (1978) (quoting Schenck v. United States, 249 U.S. 47, 52 (1919)).

         Bearing the foregoing principles in mind, the court turns to evaluate President Trump’s

 speech under Brandenburg.

                          c.       President Trump’s speech

         Plaintiffs do not contend that President Trump’s words prior to the January 6 Rally Speech

 (almost entirely through tweets) meets the Brandenburg incitement exception. They focus on the

 Rally Speech, so the court does, too, starting with a summary of what he said. 31

         The President spoke for 75 minutes. He spun a narrative in which he told those present

 that the election was “rigged” and “stolen,” and not just from him, but from them. He told

 attendees at the start that “our election victory” had been taken away, “we won this election,” and

 “[w]e didn’t lose.” He urged on the crowd, “We will never give up. We will never concede. It

 doesn’t happen. You don’t concede when there’s theft involved. . . . We will not take it

 anymore . . . . [W]e will ‘stop the steal.’” He said that elections in “Third World Countries” are

 “more honest” than the election that had just taken place. The President said all of this within the

 first few minutes of his remarks.

         He then told the crowd what had to happen for them to “win” the election. “[I]f Mike

 Pence does the right thing, we win the election.” “All Mike Pence has to do is send it back to the

 states to recertify, and we become president, and you are the happiest people.” And he warned

 what would happen if the Vice President did not act: “[W]e’re stuck with a president who lost the

 election by a lot, and we have to live with that for four more years. We’re not going to let that

 happen.”




 31
   The court has considered the Rally Speech in its entirety. See supra note 24. The recitation below summarizes
 those remarks as they were made chronologically, and it omits citations for ease of reading.

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         The President identified who was to blame for the “stolen” and “rigged” election: “radical

 left Democrats,” “weak Republicans,” “the fake news,” and “Big tech,” among others. He

 specifically identified those who he thought were the “weak Republicans” who would bear

 responsibility for a lost election:   then–Senate Majority Leader McConnell, Representative

 Elizabeth Cheney, and Governor Brian Kemp (calling him “one of the dumbest governors in the

 United States”). He accused the media of “suppressing thought” and “suppress[ing] speech” and

 said it “was the enemy of the people. It’s the biggest problem we have in this country.” He told

 the crowd,

                [W]e’re going to have to fight much harder, and Mike Pence is going
                to have to come through for us. And if he doesn’t, that will be a sad
                day for our country because you’re sworn to uphold our
                Constitution. Now it is time for Congress to confront this egregious
                assault on our democracy.

         It was at this point that the President first said anything about a march to the Capitol. He

 said,

                [A]fter this, we’re going to walk down—and I’ll be there with you—
                we’re going to walk down to the Capitol, and we’re going to cheer
                on our brave senators, and congressmen and women. And we’re
                probably not going to be cheering so much for some of them because
                you’ll never take back our country with weakness. You have to
                show strength, and you have to be strong.

 He then said, “We have come to demand that Congress do the right thing and only count the

 electors who have been lawfully slated, lawfully slated,” and he added that “everyone here will

 soon be marching to the Capitol building to peacefully and patriotically make your voices heard.”

         Moments later, he focused the crowd’s attention on the Certification. Referring to the

 Capitol, he said,

                [W]e see a very important event though, because right over there,
                right there, we see the event going to take place. . . . We’re going to
                see whether or not we have great and courageous leaders or whether

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                 or not we have leaders that should be ashamed of themselves
                 throughout history, throughout eternity, they’ll be ashamed. And
                 you know what? If they do the wrong thing, we should never ever
                 forget that they did. Never forget. We should never ever forget.

        The President continued, telling the crowd repeatedly that the election had been stolen.

 “We’ve amassed overwhelming evidence about a fake election,” he said to them. Changes in

 election procedure at the state level had “paved the way for fraud on a scale never seen before.”

 He then recited a litany of false claims about the ways in which the election had been stolen in

 Pennsylvania (e.g., over 200,000 more ballots cast than voters), Wisconsin (e.g., postal service

 workers were told to backdate 100,000 ballots), Georgia (e.g., election officials pulled “boxes . . .

 and suitcases of ballots out from under a table”), Arizona (e.g., 36,000 ballots were cast by

 noncitizens), Nevada (e.g., more than 42,000 double votes), and Michigan (e.g., thousands and

 thousands of ballots were improperly backdated). In the midst of reciting these examples of fraud,

 the President regularly alluded to what the Vice President had to do. He told rally-goers that, if

 Mike Pence failed to act, “You will have an illegitimate president, that’s what you’ll have. And

 we can’t let that happen.” He said, “I’m not hearing good stories” about the Vice President. And

 he again told those assembled that the election was a fraud: “this is the most fraudulent thing

 anybody’s—This is a criminal enterprise. This is a criminal enterprise.” And, he said that when

 fraud occurs “it breaks up everything, doesn’t it? What you catch somebody in a fraud, you’re

 allowed to go by very different rules. So I hope Mike has the courage to do what he has to do.”

        In the final moments of his speech, the President spoke about the country’s future. He said

 he had to be “careful” in saying he was confident in our nation’s future: “If we allow this group

 of people to illegally take over our country, because it’s illegal when the votes are illegal, when

 the way they got there is illegal, when the States that vote are given false and fraudulent

 information.”    He also warned that, because of a potential change in administration, “the

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 [immigrant] caravans are forming again. They want to come in again and rip off our country.

 Can’t let it happen.”

        Finally, the President told them he suspected impropriety on election night itself:

 “Something’s wrong here. Something’s really wrong. Can’t have happened.” And then he said:

 “And we fight. We fight like hell and if you don’t fight like hell, you’re not going to have a country

 anymore.” Moments later, he concluded and told those assembled:

                So we’re going to, we’re going to walk down Pennsylvania Avenue,
                I love Pennsylvania Avenue, and we’re going to the Capitol and
                we’re going to try and give—the Democrats are hopeless. They’re
                never voting for anything, not even one vote. But we’re going to try
                to give our Republicans, the weak ones, because the strong ones
                don’t need any of our help, we’re going to try and give them the kind
                of pride and boldness that they need to take back our country. So
                let’s walk down Pennsylvania Avenue.

                         d.     Brandenburg applied to the January 6 Rally Speech

        The President’s words on January 6th did not explicitly encourage the imminent use of

 violence or lawless action, but that is not dispositive. In Hess, the Supreme Court recognized that

 words can implicitly encourage violence or lawlessness. In reversing Hess’s conviction, the Court

 held that there was “no evidence or rational inference from the import of the language” intended

 to produce, or likely to produce, imminent disorder. 414 U.S. at 109 (emphasis added). By

 considering the “import of the language,” and the “rational inferences” the words produce, the

 Court signaled that there is no safe haven under Brandenburg for the strategic speaker who does

 not directly and unequivocally advocate for imminent violence or lawlessness, but does so through

 unmistakable suggestion and persuasion.          Federal appellate courts have understood the

 Brandenburg exception to reach implicit encouragement of violent acts. See, e.g., Bible Believers,

 805 F.3d at 246 (inquiring as the first element whether “the speech explicitly or implicitly

 encouraged the use of violence or lawless action”).

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        Having considered the President’s January 6 Rally Speech in its entirety and in context,

 the court concludes that the President’s statements that, “[W]e fight. We fight like hell and if you

 don’t fight like hell, you’re not going to have a country anymore,” and “[W]e’re going to try to

 and give [weak Republicans] the kind of pride and boldness that they need to take back our

 country,” immediately before exhorting rally-goers to “walk down Pennsylvania Avenue,” are

 plausibly words of incitement not protected by the First Amendment. It is plausible that those

 words were implicitly “directed to inciting or producing imminent lawless action and [were] likely

 to produce such action.” Brandenburg, 395 U.S. at 447.

        The “import” of the President’s words must be viewed within the broader context in which

 the Speech was made and against the Speech as a whole. Before January 6th, the President and

 others had created an air of distrust and anger among his supporters by creating the false narrative

 that the election literally was stolen from underneath their preferred candidate by fraud and

 corruption. Some of his supporters’ beliefs turned to action. In the weeks after the election, some

 had made threats against state election officials and others clashed with police in Washington,

 D.C., following pro-Trump rallies. The President would have known about these events, as they

 were widely publicized. Against this backdrop, the President invited his followers to Washington,

 D.C., on January 6th. It is reasonable to infer that the President would have known that some

 supporters viewed his invitation as a call to action. President Trump and his advisors “actively

 monitored” pro-Trump websites and social media. Thompson Compl. ¶ 66. These forums lit up

 in response to the rally announcement. Some supporters explicitly called for violence on January

 6th (e.g., calling for “massing hangings and firing squads”). Others took direct aim at the

 Certification itself (e.g., stating that people in the Capitol should “leave in one of two ways: dead

 or certifying Trump the rightful winner”) or at law enforcement (“Cops don’t have ‘standing’ if



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 they are laying on the ground in a pool of their own blood.”). Thompson Compl. ¶¶ 56–63;

 Swalwell Compl. ¶ 89; Blassingame Compl. ¶¶ 33–34. These violent posts were discussed “by

 media outlets regularly viewed by President Trump, including Fox News.” Thompson Compl.

 ¶ 66. The prospect of violence had become so likely that a former aide to the President predicted

 in a widely publicized statement that “there will be violence on January 6th because the President

 himself encourages it.” Id. Thus, when the President stepped to the podium on January 6th, it is

 reasonable to infer that he would have known that some in the audience were prepared for violence.

        Yet, the President delivered a speech he understood would only aggravate an already

 volatile situation. For 75 uninterrupted minutes, he told rally-goers that the election was “rigged”

 and “stolen,” at one point asserting that “Third World Countries” had more honest elections. He

 identified who the culprits were of the election fraud: “radical Left Democrats” and “weak”

 Republicans. They were the ones who had stolen their election victory, he told them. He directed

 them not to “concede,” and urged them to show “strength” and be “strong.” They would not be

 able to “take back [their] country with weakness.” He told them that the rules did not apply:

 “When you catch somebody in a fraud, you’re allowed to go by very different rules.” And they

 would have an “illegitimate President” if the Vice President did not act, and “we can’t let that

 happen.” These words stoked an already inflamed crowd, which had heard for months that the

 election was stolen and that “weak politicians” had failed to help the President.

        So, when the President said to the crowd at the end of his remarks, “We fight. We fight

 like hell and if you don’t fight like hell, you’re not going to have a country anymore,” moments

 before instructing them to march to the Capitol, the President’s speech plausibly crossed the line

 into unprotected territory. These words did not “amount[] to nothing more than illegal action at

 some indefinite future time.” Hess, 414 U.S. at 108. President Trump’s words were, as Justice



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 Douglas termed it, “speech . . . brigaded with action.” Brandenburg, 395 U.S. at 456 (Douglas, J.,

 concurring). They were plausibly “directed to inciting or producing imminent lawless action and

 [were] likely to incite or produce such action.” Hess, 414 U.S. at 108–09.

             In his motions, President Trump largely avoids any real scrutiny of the actual words he

 spoke or the context in which they were spoken. His tack entails essentially three arguments. First,

 citing Justice Stevens’s dissent in Morse v. Frederick, 551 U.S. 393, 442–43 (2007), he contends

 that Plaintiffs’ attempt to fit President Trump’s speech in the Brandenburg box improperly relies

 on how its listeners interpreted the speech rather than his actual words. See Blassingame Trump

 Mot. at 25 (citing Morse, 551 U.S. at 442–43 (Stevens, J., dissenting) (observing that the

 distinction between advocacy and incitement “could not depend on how” others understood

 speech; to hold otherwise would leave “‘the speaker . . . wholly at the mercy of the varied

 understanding of his hearers and consequently of whatever inference may be drawn as to his intent

 and meaning’” (quoting Thomas v. Collins, 323 U.S. 516, 535 (1945)))). The court has no quarrel

 with the proposition that an incitement-speech inquiry cannot turn on the subjective reaction of the

 listener. See Nwanguma v. Trump, 903 F.3d 604, 613 (6th Cir. 2018) (“It is the words used by the

 speaker that must be the focus of the incitement inquiry, not how they may be heard by a

 listener.”). 32 In conducting the inquiry above the court assiduously avoided relying on any

 allegations that Plaintiffs made about any person’s reaction to the President’s January 6 Rally

 Speech. (And, Plaintiffs did make such allegations. See, e.g., Thompson Compl. ¶¶ 88, 122;

 Blassingame Compl. ¶¶ 61, 93.) The court’s conclusion rests on the words spoken and their

 context, including the audience to whom the President spoke and when he spoke to them.




 32
      The court takes no position on whether the subjective reaction of a listener might have some relevance to the inquiry.

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        Next, the President focuses on the fact that when he first alluded to marching to the Capitol,

 he said he expected rally-goers “to peacefully and patriotically make your voices heard.”

 Blassingame Trump Mot. at 25. Those words are a factor favoring the President. See Nwanguma,

 903 F.3d at 611–12 (holding that the allegation that candidate Trump’s repetition of the words “get

 ’em out of here,” directed at protesters attending a campaign rally, were inciting words was

 “undercut[]” by the accompanying words “don’t hurt ’em”). That is why the court recited those

 words in summarizing his Speech. But the President’s passing reference to “peaceful[] and

 patriotic[]” protest cannot inoculate him against the conclusion that his exhortation, made nearly

 an hour later, to “fight like hell” immediately before sending rally-goers to the Capitol, within the

 context of the larger Speech and circumstances, was not protected expression.

        Finally, President Trump plays a game of what-aboutism, citing fiery speeches from

 Democratic legislators, including Plaintiff Waters, which he says likewise would not be protected

 speech if the court were to find, as it has, that the President’s is not. Thompson Trump Reply at 8,

 11–13. The court does not find such comparators useful. Each case must be evaluated on its own

 merits, as the court has done above. If the President’s larger point is that a speaker only in the

 rarest of circumstances should be held liable for political speech, the court agrees. Cf. Bible

 Believers, 805 F.3d at 244 (observing in a case involving religious expression that “[i]t is not an

 easy task to find that speech rises to such a dangerous level that it can be deemed incitement to

 riot”). That is why the court determines, as discussed below, that Giuliani’s and Trump Jr.’s words

 are protected speech. But what is lacking in their words is present in the President’s: an implicit

 call for imminent violence or lawlessness. He called for thousands “to fight like hell” immediately

 before directing an unpermitted march to the Capitol, where the targets of their ire were at work,

 knowing that militia groups and others among the crowd were prone to violence. Brandenburg’s



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 imminence requirement is stringent, and so finding the President’s words here inciting will not

 lower the already high bar protecting political speech. 33

                                                  *        *        *

          The nineteenth century English philosopher John Stuart Mill was a fierce advocate of free

 speech. But Mill understood that not all speech should be protected. In his work On Liberty, Mill

 wrote, “No one pretends that actions should be as free as opinions. On the contrary, even opinions

 lose their immunity, when the circumstances in which they are expressed are such as to constitute

 their expression a positive instigation to some mischievous act.” JOHN STUART MILL, ON LIBERTY

 100 (London, John W. Parker & Son, 2d ed. 1859). As an example Mill offered the following:

                   An opinion that corn-dealers are starvers of the poor, or that private
                   property is robbery, ought to be unmolested when simply circulated
                   through the press, but may justly incur punishment when delivered
                   orally to an excited mob assembled before the house of a corn-
                   dealer, or when handed about among the same mob in the form of a
                   placard.

 Id. at 100–01. President Trump’s January 6 Rally Speech was akin to telling an excited mob that

 corn-dealers starve the poor in front of the corn-dealer’s home. He invited his supporters to

 Washington, D.C., after telling them for months that corrupt and spineless politicians were to

 blame for stealing an election from them; retold that narrative when thousands of them assembled

 on the Ellipse; and directed them to march on the Capitol building—the metaphorical corn-dealer’s

 house—where those very politicians were at work to certify an election that he had lost. The




 33
    President Trump additionally has argued that, if the court were to hold that he could be potentially liable under
 § 1985(1) for his speech, such an interpretation would raise overbreadth and void-for-vagueness concerns. Thompson
 Trump Mot. at 21–22. But such challenges make little sense, as the President cannot seriously contend that § 1985(1)
 either sweeps in too much protected speech (an overbreadth challenge) or does not provide fair notice of what it
 prohibits (void for vagueness). In any event, the President does not develop either argument, devoting only a half-
 page to them. See id. The court therefore declines to address them any more than it has. See United States v. Zannino,
 895 F.2d 1, 17 (1st Cir. 1990) (“It is not enough merely to mention a possible argument in the most skeletal way,
 leaving the court to do counsel’s work, create the ossature for the argument, and put flesh on its bones.”).

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 Speech plausibly was, as Mill put it, a “positive instigation of a mischievous act.” Dismissal of

 Plaintiffs’ claims on First Amendment grounds is not warranted.

                        e.     Giuliani and Trump Jr.

        As the court already has said, it finds that Giuliani’s and Trump Jr.’s words spoken before

 and on January 6th are protected expression. None of their words, explicitly or implicitly, rose to

 the level of a call for imminent use of violence or lawless action. That is true even of Giuliani

 saying, “Let’s have trial by combat.” That statement was made in the context of his assertion that

 the election was rife with criminal fraud, and that he was “willing to stake “[his] reputation,” and

 the President would too, “on the fact we’re going to find criminality.” But Giuliani never said

 anything about where or when the “trial by combat” would occur. Giuliani’s statement is therefore,

 at most, “advocacy of illegal action at some indefinite future time.” Hess, 414 U.S. at 108. The

 “trial by combat” line is surely provocative, but it is not unprotected speech. See Claiborne

 Hardware, 458 U.S. at 928 (holding that where “spontaneous and emotional appeals for unity and

 action in a common cause . . . . do not incite lawless action, they must be regarded as protected

 speech”).

        Accordingly, the court dismisses all federal and District of Columbia–law claims brought

 by Swalwell and the Bass Plaintiffs against Giuliani and Trump Jr.

                        f.     Oath Keepers

        The Oath Keepers also contend that the § 1985(1) claim against them must be dismissed

 because their alleged acts were protected speech, assembly, and petitioning. Thompson Oath

 Keepers Mot. at 27–28. The court quickly dispenses with this argument. “The First Amendment

 does not protect violence.” Claiborne Hardware, 458 U.S. at 916. The Oath Keepers are alleged

 to have acted violently by breaching the Capitol building, “with the rest of the riotous mob,”



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 wearing “paramilitary equipment, helmets, reinforced vests and clothing with Oath Keepers

 paraphernalia, moving in a regimented manner as members of the military are trained.” Thompson

 Compl. ¶ 126. Such actions, if true, are not entitled to First Amendment protection.

        The court also notes that, if the court were to dismiss the § 1985(1) claim against the Oath

 Keepers for failing to overcome a First Amendment defense, Plaintiffs could easily cure any

 deficiency through amendment. “The security of the community life may be protected against

 incitements to acts of violence and the overthrow by force of orderly government.” Near v.

 Minnesota ex rel. Olson, 283 U.S. 697, 716 (1931). The court can take judicial notice that ten

 members of the Oath Keepers, including its leader Stewart Rhodes, have been charged with

 seditious conspiracy. See Thompson v. Linda & A., Inc., 779 F. Supp. 2d 139, 144 n.2 (D.D.C.

 2011) (“The Court may take judicial notice of public records like docket sheets and other court

 documents.”); Indictment, United States v. Rhodes, No. 22-cr-15 (APM) (D.D.C.), ECF No. 1.

 There is no First Amendment protection for such alleged conduct.

        F.      District of Columbia–law claims

        What remains to address are President Trump’s motions to dismiss the District of

 Columbia–law claims asserted by Swalwell and the Blassingame Plaintiffs. (Recall, the Bass

 Plaintiffs advance only a single federal claim under § 1985(1).) The court considers these

 arguments solely as to President Trump because the court already has dismissed those claims

 brought by Swalwell against Giuliani and Trump Jr. on First Amendment grounds. The court takes

 up the District of Columbia–law claims in the order in which they appear in Swalwell’s Complaint,

 followed by any unique claims asserted by the Blassingame Plaintiffs. The court will note in the

 header when the claims overlap.




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                    1.       Negligence Per Se Based on Violation of District of Columbia Criminal
                             Statutes (Swalwell Counts 3 and 4 and Blassingame Counts 4 and 5)

          Swalwell and the Blassingame Plaintiffs advance two similar claims, which Swalwell

 styles as “Negligence Per Se” and the Blassingame Plaintiffs style as “Violation of Public Safety

 Statute.” Swalwell Compl. at 50–51; Blassingame Compl. at 40–41. The court understands these

 claims to advance a theory under District of Columbia law that violations of criminal statutes can

 create civil liability. See Marusa v. District of Columbia, 484 F.2d 828, 834 (D.C. Cir. 1973)

 (setting forth “guidelines for determining whether violation of a criminal statute can create civil

 liability”). The court will refer to these as Plaintiffs’ “negligence per se” claims. 34 Here, Swalwell

 and the Blassingame Plaintiffs seek to predicate liability on alleged violations of D.C. Code § 22-

 1322, which prohibits inciting of a riot, and D.C. Code § 22-1321, which prohibits acts of

 disorderly conduct.

          At oral argument, the court expressed skepticism that the negligence per se counts state

 claims under District of Columbia law. See Hr’g Tr., at 180–90. But the court’s skepticism is

 nowhere matched by an argument in President Trump’s motions to dismiss. The court has searched

 in vain for a contention that these claims must be dismissed because a violation of the referenced

 criminal statutes fails to state a cause of action. The President’s motions do not address this theory

 of liability generally or Plaintiffs’ negligence per se claims specifically, let alone advance the

 concerns the court raised during oral argument.                      See Swalwell Trump Motion at 32–37;

 Blassingame Trump Motion at 33–41. The closest the President’s brief comes to addressing these

 claims is when he argues that President Trump owed no duty to Swalwell, see Swalwell Trump



 34
   The court recognizes that calling these claims “negligence per se” is a bit of a misnomer because both depend on
 knowing and willful violations of the criminal law. Nevertheless, District of Columbia law does recognize that
 violations of certain types of criminal statutes may give rise to civil liability under the rubric of “negligence per se” if
 the statute is intended to promote safety. See McCracken v. Walls-Kaufman, 717 A.2d 346, 354 (D.C. 1998).

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 Mot. at 33–34, but that argument is not made in the context of negligence per se law. 35 The

 President briefly addresses the anti-riot and disorderly conduct laws, but his argument is that those

 statutes do not reach political speech. Blassingame Trump Mot. at 33. But the court already has

 held that the President’s January 6 Rally Speech was not protected expression.

          Ultimately, notwithstanding the court’s expressed doubts about the validity of the

 negligence per se claims, it is not the court’s job to raise arguments that a party has not.

 Accordingly, the negligence per se counts survive the motions to dismiss.

                   2.       District of Columbia Anti-Bias Statute (Swalwell Count 5)

          Swalwell also puts forth a claim under the District of Columbia anti-bias statute, D.C. Code

 § 22-3704. That statute provides a civil cause of action for, as relevant here, “any person who

 incurs injury to his or her person or property as a result of an intentional act that demonstrates an

 accused’s prejudice based on the actual or perceived . . . political affiliation of a victim of the

 subject designated act,” “[i]rrespective of any criminal prosecution or result of a criminal

 prosecution.”      The statute defines “designated act” to mean a “criminal act, including . . .

 assault . . . and . . . inciting . . . assault.” D.C. Code § 22-3701(2). Swalwell alleges that President

 Trump committed these crimes and that they were “motivated by [Swalwell’s] political affiliation

 as a political opponent of Donald Trump.” Swalwell Compl. ¶ 210.

          The court expressed doubt at oral argument that prejudice based on “affiliation as a political

 opponent of Donald Trump” qualifies as “political affiliation” for purposes of the District of

 Columbia anti-bias law. See Hr’g Tr., 190–91. The term “affiliation” is undefined in the statute;

 its ordinary meaning is “the state of belonging to a particular religious or political group.”


 35
   District of Columbia law seems to recognize that a qualifying public-safety criminal statute itself may create a duty,
 in some cases to the public at large. See, e.g., Zhou v. Jennifer Mall Restaurant, Inc., 534 A.2d 1268, 1275 (D.C.
 1987) (holding that violation of statute that imposes criminal sanctions on tavern keepers for serving intoxicated
 patrons created a duty extending to the general public).

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 Affiliation, MERRIAM-WEBSTER’S DICTIONARY, https://www.merriam-webster.com/dictionary

 /affiliation (last visited Feb. 10, 2022). Opposing the President of the United States would not

 seem to fit that definition. But President Trump does not make this argument. See Swalwell Trump

 Mot. at 35–36. So, the court declines to dismiss on that ground.

          President Trump advances two other arguments. First, he contends that Swalwell’s anti-

 bias claim fails “for all the reasons discussed elsewhere, especially since, incredibly, he alleges the

 use of political language he finds offensive gives rise not only to a cause of action but an actual

 crime.” Id. To the extent the court already has rejected arguments made “elsewhere,” it rejects

 them here, again. As for President Trump’s contention that offensive political language cannot

 give rise to an anti-bias cause of action, that mischaracterizes what the statute says and what

 Swalwell pleads. The statute does not make political speech a crime or actionable. Rather, it

 provides a cause of action for the victim of a crime that is motivated by bias. Here, Swalwell

 alleges that he was the victim of a criminal assault or incitement of an assault that was motivated

 by his “political affiliation.” Swalwell Compl. ¶¶ 209–214. 36 The claim therefore cannot be

 dismissed on the ground that the statute makes offensive political speech unlawful.

          Second, President Trump argues that the statute only allows for recovery for injury to an

 individual’s “person or property,” D.C. Code § 22-3704, and that Swalwell only seeks recovery

 “for psychological or emotional harm,” which is “fatal to his bias claim.” Id. at 35–36. But that

 argument goes nowhere because the anti-bias law expressly permits recovery of “[a]ctual or

 nominal damages for economic or non-economic loss, including damages for emotional distress.”



 36
    In his reply brief, President Trump recharacterizes Swalwell’s anti-bias claim as alleging that because the President
 committed “all of the other torts” alleged in the Complaint and “because he committed these torts with prejudice,
 President Trump is liable under § 22-3704.” Reply in Supp. of Defs. Trump & Trump Jr.’s Mot. to Dismiss, ECF No.
 44 [hereinafter Swalwell Trump Reply], at 29. But that is not what Swalwell has alleged, nor what the statute permits
 as a ground for recovery. The “designated act” must be “a criminal act,” not a mere tort, D.C. Code § 22-3701(2),
 and Swalwell accuses the President of predicate criminal, not tortious, acts, Swalwell Compl. ¶¶ 213–214.

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 D.C. Code § 22-3704(a)(2). 37 Swalwell therefore can proceed with his claim under the District of

 Columbia anti-bias law.

                   3.       Intentional and Negligent Infliction of Emotional Distress (Swalwell
                            Counts 6 and 7)

          Swalwell asserts a claim of intentional infliction of emotional distress (IIED) and an

 additional claim of negligence infliction of emotional distress (NIED). To state a claim for IIED,

 a plaintiff must allege “(1) extreme and outrageous conduct on the part of the defendant which

 (2) intentionally or recklessly (3) causes the plaintiff [to suffer] severe emotional distress.”

 Ortberg v. Goldman Sachs Grp., 64 A.3d 158, 163 (D.C. 2013). To state a claim for NIED, a

 plaintiff must plead that (1) the defendant acted negligently, (2) the plaintiff suffered either a

 physical impact or was within the ‘zone of danger’ of the defendant’s actions, and (3) the plaintiff

 suffered emotional distress that was “serious and verifiable.” Wright v. United States, 963 F. Supp.

 7, 18 (D.D.C. 1997) (quoting Jones v. Howard Univ., Inc., 589 A.2d 419, 424 (D.C. 1991)). 38

 President Trump argues that Swalwell’s pleading falls short on the first and third elements on both

 claims. Swalwell Trump Mot. at 36–37. The court agrees as to the third element of both claims.

          “Severe emotional distress” for purposes of a IIED claim is a high bar. It “requires a

 showing beyond mere ‘mental anguish and stress’ and must be ‘of so acute a nature that harmful

 physical consequences are likely to result.’” Competitive Enterprise v. Mann, 150 A.3d 1213,

 1261 (D.C. 2016). “Serious and verifiable” distress for an NIED claim is a lower bar, but it must

 manifest in some concrete way, such as “by an external condition or by symptoms clearly


 37
    In the penultimate line of his reply brief, President Trump asserts: “Even still, calling someone a radical left
 Democrat does not amount to prejudice.” Swalwell Trump Reply at 29. This seems to be an argument challenging
 the sufficiency of Swalwell’s pleading of the element of prejudice. Because it is raised for the first time in the reply
 brief in a single, unadorned sentence, the court declines to consider it.
 38
    The District of Columbia Court of Appeals has moved away from the physical “zone of danger” requirement for
 some NIED claims, but that exception is limited to cases in which the defendant had a relationship with the plaintiff,
 or had undertaken obligations to the plaintiff, of a nature that necessarily implicates the plaintiff’s well-being.
 See Sibley v. St. Albans Sch., 134 A.3d 789, 798 (D.C. 2016). That line of cases obviously is not implicated here.

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 indicative of a resultant pathological, physiological, or mental state.” Jones v. Howard Univ., Inc.,

 589 A.2d 419, 424 (D.C. 1991) (emphasis omitted). Swalwell’s pleading meets neither of these

 standards. His pleading is largely conclusory. Swalwell Compl. ¶ 223 (alleging that “Defendants’

 actions caused severe emotional distress”); id. ¶ 226 (alleging that “plaintiff suffered severe

 emotional distress”). Swalwell does, however, describe his thoughts and emotions when he was

 in the House chamber, heard rioters pounding on the door and smashing glass to enter, and saw

 Capitol police draw their weapons and barricade the entrances. Id. ¶ 224. He states that, during

 these events, he texted his wife, “I love you very much. And our babies.” Id. ¶ 225. The court

 does not minimize the trauma and shock Swalwell felt on January 6th, but his pleading simply

 does not meet the high bar for either an IIED or NIED claim. Those counts will be dismissed.

         Before moving to the next claim, the court notes that the Blassingame Plaintiffs also

 brought an IIED claim (Count 3). They have voluntarily dismissed that claim. Blassingame Pls.’

 Opp’n at 32 n.12. That count will be dismissed without prejudice.

                  4.       Aiding and Abetting Common Law Assault (Swalwell Count 8 and
                           Blassingame Count 2)

         Next, the court takes up Plaintiffs’ common law assault claims based on an aiding-and-

 abetting theory of liability. Swalwell Compl. ¶¶ 237–252; Blassingame Compl. ¶¶ 163–168.

 President Trump’s motion in Swalwell does not separately address the aiding-and-abetting-assault

 claim, but he extensively addresses it in his Blassingame motion. See generally Swalwell Trump

 Mot.; Blassingame Trump Mot. at 33–40. The court will exercise its discretion and consider those

 arguments in both cases. 39




 39
    President Trump contends for the first time in his Swalwell reply brief that aiding and abetting a tort is not a
 recognized cause of action under District of Columbia law. Swalwell Trump Reply at 25–26. That argument comes
 too late, and the court declines to consider it.

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         Halberstam v. Welch remains the high-water mark of the D.C. Circuit’s explanation of

 aiding-and-abetting liability. The court there articulated two particular principles pertinent to this

 case. It observed that “the fact of encouragement was enough to create joint liability” under an

 aiding-and-abetting theory, but “[m]ere presence . . . would not be sufficient.” 705 F.2d at 481. It

 also said that “[s]uggestive words may also be enough to create joint liability when they plant the

 seeds of action and are spoken by a person in an apparent position of authority.” Id. at 481–82.

 A “position of authority” gives a “suggestion extra weight.” Id. at 482.

         Applying those principles here, Plaintiffs have plausibly pleaded a common law claim of

 assault based on an aiding-and-abetting theory of liability. A focus just on the January 6 Rally

 Speech—without discounting Plaintiffs’ other allegations—gets Plaintiffs there at this stage.

 President Trump’s January 6 Speech is alleged to have included “suggestive words” that “plant[ed]

 the seeds of action” and were “spoken by a person in an apparent position of authority.” He was

 not “merely present.” Additionally, Plaintiffs have plausibly established that had the President not

 urged rally-goers to march to the Capitol, an assault on the Capitol building would not have

 occurred, at least not on the scale that it did. That is enough to make out a theory of aiding-and-

 abetting liability at the pleadings stage.

         President Trump urges the court to scrutinize Plaintiffs’ aiding-and-abetting theory under

 the five factors set forth in the Restatement (Second) of Torts § 876(b), as cited in Halberstam.

 Blassingame Trump Mot. at 36–37. The five Restatement factors are (1) the nature of the act

 encouraged, (2) the amount and kind of assistance given, (3) the defendant’s absence or presence

 at the time of the tort, (4) his relation to the tortious actor, and (5) the defendant’s state of mind.

 The Halberstam court also considered as an additional, sixth factor the duration of the assistance




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 provided. Halberstam, 705 F.2d at 484. Evaluating Plaintiffs’ theory under these six factors only

 supports the plausibility of President Trump’s liability as an aider and abettor.

        Nature of the act encouraged. The nature of the act here—violent and lawless conduct at

 the Capitol incited by President Trump’s Rally Speech—supports a finding that President Trump

 “substantial[ly]” contributed to the underlying tort. Halberstam, 705 F.2d at 484. President Trump

 contends that this factor favors him because he admonished the crowd to “be peaceful, well before

 any violence was conducted by anyone listening to the speech,” thus attenuating the “temporal

 connection” between his words and the tortious act. Blassingame Trump Mot. at 36. But that

 contention ignores the President’s later words encouraging the crowd, “We fight. We fight like

 hell and if you don’t fight like hell, you’re not going to have a country anymore,” occurring only

 moments before he sent rally-goers on a march to the Capitol (“So let’s walk down Pennsylvania

 Avenue”).

        Amount and kind of assistance given. The court in Halberstam observed that this was a

 “significant factor,” using as an illustration a case in which the aider and abettor through his words

 had “sparked” the action. 705 F.2d at 484. That is precisely what is alleged to have happened

 here. President Trump resists this view, arguing he “was not even present at the time of the

 conduct, nor did he provide any equipment, information, or any other kind of assistance.”

 Blassingame Trump Mot. at 37–38. This, however, ignores Plaintiffs’ theory, which the court has

 found plausible, that the President’s words at the rally sparked what followed.

        Presence at the time of the tort. For the reasons already discussed, the fact President Trump

 was not at the Capitol itself does not allow him to avoid potential aiding-and-abetting liability.

 See Halberstam, 705 F.2d at 484 (noting that presence is not a requirement); id. at 488 (finding

 liability even though the defendant was not present at the time of the assisted act).



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        Relation to the tortfeasor. Halberstam says that an aider and abettor’s “position of

 authority len[ds] greater force to his power of suggestion.” Id. at 484. The application of that

 factor here requires little discussion. The President nevertheless pushes back, asserting that

 because the tortfeasors were not known to the President, this factor cuts in his favor. Blassingame

 Trump Mot. at 37. Leaving aside that Plaintiffs have pleaded that the President did know about

 organized militia groups, Halberstam makes clear that the aider and abettor need not have a

 personal relationship with the tortfeasor to be in a position of authority. Halberstam, 705 F.2d at

 484 (citing Cobb v. Indian Springs, Inc., 522 S.W.2d 383 (Ark. 1975) (finding aiding-and-abetting

 liability where a security guard urged a young driver with a new car to give the car a high-speed

 test run that injured a bystander)).

        State of mind. As to this factor, the court has found that Plaintiffs have plausibly alleged

 that the President was of one mind with organized groups and others to participate in violent and

 unlawful acts to impede the Certification. Thus, this factor is supported by more than, as the

 President contends, his alleged pleasure in watching news coverage of the events as they unfolded

 at the Capitol building. Blassingame Trump Mot. at 37.

        Duration of the assistance provided. The Halberstam court considered an additional, sixth

 factor, the duration of the assistance provided. This factor also weighs against President Trump.

 True, the Rally Speech itself was relatively short in duration, but the invitation for the Rally came

 two weeks earlier. The duration is longer still if the court considers his tweets prior to that

 invitation. Importantly, even President Trump admits that his “sporadic tweets and speeches”

 present a “stronger argument” for “conspiracy” liability. Id. at 37–38. That duration also supports

 aiding-and-abetting liability.




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        Accordingly, the court holds that Swalwell and the Blassingame Plaintiffs have stated a

 claim for common law assault based on an aiding-and-abetting theory of liability.

                5.      Negligence (Swalwell Count 9)

        The last of Swalwell’s claims is negligence. Swalwell alleges that “[i]n directing a crowd

 of thousands to march on the Capitol—particularly considering their violence-laden commands—

 the Defendants owed a duty of care to the Plaintiff and to everyone in the Capitol to exercise

 reasonable care in directing the mob’s actions.” Swalwell Compl. ¶ 255. He further contends that

 President Trump breached that duty by, among other things, urging rally-goers to “fight like hell.”

 Id. ¶ 257. Thus, under Swalwell’s negligence claim, the President’s lack of care with his words

 caused others to riot, resulting in his injuries. Importantly, such a theory is analytically distinct

 from the theory that underlies Swalwell’s § 1985(1) and aiding-and-abetting theories, which rest

 on the President’s intentional use of words to encourage violence or lawlessness. See Harris v.

 U.S. Dep’t of Veterans Affs., 776 F.3d 907, 916 (D.C. Cir. 2015) (observing that “intent and

 negligence are regarded as mutually exclusive grounds for liability” (alterations omitted) (quoting

 District of Columbia v. Chinn, 839 A.2d 701, 706 (D.C. 2003))).

        When, as here, a plaintiff seeks to hold a defendant liable for negligence for injuries

 resulting from intervening criminal acts, “heightened foreseeability factors directly into the duty

 analysis because a defendant is only liable for the intervening criminal acts of another if the

 criminal act is so foreseeable that a duty arises to guard against it.” Bd. of Trustees of Univ. of

 D.C. v. DiSalvo, 974 A.2d 868, 871 (D.C. 2009) (internal quotation marks omitted). The crux of

 heightened foreseeability is a showing of the defendant’s “increased awareness of the danger of a

 particular criminal act.” Id. at 872 (emphasis added). “It is not sufficient to establish a general

 possibility that the crime would occur, because . . . the mere possibility of crime is easily



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 envisioned and heightened foreseeability requires more precision.” Id. at 872–73. Such precision

 involves, “if not awareness of the precise risk, close similarity in nature or temporal and spatial

 proximity to the crime at issue.” Id. at 874. Thus, for example, in DiSalvo, the D.C. Court of

 Appeals said that, to establish a duty, the plaintiff “had to establish that [the university] had an

 increased awareness of the risk of a violent, armed assault in the parking garage.” Id. at 872.

 Similarly, in Sigmund v. Starwood Urban Retail VI, LLC, to establish a duty, the D.C. Circuit

 demanded proof of similar crimes in a case in which the plaintiff was injured by a pipe bomb in

 his building’s garage. 617 F.3d 512, 516 (D.C. Cir. 2010).

        Accordingly, to establish that President Trump had a duty to Swalwell to take care of the

 words he used in the Rally Speech, Swalwell must plead facts establishing that the President had

 an increased awareness of a risk of a violent assault at the Capitol. Not surprisingly, he does not

 meet this demanding standard. He therefore cannot advance a theory of negligence liability based

 on the theory that the President’s lack of care in selecting his words caused his injuries. His only

 viable theory is to show that President Trump acted intentionally, which he has sufficiently

 pleaded.

                6.      The Blassingame Plaintiffs’ Additional “Claims”

        The Blassingame Plaintiffs advance three counts not asserted by Swalwell: (1) directing

 assault and battery (Count 1); (2) punitive damages (Count 6); and (3) civil conspiracy (Count 8).

 As to the first of these unique “claims,” the court does not understand the difference, in this case,

 between “directing” an assault and aiding and abetting one. They seem one and the same.

 Nevertheless, the court will not dismiss Count 1; Plaintiffs may be able to clarify and refine this

 claim through discovery. Count 6—punitive damages—is not a freestanding claim, but a type of

 damages, so it is dismissed, without prejudice to seeking such damages, if liability is established



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 and if appropriate. And, Count 8—civil conspiracy—is “not independently actionable” under

 District of Columbia law; rather, it is a “means for establishing vicarious liability.”             See

 Halberstam, 705 F.2d at 479. Count 8 is therefore dismissed, without prejudice to seeking to use

 civil conspiracy as a theory of vicarious liability.

        G.      Brooks’s Motion for Westfall Act Certification

        At long last, the court arrives at the final matter before it: Brooks’s request for certification

 under the Westfall Act. Under that Act, if the Attorney General certifies that a federal employee

 “was acting within the scope of his office or employment at the time of the incident out of which

 [a] claim arose,” the employee shall be dismissed from the action and the United States substituted

 as the defendant. 28 U.S.C. § 2679(d)(1). Such certification and substitution do not, however,

 extend to an action brought against an employee for a “violation of a statute of the United States

 under which such action against an individual is otherwise authorized.” Id. § 2679(b)(2)(B). In

 this matter, the Attorney General refused to certify that Brooks was acting within the scope of his

 office, i.e., in his legislative capacity, when he gave his speech at the January 6 Rally. U.S. Resp.

 to Brooks at 1. The congressman nevertheless asks the court to make the requisite certification as

 to Swalwell’s tort claims. 28 U.S.C. § 2679(d)(3) (authorizing courts to certify a defendant-

 employee’s acts as within the scope of office or employment).

        The court need not grapple with this issue. A dispute over certification under the Westfall

 Act does not appear to be a question regarding the court’s subject matter jurisdiction, so the court

 is not required to consider it before the merits. The court instead invites Brooks to file a motion

 to dismiss for failure to state a claim. The court is prepared to grant such motion for the same

 reasons it dismisses all claims against Giuliani and Trump Jr.: Brooks’s remarks on January 6th

 were political speech protected by the First Amendment for which he cannot be subject to liability.



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 IV.    CONCLUSION AND ORDER

        For the foregoing reasons, the court holds as follows with respect to each of the three

 actions:

        Thompson v. Trump. Giuliani’s motion to dismiss is granted and the motions to dismiss of

 President Trump, the Oath Keepers, and Tarrio are denied.

        Swalwell v. Trump. The motions to dismiss of Trump Jr. and Giuliani are granted as to all

 claims. The motion to dismiss as to President Trump is denied as to:

                (1) the § 1985(1) claim (Count 1)

                (2) the negligence per se claims (Counts 3 and 4)

                (3) violation of the District of Columbia’s anti-bias law (Count 5), and

                (4) aiding and abetting assault (Count 8)

 and granted as to:

                (5) the § 1986 claim (Count 2)

                (6) intentional infliction of emotional distress (Count 6)

                (7) negligent infliction of emotional (Count 7) distress, and

                (8) negligence (Count 9).

        The court defers ruling on Brooks’s Westfall Act certification petition and instead invites

 him to file a motion to dismiss, which the court will grant.

        Blassingame v. Trump. President Trump’s motion to dismiss is denied as to:

                (1) the § 1985(1) claim (Count 7)

                (2) directing/aiding and abetting assault (Counts 1 and 2)

                (3) violations of public safety statutes (i.e, negligence per se) (Counts 4 and 5)

 and granted as to:



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              (4) intentional infliction of emotional distress (Count 3)

              (5) punitive damages (Count 6)

              (6) civil conspiracy in violation of common law (Count 8).




 Dated: February 18, 2022                                   Amit P. Mehta
                                                     United States District Court Judge




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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


       BENNIE G. THOMPSON, ET AL.,        )
                                          )
                 Plaintiffs,              )
                                          )        CV No. 21-400
              vs.                         )        Washington, D.C.
                                          )        January 10, 2022
       DONALD J. TRUMP, ET AL.,           )        1:09 p.m.
                                          )
                 Defendants.              )
       ___________________________________)
                                          )
       ERIC SWALWELL, ET AL.,             )
                                          )
                 Plaintiffs,              )
                                          )
              vs.                         )        CV No. 21-586
                                          )
       DONALD J. TRUMP, ET AL.,           )
                                          )
                 Defendants.              )
       ___________________________________)
                                          )
       JAMES BLESSINGER, ET AL.,          )
                                          )
                 Plaintiffs,              )
                                          )
              vs.                         )
                                          )        CV No. 21-858
       DONALD J. TRUMP, ET AL.,           )
                                          )
                 Defendants.              )
       ___________________________________)



             TRANSCRIPT OF ORAL ARGUMENT VIA ZOOM PROCEEDINGS
                    BEFORE THE HONORABLE AMIT P. MEHTA
                       UNITED STATES DISTRICT JUDGE




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  1                           P R O C E E D I N G S

  2                  COURTROOM DEPUTY:     Good afternoon, Your Honor.

  3                  THE COURT:   Good afternoon.

  4                  COURTROOM DEPUTY:     This is an oral argument for

  5    Civil Action 21-400, Bennie G. Thompson, et al., versus

  6    Donald J. Trump, et al; Civil Action 21-586, Eric Swalwell,

  7    et al., versus Donald J. Trump, et al.; and Civil Action

  8    21-CV-858, James Blessinger, et al., versus Donald J. Trump.

  9                  Joseph Sellers for the Thompson Plaintiffs.

 10                  Philip Andonian and William Pittard for the

 11    Swalwell Plaintiffs.

 12                  And Patrick Malone for the Blassingame Plaintiffs.

 13                  Jesse Binnall for Defendant Trump.

 14                  Joseph Sibley for Defendant Giuliani; John Hull

 15    for Defendant Tarrio; Jonathon Moseley for the Oath Keepers

 16    Defendants.

 17                  Representative Mo Brooks as a pro se litigant.

 18                  And Brian Boynton for the DOJ for Non-Party

 19    Respondent United States of America.

 20                  THE COURT:   Okay.

 21                  Good afternoon, everybody, and welcome to our

 22    virtual courtroom.      I hope everybody is safe and healthy and

 23    your families are doing well in this new year.

 24                  We've got a fair amount to cover this afternoon.

 25    So I just want to raise one preliminary issue, and that


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  1    concerns Mr. Moseley and the Oath Keepers' motion.

  2                  I know, Mr. Moseley, you've recently entered your

  3    appearance in the case; there's a pending motion on behalf

  4    of the Oath Keepers.       If you want to make argument today,

  5    you're certainly free to do so on appropriate issues that

  6    pertain to your client.

  7                  I was intending to take that motion under

  8    consideration after today's hearing, so I wanted to just

  9    make you aware that you're certainly invited to make

 10    argument on behalf of your client, okay?

 11                  MR. MOSELEY:   Thank you, Your Honor.

 12                  I expect other counsel to overlap very

 13    effectively, so we'll see.

 14                  THE COURT:   Okay.

 15                  All right.   So I issued an order last week that

 16    laid out the order in which we'll take up the issues this

 17    afternoon; there are a number of them.          And I've tried to

 18    apportion some time to each of those, and I'll try and stick

 19    to that as much as possible.

 20                  So why don't we go ahead and get started.         And

 21    we'll begin on the presidential immunity and Article III

 22    standing questions, and why don't we begin.

 23                  And if there's counsel who will be speaking on

 24    behalf of a particular topic on behalf of all the parties on

 25    one side, please just let me know that; otherwise, what I'll


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  1    do is -- if that happens, what I'll do is then turn to the

  2    other lawyers and ask if they'd like to add anything at the

  3    end of that particular presentation.

  4                  So why don't we begin with Mr. Binnall and hear

  5    first from him on the presidential immunity issue.

  6                  MR. BINNALL:   May it please the Court.

  7                  Jesse Binnall on behalf of President Trump.

  8    And I also represent Donald Trump, Jr., in the case brought

  9    by Congressman Swalwell.

 10                  Your Honor, as a preliminary matter, I would like

 11    to reserve four minutes on this issue for rebuttal, if that

 12    would be allowed.      And I think that should be easy on this

 13    one because I think we're the only defendants that this

 14    particular argument applies to.

 15                  THE COURT:   That's fine, Mr. Binnall.        Go ahead.

 16                  We don't have -- I'm not keeping a formal clock

 17    here, so you'll have an opportunity for rebuttal.

 18                  MR. BINNALL:   Thank you very much, Your Honor.

 19                  Your Honor, these cases should be dismissed

 20    because they never should have been brought in the first

 21    place.   The complaints themselves are devoid of any legal

 22    basis.   Instead, they're chock-full of propaganda that's

 23    meant to achieve a political rather than a legal objective.

 24                  On January 6th, President Trump spoke to Americans

 25    gathered by the Ellipse, and his message was clear:


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  1    Those gathered would peacefully and patriotically make their

  2    voices heard.

  3                  But that unequivocal statement was ignored in all

  4    the pleadings that have been brought by the plaintiffs in

  5    these cases.      Instead, they want the Court to disregard

  6    firmly entrenched precedent regarding bedrock constitutional

  7    principles involving separation of powers and freedom of

  8    speech, among others.

  9                  And the congressional Democrat plaintiffs are

 10    hoping that this Court will help them score points against a

 11    political rival at the expense of the Constitution.             That is

 12    an invitation that this Court should firmly reject.

 13                  THE COURT:   Can we turn, Mr. Binnall, to the

 14    actual legal issues, rather than framing this in rhetorical

 15    terms.

 16                  Let me just start with what is the test under

 17    Nixon v. -- under Nixon, presidential immunity, I assume you

 18    agree, is limited to official acts, correct?

 19                  MR. BINNALL:   Presidential immunity, it's -- the

 20    phrase used is not "official acts," it's everything within

 21    the outer perimeters of the responsibilities of the

 22    presidency.

 23                  THE COURT:   Right.

 24                  MR. BINNALL:   And I say that because, official

 25    acts is something that, for instance, is used in qualified


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  1    immunity analyses.

  2                  THE COURT:   Right.    That's fair.

  3                  And the Supreme Court adopts a functional test for

  4    purposes of determining what's within the outer perimeter.

  5    So I think the question to you is, how is the -- how are the

  6    allegations in this complaint, how do they fall within the

  7    outer perimeter under that functional test?            What function

  8    was President Trump performing by virtue of the various

  9    Tweets that are identified in the complaint, and his -- most

 10    importantly, the speech that he made on January 6th?

 11                  Are you still there, Mr. Binnall?

 12                  There you are.

 13                  MR. BINNALL:   I am, Your Honor.

 14                  Can you hear me okay?

 15                  THE COURT:   I can, yes.

 16                  MR. BINNALL:   Okay.

 17                  THE COURT:   My view switched for a moment.

 18                  MR. BINNALL:   Yes, sir.

 19                  Your Honor, a couple things.

 20                  First of all, the test was actually described as

 21    much broader.      And matter of fact, in the Fitzgerald case,

 22    the respondents in that case argued for a functional

 23    approach that was similar to qualified immunity, and the

 24    Court specifically rejected a functional approach, and

 25    instead they said it's very broad.          And the language the


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  1    Court used in Fitzgerald made clear that it was very broad.

  2                  So to the Court's question about how these really

  3    fall within the outer perimeter of the presidency, first

  4    off, this has to be a content-neutral analysis.              This is not

  5    an analysis where you can really look at the words that are

  6    spoken in order to determine whether this is falling within

  7    the outer perimeter or not.         If that was, it would be more

  8    akin to the qualified-immunity approach that the Fitzgerald

  9    courts are citing.

 10                  THE COURT:   But you would have me ignore what

 11    he said in its entirety to determine whether it falls within

 12    his presidential functions or not?

 13                  MR. BINNALL:   Yes, sir.

 14                  What I would have you do for presidential immunity

 15    is I would have you look at the type of act that was being

 16    conducted.

 17                  So, for instance, speaking to the American people.

 18    Giving a speech is something that Presidents do using the

 19    bully pulpit.      Bully pulpit is, I believe, a phrase that

 20    President Theodore Roosevelt came up and is something that

 21    has been repeated since then, and giving speeches --

 22                  THE COURT:   So a content-neutral review, in your

 23    view, would require me to find presidential immunity for any

 24    presidential statement made to the American people even if

 25    it has nothing to do with the Office of the President and


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  1    the duties of the President?

  2                  MR. BINNALL:   That's right.

  3                  And let me give you some examples of that,

  4    Your Honor, is that why it can't just be limited to

  5    something that we say Presidents are actively involved in,

  6    such as, for instance, signing or vetoing legislation.

  7                  Recently, President Biden has spoken about the use

  8    of the legislative filibuster.       The legislative filibuster

  9    has nothing to do with the presidency, but that's very

 10    typical.

 11                  THE COURT:   No, no, I understand.      But those are

 12    more core legislative than government function type

 13    speeches.

 14                  But the plaintiffs' position is that the words

 15    that were spoken on January the 6th had nothing to do with

 16    the Office of the President, had everything to do with

 17    President Trump's capacity as a candidate for office.

 18    So why is that wrong?

 19                  I guess the question -- let me first ask:         Do you

 20    agree that statements made by a President in his capacity as

 21    a candidate would fall outside absolute immunity?

 22                  MR. BINNALL:   Not necessarily, Your Honor.

 23                  But there's an important point here.

 24                  As the plaintiffs --

 25                  THE COURT:   Well, hang on.


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  1                  When you say "not necessarily," help me

  2    understand -- tell me where you think the line is supposed

  3    to be drawn.

  4                  MR. BINNALL:   Sure.

  5                  THE COURT:   Say the President is making a campaign

  6    speech, pure campaign speech, current President, all

  7    Presidents do it, is that something that is subject to and

  8    enjoys presidential immunity?

  9                  MR. BINNALL:   Generally it would, Your Honor.

 10                  And let me use this as an example.

 11                  Let's say the President is running for re-election

 12    and gives a State of the Union Address, and then the

 13    president, as Presidents typically do, hit the trail after

 14    that State of the Union Address and say many of those same

 15    things on the -- as part of their campaign.           Just because

 16    the President is no longer in front of Congress advocating

 17    policies but is advocating policies as part of a campaign,

 18    that in no way limits the fact that the President --

 19                  THE COURT:   But isn't that contrary -- that kind

 20    of analysis contrary to what the Supreme Court has said,

 21    which is that context matters when we're thinking about

 22    immunity issues and the impact it's going to have on the

 23    function of the presidency?

 24                  I mean, to say that a speech before Congress is

 25    equivalent to a campaign trail stump speech seems to me to


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  1    not be consistent with what the Supreme Court has said what

  2    we ought to be thinking about in terms of the scope of

  3    immunity.

  4                  MR. BINNALL:   What the Supreme Court said is that

  5    it is -- that presidential immunity is intentionally broad

  6    and it reaches all the way to anything that is within that

  7    outer perimeter.

  8                  And it's important to note that the arguments that

  9    are brought up in this case by the plaintiffs are the

 10    same -- are functionally the same as by the respondents in

 11    the Fitzgerald case that we're trying to argue for some

 12    level of qualified immunity, and that's not the direction

 13    that --

 14                  THE COURT:   Well, look, I would agree with you --

 15    to the extent they're suggesting I ought to probe the

 16    President's motives, I would agree that that seems to be

 17    inappropriate under Fitzgerald.

 18                  Let me ask you, you know, there are other

 19    allegations in this complaint.       So, for example, President--

 20    filed lawsuits after November the 3rd.          Would the filing of

 21    those lawsuits, in your view, be within the function of the

 22    Presidency and subject to immunity?         Let's leave aside the

 23    immunity that exists for filing lawsuits, but would you say

 24    that he's absolutely immune as President for filing those

 25    lawsuits?


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  1                  MR. BINNALL:   I would say yes, Your Honor, for a

  2    couple reasons.

  3                  First of all, after November 3rd, as the

  4    plaintiffs in these cases have pointed out, the campaign is

  5    over.   At that point -- and it's important to note that the

  6    January 6th rally is in no way related to the campaign; that

  7    the campaign doesn't pay it for it; the campaign is not

  8    involved with it at all.

  9                  THE COURT:   That's not true; I mean, at least not

 10    according to the allegations.

 11                  The allegations are that the campaign both

 12    contributed money to the January 6th rally and helped

 13    organize it, which I have to take as true.           And I don't know

 14    whether it's true or not, but that's certainly an

 15    allegation.

 16                  MR. BINNALL:   And there is the 12(b) standard,

 17    Your Honor, that I do understand.        It's a little bit

 18    possibly different between a 12(b)(6) and what we're looking

 19    at here.

 20                  That being said, I don't think we need to squall

 21    over that fact, because, at this stage, you certainly are

 22    assuming that these facts as pled are operative, although

 23    I don't think they can make those allegations pursuant to

 24    the pleading requirements in Rule 11, because it's just not

 25    true.


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  1                  That being said --

  2                  THE COURT:   Can I ask you another question, sir?

  3                  How about a different act that's alleged in the

  4    complaint?

  5                  The President is alleged to have picked up the

  6    phone and called a state official in the state of Georgia

  7    after November 3rd and urged that official to scrutinize the

  8    election results in Georgia.        That's a very generic way of

  9    describing what was said.

 10                  In your view, does he enjoy presidential immunity,

 11    does he enjoy absolute impunity for that act?

 12                  MR. BINNALL:   Yes, sir, he does.

 13                  THE COURT:   On what basis?

 14                  How is he carrying out the function of the

 15    presidency by calling a state official and asking a state

 16    official to scrutinize state election -- how a state

 17    election -- excuse me, an election was carried out by a

 18    state?

 19                  MR. BINNALL:   Your Honor, one of the core

 20    constitutional responsibilities of the President is to see

 21    that the laws are faithfully executed.

 22                  THE COURT:   They're not state laws.          They're not

 23    state laws.

 24                  MR. BINNALL:   I'm getting there.

 25                  THE COURT:   Okay.


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  1                  MR. BINNALL:   When you start to get into the

  2    selection of electors, and then pursuant to the election

  3    clause of the Constitution, there's this merger of state

  4    officials, where they're doing both a federal function and a

  5    state function.      And so you're not able to say, in that way,

  6    Your Honor, that, well, he's just trying to talk about a

  7    state issue.      So that's the first issue, is that because the

  8    selection of federal electors is federal in nature, it's

  9    still part of his take-care duties.

 10                  But, you know, more importantly, again, this is

 11    part of the general duties of the President to speak, you

 12    know, freely and frankly on matters of public concern, as

 13    Presidents going all the way back to President Washington

 14    have done.

 15                  And what the Supreme Court makes clear is we

 16    are -- in the Fitzgerald case, they didn't remove remedies.

 17    There are remedies for dealing with something that if

 18    members of Congress as these very members of Congress that

 19    are in this case right now did.         Every single one of them

 20    took advantage of the remedy they had, and they voted for

 21    articles of impeachment.       Now, that attempt failed.        Again,

 22    President Trump was acquitted.       But that was their remedy.

 23    They don't get another bite at the apple here on these

 24    questions.

 25                  THE COURT:   Can I ask:   Is there anything in your


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  1    view that a President could say or do in his capacity as a

  2    candidate that would not receive immunity?

  3                  MR. BINNALL:   Your Honor, for "say," I cannot

  4    think of an example.

  5                  For "do," let me give you an example of something

  6    that may very well that I've thought of not be subject to

  7    presidential immunity is, let's say that the President is

  8    acting as an agent of a campaign and signs a lease for an

  9    office.   That's just for the campaign.         That action -- and

 10    it's fair for the campaign of just signing a lease -- may

 11    very well.

 12                  You know, although there has -- to my knowledge,

 13    never been an example of someone successfully being able to

 14    sue a President for something that happened during his term

 15    of office, that is something that theoretically would be in

 16    a different footing from where we are now and would be a

 17    different analysis.

 18                  But by and large, that absolute immunity of the

 19    presidency is very important.       It arises from the same place

 20    that -- the same concepts as judicial immunity and

 21    prosecutorial acts of immunity come from.

 22                  And you don't take and start looking at degrees

 23    for how much someone might be upset at the actions of a

 24    President, any more than you would at how much someone might

 25    be upset at the actions of a judge or a prosecutor.             If a


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  1    Judge makes a decision on bond and someone gets out and runs

  2    over pedestrians like we saw happen in Wisconsin recently,

  3    as much as that might infuriate people, judges have to be

  4    free to make the right decision in their discretion and not

  5    be afraid of civil litigation.       So we can't open up

  6    Pandora's box.

  7                  THE COURT:   So say if I would -- say

  8    hypothetically I were to conclude -- or I were to be of the

  9    view that the plaintiffs had made out a case of civil

 10    conspiracy under 1985(1) in this case, and, two, that the

 11    President's speech on January the 6th was not protected

 12    activity under the First Amendment because it, at least at

 13    this stage plausibly, meets Brandenburg, in your view, is

 14    that still -- he still would be entitled to absolute

 15    immunity even if those two pleading standards had been met

 16    for those two particular issues?

 17                  MR. BINNALL:   Yes, sir, Your Honor.

 18                  Of course, this is a threshold issue, it has to be

 19    decided first and is independent of those questions.             And,

 20    of course, we disagree with the premise.

 21                  But under that hypothetical, Your Honor, it would

 22    most certainly still be barred by presidential immunity

 23    because of the fact that you cannot take and dive that

 24    deeply, as they would have the Court do, as to saying, well,

 25    this particular speech is not part of the duties because of


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  1    what issues he was speaking on and advocating.

  2                  The President has been very clear that he was

  3    there at the Ellipse on January 6th as President.             And in

  4    that case, he was advocating for Congress to take or not

  5    take certain actions.

  6                  And when a President is speaking about

  7    congressional action, that is something -- we're not at the

  8    outer perimeters here, we are dead center on immunity,

  9    because a President always has the authority to speak about

 10    whether or not any of the other branches, frankly, can or

 11    should take action.

 12                  You know, there's the famous example of -- at his

 13    State of the Union address of President Obama commenting

 14    about a Supreme Court case, the Citizens United case.              Now,

 15    that's not, again, something that he has direct involvement

 16    in, but it is very normal for Presidents to comment and urge

 17    action for the co-equal branches of government.

 18                  And that is exactly what was happening here, is

 19    the President was saying that -- was discussing action that

 20    was to be before Congress, and that is, again, dead center

 21    on the responsibilities of the presidency.

 22                  THE COURT:   And you take that view even though the

 23    President and the Executive Branch has no formal role in the

 24    Electoral College votes either by constitutional or statute?

 25                  MR. BINNALL:   Yes, sir.


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  1                  That is not part of the test is whether that's

  2    part -- because if that were part of the test, it would

  3    substantially narrow the immunity of the President.              So if a

  4    President was to show up at a rally advocating for the Equal

  5    Rights Amendment, passage of the Equal Rights Amendment,

  6    then that speech ostensibly would not be protected by

  7    immunity if that was the test that the Court is discussing

  8    would be the law because --

  9                  THE COURT:   And in your view, if the President

 10    made a defamatory statement at a campaign rally, that would

 11    be also -- at a campaign rally, he makes a defamatory

 12    statement, in your view, he would be absolutely immune from

 13    suit from such a statement?

 14                  MR. BINNALL:   Yes, sir.

 15                  And it's very much the case that when serving as

 16    President, Presidents are expected and required to answer,

 17    for instance, allegations against them and to make other

 18    statements.

 19                  And when you are President, under the Fitzgerald

 20    case, all those issues are such that you would not be

 21    subject to being sued civilly.       There are other remedies

 22    available but being sued civilly.

 23                  And the Fitzgerald case is, I think --

 24                  THE COURT:   Is there anything the President would

 25    say, could say, in your view, while President -- because I'm


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  1    trying to figure out where the line would be drawn in your

  2    view -- is there anything a President could say while

  3    President of the United States that could subject him to

  4    civil suit?

  5                  MR. BINNALL:   As far as what the President could

  6    say, Your Honor, I've tried to think of examples, and

  7    I cannot come up with an example of something that the

  8    President says as President that would not be covered by

  9    executive privilege, although, like I mentioned before, it's

 10    possible that something related, for instance -- you know,

 11    the clearest example of something that would not be within

 12    the outer perimeters might be a mortgage on a home that was

 13    bought clearly before someone was President, and so if the

 14    President takes and says something, it would be actionable

 15    only relating to that particular mortgage, then perhaps,

 16    maybe that would survive a lawsuit being outside of the

 17    outer perimeter of the President's duties.

 18                  But that is a -- even then, it's a purposefully

 19    hard row to hoe, because the duties of the President are

 20    all-encompassing when that person holds the office.

 21                  You know, for that term of office, what a

 22    President does is constantly part of being the sole person

 23    responsible for the Executive Branch of government.             And so

 24    it must be broad in order to -- executive immunity must be

 25    broad, and it must be other remedies other than civil


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  1    litigation that are used if somebody thinks that a President

  2    needs to be held to account.

  3                  THE COURT:   Okay.

  4                  Mr. Binnall, one more question but not about

  5    presidential immunity but about Article III standing.

  6                  I thought I understood you to suggest in your

  7    papers that none of the plaintiffs here in any of the three

  8    cases have asserted Article III standing.

  9                  Do I misunderstand your argument?

 10                  MR. BINNALL:   Your Honor, I think what we -- I'm

 11    trying to remember exactly that statement, and I think

 12    there's a couple points:

 13                  First of all, you have the concreteness

 14    Article III standard issue that is simply missing here.

 15    And then there is the political question doctrine, which is

 16    largely overlapping the presidential immunity question.

 17                  So we do not --

 18                  THE COURT:   So let's stick with concreteness,

 19    because I don't think the political question doctrine sort

 20    of -- at least in terms of the three standing requirements,

 21    I'm not sure how it would play in there.

 22                  But just sticking with concreteness, so is it your

 23    view that emotional injury -- well, let's put it backwards:

 24    Certainly physical injury, in your view, constitutes

 25    concrete injury.      Would you agree with that?


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  1                  MR. BINNALL:   If it's caused by the actions of

  2    another, yes.

  3                  THE COURT:   Right.   Okay.

  4                  And then what about emotional injury, which

  5    everyone has alleged here, that, at a minimum, everybody's

  6    alleged some emotional injury?

  7                  MR. BINNALL:   No.

  8                  And I think that there's somewhat of a spectrum

  9    here.   But, for instance, Plaintiff Waters was not even on

 10    the floor of Congress on January 6th when things were

 11    happening that are alleged in this complaint.               And so, you

 12    know, certainly for Plaintiff Waters, there's no

 13    concreteness of any injury.

 14                  And further, any other emotional --

 15                  THE COURT:   Don't I have to assume at this

 16    juncture the truth of her allegation that she has suffered

 17    emotional injuries?

 18                  I mean, you may be able to demonstrate after

 19    discovery that, in fact, she hasn't had any emotional

 20    injuries.      But for purposes of a motion to dismiss, don't

 21    I have to assume the truth of her allegation, that she has

 22    suffered some emotional injury?

 23                  MR. BINNALL:   Well, under the 12(b)(1) standard,

 24    I would say that the Court is able to look at the

 25    reasonableness of that.       And even under 12(b)(6), their


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  1    allegations have to be plausible.

  2                  I would say that Plaintiff Waters has not even

  3    come so far as to allege a plausible injury that could

  4    withstand scrutiny under Article III.

  5                  And that goes the same for the other -- certainly

  6    the other congressional Democrat plaintiffs as well that

  7    have sued the President, and, on that issue, Donald Trump,

  8    Jr., because of the fact that there is no plausible

  9    allegation that they have a concreteness and any injury that

 10    would be caused by anything that either President Trump or

 11    Donald Trump, Jr., did.

 12                  THE COURT:   Okay.

 13                  All right.   Let me turn then to -- and then I'll

 14    give you a few minutes in rebuttal, Mr. Binnall --

 15                  MR. BINNALL:   Sure.

 16                  THE COURT:   Let me turn then to counsel for the

 17    plaintiffs, and hopefully somebody's going to take the lead

 18    on this.

 19                  MR. SELLERS:   Yes, Your Honor.     It's

 20    Joseph Sellers.

 21                  THE COURT:   Hi, Mr. Sellers.

 22                  MR. SELLERS:   If it's acceptable to the Court, the

 23    arrangement that counsel made for the plaintiffs in the

 24    three cases is that I will take the lead on the argument for

 25    the first three issues that you've identified, but that one


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  1    or both of my colleagues in the other cases might step in at

  2    the very end for one or two issues that are unique to their

  3    case, if that's acceptable.

  4                  THE COURT:   That's fine, Mr. Sellers.

  5                  MR. SELLERS:   All right.

  6                  So let me begin with a couple, I think, principles

  7    that are virtually impossible to challenge.

  8                  First of all, the Supreme Court has made clear

  9    that the immunity that Mr. Binnall is seeking on behalf of

 10    Mr. Trump must be closely related to its purpose, and the

 11    purpose is to protect for the discharge of official acts.

 12                  And, yes, we agree, in reading the Nixon case,

 13    Fitzgerald, that the official acts can extend to the outer

 14    perimeter of those duties.       But it's important to recognize,

 15    as the Supreme Court observed in the Clinton v. Jones case,

 16    that the President remains, and I quote, "subject to laws

 17    for his purely private actions."        And we contend, for two

 18    reasons, that the acts in which Mr. Trump was engaged on

 19    January 6th qualify as purely private actions.

 20                  The Supreme Court has made clear that the duties

 21    of the President are conferred by the Constitution and

 22    statutes.      And the activities in which Mr. Trump engaged on

 23    January 6th, particularly campaigning -- and I'll come back

 24    to each of these in a moment -- and fomenting a riot

 25    directed at interfering with the functioning of a co-equal


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  1    branch of government, that neither of those qualify as

  2    official actions that even remotely fall within the

  3    legitimate duties of the President.

  4                  Before I speak to those in detail, let me just

  5    comment on a few other points that were made.             One is the

  6    question of whether the Court should inquire about the

  7    content of what was said or what was done.

  8                  The only way that the Court can assess whether

  9    these actions or these remarks fall within those that --

 10    categories that are purely private or are arguably within

 11    the official duties of the President, is to look at what was

 12    said or what was done, not for the purpose of judging and

 13    condemning them or judging them and -- I'm assuming

 14    Mr. Binnall's argument is they're immune because of the

 15    First Amendment.

 16                  But the Supreme Court in the Wisconsin case made

 17    the point that -- Wisconsin v. Mitchell, that -- in

 18    connection with a First Amendment issue -- that speech can

 19    still be used as evidence of participation in a particular

 20    action -- in their case, it was an unlawful conspiracy --

 21    even if it is not actionable in and of itself.

 22                  In order for the Court to make an assessment of

 23    whether Mr. Trump's conduct and his remarks fall within

 24    public -- what was it, public duties of the President or

 25    purely private acts of the President, you have to make an


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  1    assessment of what he was doing.

  2                  And merely standing in front of a group of people

  3    and speaking, I mean, he could be promoting treason or some

  4    other thing that goes even beyond what we saw on

  5    January 6th.

  6                  And I think the argument that Mr. Binnall has made

  7    is that, as long as he's speaking in front of the public, he

  8    can say whatever he wants and do whatever he wants and he's

  9    still protected.

 10                  THE COURT:   Let's for a moment -- hang on.

 11                  For a moment, I want to just be clear, we're

 12    talking about immunity from civil suit and not immunity from

 13    criminal prosecution.

 14                  MR. SELLERS:   That is correct.

 15                  THE COURT:   And I think the Supreme Court has

 16    established a broader immunity from civil prosecution, from

 17    civil suit than it has from criminal prosecution.            The Court

 18    has said that with respect to criminal prosecution, a

 19    President can't be criminally prosecuted during the course

 20    of his term of presidency, but can be prosecuted afterwards.

 21    However, with respect to civil suits, they've said that the

 22    President is absolutely immune for any action taken in his

 23    capacity within the outer perimeter of the presidential

 24    duties.

 25                  And so Mr. Binnall's point is, look, this is


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  1    President of the United States, he is speaking on a matter

  2    of public concern, that is, the integrity of the election,

  3    and so the President has the duty to -- or has the authority

  4    or it's within his capacity to speak to the American public

  5    on matters of American public concern.

  6                  So why isn't that something that is squarely

  7    something to which he enjoys immunity?

  8                  MR. SELLERS:   Your Honor, because what he spoke

  9    about was a campaign issue seeking to secure his

 10    re-election.

 11                  If he were simply speaking about election

 12    integrity, for instance, he could have done that without

 13    talking, as he did, and we allege, saying all Mike Pence has

 14    to do is send the election back to the states and we win.

 15                  Now, those are not remarks associated with calling

 16    attention to election integrity.        I can quote, as you know,

 17    a whole slew of other allegations in our complaint, which --

 18    of a similar nature that go to the heart of Mr. Trump's

 19    efforts to secure his re-election by means of having the

 20    electoral-votes count suspended in order to give him an

 21    opportunity to do a re-do.       That is not --

 22                  THE COURT:   I'm sorry, Mr. Sellers, but shouldn't

 23    I, as Mr. Binnall has suggested, take a broader view of

 24    this?

 25                  Yes, it's true that undoubtedly a motive of his


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  1    statements was to secure a result that would get him

  2    re-elected or have him stay in office.

  3                  But Mr. Binnall makes the point that, look, there

  4    was congressional action being taken on January the 6th, the

  5    President has a right and the ability to try and influence

  6    that congressional action.       It's within the scope of his

  7    authority, whether it's legislation or in this case counting

  8    of the Electoral College vote, to try and influence an

  9    outcome of a congressional action.

 10                  So why isn't that the right way to think about

 11    this?   If you think about it in that way, that seems to me

 12    to be within the outer perimeters, well within the outer

 13    perimeters of a President's duties.

 14                  MR. SELLERS:   Well, for a couple reasons,

 15    Your Honor.

 16                  First of all, as I think you may have observed by

 17    questions you asked earlier, the President has no legitimate

 18    role in the counting of the electoral ballots.              The 12th

 19    Amendment and the statutes that apply entrust that

 20    responsibility to the Vice President in counting it before

 21    Congress.      There's no legitimate, lawful role for the

 22    President in connection with that.

 23                  And there's clearly no -- I'm moving now to my

 24    second argument here, but is no legitimate role absolutely

 25    for fomenting an insurrection directed Congress.             And the


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  1    complaint, we think, ably and plausibly alleges in many

  2    respects that this -- that Mr. Trump dispatched a crowd that

  3    he assembled, directed them away from the Ellipse,

  4    notwithstanding that their permit only permitted them to

  5    remain there, told them to go to the Capitol, fight like

  6    hell, that they can't re-take the country in a position of

  7    weakness.

  8                  And then, of course, after he saw that they were

  9    engaged in breaking into the Capitol, instead of trying to

 10    calm them, he retweeted his incendiary remarks from the

 11    rally before.

 12                  THE COURT:   But, Mr. Sellers, can I ask -- I mean,

 13    aren't you asking me to do what the Court said was not

 14    proper and look into the motives of the President for

 15    purposes of immunity?

 16                  In Fitzgerald, the issue was, well, what was the

 17    real reason that President Nixon fired Fitzgerald?           And

 18    Fitzgerald's view was it was because it was retaliation for

 19    speech, and the Supreme Court said, look, it's not

 20    appropriate to look into the motive for that action.

 21                  It seems to me you're asking me to look -- at

 22    least for purposes -- let's leave aside the question of

 23    pleading, but it seems to me you're asking me to look past

 24    the words the President used and try to get into his head

 25    about what he was intending to do, and based on that,


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  1    conclude he's not entitled to immunity.          That seems to me to

  2    be a step too far in the analysis.

  3                  MR. SELLERS:   Yeah, I certainly am not suggesting

  4    that you should examine the motivations.

  5                  If you look simply at the actions that he took and

  6    that he directed, both with respect to the campaign activity

  7    in which he engaged, which, taken at his word, is about

  8    seeking to secure his re-election.         What his motives were

  9    doesn't matter, I'm simply looking at the words and the

 10    actions that he took.        The same is true with what he did in

 11    the remarks he delivered, the effect on the crowd, and then

 12    the response that he issued after that.

 13                  Without regard to what his purpose was, those are

 14    actions that have to fall outside the scope of the

 15    presidency.      By Mr. Binnall's argument, as I said, the

 16    President could promote treason in a public forum.             And by

 17    Mr. Binnall's argument, the Court would be powerless to

 18    assess whether his conduct was protected by -- was immune.

 19    That's inconceivable as something that the Supreme Court had

 20    in mind when it said that notwithstanding the broad

 21    boundaries that are accorded to protection, that the

 22    President -- this is, again, in the Clinton v. Jones case --

 23    is still subject of the laws for his purely private acts.

 24                  There is an area outside which the Supreme Court

 25    has said, construing the Fitzgerald case, that the


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  1    President's actions -- purely private actions still can

  2    subject him to suit.       And if these aren't purely private

  3    actions, it's hard to conceive of what would be.

  4                  THE COURT:   So how would you, if you were me and

  5    you're a Court sitting trying to determine --

  6                  MR. SELLERS:   Right.

  7                  THE COURT:   -- what factors ought to be

  8    considered, this is -- we're sort of forging new ground

  9    here.

 10                  MR. SELLERS:   Yes.

 11                  THE COURT:   Because there are not a lot of civil

 12    actions brought against the President for conduct while in

 13    office and Supreme Court cases that even address the issue.

 14                  So how do I make the distinction or how does any

 15    judge make a distinction between what is speech in a purely

 16    personal capacity, which you say is not subject to immunity,

 17    versus that which is within the Presidential capacity, which

 18    does enjoy immunity?

 19                  MR. SELLERS:   Right.

 20                  Well, let me start with the easier of the two,

 21    I think, which is the election activity.

 22                  We have a whole body of regulatory authority that

 23    already exists and is administered -- I'm going to identify

 24    some of it for you -- that gives to the Executive Branch and

 25    others guidance on how to allocate expenses that are


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  1    attributable to campaign activity versus official activity,

  2    what activities may be permissibly undertaken in areas of

  3    the White House.

  4                  So some examples beside the Office of Legal

  5    Counsel opinion, which was issued in 1984 by then-Assistant

  6    Attorney General Ted Olson, which said, "campaigning for

  7    specific candidates is a principal example which should be

  8    considered political and not part of the duties of the

  9    President."      We cite it in our brief, but it's volume 6 of

 10    the Office of Legal Counsel opinion, beginning -- that's

 11    page 4, from 1984.

 12                  But there are other examples.

 13                  So the accounting for appropriated funds, it's

 14    clear that appropriated funds can only be used for the

 15    discharge of official duties.       So funds that aren't maybe

 16    used for political purposes have to be allocated in some

 17    kind of private way and can't be used -- appropriated funds

 18    can't be used.      The Federal Election Campaign Act

 19    distinguishes between expenses for campaigns and

 20    non-campaign official activities.

 21                  And I understand I could give you other examples,

 22    but -- none of these are exactly the situation we have here,

 23    but I would suggest to the Court that those are indicia of

 24    what qualifies under the broad rubric of campaign activity

 25    that's been administered for 30 or 40 years.          This is not


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  1    just something the Court is being asked to fashion out of

  2    whole cloth, and that those can provide ample guidance.

  3                  And under any one of those standards, the activity

  4    in which Mr. Trump engaged on January 6th qualifies as

  5    campaign activity.      There's just no way, given the

  6    private -- the campaign contributions to the event, the

  7    manner -- the remarks that he delivered, the lack of any

  8    legitimate legal role that the President had with respect to

  9    overseeing or influencing the counting of the Electoral

 10    College ballots, all of those things suggest that this was a

 11    purely private act and was campaign activity.

 12                  The second category of grounds on which to

 13    characterize his actions as outside the scope of permissible

 14    Presidential duties, I submit that there are cases, and this

 15    isn't one of them, where the line is closer; that is, where

 16    the President has engaged in something that would be an

 17    unlawful action.

 18                  But I think that it's, again, hard to conceive of.

 19    And I think the Court has to accept, for purposes of the

 20    complaint, the well-pleaded allegations, that what's been

 21    attributed to Mr. Trump is fomenting an insurrection

 22    directed at a co-equal branch of government that was

 23    either -- purpose or at least had the effect of disrupting

 24    the functioning -- lawful function of the government, of the

 25    Congress.


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  1                  And I understand that this is not to be

  2    distinguished from a traffic ticket, this is something that

  3    goes way beyond that.        And, again, I'm not contending

  4    that --

  5                  THE COURT:   So where would you have a court draw

  6    the line?

  7                  I mean, again, I go back to where I was.         You

  8    know, in Nixon versus Fitzgerald, the allegation was that

  9    the President had violated a civil statute by firing someone

 10    improperly for speech.

 11                  MR. SELLERS:   Right.

 12                  THE COURT:   And here, whether you characterize

 13    this as fomenting an insurrection or not, the bottom line

 14    is, you've alleged the violation of a civil statute.

 15                  And it doesn't seem to me that we ought to have or

 16    there's any basis or it would be very difficult to have a

 17    hierarchy of civil statutes that matter versus those that

 18    are less significant.

 19                  And the violation -- alleged violation in

 20    Fitzgerald was deemed immune.         It's not clear to me why a

 21    violation of this statute ought not to be subject to the

 22    same analysis.

 23                  MR. SELLERS:   Right.

 24                  So there's a simple answer at least as to part of

 25    your question, which is that, in the Fitzgerald case,


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  1    President Nixon, while he may have been alleged to have

  2    engaged in some improper conduct, the action he took was

  3    well within the legitimate scope of his duties.

  4                  There was no question this was the heart of

  5    Presidential authority; that he can oversee or direct a

  6    personnel action.      That is core Presidential duty.       The fact

  7    that it may have been allegedly undertaken in an

  8    impermissible way doesn't, as I think the Court properly

  9    concluded, remove it from the protection of the normal

 10    activities of the President.

 11                  Campaign activity has never been viewed as within

 12    the normal functioning of the President.        And as I said,

 13    there's an enormous administrative infrastructure that

 14    exists and is administered every year to ensure that

 15    Presidential campaigning, other campaigning members of

 16    Congress and others all have to abide by various rules

 17    distinguishing between their official duties and their

 18    campaign activity.      So that's one distinction.

 19                  The second one, as I said, about fomenting an

 20    insurrection is -- I think if this were a closer call,

 21    we would be having a harder time with the second point.            But

 22    it is -- it's hard to conceive of a scenario, other than the

 23    President traveling down to the Capitol himself and busting

 24    through the doors and, you know -- and stopping things

 25    himself.      But, of course, he did this with third-party


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  1    agents, with the crowd, he did exactly that.

  2                  I don't see how -- and, again, I realize the Court

  3    wants to articulate a standard that's easily administered,

  4    and I guess I'm asking the Court to consider that wherever

  5    the close-call standard is, this falls well outside it.

  6                  THE COURT:   Okay.

  7                  All right.   Thank you, Mr. Sellers.

  8                  Is there anything -- I don't know whether your

  9    colleagues want to add anything.

 10                  MR. SELLERS:   Do you want me to -- Well, I --

 11    okay.

 12                  I guess they may.

 13                  And do you want me to talk about Article III

 14    standing or I'll come back to that?

 15                  THE COURT:   If you want to go ahead and address

 16    that, why don't you go ahead and address that, and then I'll

 17    ask your colleagues if they want to add anything.

 18                  MR. SELLERS:   Okay.   Thank you.

 19                  So, first of all, on the issue of Article III

 20    standing, I think it is quite clear, as your questions may

 21    have reflected, that each of the plaintiffs has alleged a

 22    form of harm that is cognizable under the tort laws of this

 23    country and that's the statute Section 1985(1), is a tort,

 24    at least provides for tort-like remedies.

 25                  And so whether Mr. Binnall is not impressed or


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  1    impressed with the nature and extent of harm of any of our

  2    clients, they all pled cognizable injuries that are

  3    concrete, they're specific, and they attribute them to the

  4    conduct that occurred that was precipitated by the actions

  5    of the conspiracy of the defendants.

  6                  So that -- but I want to address another issue,

  7    which maybe I'm going too far, but I thought was in the

  8    Court's mind, and that is why the plaintiffs are entitled to

  9    bring this action in their personal capacity, something

 10    that, perhaps, is going to be raised by the Oath Keepers.

 11                  And if you want me to wait to hear their argument

 12    first, I'm happy to do that, but I --

 13                  THE COURT:   No.   Go ahead.   I don't know whether

 14    Mr. -- whether counsel for the Oath Keepers intends to make

 15    argument or not.

 16                  MR. SELLERS:   Well, I know it was in their brief,

 17    so I thought I should help the Court by at least addressing

 18    it.

 19                  So the point here is that the statute is, unlike

 20    the Raines case -- that's R-a-i-n-e-s --

 21                  THE COURT:   Right.

 22                  MR. SELLERS:   -- the case that the Supreme Court

 23    decided that's in our brief, where the members of Congress

 24    sought to challenge the line-item veto and claimed as the

 25    injury that the act diminished the value of their votes,


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  1    their power, which was an official act, and the Court found

  2    that they had no standing to do so, the Court made exactly

  3    the distinction we are making here, which is, the members

  4    have -- or our clients were injured because they were

  5    attempting to discharge their official duties, in the course

  6    of which were injured.

  7                  And as such, the statute does not seek -- does not

  8    protect them in their discharge of their official duties;

  9    that is, not ensure that they will be guaranteed their

 10    ability to discharge their official duties.            What it's

 11    intended to do is protect them against harm while they

 12    perform their official duties, and that they have

 13    Article III standing to pursue.

 14                  THE COURT:    Okay.    Understood.

 15                  All right.    Let me turn mack to Mr. Binnall, and

 16    I'll give you a few minutes for rebuttal.

 17                  And I know Mr. Moseley --

 18                  MR. MOSELEY:    I'm sorry, Your Honor?

 19                  MR. MALONE:    One second.

 20                  THE COURT:    Oh, that's right.      I forgot.

 21                  Mr. Sellers.

 22                  MR. SELLERS:    I wanted to give my colleagues a

 23    chance to say something if they wanted to.            I apologize.

 24                  THE COURT:    Right.

 25                  No, that's all right.      I neglected to turn back to


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  1    them as well.

  2                  MR. MALONE:   Your Honor, Patrick Malone for the

  3    Blassingame Plaintiffs.

  4                  Just to underscore Mr. Seller's point about what

  5    is a test for private conduct versus conduct within the

  6    scope of the office, my test would be, is this something

  7    that only a President can do as an official act.           That's

  8    clearly what the Court had in mind in the Fitzgerald case.

  9    If you are the President of the United States of America,

 10    you have the power to fire this guy, whatever your motives

 11    are.

 12                  But in the situation we're in today, the issue is,

 13    is the exact same conduct that --

 14                  THE COURT:    Mr. Malone, you don't mean to suggest

 15    that Presidents' immunity authority must be traced back to

 16    some constitutional -- or immunity protection, I should say,

 17    has to be traceable to some constitutional or statutory

 18    authority, do you?      I mean, that can't be right.

 19                  MR. MALONE:    Well, is it within the scope -- we're

 20    struggling with --

 21                  THE COURT:    Even legislative immunity, for

 22    example, isn't so constrained, right?

 23                  Legislative immunity for congresspeople isn't

 24    constrained only to legislative acts or legislative

 25    authority that's derived from Constitution; the courts have


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  1    viewed it more broadly than that.

  2                  MR. MALONE:   Sure.

  3                  What I was trying to struggle with is the

  4    distinction between private and public -- or personal

  5    conduct versus public conduct.        I think it goes to the issue

  6    of:   Are you acting as a candidate or are you acting as an

  7    officeholder?

  8                  What I want to suggest is that let's just assume a

  9    scenario where some other candidate who was not the

 10    incumbent officeholder had lost the election and they gave a

 11    big speech saying the election's been stolen, I want all of

 12    you thousands of people to march to the Capitol and Stop the

 13    Steal.   So this is a non-officeholder in this scenario.

 14                  Are we really saying that if you happen to be the

 15    incumbent in office, you are immune from any tortious injury

 16    that happens to people who get in the way of the march to

 17    the -- on the Capitol to Stop the Steal, where the incumbent

 18    would be immune but his adversary, his opponent, would not

 19    be immune?      I don't see how that could be.

 20                  THE COURT:    Okay.

 21                  Does Mr. Andonian want to add anything?

 22                  MR. ANDONIAN:   Yes.   Thank you very much,

 23    Your Honor.      Just very briefly.    I just want to piggyback on

 24    two points that both my colleagues made.

 25                  With respect to Mr. Binnall's suggestion that a


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  1    President is essentially never going to be liable civilly

  2    for anything that they said while in office, I just wanted

  3    to remind the Court that we have an example of a President

  4    being held liable for words spoken during the presidency,

  5    when Bill Clinton when sanctioned for lying under oath about

  6    his relationship with Monica Lewinsky.

  7                  And, in fact, the courts considered that an

  8    unofficial act in the sense that he was speaking an untruth,

  9    I think admittedly an untruth that was in violation of the

 10    Court's discovery order.      So it's not as though -- that

 11    Presidents can do nothing or say nothing while they're in

 12    office.   That's beyond the reach of the law in some

 13    respects.

 14                  And the second point I want to make, you know,

 15    I think everyone has said this but I just want to make sure

 16    it's clear on at least on behalf of my client, Congressman

 17    Swalwell, the notion that you cannot look at the words at

 18    all and it's just -- if a President happens to be uttering

 19    words of any kind when that person is in office, that ends

 20    the inquiry.      I mean, that clearly is too broad -- just on

 21    its face, that's far too broad, that's no standard at all.

 22                  But if you look at Nixon, the idea was, once the

 23    Court determined that the core duty there, exercising powers

 24    as commander-in-chief over personnel within one of the other

 25    branches, once the Court made that determination, that ended


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  1    the inquiry.

  2                  The motive behind why Nixon took the action that

  3    he did in the context of a clearly established official

  4    duty, that was beyond the scope or out of bounds.          We're not

  5    asking the Court to do that here.

  6                  In other words, it doesn't matter what

  7    Donald Trump's motives were in saying and doing the things

  8    that he did, whether he was trying to overturn the election

  9    or whether he was just doing it for sport, and who knows

 10    which one it was.

 11                  But the fact of the matter is, the words he spoke

 12    have legal significance, as we pled that.         And the Court has

 13    to at least look at the words to determine whether or not

 14    the speech is of an official nature or not.

 15                  Even Mr. Binnall's own examples require some

 16    assessment of what was being said, when he referenced

 17    President Obama's speech talking about Citizens United, or

 18    he referenced examples of the type of speech a President

 19    might make on the trail after the State of the Union.           That

 20    still at least requires some threshold examination to

 21    determine whether or not we're even talking about an

 22    official act.      Here, we're just clearly not, for all of the

 23    reasons that Mr. Sellers stated.

 24                  THE COURT:   Thank you, Mr. Andonian.

 25                  Mr. Binnall, I'll just give you a couple minutes.


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  1    We're, not surprisingly, already off schedule here, but

  2    go ahead.

  3                  MR. BINNALL:   Thank you, Your Honor.

  4                  Initially, regarding the function analysis about

  5    it being something that, as Counsel Mr. Malone pointed out,

  6    tried to assert, rather, that has to be something that only

  7    a President can do.

  8                  Your Honor, as the Court has already pointed out,

  9    it can't be the rule that it has to tie back to some sort of

 10    constitutional or statutory rule, but it really kind of --

 11    it really goes beyond that, Your Honor.          It needs to be

 12    something where there is this bright line, that that

 13    President knows that there's not these gray areas, because

 14    these gray areas --

 15                  THE COURT:   Why isn't campaigning a bright line?

 16                  I mean, Mr. Sellers has posited that, look,

 17    there's this entire body of law that has been established

 18    both by Congress and by regulation that distinguishes

 19    between speech and acts in furtherance of official duties

 20    than those on a campaign, and you've got to segregate money,

 21    you can't use certain federal resources, you cannot have

 22    employees of the Federal Government act in certain ways.

 23                  I mean, why isn't that a bright line here that can

 24    be followed in distinguishing between official duties and

 25    unofficial duties?      Even the outer perimeter of those


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  1    official duties of a President.

  2                  MR. BINNALL:   I think there are three answers to

  3    that, Your Honor.

  4                  And the first is that if it is speech that would

  5    otherwise be protected if it was said outside of the

  6    campaign but in his normal Presidential duties, then it does

  7    not lose its immunity simply because it's said in the

  8    context of a campaign.       And I think that's the most

  9    important answer to that, is that if he could say that in a

 10    State of the Union Address, the same that he could say it in

 11    a speech on the campaign trail, then it does not lose its

 12    immunity in that case.

 13                  Because otherwise it would be the exception that

 14    would swallow the rule, because so many of the things that a

 15    President does during their entire terms of office is

 16    something that is political in nature:          Advocating for, you

 17    know, not only their own re-election but the election of

 18    their political allies as well.

 19                  And to say, well, this particular speech, it

 20    really was going for a political purpose, rather than a

 21    Presidential purpose, we would now see an exception that

 22    would swallow the rule, it would lead to too much vagueness

 23    in the immunity, that is just something that is not workable

 24    for the immunity.

 25                  Second of all, Your Honor, the issue on the


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  1    campaign hypothetical at the 12(b) -- at the stage of this

  2    that we're at on this important threshold question, they

  3    would have to meet a higher standard than they've met here,

  4    even if that were the rule, to show that this was a campaign

  5    activity, which I've already pointed out they simply cannot

  6    do.

  7                  This was not a campaign activity.     Electioneering,

  8    for instance, has a very specific definition in the law.

  9    This wasn't electioneering; this was not something that the

 10    campaign was directly involved in.

 11                  And so even if that were the rule, they would not

 12    be able to meet that standard here.       And so to a certain

 13    extent, it's a question that the Court need not consider

 14    because it's not adequately pled, and it certainly isn't

 15    pled to a plausibility standard, because it's readily

 16    available information that this was not part of the

 17    campaign.

 18                  And, finally, Your Honor, in that vein -- well,

 19    actually, on the second point still, the Fourth Circuit, in

 20    a case that we can find is -- has recently held that the

 21    campaign was over in November and there were no more

 22    campaign activities at that point.

 23                  And, finally, Your Honor, anything that had to do

 24    with the campaign exception would necessarily start to have

 25    courts examining the motives of the speaker, and whether the


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  1    motive was such for a political speech or other Presidential

  2    duties, and that's something that was specifically rejected

  3    by the Fitzgerald court.

  4                  THE COURT:   Okay.

  5                  Mr. Binnall, I'm going to give you 30 more seconds

  6    to make your last point and then we're going to have to move

  7    on to the next topic.

  8                  MR. BINNALL:   Yes, sir.    And I understand the time

  9    concerns here.

 10                  The other thing that I would just say briefly

 11    regarding the Clinton matter is that, I believe that the

 12    Clinton matter that was just discussed is not Clinton versus

 13    Jones, I think it has to do with the regulation of Bar

 14    duties, and that is different -- or someone's Bar status,

 15    and that's something that is very different from a suit for

 16    damages.      And the --

 17                  THE COURT:   Well, I think -- well, I think what

 18    happened is that the Court that oversaw the Clinton v. Jones

 19    case sanctioned the President for his testimony, and then

 20    the Supreme Court subsequently took Bar action.

 21                  MR. BINNALL:   Took Bar action, yes.

 22                  THE COURT:   Okay.

 23                  MR. BINNALL:   And so that's very different than a

 24    suit for damages.

 25                  And that's something that is more in the lines of,


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  1    Your Honor, what goes back to the Burr case, is that a

  2    President is still subject to the subpoena power, for

  3    instance, and it has to comply with that.            But that's

  4    different from being sued for damages for something that

  5    occurred during the President's administration.

  6                  THE COURT:    Thank you, Counsel.

  7                  Why don't we move on to the next topic, and that

  8    is the pleading of the conspiracy count under 1985(1).               And

  9    under that, I included the argument that the plaintiffs have

 10    made, that these plaintiffs -- excuse me, that the

 11    defendants have made that these plaintiffs don't have

 12    statutory standing under the statute.

 13                  So, Mr. Binnall, I assume we'll begin with you, or

 14    will one of your colleagues be taking the lead?

 15                  MR. BINNALL:    Your Honor, actually, I believe

 16    Mr. Sibley is going to start this argument.

 17                  THE COURT:    All right.

 18                  Mr. Sibley.

 19                  MR. SIBLEY:    Your Honor, good afternoon.

 20                  I'm going to let Mr. Binnall handle the standing

 21    issue, because that's really something that they've raised.

 22    I'm going to talk about the pleading issue.

 23                  And it really comes down to one element,

 24    Your Honor, and that is under Section 1985.            We have a lot

 25    of things that we discussed in our motion, but, really, some


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  1                  MR. BINNALL:   That is certainly not something that

  2    would be actionable in any circumstance.

  3                  THE COURT:   No, no.

  4                  My question is, is that sufficient to establish a

  5    conspiracy?      Does that establish the meeting of the minds?

  6                  MR. BINNALL:   No, it does not, Your Honor.

  7                  THE COURT:   Why not?

  8                  MR. BINNALL:   It doesn't, because at this point,

  9    it doesn't have -- a conspiracy must be to do something --

 10    for a meeting of the minds to do something that is otherwise

 11    actionable.      And going and -- and you can't have a

 12    conspiracy to exercise a constitutional right.

 13                  And, moreover, if conspiracy is read so broadly as

 14    to allow -- I mean, especially for someone that is the

 15    President.

 16                  THE COURT:   So what do I about the fact that --

 17    and I proposed this to your colleague -- that the President

 18    didn't denounce the conduct immediately.          And, in fact,

 19    about 10 minutes in or so, 12 minutes in, sends a tweet that

 20    arguably exacerbated things, to the extent anybody saw it

 21    who was inside the Capitol.         What do I do about those facts,

 22    that he doesn't do anything for about two hours to tell

 23    people to stand down and leave the Capitol?

 24                  MR. BINNALL:   Inaction --

 25                  THE COURT:   Isn't that, from a plausibility


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  1    standpoint, enough to at least plausibly infer that the

  2    President agreed with the conduct of the people who were

  3    inside the Capitol that day?

  4                  MR. BINNALL:    I think there are two answers to

  5    that.

  6                  Because, first of all, the answer is, no, you

  7    cannot have a situation where failure to say something is

  8    itself actionable as being part of the conspiracy.              Saying

  9    nothing is not part of the conspiracy.

 10                  But the other part, and I think this is extremely

 11    important, is that -- this ties back into the executive

 12    immunity, the Presidential immunity argument, where you

 13    cannot put a situation where a President is obligated to

 14    take certain actions and say certain things or be subject to

 15    litigation and subject to action by the Court.              That's the

 16    Court very much at that point being able to invade the

 17    province of the executive.

 18                  So if you were to go with that theory, you would

 19    run straight into, in a very, very strong Presidential

 20    immunity argument that there's no way around.

 21                  But even --

 22                  THE COURT:    So the President, in your view, is

 23    both immune for inciting a riot and failing to stop it?

 24    At least if that's what the allegations are and to be

 25    believed.


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  1                  MR. BINNALL:   Of course, this President did none

  2    of those things.

  3                  THE COURT:   I understand.    I understand that's

  4    your view.      But as a legal matter.

  5                  MR. BINNALL:   As a legal matter and at this stage,

  6    he did none of those things.

  7                  THE COURT:   Okay.

  8                  MR. BINNALL:   But that being said, the President

  9    cannot be subject to judicial action of any sort for damages

 10    because he failed to do something, failed to act, because

 11    that's now the core essentially --

 12                  THE COURT:   So let me ask it a different way and

 13    be clear about how I'm using this allegation or thinking

 14    about this allegation --

 15                  MR. BINNALL:   Right.

 16                  THE COURT:   -- or how it ought to be thought of.

 17                  Not being subject to liability for failing to act

 18    on its own, but, rather, at this stage, as allegations that

 19    would establish the plausibility of a conspiracy; that is, a

 20    plausibility of an agreement.

 21                  I mean, in, for example, in the Charlottesville

 22    case, signs -- you know, there were similar allegations

 23    against Richard Spencer, organizing -- assistance with

 24    organizing the rally, participating in the rally, speaking

 25    at the rally, and then not doing anything to stop the


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  1    violence.      At least the District Court there found all of

  2    that sufficient to establish a conspiracy, that he

  3    participated in a conspiracy.

  4                  MR. BINNALL:   And in this case, Your Honor, when

  5    you have someone like President Trump who is speaking only

  6    about doing peaceful things, only about protesting lawfully,

  7    in a very normal sense in political dialogue...

  8                  And, that's important, Your Honor.        We can't just

  9    shrug that off, as the Court put it, whataboutism.             That's

 10    not whataboutism at all.       It's about equal application of

 11    the law.      It's about making sure that you don't say the law

 12    is one thing for Democrats and another thing for Trump

 13    supporters.      That cannot be the law, and it would be wrong

 14    to look at that.

 15                  And the simple fact --

 16                  THE COURT:   Well, it's -- well, why don't we bring

 17    this to a close, and I'll just say this:

 18                  It's not the law.     It's certainly not the law in

 19    my courtroom.      And I don't think of this in terms of the

 20    party of anybody who's alleged to have behaved in a

 21    particular way.      I'm simply trying to apply the law to the

 22    facts as they've been alleged here without any passion or

 23    prejudice to anyone, okay?

 24                  MR. BINNALL:   I absolutely appreciate that,

 25    Your Honor, that the Court is trying to do that here.


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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  JAMES BLASSINGAME & SIDNEY HEMBY,


        Plaintiffs,
                                               Civil Case No. 1:21-cv-00858 APM
               v.


  DONALD J. TRUMP,


        Defendant.


                                   NOTICE OF APPEAL

       Defendant Donald J. Trump hereby gives notice of his appeal to the United

 States Court of Appeals for the D.C. Circuit from this Court’s Memorandum Opinion

 and Order entered on February 18, 2022, denying Defendant’s Motion to Dismiss,

 particularly with respect to his defense of Absolute Immunity. (Dkt. No. 37).


 Dated: March 18, 2022                        Respectfully submitted,

                                              /s/ Jesse R. Binnall
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                               CERTIFICATE OF SERVICE


       I certify that the foregoing was electronically filed with the Clerk of the Court

 using the Court’s CM/ECF system, which will cause a copy to be sent to all counsel of

 record.



 Dated: March 18, 2022                         /s/ Jesse R. Binnall
                                               Jesse R. Binnall

                                               Counsel for President Donald J. Trump




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


  ERIC SWALWELL,


        Plaintiff,
                                              Civil Case No. 1:21-cv-00586 APM
               v.


  DONALD J. TRUMP,


        Defendant.


                                   NOTICE OF APPEAL

       Defendant Donald J. Trump hereby gives notice of his appeal to the United

 States Court of Appeals for the D.C. Circuit from this Court’s Memorandum Opinion

 and Order entered on February 18, 2022, denying Defendant’s Motion to Dismiss,

 particularly with respect to his defense of Absolute Immunity. (Dkt. No. 56).


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 Dated: March 18, 2022                         /s/ Jesse R. Binnall
                                               Jesse R. Binnall

                                               Counsel for President Donald J. Trump




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  BENNIE G. THOMPSON et al.,


        Plaintiffs,
                                               Civil Case No. 1:21-cv-00400 APM
               v.


  DONALD J. TRUMP et al.,


        Defendant.


                                   NOTICE OF APPEAL

       Defendant Donald J. Trump hereby gives notice of his appeal to the United

 States Court of Appeals for the D.C. Circuit from this Court’s Memorandum Opinion

 and Order entered on February 18, 2022, denying Defendant’s Motion to Dismiss,

 particularly with respect to his defense of Absolute Immunity. (Dkt. No. 66).


 Dated: March 18, 2022                        Respectfully submitted,

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 record.



 Dated: March 18, 2022                         /s/ Jesse R. Binnall
                                               Jesse R. Binnall

                                               Counsel for President Donald J. Trump




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       I certify that a copy of the foregoing was filed with the Clerk of the

 Court using the Court’s CM/ECF system, which will send a copy to all

 counsel of record.


 Dated: July 27, 2022                     Respectfully submitted,

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